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                                                                             Review

      1              UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
      2                    EASTERN DIVISION
      3    IN RE: NATIONAL             )    MDL No. 2804
           PRESCRIPTION OPIATE         )
      4    LITIGATION                  )    Case No.
                                       )    1:17-MD-2804
      5                                )
           THIS DOCUMENT RELATES TO    )    Hon. Dan A.
      6    ALL CASES                   )    Polster
                                       )
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      8
      9                              __ __ __
     10                       Saturday, May 4, 2019
                                    __ __ __
     11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     12                 CONFIDENTIALITY REVIEW
                               __ __ __
     13
     14
     15
     16           Videotaped Deposition of MEREDITH B.
            ROSENTHAL, Ph.D., held at Robins Kaplan LLP,
     17     800 Boylston Street, Suite 2500, Boston,
            Massachusetts, commencing at 8:04 a.m., on
     18     the above date, before Michael E. Miller,
            Fellow of the Academy of Professional
     19     Reporters, Registered Diplomate Reporter,
            Certified Realtime Reporter and Notary
     20     Public.
     21
     22
     23                            __ __ __
     24                   GOLKOW LITIGATION SERVICES
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     2     MARCUS & SHAPIRA LLP                                     MEREDITH B. ROSENTHAL, Ph.D.
           BY: RICHARD I. HALPERN, ESQUIRE               2               May 4, 2019
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                                                         3   NUMBER             DESCRIPTION      PAGE
              (via teleconference)
                                                         4   Rosenthal-1 3/25/19 Expert Report   12
     4
                                                         5   Rosenthal-2 Errata to Expert Report 12
           One Oxford Centre                             6   Rosenthal-3 Medicare Program        25
           35th Floor                                                Policies & Procedures
     5     Pittsburgh, Pennsylvania 15219                7
           (412) 471-3490                                    Rosenthal-4 Second Amended Complaint   39
     6     Counsel for HBC Services                      8           and Jury Demand
     7                                                   9   Rosenthal-5 2016 Datta and Dave     74
     8     FOLEY & LARDNER LLP                                       Publication
                                                        10
           BY: KRISTINA J. MATIC, ESQUIRE                    Rosenthal-6 2015 Cutler et al       92
     9        kmatic@foley.com                          11           Working Paper
              (via teleconference)                      12   Rosenthal-7 2002 Azoulay Publication   225
    10     777 East Wisconsin Avenue                    13   Rosenthal-8 2001 Berndt et al      229
           Milwaukee, Wisconsin 53202                                Publication
    11     (414) 271-2400                               14
           Counsel for Anda Inc.                             Rosenthal-9 2004 Mizik and Jacobson     263
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    14   VIDEOGRAPHER:                                               Publication
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     1              PROCEEDINGS                          1       A. Yes.
     2           (May 4, 2019 at 8:04 a.m.)              2       Q. And if for some reason you
     3           THE VIDEOGRAPHER: We're now on          3   don't understand one of my questions, you'll
     4      record. My name is Vince Rosica. I'm         4   ask me for clarification?
     5      a videographer for Golkow Litigation         5       A. Yes, I will.
     6      Services. Today's date is May 4th,           6       Q. Okay. I'm going to start by
     7      2019 and the time is 8:04 a.m.               7   marking as Exhibit 1 to your deposition your
     8           This video deposition is being          8   expert report, and I'm also going to
     9      held in Boston, Massachusetts in the         9   simultaneously give you Exhibit 2, which is
    10      matter of National Prescription Opiate      10   the errata sheet we received on Thursday
    11      Litigation, MDL No. 2804, for the           11   night.
    12      Northern District of Ohio, Eastern          12            (Whereupon, Deposition Exhibit
    13      Division Court. The deponent is             13       Rosenthal-1, 3/25/19 Expert Report,
    14      Meredith Rosenthal.                         14       was marked for identification.)
    15           Counsel will be noted on the           15            (Whereupon, Deposition Exhibit
    16      stenographic record. The court              16       Rosenthal-2, Errata to Expert Report,
    17      reporter is Mike Miller and will now        17       was marked for identification.)
    18      swear in the witness.                       18   BY MR. ROTH:
    19       MEREDITH B. ROSENTHAL, Ph.D.,              19       Q. So first, if you could look at
    20         having been duly sworn,                  20   Exhibit 1 and just confirm that that appears
    21         testified as follows:                    21   to be your expert report in this case along
    22              EXAMINATION                         22   with Attachments A through D.
    23   BY MR. ROTH:                                   23       A. It is correct.
    24      Q. Good morning, Professor                  24       Q. And if you look at page 75, is
    25   Rosenthal.                                     25   that your signature on the report?
                                              Page 11                                             Page 13
     1       A. Good morning.                            1       A. Yes, it is.
     2       Q. My name is Martin Roth. We met           2       Q. Exhibit 2 is a memo dated
     3   off the record. I'll be taking your             3   May 2nd from Forrest McCluer at GMA to
     4   deposition here today.                          4   yourself and Mr. Tom Sobol, your -- the
     5            Can you please state your full         5   attorney sitting with you; is that correct?
     6   name for the record?                            6       A. That's correct.
     7       A. Meredith Beaven Rosenthal.               7       Q. And GMA is Greylock McKinnon?
     8       Q. And do you understand you're             8       A. That's correct.
     9   testifying under oath here today?               9       Q. And who is Mr. McCluer?
    10       A. I do.                                   10       A. Mr. McCluer is a senior
    11       Q. And you've testified at                 11   economist there who worked with me on this
    12   depositions and in court and before Congress   12   matter.
    13   in the past?                                   13       Q. And I take it, given that
    14       A. I have.                                 14   Mr. McCluer went through the report to error
    15       Q. Approximately how many times            15   check, that you believe that your report,
    16   altogether have you testified?                 16   along with the errata sheet, is accurate as
    17       A. Perhaps 30 or 35.                       17   of today?
    18       Q. There's nothing that would              18       A. I do.
    19   prevent you from testifying truthfully here    19       Q. You didn't see any other errors
    20   today?                                         20   that aren't contained in the errata?
    21       A. There is not.                           21       A. I have not.
    22       Q. If I ask you a question and you         22       Q. And all of the opinions that
    23   give me an answer, I'm going to assume you     23   you plan to give at trial in this matter are
    24   understood my question.                        24   contained in your report as corrected by your
    25            Is that fair?                         25   errata?
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     1       A. That's correct.                           1   company regarding the meaning of FDA
     2       Q. Professor Rosenthal, you're a             2   regulations or regulatory requirements?
     3   healthcare economist; is that correct?           3       A. I have not.
     4       A. Yes, that's right.                        4       Q. You do understand that
     5       Q. You're not a medical doctor?              5   prescription opioids are FDA-approved
     6       A. I am not.                                 6   products?
     7       Q. You're not an expert in the               7       A. Yes, I do.
     8   treatment of addiction?                          8       Q. And, in fact, if you look at
     9       A. I am not.                                 9   your report, at paragraph 19, which is the
    10       Q. You're not an expert in opioid           10   bottom of page 15. Let me know when you're
    11   use disorder?                                   11   there.
    12       A. I am not.                                12       A. Yes.
    13       Q. And I looked at your CV. I               13       Q. You acknowledge that since 1962
    14   don't think you've published on either          14   the FDCA and related regulations have
    15   addiction or opioid use disorder; is that       15   required sponsors of new drug products to
    16   correct?                                        16   present scientific evidence of both efficacy
    17       A. I don't believe I have.                  17   and safety before a new product can be
    18       Q. You're not an expert in                  18   marketed.
    19   pharmacology?                                   19           Do you see that?
    20       A. I am not.                                20       A. Yes, I do.
    21       Q. You're not an expert in                  21       Q. And you cite to the FDA website
    22   epidemiology?                                   22   when you write that?
    23       A. I am not, although I do have             23       A. That's right.
    24   some knowledge of epidemiology.                 24       Q. And then turning the page, you
    25       Q. You've reviewed epidemiological          25   say in paragraph 20: By regulation,
                                              Page 15                                              Page 17
     1   studies, but you're not an epidemiologist?       1   prescription drug labels indicate the
     2       A. That's correct. An                        2   diseases, conditions and/or patients for
     3   epidemiology class was required for my Ph.D.,    3   which the sponsor has presented
     4   so I took an epidemiology class. I operate       4   scientifically required evidence to the FDA.
     5   in the environment of public health research     5            Right?
     6   where epidemiology is an important strand        6       A. Yes, that's what it says.
     7   that I frequently encounter, but I'm not an      7       Q. And for that proposition, you
     8   epidemiologist.                                  8   cite to a number of federal regulations in
     9       Q. And you're not a toxicologist?            9   footnote 31?
    10       A. I am not a toxicologist.                 10       A. I do.
    11       Q. You're not a pain management             11       Q. You're not an expert on drug
    12   physician?                                      12   labeling.
    13       A. I am not.                                13       A. I am not.
    14       Q. You don't diagnosis or treat             14       Q. In paragraph 21 of your report,
    15   pain?                                           15   you say: FDA regulations specify that
    16       A. No, I do not.                            16   promotional materials may only make claims
    17       Q. You're not an expert in the              17   that are supported by scientific
    18   FDA?                                            18   evidence, i.e., supported by studies meeting
    19       A. I am not an expert in the FDA,           19   scientific standards, and they may not be
    20   although, again, as you know, my work has       20   false or misleading.
    21   frequently concerned FDA rules.                 21            Did I read that correctly?
    22       Q. But you've never worked for the          22       A. You did.
    23   FDA?                                            23       Q. And you're not an expert on FDA
    24       A. I have not.                              24   regulations, are you?
    25       Q. And you've never consulted a             25       A. I am not.
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     1       Q. And then in paragraph 22 you              1        Q. Well, more than warning
     2   say: FDA oversight of drug promotion is          2   letters, the FDA may tell a manufacturer when
     3   intended to ensure that physicians and           3   it reviews draft promotional materials, for
     4   consumers understand both the benefits and       4   example, that it does not approve their
     5   risks of a drug. FDA regulations call for        5   dissemination.
     6   fair balance in all promotional claims and       6             Are you aware of that?
     7   materials. The risks as well as the benefits     7             MR. SOBOL: Objection, asked
     8   must be clearly identified and risks must be     8        and answered.
     9   given appropriate prominence.                    9        A. I guess I would have thought of
    10            Do you see that?                       10   that as similar -- again, not being a legal
    11       A. Yes, I do.                               11   expert -- similar to those warning letters
    12       Q. And there's another citation to          12   that say that you may not do this. The
    13   a Code of Federal Regulations section for       13   specifics of how the enforcement flows after
    14   that paragraph, correct?                        14   that, what the FDA can and can't do in terms
    15       A. Yes.                                     15   of enforcement, I'm a little less clear on.
    16       Q. You understand that the FDA              16   BY MR. ROTH:
    17   regulates labeling for prescription drugs,      17        Q. Okay. And I appreciate that
    18   based on what you've said in your report?       18   you're not a legal expert, but do you
    19       A. I do.                                    19   understand that in addition to issuing
    20       Q. And the FDA approves                     20   warning letters after materials may have gone
    21   prescription drugs even if they have known      21   out, the FDA, sometimes before materials are
    22   risks?                                          22   utilized, may give input and feedback to
    23       A. Yes.                                     23   manufacturers about the materials that they
    24       Q. Do you understand that the FDA           24   plan to use?
    25   also regulates promotional materials for        25        A. Yes, I believe that's true.
                                               Page 19                                              Page 21
     1   prescription drugs?                              1       Q. And you did not study which, if
     2             MR. SOBOL: Objection.                  2   any, of the promotional materials for
     3       A. Yes, I do.                                3   prescription opioids were submitted to FDA
     4   BY MR. ROTH:                                     4   for its review before they were used?
     5       Q. And the FDA has authority to              5             MR. SOBOL: Objection.
     6   police advertising that it believes would        6       A. I did not study that, no.
     7   result in prescription drugs being misbranded    7   BY MR. ROTH:
     8   under the federal regulations?                   8       Q. And you did not study which of
     9             MR. SOBOL: Objection.                  9   the detailing contacts in your regression
    10       A. I'm not sure exactly what you            10   models, which we'll talk about, involve
    11   mean by "police," but as I've described in my   11   promotional materials that had been submitted
    12   report, I understand that materials are         12   for FDA review?
    13   reviewed by the FDA.                            13             MR. SOBOL: Objection.
    14   BY MR. ROTH:                                    14       A. I did not, no.
    15       Q. And the FDA has the authority            15   BY MR. ROTH:
    16   to tell a drug manufacturer to either modify    16       Q. Do you agree that opioids have
    17   or refrain from using materials that it may     17   legitimate medical uses for certain diseases
    18   review?                                         18   and conditions?
    19       A. I just want to be careful that           19       A. Yes, I would say that's true.
    20   I don't try to convey any legal expertise       20   According to their label, yes.
    21   here, but I am aware that the FDA, for          21       Q. And you understand that the FDA
    22   example, issues warning letters pertaining to   22   has approved opioids for certain of these
    23   specific marketing tactics and messages. If     23   conditions in their labels?
    24   that's what you're referring to then, yes, I    24       A. Yes, I understand that the
    25   understand that.                                25   approved labels include those conditions for

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     1   which the FDA has deemed them appropriate.       1   those guidelines. As you know, as we just
     2       Q. Did you review any drug labels            2   discussed, I'm not a clinical expert or a
     3   in connection with your work in this case for    3   pharmacologist, but I'm certainly aware of
     4   prescription opioids?                            4   guidelines that talk about the appropriate
     5       A. I have looked at some of the              5   uses of opioids.
     6   drug labels, yes.                                6       Q. Do you know the most common
     7       Q. Do you recall which drug labels           7   uses of opioids for which health insurers and
     8   you reviewed?                                    8   federal Medicare or state Medicaid agencies
     9       A. I believe for OxyContin and               9   reimburse use?
    10   hydrocodone.                                    10            MR. SOBOL: Objection.
    11       Q. Did you review any labels                11       A. As I sit here, do I know which
    12   beyond that that you recall?                    12   uses are most prevalent across all those
    13       A. Not that I recall.                       13   payors? No. No, I do not.
    14       Q. And I've looked at                       14   BY MR. ROTH:
    15   Attachment B. I don't think I saw drug          15       Q. Do you know whether Medicare,
    16   labels on your reliance list; is that           16   for example, reimburses patients for the use
    17   correct?                                        17   of prescription opioids for the treatment of
    18       A. That's correct.                          18   chronic pain?
    19       Q. Do you understand that                   19            MR. SOBOL: Objection.
    20   prescription opioids are approved in their      20       A. Well, I think you would be
    21   labels for the treatment of chronic pain?       21   talking about Medicare Part D. Just to be
    22            MR. SOBOL: Objection.                  22   clear, those are private insurers that are
    23       A. As I sit here, I couldn't tell           23   acting in the service of Medicare
    24   you which drugs have approvals for chronic      24   beneficiaries, and each, of course, has a
    25   pain on their labels, no.                       25   different formulary and may use different
                                              Page 23                                               Page 25
     1   BY MR. ROTH:                                     1   mechanisms to ensure appropriate drug use.
     2        Q. Do you recall whether the                2            So I think it would be hard to
     3   OxyContin and hydrocodone labels you reviewed    3   characterize that as Medicare as a whole.
     4   contained approvals for chronic pain for         4   BY MR. ROTH:
     5   those drugs?                                     5        Q. Do you know whether any of the
     6              MR. SOBOL: Objection, scope.          6   Medicare Part D insurers approve the use of
     7        A. I do not.                                7   opioids on their formularies for the
     8              MR. SOBOL: Just give me a             8   treatment of chronic pain?
     9        little bit of a chance to get my            9            MR. SOBOL: Objection.
    10        objections in, Professor. Just a           10        A. I do not know one way or the
    11        nanosecond.                                11   other. I do not believe that -- I do not
    12        A. I do not recall.                        12   know one way or the other whether there are
    13   BY MR. ROTH:                                    13   restrictions relative to the uses of
    14        Q. Have you ever taken a                   14   particular drugs for particular indications.
    15   prescription opioid before?                     15   BY MR. ROTH:
    16        A. I have not.                             16        Q. Okay. I'm going to mark as
    17        Q. Have you reviewed any medical           17   Exhibit 3 to your deposition a document that
    18   literature or guidelines on which uses          18   I pulled from your reliance list. It's
    19   prescription opioids are FDA approved for?      19   titled Medicare Program Policies and
    20        A. In the context of my report, I          20   Procedures, and it was linked to the Excellus
    21   discuss some of the guidelines, so I -- and     21   Blue Cross Blue Shield page.
    22   I've certainly reviewed those, for example,     22            (Whereupon, Deposition Exhibit
    23   the CDC guidelines. I don't know if that's      23        Rosenthal-3, Medicare Program
    24   what you're referring to. I'm not               24        Policies & Procedures, was marked for
    25   specifically myself offering an opinion on      25        identification.)
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     1   BY MR. ROTH:                                     1   a prescription for greater than a seven-day
     2       Q. Do you see that document?                 2   supply is medically necessary to manage the
     3       A. I do.                                     3   patient's pain.
     4       Q. And do you recognize this                 4            Do you see that?
     5   document as one that you reviewed?               5        A. I do.
     6       A. I do.                                     6        Q. And so at least for Blue Cross
     7       Q. Okay. So why did you have your            7   Blue Shield, it appears in their formulary
     8   team pull this document and why did you          8   they have a mechanism for approving the use
     9   review it in your work in this case?             9   of opioids to treat pain for longer than
    10       A. I'd actually have to look in my          10   seven days?
    11   report to see what I cite it for                11            MR. SOBOL: Objection. Blue
    12   specifically.                                   12        Cross Blue Shield of? Question mark.
    13       Q. Okay. If you look on the first           13            THE WITNESS: Are you waiting
    14   page, it says: Summary of Formulary Level       14        for me to answer your question?
    15   Opioid POS for Calendar Year 2019.              15            MR. ROTH: I was.
    16             Do you see that?                      16        A. This -- in this Excellus
    17       A. I do. And just to be clear,              17   formulary, they do indicate -- obviously this
    18   this is a single Medicare Part D carrier.       18   is 2019. They do indicate that mechanism.
    19   This is not official Medicare policy per se.    19   You had asked me before about chronic pain.
    20       Q. Right.                                   20   I don't know if you're trying to infer that
    21       A. But yes.                                 21   anything longer than seven days is chronic.
    22       Q. So if you look at page 3 of              22   I think that's not exactly the definition of
    23   this document, it talks about the review        23   chronic pain, so...
    24   criteria for Blue Cross Blue Shield for         24   BY MR. ROTH:
    25   opioid, seven-day supply limits.                25        Q. We'll get there.
                                               Page 27                                              Page 29
     1             Do you see that?                       1      A.     Okay.
     2      A.      I do.                                 2      Q.     I promise.
     3             MR. SOBOL: Objection.                  3            MR. SOBOL: I'll write that
     4   BY MR. ROTH:                                     4       down.
     5        Q. And then the first bullet -- or          5   BY MR. ROTH:
     6   it says before the bullets: An exception to      6       Q. Your direct and indirect
     7   the seven-day quantity limit of a shorter        7   regressions do not make any attempt to
     8   long-acting opioid may be permitted in           8   differentiate legitimate prescriptions from
     9   patients who meet one of the following           9   medically unnecessary ones; is that correct?
    10   criteria, A through F below.                    10            MR. SOBOL: Objection.
    11             Do you see that?                      11       A. The goal of my analysis is to
    12        A. I do.                                   12   examine the impact of the alleged misconduct,
    13        Q. And then the first bullet says:         13   and so I appropriately quantify all
    14   Approval will be a 30-day override for          14   prescriptions caused by the alleged unlawful
    15   scenarios A, B, C, D and E below.               15   marketing.
    16             And then there's a second             16   BY MR. ROTH:
    17   bullet below that. Do you see that?             17       Q. You're not an expert in
    18        A. Yes.                                    18   pharmaceutical marketing practices, correct?
    19        Q. And it says: Approval will be           19       A. I am not an expert in
    20   a 30-day override for scenario F below.         20   pharmaceutical marketing practices, although,
    21             Do you see that?                      21   again, I have studied pharmaceutical
    22        A. I do.                                   22   marketing and its effects and so I have a
    23        Q. And then under that bullet is E         23   high degree of familiarity.
    24   where it says: The requesting physician         24       Q. But you're not opining on which
    25   provides a supporting statement/attests that    25   of defendants' marketing practices were

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     1   unlawful?                                        1   defendants' marketing was unlawful when they
     2       A. That's correct. I have been               2   try their case some day?
     3   asked to assume that the marketing practices     3            MR. SOBOL: Objection.
     4   during the period from 1995 through the end      4        A. I'm relying on instructions
     5   of my data were unlawful.                        5   from counsel, yes.
     6       Q. And do you rely on anything               6   BY MR. ROTH:
     7   besides counsel's instruction to you to make     7        Q. You're not an expert on the
     8   that assumption?                                 8   DEA?
     9       A. Well, as you can see in my                9        A. I am not an expert on the DEA.
    10   report, I have reviewed documents, testimony    10        Q. And you're not an expert in
    11   from other experts. I understand the context    11   suspicious order monitoring?
    12   in which the alleged misconduct took place,     12        A. I am not.
    13   and so I have examined that assumption using    13        Q. Your analyses do not attempt to
    14   my expertise.                                   14   attribute any causality to opioid
    15       Q. But you're not offering an               15   manufacturers or distributors for alleged
    16   opinion as to whether that assumption is        16   suspicious order monitoring deficiencies,
    17   correct, or not?                                17   correct?
    18       A. I am not offering an opinion             18        A. I'm sorry. Could you just
    19   about that assumption, no.                      19   repeat that question? There was a lot there.
    20       Q. And one of the sources you               20        Q. Your analyses do not attempt to
    21   relied on to test the instruction that all of   21   attribute any causality to opioid
    22   defendants' misconduct was unlawful was         22   manufacturers or distributors for alleged
    23   Dr. Perri; is that right?                       23   suspicious order monitoring deficiencies?
    24       A. Yes, he is one of the other              24        A. No, my analysis does not
    25   experts I refer to.                             25   attribute causality related to those
                                              Page 31                                               Page 33
     1       Q. And are you aware that                    1   distributors.
     2   Dr. Perri testified last week that he didn't     2        Q. And, in fact, your analysis
     3   evaluate whether defendants' marketing was       3   does not attempt to attribute any causality
     4   lawful or appropriate?                           4   to distributors or pharmacies for any
     5            MR. SOBOL: Objection.                   5   activities that they conducted related to the
     6       A. Well, Dr. Perri is not a                  6   opioid issue?
     7   lawyer, so I would not expect him to deem        7            MR. SOBOL: Objection.
     8   anything lawful. He describes how                8        A. I was not asked to examine
     9   defendants' marketing efforts work, the          9   issues of causality related to the
    10   extent to which they conformed with standard    10   nonmarketing defendants. Is it okay if I use
    11   marketing practices, the extent to which he     11   that term, "marketing defendants," to
    12   deemed them appropriate as a pharmaceutical     12   describe what is in my report?
    13   marketer, as opposed to unlawful.               13   BY MR. ROTH:
    14   BY MR. ROTH:                                    14        Q. I'll use a different term if I
    15       Q. So there's no expert that                15   need to, but I understand what you're saying.
    16   you're relying on that makes that legal         16        A. Okay.
    17   conclusion as to whether defendants'            17        Q. You're not an expert in the
    18   marketing was lawful or not. Is that your       18   diversion of drugs for illicit use?
    19   understanding?                                  19        A. I'm not an expert in diversion,
    20       A. I'm relying on instructions              20   no.
    21   from counsel about the -- is lawfulness a       21        Q. And your analyses do not
    22   word? About the legality of the connect         22   attribute any causality for the -- what you
    23   conduct in question.                            23   call the opioid epidemic to criminal
    24       Q. You're relying on counsel's              24   diversion or drug cartels?
    25   confidence that they can prove that all of      25        A. I have not examined the
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     1   question of causality related to diversion       1   arose from the opioid manufacturers'
     2   and criminal activity.                           2   deliberately deceptive marketing strategy to
     3       Q. Your analyses do not attribute            3   expand opioid use, together with the
     4   any causality to government agencies for         4   distributors' equally deliberate efforts to
     5   approving opioids for certain medical uses --    5   evade restriction on opioid distribution.
     6             MR. SOBOL: Objection.                  6            Do you see that?
     7   BY MR. ROTH:                                     7       A. I do.
     8       Q. -- in the scope of the opioid             8       Q. Who are the manufacturers
     9   epidemic?                                        9   you're referring to in paragraph 6?
    10             MR. SOBOL: Objection.                 10       A. The manufacturers who are the
    11       A. I have not tried to examine --           11   defendants in this matter who marketed any of
    12   I guess I'm not entirely sure what that         12   the drugs at issue here.
    13   analysis would look like, but I have not        13       Q. And what is the misconduct that
    14   tried to examine the effects of specific        14   you're referring to in paragraph 6 that those
    15   scope -- of the scope of approval for opioids   15   manufacturers engaged in?
    16   and whether it had been different, whether      16       A. Its allegedly unlawful
    17   the results would have been different.          17   marketing, deceptive marketing of opioids.
    18   BY MR. ROTH:                                    18       Q. And what do you understand that
    19       Q. Okay. If you turn to                     19   deceptive marketing strategy to include?
    20   paragraph 6 of your report, you describe the    20       A. That deceptive marketing
    21   allegations in the bellwether complaints.       21   strategy includes classical marketing tactics
    22             Do you see that?                      22   such as detailing which we'll no doubt
    23       A. Yes.                                     23   discuss later is the most prominent form of
    24       Q. You say: I understand that               24   marketing in this sector, as well as
    25   this litigation brought by the City of          25   so-called unbranded advertising, which may
                                               Page 35                                              Page 37
     1   Cleveland, the City of Akron, Cuyahoga County    1   come in the form of patient information,
     2   and Summit County, collectively the              2   payments made to patient and professional
     3   bellwether governments, alleges -- and then      3   organizations that created guidelines around
     4   it goes on.                                      4   the use of opioids for pain. All of those
     5            Do you see that?                        5   tactics that I describe in greater detail in
     6       A. Yes.                                      6   my report.
     7       Q. Do you understand that the City           7       Q. And who are the distributors
     8   of Cleveland and the City of Akron are not       8   you're referring to in paragraph 6?
     9   bellwether plaintiffs at this time?              9       A. The distributors are McKesson,
    10       A. I do understand that.                    10   AmerisourceBergen. And there's a third, I'm
    11       Q. And then when you describe what          11   sorry, memory test on the defendants that I
    12   the complaints say, you say: The bellwether     12   did not look at. At the moment the third one
    13   governments allege, among other things, that    13   is escaping me.
    14   the defendants' conduct in promoting opioid     14       Q. When you refer to the
    15   use, addiction, abuse, overdose and death has   15   distributors' deliberate efforts to evade
    16   had severe and far-reaching public health,      16   restriction on opioid distribution, what are
    17   social services and criminal justice            17   you referring to?
    18   consequences, including the fueling of          18       A. Well, again, here, as you see,
    19   addiction and overdose from illicit drugs       19   I'm quoting the complaint, and I understand
    20   such as heroin.                                 20   that the distributors have an obligation to
    21            Do you see that?                       21   prevent so-called suspicious orders.
    22       A. I do.                                    22       Q. And you didn't evaluate or
    23       Q. And then you go on to say: The           23   analyze how the distributors complied with
    24   governments further allege that the opioid      24   those obligations and how that might affect
    25   epidemic and the need for increased services    25   causality; is that correct?
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     1            MR. SOBOL: Objection.                   1   defendants engineered a dramatic shift in how
     2       Objection, asked and answered.               2   and when opioids are prescribed by the
     3       A. I did not evaluate the                    3   medical community and used by patients.
     4   distributors' conduct, no.                       4            Do you see that?
     5   BY MR. ROTH:                                     5       A. I do.
     6       Q. So your models provide no                 6       Q. What do you understand to be
     7   analysis of causation by distributors or         7   the false and incomplete information that the
     8   pharmacies for what plaintiffs allege is the     8   alleged marketing campaign was premised on?
     9   opioid epidemic, correct?                        9       A. There are a number of
    10            MR. SOBOL: Objection, asked            10   components. At a high level, the main issue
    11       and answered.                               11   as I understand it as a health economist, not
    12       A. The distributors' conduct was            12   as a clinician, is -- was the -- that it was
    13   outside the scope of my report.                 13   conveyed to physicians and to the public that
    14   BY MR. ROTH:                                    14   opioids were safe; that the possibility of
    15       Q. I want to take a look at the             15   addiction was relatively low; that these
    16   complaints you site in footnote 18 and 19. I    16   drugs were effective, not just for cancer
    17   assume you looked at those complaints?          17   pain, but for a wide variety of acute and
    18       A. I did.                                   18   chronic pain.
    19       Q. Okay. So I'm going to mark as            19            And then there were other
    20   Exhibit 4...                                    20   messages that were conveyed that supported
    21       A. That is clearly not the whole            21   those general premises, including the fact
    22   complaint because I happen to know that it's    22   that extended release formulations of opioids
    23   several inches thick.                           23   would smooth out the peaks and valleys of
    24       Q. Correct. You're right. I'm               24   pain control; that as patients became
    25   going to mark as Exhibit 4 just the cover       25   tolerant to these drugs, that this was a
                                               Page 39                                             Page 41
     1   page and the paragraph I want to ask you         1   natural phenomenon and not a sign of
     2   about, from the Second Amended Complaint         2   addiction.
     3   filed by Summit County.                          3            There were certain notions such
     4            (Whereupon, Deposition Exhibit          4   as pseudoaddiction that were promoted through
     5       Rosenthal-4, Second Amended Complaint        5   communication by the marketing defendants.
     6       and Jury Demand, was marked for              6   And at the same time, it was also conveyed
     7       identification.)                             7   that physicians could identify some small
     8   BY MR. ROTH:                                     8   group of patients who might be more likely to
     9       Q. Do you have that in front of              9   abuse opioids and prevent and control abuse,
    10   you?                                            10   that this was an issue related to the
    11       A. I do.                                    11   individual characteristics and not to the
    12       Q. And if you look at                       12   products themselves.
    13   paragraph 10, which I excerpted from the        13       Q. Okay. What analysis did you do
    14   complaint. Do you see it?                       14   to test whether the detailing visits you
    15       A. Yes.                                     15   analyzed communicated that false and
    16       Q. It says: On the demand side,             16   incomplete information as you just described
    17   the crisis was precipitated by the defendants   17   it during those visits?
    18   who manufacture, sell and market prescription   18       A. Well, I think you misunderstand
    19   opioid painkillers, defined as the marketing    19   the entire premise here. As I noted earlier,
    20   defendants.                                     20   detailing, while it is the promotional tactic
    21            Do you see that?                       21   that I can best measure and use in my
    22       A. I do.                                    22   analysis, the allegations suggest that this
    23       Q. And then it says: Through a              23   campaign of misinformation permeated through
    24   massive marketing campaign premised on false    24   many other vehicles.
    25   and incomplete information, the marketing       25            And so it's not in my view,

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     1   again, as a health economist, a question of      1            MR. SOBOL: Objection.
     2   ascertaining what was in a particular detail,    2       A. Well, again, if that detailing
     3   but what was available in -- through key         3   is conveying false and misleading
     4   opinion leaders, what was available through      4   information, I understand -- I'm not a
     5   professional guidelines, all of that setting     5   lawyer, but I understand that it would be
     6   the context. So it's not so much about           6   unlawful. And so, you know, I do not -- I am
     7   looking for one co-mission as a much broader     7   not making an assumption that detailing in
     8   picture of what the information was that was     8   general is unlawful but that this detailing
     9   conveyed.                                        9   can be proved to be unlawful.
    10       Q. Okay. You've testified as a              10   BY MR. ROTH:
    11   causation or damages expert before, correct?    11       Q. A pharmaceutical rep going to a
    12            MR. SOBOL: Objection.                  12   doctor to drop off a pizza could be
    13       A. I have.                                  13   considered a detailing visit, correct?
    14   BY MR. ROTH:                                    14            MR. SOBOL: Objection.
    15       Q. And in general, you understand           15       A. A detailing visit generally
    16   that to opine on causation or damages, you      16   involves the conveyance of some information,
    17   have to tie the theory of liability to          17   maybe a pizza in addition, but the details
    18   damages?                                        18   that I'm looking at, there is a specific
    19            MR. SOBOL: Objection.                  19   product mentioned.
    20       A. Yes, and I have done that in my          20   BY MR. ROTH:
    21   report.                                         21       Q. But detailing visits can take
    22   BY MR. ROTH:                                    22   many forms, correct?
    23       Q. Okay. The complaint defines a            23            MR. SOBOL: Objection.
    24   theory of liability here as false and           24       A. Well, I'm not sure exactly what
    25   incomplete information, correct?                25   you mean by it. There's information conveyed
                                              Page 43                                              Page 45
     1        A. Yes, correct.                            1   about a product or a set of products, and
     2        Q. What have you done to confirm            2   detailing visits are face-to-face visits
     3   that the detailing visits you analyzed           3   between the salesperson and someone in the
     4   actually contained false and incomplete          4   physician's office.
     5   information as the complaint or you define       5   BY MR. ROTH:
     6   it?                                              6       Q. But you know that detailing
     7            MR. SOBOL: Objection, just              7   could just be the sales rep dropping off a
     8        asked and answered.                         8   placard with the product's label on it?
     9        A. As we talked about earlier,              9            MR. SOBOL: Objection.
    10   I've been asked to assume that counsel will     10       A. I think you misunderstand,
    11   prove that all or virtually all marketing       11   again, the interconnectedness of all of this.
    12   during the period from 1995 to the end of my    12   And so if a detail were something like you
    13   data was unlawful.                              13   just described -- I don't know about a
    14            So I have tested the                   14   placard, how about a coffee mug -- those
    15   reasonableness of that assumption in the        15   details are intended to reinforce messages
    16   review of the documents that we've talked       16   that have been conveyed in previous details
    17   about, in the review of other expert            17   that have been conveyed by key opinion
    18   opinions.                                       18   leaders.
    19            I have not, nor do I believe           19            I don't think it's appropriate
    20   it's necessary to make that causal step,        20   to pull these individual pieces out as if
    21   looked at individual details throughout the     21   they were not part of an integrated marketing
    22   period for my analysis.                         22   scheme, which is really precisely what
    23   BY MR. ROTH:                                    23   Dr. Perri talks about in his report.
    24        Q. You would agree that detailing          24   BY MR. ROTH:
    25   in and of itself is not unlawful?               25       Q. But you're not offering the
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     1   opinion that every time a sales rep detailed     1   that marketing since 1995 was unlawful.
     2   a doctor for an opioid product, that was         2   BY MR. ROTH:
     3   unlawful?                                        3       Q. Do you have any independent
     4             MR. SOBOL: Objection.                  4   understanding as to why that would be a good
     5        A. I am not offering any opinion            5   measuring date?
     6   about the unlawfulness of detailing, as we       6       A. As I sit here specifically, no.
     7   have spoken about before. I was asked to         7   It will get into the specific facts that I
     8   assume that plaintiffs' counsel would prove      8   describe in my report in terms of what is
     9   that marketing was unlawful.                     9   happening in opioid prescribing in the world
    10   BY MR. ROTH:                                    10   in 1995, and that is certainly a turning
    11        Q. We'll come back to this, but            11   point in the -- in opioid use, as you can see
    12   I'll give you a break from it.                  12   from the sales data I have.
    13             If you look back at                   13       Q. Is there a specific event that
    14   paragraph 7, you say in paragraph 7 of your     14   happened in 1995 that you believe was the
    15   report -- sorry: In this report I refer to      15   start of the unlawful marketing scheme
    16   the manufacturers' deceptive marketing          16   alleged in the complaint?
    17   strategy and tactics as manufacturer            17       A. As I sit here, I can't think of
    18   misconduct. This report does not address        18   anything specifically, no.
    19   nonmarketing misconduct.                        19       Q. Okay. I'm sure we'll talk
    20             Do you see that?                      20   about this later, but I know from sitting
    21        A. Yes.                                    21   through Professor McGuire's deposition and
    22        Q. What is your definition of              22   Professor Cutler's deposition, that as
    23   nonmarketing misconduct?                        23   Professor McGuire described it, there was a
    24        A. By that, I mean to describe             24   triumvirate of damages experts in this case?
    25   misconduct related to identifying and           25       A. Quadrumvirate.
                                               Page 47                                             Page 49
     1   intervening with suspicious shipments, the       1       Q. If you include Professor
     2   distributor misconduct, as I understand it,      2   Gruber?
     3   yes.                                             3       A. Yes.
     4       Q. Okay. And then in paragraph 8             4             MR. SOBOL: You can't forget
     5   you say: My assignment is to answer the          5       John.
     6   following questions framed by plaintiffs'        6   BY MR. ROTH:
     7   counsel.                                         7       Q. So you understand, I take it,
     8            Do you see that?                        8   that Professor Cutler calculates harms
     9       A. I do.                                     9   beginning in 2006?
    10       Q. And each of the bullets is               10       A. Yes.
    11   bounded -- I guess with the exception of the    11       Q. And did you review his report
    12   sensitivity -- each of the first three          12   before finalizing your report?
    13   bullets is bounded by the year 1995.            13       A. Before finalizing my report, I
    14            Do you see that?                       14   believe I did.
    15       A. Yes.                                     15       Q. And you had conversations with
    16       Q. So since 1995 I'm going to look          16   him about your models and I assume about his
    17   at causation.                                   17   models as well?
    18            Can you explain why 1995 was           18       A. With counsel present, we talked
    19   selected?                                       19   about the work as a whole.
    20            MR. SOBOL: Objection.                  20       Q. Okay. Do you know why
    21            No discussions with counsel,           21   calculating a harm from 2006 forward as he
    22       but if you have a general                   22   does requires looking at misconduct dating
    23       understanding, that's fine.                 23   back to 1995?
    24       A. My general understanding is              24             MR. SOBOL: You can answer only
    25   that counsel for plaintiffs intend to prove     25       if it's not based on counsel.

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     1        A. Based on my understanding of             1   to this, I break out non-defendant marketing
     2   the economic phenomena of interest, yes. So,     2   on behalf of defendants in my Table 3.
     3   as I'm sure we will discuss and you know, my     3             So I am looking at causation
     4   model examines the effects of marketing over     4   for non-defendants. I'm simply not
     5   time, and marketing has long-lasting effects.    5   attributing it to misconduct and therefore
     6   So what happened in 1995 is still affecting      6   passing it on to Professor Cutler.
     7   the world in 2006.                               7   BY MR. ROTH:
     8             Moreover, of course, harms such        8        Q. And with respect to the
     9   as overdose deaths are lagged somewhat to the    9   non-defendants, you're doing it on an
    10   start of someone's experience taking an         10   aggregate basis as opposed to specific
    11   opioid. So it's important to take a look at     11   companies; is that correct?
    12   the entire time period.                         12        A. My main analysis is on an
    13   BY MR. ROTH:                                    13   aggregate basis, and then I do some
    14        Q. And we will talk about the              14   sensitivity analysis where I remove
    15   stock of promotion and how you calculate        15   individual defendants and then all the
    16   that.                                           16   non-defendants' marketing on behalf of
    17             But the way you calculate that,       17   defendants.
    18   if you started back in 1990 or 1985, it would   18        Q. Do you know whether any of the
    19   still have an impact on 2006; isn't that        19   non-defendant manufacturers utilize similar
    20   right?                                          20   messaging in their promotional visits to the
    21             MR. SOBOL: Objection.                 21   ones that the defendant manufacturers did
    22        A. What's important is when the            22   that you described as the fraudulent scheme
    23   but-for marketing departs from actual           23   earlier?
    24   marketing, so that is why those earlier         24        A. I have not examined that
    25   periods matter and going back to 1985           25   question, no.
                                              Page 51                                               Page 53
     1   wouldn't matter because but-for and actual       1       Q. And if a court or jury were to
     2   marketing are the same.                          2   find that those types of messages were
     3   BY MR. ROTH:                                     3   unlawful for defendants, how would that
     4       Q. And the reason you say but-for            4   affect how you calculate causation with
     5   and actual marketing are the same is the         5   respect to the non-defendants?
     6   assumption that the scheme started in 1995?      6            MR. SOBOL: Objection.
     7           MR. SOBOL: Objection.                    7       A. That seems to me to be a legal
     8       A. Yes, the assumption that I used           8   question. This matter has a specific set of
     9   to calculate but-for marketing is that the       9   defendants, and I am calculating impact for
    10   defendants' marketing after 1995 was            10   those defendants. I'm not sure if you're
    11   unlawful.                                       11   suggesting if I could include other
    12   BY MR. ROTH:                                    12   manufacturers in those calculations?
    13       Q. You have not done any analysis           13   Absolutely. But that seems like it would be
    14   of causation as to non-defendant                14   outside the scope of this matter.
    15   manufacturers; is that correct?                 15   BY MR. ROTH:
    16           MR. SOBOL: Objection.                   16       Q. And I think we talked about the
    17       A. Well, my model includes all              17   illegal drug trade, but specifically, have
    18   opioids in this category. We can talk about     18   you done any analysis as to causation with
    19   I exclude the injectables. There's some         19   respect to pill mills?
    20   exclusions.                                     20            MR. SOBOL: Objection.
    21           But I examined the effect of            21       A. No, I have not.
    22   marketing on sales beyond the defendants, so    22   BY MR. ROTH:
    23   I provide causal estimates of the effective     23       Q. Or cartels or Internet sales of
    24   marketing on sales for non-defendants. And      24   opioids?
    25   then separately, again, I'm sure we will get    25       A. No, I have not.
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     1       Q. You've done no analysis as to             1   the question doesn't make a lot of sense to
     2   causation due to changes in reimbursement        2   me because of the fact there is this causal
     3   policies for prescription opioids?               3   chain, and what I've been asked to undertake
     4            MR. SOBOL: Objection.                   4   is an analysis of the impact of the allegedly
     5       A. I have not looked at changes in           5   unlawful marketing.
     6   reimbursements specifically, no.                 6            It goes through doctors, so
     7   BY MR. ROTH:                                     7   there -- the idea that there's a separate
     8       Q. You've done no analysis as to             8   analysis of the effect of doctors on
     9   causation as to changes in medical guidelines    9   prescribing, they're already in my analysis.
    10   for the use of opioids?                         10   The question about parsing liability for
    11       A. Well, I do, as you know, in one          11   those groups, I have not undertaken that
    12   model look at the effects of certain            12   because I'm not a lawyer, and I was not asked
    13   guideline-related events, so that happens in    13   to offer an opinion on that.
    14   my Model C. But aside from that, I have not     14   BY MR. ROTH:
    15   modeled other changes in guidelines, but to     15       Q. And when you say the doctors
    16   some extent there, yes.                         16   are already in the analysis, they're in the
    17       Q. You've done no analysis of               17   analysis to the extent you're talking about
    18   causation as to patients or users of            18   detailing, but other factors that may
    19   prescription opioids?                           19   influence the doctors' prescribing decision
    20            MR. SOBOL: Objection.                  20   are not accounted for in your analysis,
    21       A. I'm not really sure what you             21   correct?
    22   mean by that. My analysis is an                 22            MR. SOBOL: Objection.
    23   industry-level analysis, so the patients of     23       A. Well, again, I would say that's
    24   course are the ones filling the prescriptions   24   not entirely correct because these other
    25   that I'm counting and measuring.                25   factors that I capture in my model using
                                               Page 55                                              Page 57
     1            So in the indirect analysis, I          1   those eras, in addition in Model C, using the
     2   look at population characteristics as they       2   specific dummy variables, those operate
     3   are associated with shipments,                   3   through physicians.
     4   cross-sectionally, so that is in some sense a    4            And again, because these are
     5   patient-level analysis. I'm not entirely         5   prescribed products, the doctor has to write
     6   sure what you had in mind, however.              6   the prescription in every case, so even, you
     7   BY MR. ROTH:                                     7   know, efforts, for example, to change the way
     8       Q. You don't attribute any                   8   state medical boards enforce prescribing
     9   causality to prescribing doctors?                9   around opioids, that's -- that's ultimately
    10            MR. SOBOL: Objection.                  10   directed at doctors.
    11       A. Again, I am -- marketing is to           11   BY MR. ROTH:
    12   doctors, and the doctors have to write the      12       Q. You agree that doctors act as a
    13   prescriptions, so they are in the causal        13   trusted intermediary when it comes to
    14   chain of my analysis.                           14   prescribing opioids?
    15            The mechanism is a detailing           15            MR. SOBOL: Objection.
    16   contact. If doctors did not respond to those    16       A. As a matter of the way this
    17   details, then they -- my results would be       17   market works, yes, that doctors are intended
    18   quite different.                                18   to be the agents of their patients.
    19   BY MR. ROTH:                                    19   BY MR. ROTH:
    20       Q. I understand they're in the              20       Q. You say in your report,
    21   causal chain. What I'm trying to understand     21   paragraph 14: Physicians act as a trusted
    22   is how your models assign a percentage of       22   intermediary in prescription drug
    23   causality to prescribing doctors.               23   decision-making.
    24            MR. SOBOL: Objection.                  24            MR. SOBOL: Objection.
    25       A. Again, from my point of view,            25       A. Yes.
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     1   BY MR. ROTH:                                      1       Q. Okay. So other than detailing
     2       Q. And, in fact, you just said                2   visits, professional guidelines and what
     3   patients cannot lawfully obtain prescription      3   physicians' peers do, can you think of any
     4   opioids without a doctor's prescription.          4   other factors that influence a doctor's
     5            MR. SOBOL: Objection.                    5   prescribing decisions when it comes to a
     6       A. Yes, that is correct.                      6   product like prescription opioids?
     7   BY MR. ROTH:                                      7       A. Well, clearly doctors rely in
     8       Q. So the doctor's an essential               8   part on the product label. I think there's
     9   link in a patient legally obtaining               9   some debate as to how much they rely on the
    10   prescription opioids.                            10   product label, and if you've tried to read
    11       A. Yes, physicians must write                11   them, they're -- they tend to be very dense.
    12   those prescriptions for them to be legal.        12            The beauty of marketing
    13       Q. And you agree that while                  13   messages is that they are very simple, easy
    14   patient preferences play a role in the choice    14   to follow.
    15   of therapy, physicians have enormous             15       Q. Okay. You understand that
    16   influence over healthcare decisions?             16   opioids have black box warnings on their
    17            MR. SOBOL: Objection.                   17   product label?
    18       A. Yes, I believe you just quoted            18       A. Yes, I do understand that.
    19   me.                                              19       Q. And you understand that the FDA
    20   BY MR. ROTH:                                     20   has issued a REMS program for certain
    21       Q. And to quote you again:                   21   opioids?
    22   Professional norms encourage physicians to       22       A. Yes, I understand that.
    23   use their clinical skills, knowledge and         23       Q. And do you know what a REMS is?
    24   experience to make therapeutic choices that      24       A. The acronym, actually, I cannot
    25   are in the best interest of their patients?      25   say exactly what it is, but it is a condition
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     1       A. Just to be clear, I make those             1   for prescribing. They differ by drug, so a
     2   points because this is the reason why             2   well-known one is that females who want to be
     3   physicians are the target for this kind of        3   on Accutane, they all have to be on some kind
     4   misleading marketing, but it would not be         4   of contraceptive. Products come with some
     5   enough, for example, to mislead patients          5   conditions to ensure their safe use.
     6   through some direct-to-consumer advertising       6        Q. Have you performed any study or
     7   campaign.                                         7   analysis of the effect that a black box
     8            This is why physicians are the           8   warning has on the prescription of a product
     9   target of this misinformation is because          9   with a black box warning like opioids?
    10   patients trust them.                             10            MR. SOBOL: Objection.
    11       Q. Okay. But clearly, marketing              11        A. I haven't specifically examined
    12   is not the only thing that controls a            12   the effects of a black box warning. Again,
    13   doctor's prescribing decision, correct?          13   in my description of the timeline of events
    14       A. Marketing -- I think it depends           14   here, I include those -- the black box
    15   on how you describe marketing, and in my         15   warning, the REMS, for extended release and
    16   report, I give a sort of ecosystem around        16   long-acting opioids as part of my timeline.
    17   which physician behavior is affected and         17            You know, as a matter of the
    18   patient behavior. So we can think about          18   way the -- both the marketing schemes and the
    19   marketing as details. That is clearly not        19   public health responses unfolded in this
    20   the only thing that affects physician            20   matter, there were many changes, all around
    21   decision-making, but professional guidelines     21   the same time, making it difficult to
    22   also do. What their peers say and do also        22   identify the effect of any one of them.
    23   does.                                            23            So I haven't done a regression
    24            All of those things were                24   specifically with the black box warning in
    25   affected by the alleged misconduct.              25   it. If you look at the data, however,

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     1   there's no sharp fall-off when the black box     1   some of those factors in the nature of my
     2   warning comes up.                                2   model, which we will no doubt talk about,
     3   BY MR. ROTH:                                     3   and, in fact, the effectiveness of marketing
     4        Q. Are you aware of any literature          4   begins to decline around the period that
     5   that reviews how a black box warning affects     5   these policies went into effect.
     6   the impact of marketing for the product with     6            And so I do capture that by
     7   a black box warning on prescribing               7   allowing the environment to change the
     8   physicians?                                      8   effectiveness of the marketing.
     9        A. I'm aware that such literature           9   BY MR. ROTH:
    10   exists, and I've certainly looked in detail     10       Q. Have you performed or reviewed
    11   at that matter in the case of other products    11   any study or analysis of the information
    12   such as antipsychotics, where marketing         12   available to doctors regarding opioids over
    13   essentially was designed to counteract the      13   time?
    14   black box warning, so I think that's commonly   14       A. I have reviewed some materials
    15   a strategy by manufacturers is to try to        15   that you can see in my report at a high level
    16   soften the effects of the black box warning.    16   in terms of, for example, what -- what the
    17            And in published literature,           17   CDC was saying in their guidelines. That's a
    18   there's a mixed view about how effective        18   channel for information, and certainly the
    19   black box warnings are in changing behavior.    19   REMS, the fact of those coming out.
    20        Q. And can you think of any study          20            I have not systematically
    21   as you sit here today that says that even in    21   looked at the broader information. I rely in
    22   the face of a black box warning, physicians     22   part on other experts to describe that.
    23   will prescribe the products in a way that is    23   Again, Dr. Perri's report does quite a bit of
    24   antithetical to the black box warning?          24   that.
    25            MR. SOBOL: Objection.                  25       Q. You understand that opioids
                                               Page 63                                              Page 65
     1        A. I can't think of a specific              1   have been used for the treatment of pain for
     2   paper. I can recall a specific analysis that     2   centuries?
     3   I did looking at antipsychotics when the         3            MR. SOBOL: Objection.
     4   black box warning went into effect that          4       A. I do understand that opioids,
     5   basically said there's a substantial increase    5   yes, opium and morphine in particular, yes,
     6   in mortality for the elderly for -- using        6   have been used for many, many decades.
     7   antipsychotics, which was generally done as a    7   BY MR. ROTH:
     8   method of chemical control for patients in       8       Q. And the addictive property of
     9   long-term care in particular. And                9   opiates, whether they be opium or opioids,
    10   physicians, while there was an initial drop     10   has also been long known.
    11   in prescribing it, very quickly went back to    11            Would you agree with that?
    12   existing levels despite the fact that there     12       A. Yes. Again, I wouldn't rely on
    13   were these very severe consequences.            13   my own expertise for that, but I understand
    14   BY MR. ROTH:                                    14   that, certainly, from reading the clinical
    15        Q. But you haven't performed that          15   experts' reports, and as a general matter I
    16   analysis for any prescription opioid product    16   believe it's long been known that opium and
    17   at issue in this case?                          17   morphine were addictive, in the Civil War and
    18        A. I have not.                             18   before that.
    19        Q. So you don't know how the black         19       Q. You say in paragraph 15 of your
    20   box warning or the REMS impacted the            20   report that both physicians and patients --
    21   effectiveness of defendants' marketing on       21   let me know when you're there. Got it?
    22   opioids?                                        22       A. Yes.
    23            MR. SOBOL: Objection.                  23       Q. Both physicians and patients
    24        Objection.                                 24   face an information problem in selecting
    25        A. Again, I attempt to capture             25   pharmaceutical treatments that challenges

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     1   typical conclusions about well-functioning       1   BY MR. ROTH:
     2   markets.                                         2        Q. So you think the market just
     3            Do you see that?                        3   never has enough information for people to
     4       A. Yes.                                      4   make informed decisions?
     5       Q. And that paragraph goes on to             5        A. I'm an empirical economist, and
     6   talk about how these are experienced goods,      6   like you, I was aware that opiates had been
     7   and further down: For example, and in the        7   around for a long time, and yet, in the
     8   present matter, the stigma associated with       8   middle 1990s, we see this dramatic increase
     9   opioid addiction likely compounded the           9   in opioid prescribing. To what -- that is
    10   information problems.                           10   clear evidence that something dramatic
    11            And then the last sentence: In         11   shifted, and I understand that if the
    12   light of these information problems, it would   12   allegations are proven, that something is
    13   be reasonable to expect that market forces      13   marketing.
    14   alone would fail to protect consumers against   14             I don't think that there's any
    15   false claims of product efficacy and safety.    15   truth in the world that could not be reversed
    16            Do you see that?                       16   by good marketing.
    17       A. Yes, I do.                               17        Q. So your view is even today,
    18       Q. I notice you don't call out              18   with the publicity that the opioid issues
    19   addictiveness separately. I mean, do you        19   have gotten and the CDC guidelines, there
    20   think that there's insufficient market          20   still are people with incomplete information
    21   information for doctors or the general public   21   that are continuing to be fooled by
    22   to know about the addictiveness of              22   marketing?
    23   prescription opioids?                           23             MR. SOBOL: Objection.
    24       A. I intended to include                    24        A. I would say that that is very
    25   addiction, which is clearly the biggest risk    25   likely, that there are still people who
                                               Page 67                                               Page 69
     1   of opioids, when I was talking about risks       1   continue to believe that opioid treatment is
     2   and side effects. It's a more general            2   a relatively safe prescribing opportunity,
     3   statement here, but that was my intention.       3   and certainly, while we've seen a fairly
     4             And, yes, as I -- as I                 4   substantial decline in prescribing, it has
     5   understand the facts here, while doctors         5   not yet gone back to 1995 levels.
     6   understood that opiates and opioids had          6   BY MR. ROTH:
     7   addictive properties, that because of the        7       Q. And you would attribute some of
     8   defendants' misconduct, there was essentially    8   the substantial decline in prescribing to
     9   a shift in the belief about the relative         9   market information coming to light, would you
    10   trade-offs between addiction risk and pain      10   not?
    11   control, and that again, the addiction risks    11       A. I would attribute it to public
    12   were downplayed substantially, despite prior    12   health interventions, some of which are
    13   knowledge that these newer products were        13   informational, some of which are more
    14   somehow different and would somehow not         14   restrictive, just simply putting limits on
    15   deliver the same addiction risk.                15   prescribing.
    16        Q. Okay. But at a certain point            16            So it's a combination of
    17   in time market information can become robust    17   informational and command and control efforts
    18   enough that the players in the market           18   on the public health side.
    19   understand the true nature of what they're      19       Q. Okay. I think we talked about
    20   dealing with.                                   20   this, but I'm going to ask again because I'm
    21             Do you agree with that as a           21   not sure.
    22   general proposition?                            22            You would agree that doctors
    23             MR. SOBOL: Objection.                 23   are motivated by many factors beyond just
    24        A. No, I would not agree with that         24   marketing?
    25   as a general proposition.                       25            MR. SOBOL: Objection.

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     1        A. I guess I'm not sure the                 1   observing patients over time is a very
     2   context for that statement, so I -- I would      2   difficult way to ascertain whether an
     3   agree that physicians do not rely solely on      3   antidepressant is working, whether an opioid
     4   marketing for decision-making. You said          4   is working, and how.
     5   motivated, and I guess I don't know what you     5            As I noted earlier in our
     6   mean by that.                                    6   discussion that my understanding of one of
     7   BY MR. ROTH:                                     7   the allegations is that defendants encouraged
     8        Q. I'll take your answer.                   8   doctors to ignore what would have been signs
     9            Physicians do not rely solely           9   of addiction by just saying, no, no, that's
    10   on marketing when making a prescribing          10   just the patient adjusting. Of course, you
    11   decision?                                       11   need to titrate up the dose.
    12        A. Yes, I think that's true, and           12            So I think it's a very
    13   still, marketing has a really important         13   complicated situation for physicians or
    14   effect on their behavior.                       14   patients to really ascertain what's happening
    15        Q. Physicians rely on clinical             15   in terms of effectiveness.
    16   results and scientific publications to make     16   BY MR. ROTH:
    17   prescribing decisions?                          17       Q. You understand, though, that
    18            MR. SOBOL: Objection.                  18   for opioids, the FDA requires randomized
    19        A. In some cases, they may do so,          19   clinical trials on efficacy before they
    20   and as I note in my report, relying on          20   approve use of those drugs?
    21   clinical results when there's not a clear       21       A. Yes, I do understand that.
    22   feedback loop, there's not a -- there's not a   22   Those randomized control trials do not cover
    23   blood test for pain, so, you know, when I put   23   every use that physicians ultimately
    24   you on Lipitor, I can check your cholesterol    24   prescribed opioids for, and I think that's
    25   and know whether it's working or not.           25   part of what the concern here, is the -- what
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     1            But when I put you on an                1   we might in health policy call indication
     2   opioid, I have to take you at your word about    2   creep.
     3   what you're feeling and reporting to me.         3            So also, those randomized
     4            So I think relying on results           4   control trials are very short term. They're
     5   is a very tenuous notion in this case.           5   always short term by definition because of
     6   BY MR. ROTH:                                     6   the cost of undertaking those trials.
     7        Q. Is that true for                         7       Q. Okay. None of your models
     8   antidepressants as well?                         8   account for the impact of published clinical
     9        A. It may well be true for                  9   results for opioids on prescribing doctors,
    10   antidepressants as well.                        10   correct?
    11        Q. So in your world, are there             11            MR. SOBOL: Objection.
    12   certain drugs that we just never know the       12       A. My models do not explicitly
    13   efficacy of because they're essentially         13   account for publications, no.
    14   subjective in whether or not they're taking     14   BY MR. ROTH:
    15   effect?                                         15       Q. Do you agree that prescribing
    16            MR. SOBOL: Objection.                  16   habits may be confounded by other unobserved
    17        A. I don't yet have my own world.          17   doctor-specific characteristics?
    18   I'm working on that. But in the actual          18       A. In a time series analysis, such
    19   world, there are certain properties of drugs,   19   confounding would only be of concern if the
    20   of certain drugs, that -- where it's really     20   trend in those characteristics was in some
    21   hard to ascertain their effectiveness, and so   21   way negatively or positively correlated with
    22   that's one of the reasons, of course, we rely   22   marketing. I can't think of anything that
    23   on randomized control trials that have -- try   23   would fit that category.
    24   to clear out a lot of dust and capture          24       Q. I'm not talking about your
    25   information in a systematic way, and purely     25   regressions. I'm just asking a more global

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     1   question, which is: An individual doctor's       1   unobserved physician-specific characteristics
     2   prescribing habits can be confounded by other    2   such as inertia in prescribing patterns,
     3   unobserved characteristics?                      3   brand loyalty, patient mix, tolerance for
     4            MR. SOBOL: Objection.                   4   risks and preferences toward trade-offs
     5       A. I don't know what you mean by             5   between efficacy, contraindications and
     6   confounded. When you say confounded, I am        6   long-term use for prophylactic purposes.
     7   assuming -- and please correct me if I'm         7            Do you see that?
     8   wrong -- that you're asking that in a sort of    8        A. Yes. And again, those are all
     9   statistical sense.                               9   cross-sectional concerns, so when one is
    10   BY MR. ROTH:                                    10   doing an analysis, as they do, that
    11       Q. Yeah. Okay. So, I am.                    11   incorporates both cross-sectional and time
    12            (Whereupon, Deposition Exhibit         12   series variation, so they have a panel of
    13       Rosenthal-5, 2016 Datta and Dave            13   physicians that they're looking at their
    14       Publication, was marked for                 14   prescribing for a particular herpes drug and
    15       identification.)                            15   its competitors.
    16   BY MR. ROTH:                                    16            And when you're looking
    17       Q. Let me mark as Exhibit 5 is              17   cross-sectionally like that at
    18   Datta and Dave study --                         18   physician-level data, you would need to
    19       A. I keep thinking it's "Dah-vay."          19   account for those physician characteristics
    20       Q. You know, I did too. Well,               20   when you're looking at aggregate data over
    21   however you pronounce the gentleman's name, I   21   time that you would not need to look for
    22   apologize, Effects of Physician-directed        22   those characteristics.
    23   Pharmaceutical Promotion on Prescription        23        Q. And you look at aggregate data?
    24   Behaviors: Longitudinal Evidence.               24        A. That's correct.
    25            Do you have that in front of           25        Q. Did you try to look at
                                               Page 75                                              Page 77
     1   you?                                             1   physician-specific cross-sectional data?
     2        A. I do.                                    2             MR. SOBOL: Objection.
     3        Q. And this is a study you rely on          3       A. Unlike Datta and Dave, I do not
     4   and cite in your report?                         4   have promotional data at the individual
     5        A. That's correct.                          5   physician level. As you no doubt noted in
     6        Q. And this study actually looked           6   their literature review, it's fairly uncommon
     7   at longitudinal evidence and developed a         7   to be able to get data that have
     8   regression to determine the effect of            8   physician-level detailing, which is what they
     9   marketing and other behaviors?                   9   use, as well as prescribing habits. So there
    10        A. Yes. But just to be clear,              10   are a few marketing scholars who essentially
    11   when they say longitudinal, they're not         11   have had good relationships with companies
    12   wrong, but they're talking about two years of   12   and have been able to get those kinds of
    13   data. This is -- this is a bit different        13   data. I don't have access to those data.
    14   than the aggregate time series that I used.     14   BY MR. ROTH:
    15   So just to be clear, they have multiple         15       Q. Well, you understand that all
    16   observations per physician over a two-year      16   these companies are defendants in the case
    17   period.                                         17   and have produced documents as part of the
    18        Q. Okay. If you turn to page 456,          18   lawsuit, correct?
    19   and at the bottom of the page -- or sorry,      19             MR. SOBOL: Objection.
    20   let me get myself to the right place. Sorry,    20       A. I understand that these
    21   it's -- yeah, it's 456, bottom of the page.     21   companies have produced documents as part of
    22        A. Okay.                                   22   the lawsuit. They have not produced data
    23        Q. The very last sentence, it              23   with detailing information by physician that
    24   says: Furthermore, the link between DTPP and    24   can be identified and linked to prescribing.
    25   prescribing habits may be confounded by other   25             ///

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     1   BY MR. ROTH:                                     1   single manufacturer's detailing, you could
     2       Q. And --                                    2   run an analysis similar to Datta and Dave
     3       A. I did look for those data.                3   using whatever data were available for that
     4       Q. You did look for it. And                  4   manufacturer?
     5   that's true of every single manufacturer         5            MR. SOBOL: Objection.
     6   defendant, there is no physician-level           6        A. There are two levels of
     7   detailing data available?                        7   aggregation here. One is from the doctors up
     8             MR. SOBOL: Objection.                  8   to the total product level, and the other is
     9       A. There were no physician-level             9   from the product to the defendant to the
    10   detailing data for any manufacturer that        10   whole class, if I can use that term to
    11   covered the period of interest. So in order     11   describe all the opioids that we're
    12   for me to do my analysis, I would need those    12   interested in here.
    13   data for all the defendants for the entire      13            So Datta and Dave are at the
    14   time period.                                    14   most granular level, the individual doctor
    15             So where -- to the extent that        15   prescribing for an individual drug.
    16   we found any data, they were bits and pieces    16            I am interested in
    17   of contact registries, essentially sales        17   understanding how marketing as a whole drove
    18   databases, which are not the same level as      18   sales in this market and I want to capture
    19   what these folks have -- they have actual       19   all of the spillover effects. They're trying
    20   linked data, linkable.                          20   to tease out other kinds of effects.
    21   BY MR. ROTH:                                    21            This analysis could not be used
    22       Q. But you didn't take the                  22   to get an answer to the question what would
    23   specific data you had for individual            23   have happened if these manufacturers had not
    24   defendants for whatever time period you had     24   marketed their products.
    25   to test the results of your regression          25            ///
                                               Page 79                                             Page 81
     1   against a model you could do on just that        1   BY MR. ROTH:
     2   data?                                            2        Q. And the reason you're
     3            MR. SOBOL: Objection, form and          3   interested in the aggregate question is that
     4       asked and answered.                          4   was the charge you were given by plaintiffs'
     5       A. There would be no such test.              5   counsel was to look at the aggregate impact
     6   These -- the goal of my analysis and the goal    6   as opposed to an individual
     7   of Datta and Dave's analysis are completely      7   defendant-specific impact?
     8   different. So there -- there would be no         8        A. Well, again, there are multiple
     9   point in comparing those results.                9   levels of aggregation here, so if I -- my
    10            They are trying to ascertain           10   model, as you know, can be used to parse out
    11   the extent to which detailing across            11   individual defendants as I have done in
    12   physicians drives marketing impact, so          12   Table 3 of my report, so it can look at an
    13   they're really interested in questions like,    13   individual defendant, and I've shown you
    14   you know, what -- how -- how much does it       14   results excluding individual defendants. So
    15   make sense for a company to detail high         15   it is already doing that.
    16   prescribers versus low prescribers to a         16             It's the cross-sectional nature
    17   greater degree.                                 17   of what they're modeling here with the
    18            I'm interested in the aggregate        18   physician-fixed effects. They're really
    19   impact, and so that is what my model does       19   trying to tease apart how manufacturers go
    20   best. Their model would not be appropriate      20   about targeting doctors for marketing and
    21   for ascertaining the aggregate impact.          21   what effect that has.
    22   BY MR. ROTH:                                    22             I'm not interested in that
    23       Q. I understand you're interested           23   effect, and so it wouldn't be appropriate
    24   in the aggregate impact, but if one were        24   even if I were only looking for one
    25   interested in the individual impact of any      25   defendant.
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     1        Q. So you're not interested in              1   and Dave type analysis we've been discussing?
     2   trying to ascertain how manufacturers'           2            MR. SOBOL: Objection, asked
     3   targeting for marketing has an effect.           3       and answered.
     4             What is the question you're            4       A. I think, again, you
     5   seeking to answer?                               5   misunderstand what the utility of the Datta
     6             MR. SOBOL: Objection.                  6   and Dave analysis is. It is an analysis that
     7        A. The question that I'm seeking            7   is designed to dig into how marketing works
     8   to answer is what is the effect of marketing     8   and not whether.
     9   by defendants for opioid products on their       9            There would be no utility in
    10   sales, and if that effect --                    10   comparing results of a Datta and Dave
    11   BY MR. ROTH:                                    11   analysis, if one were possible, with my
    12        Q. I'm sorry to stop you. At an            12   aggregate results because the questions
    13   aggregate level, I assume you mean?             13   they're looking at are entirely different.
    14        A. At an aggregate level. Again,           14   BY MR. ROTH:
    15   my model can look -- pull out the effect for    15       Q. And why is the question you
    16   individual defendants, but at an aggregate      16   answer only about how marketing works as
    17   level.                                          17   opposed to whether?
    18             And so all I'm saying is that         18       A. No. Sorry. Their how.
    19   if that effect comes because one manufacturer   19       Q. Okay. Why is -- So how are you
    20   targets just the high prescribers and is very   20   answering the question through your aggregate
    21   effective there and another manufacturer        21   model whether marketing works if you're not
    22   details everybody, that is not relevant to      22   looking at it on an individualized
    23   what I have been asked to undertake in this     23   doctor-specific level?
    24   case, and so I don't go into the level of --    24            MR. SOBOL: Objection.
    25   the physician level the way Datta and Dave do   25       A. My analysis is a model of the
                                               Page 83                                             Page 85
     1   because it's -- it's not relevant to my          1   effect of detailing as a whole for this
     2   conclusions.                                     2   class, its effect on sales in the form of
     3       Q. Have you tried, for any of the            3   milligrams of morphine equivalent, just to be
     4   individual manufacturers for which you have      4   clear.
     5   specific data, to pressure test your             5             So my right-hand side variable
     6   conclusions in Table 3, from removing them       6   is detailing. My left-hand side variable is
     7   from the aggregate data to see if those hold?    7   MMEs. Datta and Dave -- so that tells me, if
     8            MR. SOBOL: Objection, form.             8   marketing increases in this area as a whole,
     9       A. Can you repeat? Because I just            9   what happens to MMEs? That's the question
    10   want to make sure I understand the question     10   that relates to my assignment.
    11   you're asking.                                  11             Datta and Dave are asking, you
    12   BY MR. ROTH:                                    12   know, can we examine and tease out to what
    13       Q. Yeah. So as I understand your            13   extent manufacturers target specific types of
    14   model -- and again, we will get into the        14   physicians and whether the prescribing of
    15   details, I promise -- but you essentially       15   physicians is more driven by this targeting
    16   back out from the aggregate model individual    16   question or by the marketing effectiveness.
    17   defendants, and you present those in Table 3.   17             They're doing so on a very
    18            MR. SOBOL: Objection.                  18   short time period in the scheme of things,
    19       A. That's correct.                          19   right? So two years of data doesn't --
    20   BY MR. ROTH:                                    20   doesn't allow them to look, for example, at
    21       Q. So my question is: Have you              21   what happened before that two-year time
    22   run a Datta and Dave type of analysis for any   22   period in terms of the buildup of knowledge
    23   of the individual manufacturers listed in       23   about these products, all of those things
    24   Table 3 to compare how the aggregate results    24   that are captured in the stock of detailing
    25   in Table 3 hold compared against the Datta      25   that I use.
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     1            And so they have this                   1            I meant the more general. Do
     2   interesting work that tells us something         2   you agree that sort of the prescribing and
     3   about responsiveness of physicians, but it       3   treatment standards of care can influence
     4   doesn't get us to the aggregate question         4   prescribing decisions?
     5   about how -- to what extent does marketing       5       A. Again, I would say if we looked
     6   across all of their drugs affect the size of     6   at my ecosystem, I don't know that I call out
     7   the market.                                      7   standards of care specifically, but if those,
     8   BY MR. ROTH:                                     8   for example, are set in part by what your
     9       Q. What have you done to answer              9   peers are doing, if those are set in part by
    10   the individualized question of whether          10   professional guidelines, then, yes, I believe
    11   targeting certain physicians by the             11   that those are relevant determinants of
    12   manufacturers in this case was the cause of     12   physician behavior.
    13   additional MMEs as opposed to the               13            And as I said earlier, I also
    14   effectiveness of the marketing overall?         14   believe that those would be affected by the
    15            MR. SOBOL: Objection.                  15   alleged misconduct.
    16       A. That question is not relevant            16       Q. Although detailing is not the
    17   to my charge. I want to understand what is      17   same as affecting the standards of care,
    18   the total effect. I have -- I do not know       18   right? Those are two different marketing
    19   why the court would want to understand what     19   channels?
    20   aspects of the targeting of specific            20       A. It's not clear to me that
    21   physicians that drive marketing increases.      21   detailing would not affect the standards of
    22   BY MR. ROTH:                                    22   care. Detailing could, for example, try to
    23       Q. What have you done to answer             23   convince individual physicians that it's okay
    24   the individualized question of whether          24   to prescribe opioids more broadly by citing
    25   certain messaging by individual manufacturers   25   guidelines, by citing peers and key opinion
                                              Page 87                                               Page 89
     1   led to an increase in MMEs?                      1   leaders. So I think it could well be wrapped
     2            MR. SOBOL: Objection.                   2   up. I don't know why they'd be independent.
     3       A. As we have discussed, I am                3       Q. Do you agree that patient
     4   taking an assumption from counsel, as experts    4   preference can affect a physician's
     5   always do, that they will prove their case,      5   prescribing decision?
     6   and specifically, the relevant assumption I      6       A. Yes, of course patient
     7   have made is that all or virtually all           7   preference can affect a physician's
     8   marketing by defendants from 1995 to the end     8   prescribing decision.
     9   of my data was unlawful.                         9       Q. Loyalty to certain drugs can
    10            I have reviewed documents and          10   affect a physician's prescribing decision?
    11   other expert reports. I have not parsed out     11       A. Physicians -- it has been found
    12   individual messages and in any way parsed out   12   in the literature that physicians have a
    13   the marketing that I assume to be unlawful in   13   tendency to prescribe a particular drug once
    14   my model to differentiate from one to           14   they've gotten used to it, so in the
    15   another.                                        15   antidepressant class, for example, that's
    16   BY MR. ROTH:                                    16   been shown.
    17       Q. Do you agree that standards of           17       Q. Drug reimbursement policy can
    18   care influence prescribing decisions?           18   affect physician's prescribing decisions?
    19       A. What -- do you mean by                   19             MR. SOBOL: Objection.
    20   standards of care something very general or     20       A. Yes, all of these factors, the
    21   do you mean that in the sort of the             21   last two factors, I would say they're most
    22   negligence sense, since you're a lawyer?        22   likely to affect physician prescribing
    23       Q. That's fair. You've done this            23   patterns by the specific brand or brand -- in
    24   a lot because you went somewhere that I         24   the case of reimbursement, brand versus
    25   wasn't going.                                   25   generic as opposed to whether the physician
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     1   prescribes an opioid.                            1   agree with you on that, though?
     2   BY MR. ROTH:                                     2       A. I'm not sure that that's true.
     3       Q. And we'll get to this later,              3       Q. We'll look at it.
     4   but to the extent you're looking at detailing    4            A doctor's own medical judgment
     5   visits, you don't differentiate between          5   can affect prescribing decisions?
     6   detailing visits that are just driving at        6       A. I think it would be very
     7   rivalrous marketing to get a prescriber to       7   difficult to say that that was not true.
     8   switch opioids versus detailing visits that      8       Q. And in fact, I think Professor
     9   are trying to get doctors to prescribe           9   Cutler has got a working paper where he draws
    10   opioids as a class of therapy?                  10   that conclusion. Have you studied that or
    11       A. I don't differentiate on the             11   read that paper?
    12   right-hand side, and so if, in fact,            12       A. You'd have to put it in front
    13   detailing was all rivalrous, my results would   13   of me.
    14   show that marketing doesn't affect sales. So    14       Q. We can look at it quickly.
    15   that is the point of the analysis, is to        15            (Whereupon, Deposition Exhibit
    16   ascertain.                                      16       Rosenthal-6, 2015 Cutler et al Working
    17             So you could imagine doing an         17       Paper, was marked for identification.)
    18   analysis in a market that has a fixed size,     18   BY MR. ROTH:
    19   where all marketing is rivalrous, and there's   19       Q. So I'll mark as Exhibit 6
    20   some discussion for other drugs where           20   Physician Beliefs and Patient Preferences: A
    21   marketing appears to be more about market       21   New Look at Regional Variation in Health Care
    22   share and not about driving the size of the     22   Spending.
    23   market as a whole.                              23            And if you look at page 5, do
    24             But, in fact, my analysis shows       24   you see in the middle of the page there's a
    25   that the market expansion effects were          25   paragraph that starts with "Ultimately"?
                                               Page 91                                              Page 93
     1   important, whether or not there was also         1      A.      Uh-huh.
     2   rivalry.                                         2      Q.      He says --
     3       Q. You agree, though, that if a              3             MR. SOBOL: Wait, is this an
     4   manufacturer was only engaged in rivalrous       4       excerpt or is this the whole article?
     5   marketing, for example, that would be            5             THE WITNESS: It's an excerpt.
     6   qualitatively different than trying to make      6             MR. ROTH: It's an excerpt.
     7   the market and convince prescribers to move      7       It's an excerpt.
     8   patients on to opioids?                          8       A. I just want to just review the
     9       A. I don't believe in the                    9   front piece so I can --
    10   conceptual premise that you have just put       10   BY MR. ROTH:
    11   forth that there's such a thing as purely       11       Q. Sure.
    12   rivalrous marketing, in the case where the      12       A. -- understand what it's about.
    13   market is not fixed by some reason.             13             (Document review.)
    14            So even if, you know, I go and         14       A. Okay.
    15   I market for Coke and it's not that I'm         15   BY MR. ROTH:
    16   trying to get you to drink more                 16       Q. So in the paragraph I was
    17   sugar-sweetened beverages, I just want you to   17   pointing you to, it says: Ultimately, the
    18   stop drinking Pepsi, that will still remind     18   largest degree of residual variation appears
    19   some people that, oh, yeah, I should think      19   to be explained by differences in physician
    20   about having a Coke this afternoon instead of   20   beliefs about the efficacy of particular
    21   my usual coffee.                                21   therapies. Physicians in our data have
    22            So I think there will be               22   starkly different views about how to treat
    23   market-increasing spillovers even from purely   23   the same patients. These views are not
    24   rivalrous marketing.                            24   strongly correlated with demographics,
    25       Q. The economic literature doesn't          25   financial incentives, background or practice
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     1   characteristics and are often inconsistent       1   when they're prescribing.
     2   with evidence-based professional guidelines      2        Q. And then you also mentioned
     3   for appropriate care.                            3   this earlier, but risk aversion or potential
     4            Do you see that?                        4   medical malpractice liability could also
     5       A. Yes, I do.                                5   influence prescribing decisions?
     6       Q. And do you have any reason to             6        A. That is possible. That is
     7   believe that is not true of physicians when      7   possible, and I believe that is part of what
     8   they prescribe opioids?                          8   the model guidelines for state medical boards
     9            MR. SOBOL: Objection.                   9   is intended to address.
    10       A. Well, just to be clear, the              10        Q. Okay. And just so I understand
    11   context that they're looking at is not one      11   your position on this, do you believe there
    12   that's subject to marketing, but in any case,   12   are aspects of a doctor's prescribing
    13   there's no presumption here that those          13   decision that are unaffected by marketing, or
    14   beliefs are not set by some other factors,      14   is it your view that marketing infiltrates
    15   right.                                          15   everything in their mind at the time they
    16            So they're -- they're --               16   decide to prescribe a product like a
    17   they're trying to identify all the forces       17   prescription opioid?
    18   that they can measure, including financial      18            MR. SOBOL: Objection.
    19   incentives and other characteristics, and so    19        A. I don't know exactly what you
    20   they're putting in beliefs everything else.     20   mean by that, but I can tell you what I
    21            But that's not to say that             21   believe. I believe that modern
    22   those beliefs couldn't be shaped by             22   pharmaceutical marketing, including the
    23   marketing. So I think it would be a mistake     23   tactics that are described in the complaint
    24   to consider beliefs as independent. I           24   in this matter, is comprehensive and
    25   wouldn't say that they're a hundred percent     25   ubiquitous.
                                               Page 95                                              Page 97
     1   set by marketing, but they're clearly            1            Does that mean it is strictly
     2   influenced by marketing. That's really the       2   determinative of what every physician does
     3   issue at hand here.                              3   for every patient? No, I do not believe
     4   BY MR. ROTH:                                     4   that. I do believe that marketing, it can't
     5       Q. Are there physicians in the               5   be teased out in terms of looking just at
     6   world who don't allow detailing in their         6   what physicians were detailed, but it has an
     7   offices?                                         7   influence that is quite broad.
     8             MR. SOBOL: Objection.                  8            Other factors will certainly be
     9       A. Yes. But again, I think                   9   important, but the question here is really
    10   conceptually, that's the wrong way to look at   10   what is the incremental effect of marketing
    11   this, as I have noted in my report, that even   11   on the prescriptions that physicians write.
    12   if you never have someone detail you,           12   BY MR. ROTH:
    13   you're -- you're connected with peers, you      13       Q. Have you reviewed the facts of
    14   are getting messages through professional       14   any prescription by a doctor of an opioid in
    15   societies.                                      15   this case?
    16             It would be hard to imagine a         16       A. I don't think so, no.
    17   physician who's completely untouched by the     17       Q. And you don't know how, on an
    18   alleged misconduct in this matter.              18   individual level, a specific doctor was
    19   BY MR. ROTH:                                    19   affected by a detailing visit in your model
    20       Q. Do you agree that                        20   because you haven't done that analysis?
    21   characteristics of individual patients can      21       A. I have not looked at individual
    22   obviously affect prescribing decisions?         22   physician-level data as we discussed, and I
    23       A. Yes. I would hope that                   23   do not believe it is the most appropriate
    24   physician characteristics matter to -- sorry,   24   path to fulfilling my assignment.
    25   patient characteristics matter to physicians    25       Q. Okay. And your model does not
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     1   attribute any percentage of causality to        1   say: Insurance coverage among the elderly is
     2   prescribing doctors for the increased volume    2   virtually universal, and among those enrolled
     3   of MMEs that you calculate?                     3   in Medicare, the vast majority have
     4             MR. SOBOL: Objection, asked           4   prescription drug coverage either through
     5        and answered.                              5   Medicare Part D or retiree plan.
     6        A. As we've discussed earlier,             6            Do you see that?
     7   that notion, just conceptually, I struggle      7       A. Yes.
     8   with the idea that you're asking me to          8       Q. We talked about this a little
     9   consider. Every prescription in my data was     9   bit earlier, but are you aware of pharmacy
    10   written by a physician.                        10   benefit managers?
    11   BY MR. ROTH:                                   11       A. Yes, I am.
    12        Q. Right. But I asked a little            12       Q. What are they?
    13   bit of a different question.                   13       A. Pharmacy benefit managers are
    14             You don't have a percentage          14   essentially specialty health insurers. They
    15   line in your report for doctors the way you    15   manage only the pharmaceutical part of the
    16   do in Table 3?                                 16   health benefit, and they typically contract
    17             MR. SOBOL: Objection, asked          17   either with a primary health insurer or a
    18        and answered.                             18   self-insured employer.
    19        A. Well, again, just that would           19       Q. And what role do they play in
    20   make no sense to me, so the marketing in       20   providing insurance coverage or approving
    21   question operates through doctors.             21   prescriptions of opioids?
    22             MR. ROTH: Why don't we take a        22       A. Pharmacy benefit managers, they
    23        five-minute break.                        23   have pharmacy networks, so they negotiate
    24             MR. SOBOL: Okay.                     24   contracts with pharmacies. They adjudicate
    25             THE VIDEOGRAPHER: The time is        25   claims electronically. They typically define
                                             Page 99                                              Page 101
     1       9:31 a.m. We're now off the record.         1   formularies, so which drugs are covered, and
     2           (Recess taken, 9:31 a.m. to             2   they offer employers and health plans
     3       9:46 a.m.)                                  3   alternative copayment structures. So those
     4           THE VIDEOGRAPHER: The time is           4   are their main roles.
     5       9:46 a.m. We're back on the record.         5       Q. And you just mentioned
     6   BY MR. ROTH:                                    6   formularies. How would you define what a
     7       Q. Professor Rosenthal, if you              7   formulary is?
     8   could turn to page 13 of your report,           8       A. A formulary is a list of
     9   paragraph 16, and tell me when you're there.    9   covered drugs. An open formulary means that
    10       A. Yes.                                    10   the list is preferred drugs, but other drugs
    11       Q. You've got a heading, The Role          11   are still eligible for reimbursement. A
    12   of Public and Private Health Insurance.        12   closed formulary is a list of drugs that are
    13           Do you see that?                       13   exclusively covered by a health plan.
    14       A. Yes.                                    14       Q. Given the pervasiveness of
    15       Q. And you say in paragraph 16:            15   insurance and the role that PBMs and
    16   Another distinguishing feature of              16   formularies play, what analysis did you
    17   pharmaceutical demand is the widespread        17   perform on the role of insurers in assessing
    18   presence of insurance coverage. As of 2017,    18   the volume of MMEs in your models?
    19   approximately 88% of nonelderly adults have    19       A. Well, if I understand you
    20   insurance coverage through a private or        20   correctly, I think we have a very similar
    21   public health insurance plan.                  21   situation conceptually to the one we talked
    22           Do you see that?                       22   about earlier with physicians, not a hundred
    23       A. I do.                                   23   percent the same.
    24       Q. And then you go on to talk              24             But PBMs and health insurers
    25   about the Affordable Care Act and then you     25   adjudicate and pay for claims associated with

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     1   opioid prescriptions. There is a small           1   physical therapy, that would affect the level
     2   percentage of consumers that pays for their      2   of sales. It would not be correlated with
     3   own prescription drugs. It varies from drug      3   and therefore confound the effect of
     4   class to drug class, but perhaps 5 or 10% of     4   marketing.
     5   individuals pay out of pocket, and therefore     5   BY MR. ROTH:
     6   PBMs and health insurers have no role, but in    6       Q. Okay. Talking about physical
     7   the context of insured patients, the insurer     7   therapy, nonsteroidal antiinflammatory drugs,
     8   is on the causal chain between the sales data    8   other things that could be used to treat the
     9   we see and the marketing I measure.              9   same things as opioids, so we're on the same
    10       Q. And did you do any analysis as           10   page.
    11   to how the insurer influences the MMEs          11       A. Okay. When you say "things,"
    12   ultimately prescribed through their role in     12   do you mean pain?
    13   the causal chain?                               13       Q. Pain -- primarily, yeah, pain,
    14            MR. SOBOL: Objection, asked            14   I would say.
    15       and answered.                               15            MR. SOBOL: Why don't we start
    16       A. Like many of the individual              16       again.
    17   factors we talked about when it comes to        17            MR. ROTH: Okay.
    18   patient characteristics and physician           18   BY MR. ROTH:
    19   characteristics, characteristics of the         19       Q. I'm talking about substitutes
    20   health insurance coverage are included in my    20   that could be used to treat pain other than
    21   analysis implicitly but not explicitly.         21   prescription opioids, including your example
    22            Because my analysis is                 22   of physical therapy, nonsteroidal
    23   concerned with looking at these aggregate       23   antiinflammatory drugs and other such
    24   trends, there's not an appropriate place to     24   therapies, okay?
    25   look at the variation in health benefits, as    25       A. Okay.
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     1   I believe I think you're asking.                 1        Q. And just so we have a clean
     2   BY MR. ROTH:                                     2   transcript, you have not studied how
     3       Q. Did you study how insurance               3   insurance coverage for prescription opioids
     4   coverage for prescription opioids compares to    4   compares to insurance coverage for substitute
     5   substitutes or alternatives for the              5   therapies for the treatment of pain?
     6   conditions prescription opioids are              6        A. I have not studied that because
     7   prescribed for?                                  7   it is not appropriately captured in the
     8            MR. SOBOL: Objection.                   8   analysis that I do, no.
     9            MR. ROTH: Let me rephrase the           9        Q. Do you agree that insurers will
    10       question because that came out              10   sometimes create formularies to pursue less
    11       muddled.                                    11   costly therapies?
    12   BY MR. ROTH:                                    12        A. Yes, I would say the
    13       Q. Did you study how insurance              13   formularies are typically designed to balance
    14   coverage for prescription opioids compares to   14   affordability and accessibility of effective
    15   insurance coverage for their substitutes?       15   treatment. So costs are one of the
    16            MR. SOBOL: Objection.                  16   considerations in creating a formulary.
    17       A. I did not study individual               17        Q. And to the extent formularies
    18   benefit designs for opioids, and I am not a     18   prefer prescription opioids because they cost
    19   hundred percent sure I know where you're        19   less than other therapies, that might drive
    20   going with that question, but if you're         20   consumption of prescription opioids?
    21   asking about physical therapy, for example, I   21             MR. SOBOL: Objection.
    22   did not look at coverage.                       22        A. I'm just -- I just want to
    23            Again, in the context of my            23   understand, make sure I understand the
    24   analysis, if, for example, there were           24   question.
    25   differences in coverage for opioids versus      25             If formularies had more
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     1   generous coverage for opioids than some          1   appropriate to include in there.
     2   alternative pain therapy, that that might        2       Q. So you didn't test it as a
     3   again -- it might affect the level of sales      3   variable to confirm your presumption based on
     4   of opioids relative to other pain therapies.     4   your model's output that it wasn't
     5            It would not -- that difference         5   correlated?
     6   would not be correlated with the intensity of    6            MR. SOBOL: Objection, form,
     7   marketing in a given period, and therefore,      7       asked and answered.
     8   it would not be confused with the effect of      8       A. You've created this
     9   marketing.                                       9   hypothetical about differences in formulary
    10            So I think it's really                 10   coverage. When you say you didn't test it as
    11   important that we get very clear that there     11   a variable, I don't think that's a variable
    12   are factors, such as patient characteristics,   12   exactly. I'm not sure how one would measure
    13   such as these formulary differences that will   13   the relative coverage generosity, so I have
    14   affect in a cross-sectional way the             14   not looked at that, no.
    15   difference between whether I get opioids and    15   BY MR. ROTH:
    16   whether you get opioids, the use of opioids.    16       Q. You said there's literature
    17            But that does not mean that            17   saying that insurance expansion did not cause
    18   they will affect opioid sales over time or,     18   increased opioid prescriptions. What are you
    19   more specifically, in a way that's correlated   19   thinking of?
    20   with marketing, and therefore, would confound   20       A. There's a paper by Brendan
    21   my estimates.                                   21   Saloner. I believe it's cited in my report,
    22   BY MR. ROTH:                                    22   but I'm just going to look at my Documents
    23       Q. How do you know that those               23   Relied on. It does not appear to be there.
    24   issues would not affect opioid sales over       24       Q. So it's something you reviewed
    25   time or be correlated with marketing?           25   outside of the context of this case that is
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     1       A. Well, a couple of things. One,            1   not on your Attachment B or cited in your
     2   we do know from the research of others that      2   report?
     3   insurance expansion does not appear to have      3        A. Yes. I didn't rely on it in my
     4   caused increased opioid prescribing, so that,    4   analysis, but I -- it's a paper that I've
     5   as a high-level matter, suggests that these      5   reviewed. Brendan Saloner happens to be a
     6   factors are not important.                       6   student of ours from Harvard and, in general,
     7            The -- we also know from                7   I try to keep up with the literature in areas
     8   looking at detailing that, you know, clearly,    8   that I'm interested in.
     9   aggregate detailing in this market has been      9        Q. Because it wasn't disclosed in
    10   substantial over these particular time          10   your report, I haven't seen it yet, but I'll
    11   periods, leading to a stock of detailing that   11   look at it between now and the end of your
    12   I'm sure we'll look at, but is visually         12   deposition and we can talk about it.
    13   depicted in my report.                          13        A. Yes.
    14            The cross-sectional variation          14        Q. If you look at --
    15   in the generosity of coverage for particular    15             MR. SOBOL: Do you have a
    16   drugs is a phenomenon that just could not be    16        spelling on the last name then?
    17   correlated with those marketing increases       17        A. S-A-L-O-N-E-R.
    18   over time.                                      18   BY MR. ROTH:
    19       Q. You say it's a phenomenon that           19        Q. And do you know what kind of
    20   could not be correlated, but you did not        20   study it was or the title or the date? Any
    21   include variation in the generosity of          21   identifying information would be helpful.
    22   coverage as an independent variable in either   22        A. It would have been in the last
    23   of your models, correct?                        23   couple of years, and, yes, I don't -- I think
    24       A. It is not included in my model,          24   it would have had the Affordable Care Act in
    25   no, and again, I do not believe it's            25   its name.
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     1       Q. Okay. But you do agree that if            1   report, is that one of the challenges in this
     2   there is insurance coverage for opioids, that    2   market is that physicians are making the
     3   could lead to more utilization of opioids?       3   decisions and they are neither financially
     4       A. I guess I believe that                    4   responsible for nor them generally aware
     5   insurance coverage at some level has an          5   about prices.
     6   effect on sales, and -- and that -- that         6   BY MR. ROTH:
     7   effect is captured in the aggregate sales        7       Q. No, that's helpful.
     8   data.                                            8             If you look at paragraph 17,
     9            So to the extent that coverage          9   the reason I asked the question is you say:
    10   for some people was less generous, sales are    10   The lack of price sensitivity on the part of
    11   lower, so that's captured in the data. And      11   physicians and patients due to insurance has
    12   like other factors, my model uses, for          12   had two important consequences.
    13   example, changes in prices. It uses the         13             If I understand your testimony,
    14   specific eras that I have delineated that       14   really, we should focus on the physicians
    15   show the environment in which marketing was     15   more than the patients. Patients may, in
    16   generating sales changed. Health insurance      16   fact, be price sensitive.
    17   might be part of that change.                   17       A. So when I'm using the term
    18            And so I believe that this fact        18   there -- and thank you for pointing me to
    19   is appropriately captured in my model. The      19   that -- I'm really talking about the total
    20   cross-sectional variation that you're talking   20   price of the drug. And so generally, because
    21   about, differences among people, that does      21   patients have insurance, they see a small
    22   not belong in an aggregate time series model.   22   copayment, and so those copayment -- they may
    23       Q. Do you agree that there is               23   be sensitive to those copayments, which are
    24   price sensitivity with respect to the           24   the relevant price at the pharmacy for an
    25   prescription and consumption of prescription    25   insured consumer, but they're not sensitive
                                             Page 111                                              Page 113
     1   opioids?                                         1   to the total price of the drugs.
     2            MR. SOBOL: Objection.                   2       Q. Well, they're sensitive to
     3       A. Well, I think there are two               3   whether it's covered by insurance or not in
     4   parts to what you just asked, and I'm a          4   the first instance, though.
     5   health economist, so I won't say I don't         5       A. Yes. I mean, I would think
     6   believe in price sensitivity.                    6   about that as a continuous thing, right.
     7            As you may know, healthcare is          7   Coverage is a function of whether, but also
     8   less sensitive to prices than other goods,       8   the generosity of coverage.
     9   and I describe the reasons why that is true      9       Q. Yeah. Just to give you a
    10   in my report. But consumers do respond to       10   concrete example, so Mrs. Smith goes to the
    11   the out-of-pocket cost, and that may again      11   doctor for back pain and he says you could do
    12   mean that people are more likely to use a       12   occupational therapy with Dr. Jones down the
    13   generic if one is available. It may affect      13   street for six months and try that out, or I
    14   the level -- the extent to which people fill    14   can write you a prescription for hydrocodone.
    15   prescriptions at all. So there may be an        15   One is covered, one is not. She's going to
    16   effect on aggregate sales.                      16   prefer the covered choice, I would think, as
    17            I would expect on the patient          17   a consumer.
    18   side it would have an effect on which opioid    18       A. Well, that's not how I would
    19   they would use more likely than whether.        19   approach that question as an economist, but,
    20            On the physician side, which I         20   you know, I would say that the out-of-pocket
    21   thought was implicit in the way you framed      21   cost of those alternatives is one factor, and
    22   the question, it's not at all clear that        22   there are other kinds of costs and benefits.
    23   physicians are price sensitive. They            23       Q. All things being equal, if
    24   frequently lack information on things like      24   she's solely driven by the price tag, she's
    25   benefit design, and I address that in my        25   going to prefer the covered therapy as
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     1   opposed to the uncovered therapy, recognizing    1   report, detailing is generally a national
     2   as you did that there may be other reasons       2   phenomenon.
     3   why she might have a preference?                 3            And I take the relationship
     4       A. Such as addiction risk and the            4   between detailing and sales, and I apply it
     5   like. I think the out-of-pocket cost will be     5   to Summit and Cuyahoga, or it ultimately gets
     6   relevant to that decision.                       6   applied downstream rather, but I do not have
     7       Q. I promise we're almost to your            7   detailing at a level other than national and
     8   models. Just one more general area first.        8   so cannot run a model at a lower level of
     9            Your direct model is based on           9   geography.
    10   national data with respect to detailing,        10            It's my belief that these
    11   correct?                                        11   patterns are the same across the country, and
    12       A. Yes, it is.                              12   I believe there's some testimony to that
    13       Q. And nationwide data with                 13   effect.
    14   respect to MMEs dispensed as well?              14   BY MR. ROTH:
    15       A. Yes, it is.                              15       Q. So you did not model marketing
    16       Q. Your indirect model is based on          16   within either Summit or Cuyahoga County
    17   the ARCOS data, which you describe as county    17   against MMEs within Summit or Cuyahoga
    18   level, and we can talk about that later; is     18   County?
    19   that right?                                     19       A. As we've discussed, my model
    20       A. Yes.                                     20   looks at these relationships at a national
    21       Q. Okay. That was a terrible                21   level because that is really the level at
    22   question.                                       22   which manufacturers set their strategy and
    23            So your indirect model is based        23   the appropriate level to look at the
    24   on the ARCOS data, which is then subdivided     24   effectiveness of marketing.
    25   into county-level data.                         25       Q. Do you know how many of the
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     1       A. It is. I guess when you say               1   detailing visits in your data occurred in
     2   subdivided, I think it comes that way, but       2   Summit County or Cuyahoga County?
     3   yes, right.                                      3       A. In the IMS -- or, rather,
     4       Q. And your indirect model does              4   excuse me, the IQVIA data specifically, there
     5   not have a detailing variable because you're     5   is not a method for apportioning those from
     6   essentially solving for marketing by             6   county to county.
     7   including other variables in that approach?      7       Q. Did you do any analysis as to
     8       A. Yes. The purpose of the                   8   whether the impact of defendants' marketing
     9   indirect model is to go another way around       9   varied by county, or was it not done because
    10   and ignore the detailing data.                  10   you assumed it was national in scope?
    11       Q. If you take out -- put another           11             MR. SOBOL: Objection.
    12   way, if you take out everything else that       12       A. I believe that is appropriate
    13   would be relevant, what is left is detailing    13   to assume that the effectiveness, the
    14   in the indirect model?                          14   relationship between marketing and sales is
    15       A. Yes.                                     15   the same across counties, and -- and again,
    16       Q. Okay. So the only model with             16   my data do not allow me to parse out
    17   detailing data is the direct model, and for     17   detailing at a county level.
    18   that you use national data?                     18             So where -- where it is
    19       A. That's correct.                          19   possible to parse out sales at a county
    20       Q. So you don't have any model              20   level, it is not possible to do so for
    21   that measures the effect of detailing within    21   detailing. So I did not test that.
    22   either Summit or Cuyahoga County?               22   BY MR. ROTH:
    23            MR. SOBOL: Objection.                  23       Q. Okay. Professor Cutler takes
    24       A. My model looks at detailing as           24   your percentage, though, and applies it to
    25   a national phenomenon, which as I note in my    25   his regression, which is done at a county
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     1   level; is that right?                            1   shipments in that county, conditional on
     2            MR. SOBOL: Objection.                   2   marketing.
     3       A. Professor Cutler's                        3   BY MR. ROTH:
     4   calculations, once he has looked at the          4       Q. Put another way, though, you
     5   effect of shipments on harms, he then applies    5   would not expect differences in shipments
     6   my percentage to that, yes.                      6   across counties to be caused by marketing
     7   BY MR. ROTH:                                     7   where you presume all marketing is national
     8       Q. Did you have any conversations            8   in scope?
     9   with Professor Cutler about the fact that he     9             MR. SOBOL: Objection.
    10   was taking your national model and then         10       A. I don't believe that that's the
    11   applying it to his county model and what that   11   right way of looking at it. So if there's a
    12   might mean for his results?                     12   specific relationship between marketing and
    13            MR. SOBOL: That's a yes or a           13   sales and -- it could well be that counties
    14       no.                                         14   start at different levels of use, and so the
    15       A. Yes.                                     15   incremental effect of those relationships, as
    16   BY MR. ROTH:                                    16   you see in Professor Cutler's analysis,
    17       Q. Did you have any of those                17   materializes differently in those counties.
    18   conversations outside of the presence of        18             That doesn't mean the effect of
    19   counsel?                                        19   marketing was different. It's just the
    20       A. No.                                      20   baseline was different.
    21       Q. Do you have any view about the           21   BY MR. ROTH:
    22   propriety of taking a national model as         22       Q. But I think you said that's an
    23   you've done and then inputting that into a      23   issue you would defer to Professor Cutler.
    24   county-specific model as Professor Cutler has   24   You don't have an opinion on how your
    25   done?                                           25   national model plugs into his county model
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     1       A. Yes. I believe the national               1   and why the differences may occur in
     2   model is appropriate. Again, because             2   shipments?
     3   marketing strategy is a national phenomenon,     3            MR. SOBOL: Objection.
     4   the national data are a reliable way to          4       A. It's my opinion that it's
     5   ascertain the relationship between marketing     5   appropriate to take my national estimates.
     6   and sales.                                       6   National-level analysis is the most robust
     7            I have used the same                    7   analysis. It's the place where the data are
     8   methodology, for example, in the Neurontin       8   really reliable. I think it's appropriate
     9   matter concerning Kaiser. We used a national     9   for Professor Cutler to use those estimates
    10   model to estimate the relationship between      10   in the way that he has.
    11   marketing and sales and applied that to a       11   BY MR. ROTH:
    12   single healthcare system.                       12       Q. But you have no opinion that
    13       Q. So if marketing is, in your              13   explains why we may be seeing variation
    14   view, nationally done and substantially         14   between county-level shipments in his model
    15   similar, why is there a difference in           15   despite him using your national model on
    16   shipments on a county level the way Professor   16   marketing?
    17   Cutler's modeled it?                            17            MR. SOBOL: Objection, asked
    18            MR. SOBOL: Objection, scope.           18       and answered.
    19       A. This of course is the subject            19       A. I do not have an opinion
    20   of Professor Cutler's report, and I -- I'm      20   specifically on that, no.
    21   not sure as I sit here I could tell you         21   BY MR. ROTH:
    22   exactly the factors, but it is obviously        22       Q. You do not attempt to link any
    23   counties are situated differently in ways       23   specific prescription to any specific
    24   that he captures in his cross-sectional model   24   defendant's marketing; is that fair?
    25   of harms that could absolutely affect the       25       A. Are you asking me whether I'm
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     1   looking prescription by prescription, these      1   correct?
     2   ones were caused and those ones were not?        2            MR. SOBOL: Objection.
     3   The analysis -- the but-for analysis is a        3       A. Well, it depends on really what
     4   world that did not occur, of course. Would       4   you're talking about. When I have had
     5   you agree?                                       5   individual physician-level data in the past,
     6            The but-for world where the             6   they are sales data. So again, I think the
     7   marketing didn't happen, didn't happen. So       7   challenge is not disaggregating the sales
     8   my analysis can tell me about the correct        8   data.
     9   aggregate amount. It does not identify one       9            There are products that exist;
    10   prescription at a time.                         10   sometimes they require subpoenas to get them,
    11        Q. Okay. Yeah. Just so the                 11   but there are products that exist that allow
    12   record is clear, we've been through this, but   12   us to look at prescribing at a physician
    13   you did an aggregate model. You didn't build    13   level, but not at detailing at a physician
    14   it from the ground up on a                      14   level. So those data I have not used because
    15   prescription-by-prescription,                   15   I have not seen them.
    16   detail-by-detail basis?                         16       Q. Well, but, for example, an
    17            MR. SOBOL: Objection.                  17   individual manufacturer may keep detailed
    18        A. Right. If I may, the -- I did           18   call notes of the doctor visits that their
    19   an aggregate model. The aggregate sales of      19   sales representatives engage in, correct?
    20   course are the sum of individual                20       A. Well, I have seen call notes in
    21   prescriptions, but I am looking at the          21   the past, and I have always found them to be
    22   national level at total marketing on total      22   unusable.
    23   sales.                                          23       Q. And why is that, out of
    24            It's not that it's unknowable          24   curiosity?
    25   what those prescriptions were underneath the    25       A. They often do not include
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     1   sales data. That's not the -- that's not the     1   provider identifiers, so they can't be linked
     2   challenge. The challenge is a conceptual         2   to other data. They are incomplete, and
     3   one.                                             3   they -- they are often produced -- so
     4            The but-for scenario didn't             4   incomplete in the sense of the call notes
     5   happen, so I cannot say precisely which          5   have a lot of blank fields, and they're often
     6   prescriptions would not have been written,       6   produced for short time periods.
     7   only that there is some group of them.           7       Q. But you didn't look at any
     8   BY MR. ROTH:                                     8   individual manufacturer call notes in this
     9       Q. I know you said earlier you               9   case in conjunction with your expert report
    10   looked for manufacturer-specific detailing      10   or opinions?
    11   notes and marketing information. Did you        11       A. I looked to see if there was a
    12   find or learn of any manufacturer-produced      12   source of complete data for -- in order to do
    13   data on detailing to specific doctors within    13   such an analysis, and my staff worked with
    14   Summit or Cuyahoga County?                      14   counsel to identify documents or databases
    15       A. I don't recall.                          15   and did not find any.
    16       Q. And it's fair to say if that             16       Q. Pivoting back to Professor
    17   does exist, it's not something you reviewed     17   Cutler for one more second. Have you worked
    18   or relied on for Attachment B?                  18   as an expert in other cases where you've only
    19            MR. SOBOL: Objection.                  19   modeled causation and then another expert has
    20       A. I did not use individual                 20   taken that forward and put into it a damages
    21   physician-level data, no.                       21   model as Professor Cutler has done here?
    22   BY MR. ROTH:                                    22       A. Yes.
    23       Q. And individual physician-level           23       Q. And what case was that or
    24   data, as you may have used in other cases,      24   cases, if there's more than one?
    25   would be drug specific and doctor specific,     25       A. Yes. In Neurontin, I did the

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     1   same, in that order. In other cases I've         1   marketing from where the damages were being
     2   done the reverse where I've done damages and     2   calculated?
     3   someone else has done causation.                 3        A. As I sit here, I can't recall
     4       Q. Okay. And in Neurontin or                 4   all the calculations. I believe, again, I
     5   those other cases, whether you were on the       5   produced the same kinds of but-for
     6   causation side or the damages side, have you     6   percentages and passed those along to the
     7   before encountered the issue you have here       7   damage model.
     8   where you have a national model and then a       8        Q. Okay. Other than the Kaiser
     9   localized model communicating with each other    9   case, can you think of any other examples
    10   to calculate damages?                           10   like that one?
    11            MR. SOBOL: Objection.                  11        A. Not absolutely, but it wouldn't
    12       A. Yes. As I noted earlier, in              12   surprise me if I had done something like this
    13   Neurontin, I used a national model to connect   13   before. I have been involved in some state
    14   to damages for Kaiser.                          14   cases. I just can't recall.
    15   BY MR. ROTH:                                    15        Q. Okay. What is regression
    16       Q. And the damages -- you used a            16   analysis?
    17   national model, but what was the damages        17        A. Regression analysis is a
    18   model based on? What was it localized, or       18   statistical methodology that uses data to try
    19   was it also national?                           19   to understand the relationships among
    20       A. It was localized. It was based           20   variables, and in particular, to identify the
    21   on Kaiser.                                      21   effects of certain explanatory variables on
    22       Q. Based on a single company it             22   some dependent variable of interest.
    23   sounds like you're saying. When you say         23        Q. And what is a time series
    24   Kaiser, what do you mean?                       24   regression?
    25       A. Yes, that's right. Kaiser was            25        A. A time series regression is a
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     1   the plaintiff in that matter.                    1   model that looks at these patterns over time,
     2        Q. Right. But that wasn't a model           2   so how -- how changes in these explanatory
     3   of geography. That was a model of damages to     3   variables over time explain changes in the
     4   a particular company's sales, I would assume?    4   dependent variable over time.
     5             MR. SOBOL: Objection.                  5        Q. Your direct model in this case
     6   BY MR. ROTH:                                     6   is a time series regression?
     7        Q. So for a typical -- an insurer,          7        A. That's correct.
     8   right. Kaiser is an insurer? Am I right          8        Q. When is it appropriate to use a
     9   about that?                                      9   time series regression model?
    10        A. Kaiser is a group health plan,          10        A. As in cases like this one where
    11   so it is both a delivery system and an          11   there are dynamic relationships among the
    12   insurer, all rolled into one, and it is         12   variables of interest, and what I mean by
    13   geographically distinct.                        13   that is that marketing has an effect that is
    14             So Kaiser is not like United.         14   path dependent. It depends on what happened
    15   It is not everywhere diffusely. It is           15   in the last period as well as this period.
    16   largely in California and the Pacific           16        Q. What are the other types of
    17   Northwest with a few smaller sites elsewhere.   17   regressions you could run, apart from a time
    18             So again, those were national         18   series regression?
    19   estimates and those were connected to damage    19             MR. SOBOL: Objection. You
    20   calculations for a particular payer and         20        mean like here or like is she capable
    21   delivery system.                                21        of?
    22        Q. And do you recall how they were         22             THE WITNESS: I was going to
    23   connected in that case? Were there any kind     23        ask you that question.
    24   of localization factors taken into account or   24   BY MR. ROTH:
    25   any way to differentiate the national level     25        Q. Generally in the world --
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     1   generally in the world, you've got a time        1            So cross-sectional models are
     2   series -- so the way I think about this,         2   often used for these kinds of immalleable
     3   right, you've got regression analysis, and       3   features that we're trying to understand as
     4   one type of regression analysis is a time        4   opposed to things that can change.
     5   series regression, okay? Are you with me so      5       Q. When would it be appropriate to
     6   far?                                             6   use a panel data model?
     7       A. Okay. I'm with you.                       7       A. You know, in theory, you can
     8       Q. What are the other types of               8   answer many of the same questions with all of
     9   regression analyses that one could perform?      9   these models, but a panel data model allows
    10   I'm not asking specific to this case. Just      10   one, as we were looking at with the Datta and
    11   in the universe.                                11   Dave paper, allows one to understand the
    12       A. There are cross-sectional                12   effects of the individual units, particularly
    13   regressions, panel data regressions. There's    13   in the way that they do, which is mostly by
    14   machine learning.                               14   looking at the variance around those
    15       Q. Okay. And what is a                      15   individual units as opposed to the
    16   cross-sectional regression?                     16   characteristics of the physicians, and
    17       A. A cross-sectional regression is          17   looking at decomposing that -- that variance
    18   like the one we run in the indirect model,      18   against something that's operating in a time
    19   which is looking at a set of observations       19   series way and being able to tease those two
    20   where there's no time dimension. We're just     20   things apart as they do.
    21   looking across observations at a point in       21       Q. Did you consider running either
    22   time.                                           22   a cross-sectional model or a panel data model
    23       Q. That Datta and Dave article we           23   in this case?
    24   looked at, how would you classify that          24       A. My belief is that an aggregate
    25   regression they ran?                            25   time series model is the appropriate model
                                             Page 131                                              Page 133
     1       A. That's a panel model.                     1   for the question at hand, so as I have done
     2       Q. Okay. And what --                         2   in other cases, I selected the aggregate time
     3       A. They call it longitudinal, but            3   series model.
     4   I would call it panel.                           4             MR. SOBOL: You both just meant
     5       Q. And what is a longitudinal or             5        on the direct side, right?
     6   panel model, assuming those two things are       6             MR. ROTH: Correct. Good
     7   the same?                                        7        clarification.
     8       A. It has multiple observations              8   BY MR. ROTH:
     9   per unit of time, but also multiple units of     9        Q. Why did you believe that the
    10   time.                                           10   aggregate time series model was the
    11       Q. And when is it appropriate to            11   appropriate model for your direct approach
    12   use a cross-sectional model?                    12   for the question at hand?
    13       A. Well, I think it's sort of hard          13        A. Because, as I mentioned in
    14   to say in general, but, I mean, it's hard to    14   describing the general purposes of these
    15   say without being reductive. We run             15   alternative types of models, the key
    16   cross-sectional models when we want to          16   relationship I'm interested in is this
    17   understand cross-sectional relationships. So    17   path-dependent relationship between marketing
    18   there may be things like gender, for example,   18   and sales, and aggregate time series model
    19   that typically don't vary over time. I          19   is -- zones right in on that. So that's
    20   should say sex doesn't vary over time.          20   exactly what it's looking at.
    21            So we may want to understand           21             It's not trying to understand
    22   the relationship between sex and wages. We      22   some of the mechanisms that Datta and Dave
    23   would run that cross-sectionally. That's not    23   are looking at. I want a model that will
    24   something where we necessarily need a time      24   capture this total effect as reliably as
    25   dimension.                                      25   possible.

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     1        Q. Do you agree with the statement          1   that's -- that's the starting place.
     2   that although a time series correlation may      2             It's not where we end the
     3   be striking, it does not necessarily             3   discussion, but I wouldn't say it's
     4   determine a causal effect?                       4   tautological. I would say it's theoretically
     5        A. With any regression model,               5   consistent.
     6   economists will need to use theory and tests     6   BY MR. ROTH:
     7   and judgment to determine causality. So          7        Q. As an economist, if companies
     8   there may be time series relationships that      8   are rational actors, they're not going to
     9   are not causal, yes, that is correct.            9   spend money on marketing if they don't have
    10        Q. And do you agree that when              10   some sales increase.
    11   there's a slow-moving trend in one variable     11        A. I would agree with that
    12   through time, it is very difficult to infer     12   statement, yes.
    13   its causal effects on another variable?         13        Q. What are the standard
    14            MR. SOBOL: Objection.                  14   diagnostic tests you perform in running time
    15            You can answer.                        15   series regressions?
    16        A. I believe that you're                   16        A. In this model, of course, you
    17   describing again the well-known limitations     17   can see that we looked particularly about the
    18   of any time series model, and there are ways    18   fit of the model over time and where -- I'm
    19   to examine those challenges.                    19   picturing in my head the chart with Model A
    20            So again, we first have to             20   on it where we had a single coefficient for
    21   start with an appropriate theoretical model.    21   promotional effectiveness, and clearly we
    22   Of course, you could put two variables that     22   were departing from the underlying data, so
    23   trend together in a model and there's no        23   those kinds of tests we conducted Wald tests,
    24   sensible relationship, and clearly that would   24   two-dimensional Wald tests to examine the
    25   be spurious.                                    25   appropriate turning points, and likewise,
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     1            On the other hand, marketing is         1   because part of this time series model of
     2   clearly designed to increase sales, so we        2   course is the stock of marketing and its
     3   start with the theory. And in developing the     3   appropriate depreciation rate, we conducted
     4   model, we examine the kinds of time series       4   statistical tests around that as well.
     5   questions that you just raised with that         5       Q. So you answered about this
     6   comment.                                         6   model, which I want to get to.
     7   BY MR. ROTH:                                     7       A. Sure.
     8       Q. I mean, in some ways the                  8       Q. But I'm talking generally when
     9   conclusion that marketing influences sales is    9   you do time series models, what are the
    10   tautological, right? If you're marketing        10   standard diagnostic tests you might be
    11   correctly, you should be increasing sales.      11   perform, whether or not you actually did it
    12            MR. SOBOL: Objection.                  12   in this case?
    13            You can answer.                        13       A. Right. I don't believe that
    14       A. I don't think that's                     14   they're reported here, but early on in
    15   tautological. It is -- to an economist,         15   looking at the data, we looked for -- we
    16   again, we would start with economic theory,     16   looked at a Dickey-Fuller test, which is
    17   and if you take the theory of profit            17   basically testing for unit roots.
    18   maximization and put marketing in that          18            I'm thinking about the simple
    19   context, it would only make sense for           19   explanation goes to what you said before
    20   marketing to be undertaken if it increased      20   about two slow-moving trends and whether
    21   sales.                                          21   there might be spurious correlation, and we
    22            I think as a noneconomist, if          22   found that those concerns were not warranted
    23   you grab someone on the street in Boston and    23   based on the Dickey-Fuller results.
    24   ask them why do companies market, they would    24            MR. SOBOL: Can you spell that?
    25   agree with that basic premise, right? So        25            THE WITNESS: Dickey,
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     1       D-I-C-K-E-Y, dash, Fuller.                   1   Dickey-Fuller test showed no unit root
     2            MR. ROTH: F-U-L-L-E-R?                  2   problem, you did not make any effort to
     3       A. Yes.                                      3   correct for nonstationarity?
     4   BY MR. ROTH:                                     4       A. That's correct.
     5       Q. What is nonstationarity?                  5       Q. What is autocorrelation?
     6       A. Nonstationarity relates to that           6       A. Autocorrelation is essentially
     7   unit root. It has to do with the trends --       7   when the residuals from one time period are
     8   that these two trends are moving together.       8   correlated with the residuals from the next
     9       Q. The mean or variance of the               9   time period, so autocorrelation from period
    10   variable is not constant over time?             10   to period.
    11       A. It's -- again, it's related to           11       Q. And autocorrelation can
    12   the way the variable of interest and the        12   overstate the impact of a predictor variable?
    13   right-hand side variable are regressing         13       A. No, that's not quite correct.
    14   together, so it has to do with the variance     14   Autocorrelation can affect the standard
    15   over time.                                      15   errors. It does not bias the coefficient.
    16       Q. And why is nonstationarity an            16       Q. Could the presence of
    17   issue with time series models?                  17   autocorrelation lead to an overstatement of
    18       A. If you have this problem, which          18   the impact of an independent variable?
    19   again, we do not, then you can get spurious     19       A. No, the presence of
    20   results.                                        20   autocorrelation could lead to an
    21       Q. Do you know when your team or            21   overstatement of the statistical significance
    22   you performed the Dickey-Fuller test?           22   of an independent variable, but not its
    23       A. I believe it was early on in             23   effect.
    24   the analysis that we were doing.                24       Q. Did you run any tests to detect
    25       Q. Okay. And do you have the                25   autocorrelation in your direct model?
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     1   results of those tests somewhere that you        1       A. I believe there were some tests
     2   could produce to us?                             2   for autocorrelation also early on when we
     3       A. I do not.                                 3   were beginning our work, and we found that,
     4       Q. And why is that? Is it a                  4   particularly in the late period, that while
     5   computer model test that...                      5   there was some early autocorrelation, that
     6       A. Generally we don't save the log           6   the autocorrelation goes away in a later
     7   files for those kinds of tests.                  7   period of the data, and we did not correct
     8       Q. Okay. Could one be performed              8   for it.
     9   using the backup data you've produced?           9       Q. Is that a Durbin-Watson test?
    10            MR. SOBOL: Objection.                  10       A. I believe that is a
    11       A. Yes, I believe so.                       11   Durbin-Watson.
    12   BY MR. ROTH:                                    12       Q. Do you have the results of that
    13       Q. Do you know if the MME                   13   test readily available, or no, because you
    14   prescriptions in your model are stationary?     14   didn't save the log file?
    15       A. As I sit here, no.                       15       A. As far as I know, the log file
    16       Q. Do you know if the stock of              16   was not saved.
    17   detailing variable is stationary?               17       Q. But again, that's a test that
    18       A. Again, as I sit here, no.                18   could be replicated on your model with the
    19       Q. And would the presence of                19   backup data that you've provided?
    20   nonstationarity lead you to overstate the       20       A. Yes, it could be.
    21   impact of promotion in your direct model?       21       Q. When is it appropriate to
    22       A. Well, again, if the -- if there          22   aggregate versus utilizing cross-sectional
    23   was a unit root problem, then it could          23   information in putting together a regression?
    24   overstate the results, yes.                     24            MR. SOBOL: Generally?
    25       Q. And I assume because your                25            MR. ROTH: Correct.
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     1       A. Well, aggregation has a number            1       A. Yeah.
     2   of advantages in specific contexts. I would      2       Q. So the last bullet on page 8
     3   say -- go back to my first answer, which is      3   says: Using econometric models, I
     4   we are interested here in an aggregate           4   demonstrate that I can reasonably identify
     5   question. If you were interested in an           5   the extent to which the sale of prescription
     6   individual question, you wouldn't aggregate.     6   opioids measured by the number of milligrams
     7            So we are at first principles           7   of morphine equivalents, or MMEs, was caused
     8   interested in the -- I am interested in the      8   by any quantum of the defendants' promotional
     9   impact of opioid marketing in this class on      9   efforts that counsel can prove was unlawful.
    10   sales, and so I start there.                    10            Do you see that sentence?
    11            Aggregation can provide                11       A. I do.
    12   benefits in that it cuts down on certain        12       Q. And we'll get more into the
    13   kinds of noise, and it also -- it steps away    13   specifics on that, but how is that so, where
    14   from certain kinds of endogeneity problems,     14   your assumption was that everything was
    15   but I'm sure we will talk more about -- but     15   unlawful? How could you particularize your
    16   we talked a little bit about --                 16   model to any quantum that counsel proves?
    17   BY MR. ROTH:                                    17            MR. SOBOL: Objection.
    18       Q. How did you know?                        18       A. Sure. My Table 3 does that,
    19       A. -- in terms of Datta and Dave,           19   for example, by backing out individual
    20   the endogeneity problem that they're            20   defendants and saying, okay, let's just
    21   interested in is that physicians who have a     21   assume that, in fact, defendant X was not
    22   propensity to prescribe your drug are the       22   involved. So it can be done that way.
    23   ones you detail. But when we aggregate, when    23            It could be done
    24   we go up to the aggregate level, we don't       24   propositionally. It could be done by saying,
    25   have that same endogeneity problem, so...       25   no, it wasn't 1995; it really didn't start
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     1        Q. Thank you for saying                     1   until 2000. That's what I mean by "any
     2   endogeneity before I did so I made sure I got    2   quantum," is that we could divide the
     3   it right. And we will talk about it.             3   marketing in any measurable way over my
     4             But is it also true that               4   model.
     5   aggregation can sometimes mask patterns in       5   BY MR. ROTH:
     6   the data?                                        6       Q. What if the quantum of
     7        A. Well, yes, but you have to be            7   promotional efforts that counsel proved
     8   interested in those patterns for that to be a    8   unlawful was influencing key opinion leaders
     9   problem. So if, in fact, there are patterns      9   to change prescribing standards, how would
    10   in the data, my task as I understand it is to   10   your model be used to evaluate conduct in
    11   look at the aggregate effect of marketing, so   11   that situation?
    12   that's just not a question that I was           12       A. I haven't been asked to look at
    13   particularly interested in here.                13   that, so I'd need to really give that some
    14             It's true that an average             14   thought. I wouldn't call that a quantum. I
    15   effect will mask differences, if there are      15   would call that something else, and I'm not
    16   any.                                            16   going to make up words, but that's more of a
    17        Q. Okay. So going back to                  17   sort of qualitative piece. But in theory,
    18   paragraph 11 of your report.                    18   that's possible. I have not looked at that.
    19        A. Yeah.                                   19       Q. And that's a good
    20        Q. This is your summary of                 20   clarification. When you say quantum, you
    21   opinions. Do you see that?                      21   mean quantitative, not qualitative, right?
    22        A. Yes.                                    22       A. That's what I meant, yes.
    23        Q. And you also have a handy               23       Q. So you could take out specific
    24   chart, which we'll talk about later, but I      24   defendants or percentages, but you could not
    25   just want to focus on paragraph 11 first.       25   modify your model using a qualitative test
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     1   for unlawfulness to determine what the impact    1   minute.
     2   is?                                              2            So on page 9, the bullet says:
     3            MR. SOBOL: Objection.                   3   Based upon my analyses and assumptions from
     4        A. I would not conclude that                4   counsel about the extent of promotion that
     5   without giving some thought. I'm sure it         5   can be proven to be unlawful, I can
     6   couldn't be done for every qualitative           6   reasonably identify approximately 45 to 67%
     7   example that you could come up with, but I       7   of MMEs during the period of my analysis as
     8   think that there are ways of doing it            8   caused by unlawful promotion.
     9   qualitatively, as I, again, did in the           9            Did I read that correctly?
    10   Neurontin matter, looking at promotion to       10       A. You did.
    11   psychiatrists as opposed to other physicians.   11       Q. And the 45 is the direct
    12   BY MR. ROTH:                                    12   number, and the 67 is the indirect number
    13        Q. But since you have an aggregate         13   from your models?
    14   national model with aggregate detailing, is     14       A. That's correct.
    15   there a way to go, for example, and figure      15       Q. Okay. And then if you look at
    16   out where the details only to dentists were     16   paragraph 75 -- and we talked about this
    17   if the court concludes that that was the        17   earlier already. But paragraph 75, which is
    18   unlawful activity as opposed to detailing       18   on page 50 under Calculation of But-For MMEs.
    19   writ large?                                     19            Do you see that?
    20        A. I'm not a hundred percent sure          20       A. Yes.
    21   about dentists, but as I used in the            21       Q. You say: I have been
    22   Neurontin matter, there are detailing data      22   instructed by counsel to assume in my but-for
    23   available that would allow you to look          23   scenarios that the fact finder, judge or
    24   nationally by specialty.                        24   jury, finds that all or virtually all
    25        Q. But the detailing data you used         25   promotion by the manufacturer defendants from
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     1   in the Neurontin matter for that exercise is     1   1995 to present was unlawful.
     2   not the same detailing data you used in this     2            Do you see that?
     3   matter for your direct model, correct?           3        A. Yes.
     4       A. It's not exactly the same                 4        Q. And then after the parentheses,
     5   because it was disaggregated by specialty,       5   it says: Thus, to calculate impact for the
     6   but I believe those -- that is possible to       6   purpose of damages beginning in 2006, I
     7   disaggregate by specialty. I've not done         7   modeled a world in which this promotion did
     8   that here.                                       8   not occur, i.e., but-for promotion equals
     9       Q. And you haven't even tested               9   actual promotion for opioids, less all
    10   whether it can be done yet, right?              10   promotion for opioids by the defendants and
    11             MR. SOBOL: Objection.                 11   their surrogates.
    12       A. I have not.                              12            Do you see that?
    13   BY MR. ROTH:                                    13        A. I do.
    14       Q. I'll give you a quantitative             14        Q. And then in Table 2 on the next
    15   measure. What if the court concludes that       15   page, there's actually a note that says: The
    16   any detail over five minutes in length were     16   percent of MMEs attributable to challenged
    17   presumed unlawful, but anything shorter than    17   promotion is calculated as the difference
    18   that isn't? How can you quantify the impact     18   between predicted actual and predicted
    19   of the over-five-minute visits in your model?   19   but-for MMEs, assuming all defendants'
    20       A. As I sit here, I don't know              20   promotion is set to zero starting in 1995
    21   because I haven't thought about it. Clearly     21   divided by predicted actual MMEs.
    22   I would need some data on the length of         22            Do you see that?
    23   details.                                        23        A. Yes.
    24       Q. We'll come back to this, I               24        Q. So your model assumption is
    25   promise, but back to paragraph 11 for a         25   actually, not virtually, all promotion by
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     1   defendants is unlawful; it's that all            1      A.     Again, this is --
     2   promotion by defendants is unlawful?             2            MR. SOBOL: Objection.
     3       A. Yes. I guess the -- sort of               3            But go ahead.
     4   the legal formulation of that, I'm repeating     4            THE WITNESS: Sorry.
     5   there when I say all and virtually all. I'm      5       A. The model treats the right-hand
     6   not sure what virtually all would be             6   side variable as the thing that will be
     7   quantified as, 99%, but I do all, yes.           7   proven to be unlawful, and any sales gained
     8       Q. Okay. And does that not equate            8   from that unlawful conduct as subject to
     9   to assuming that all MMEs prescribed due to      9   recovery. This I know as a, thank you, good
    10   defendants' promotion were medically            10   economist and someone who's done that, that
    11   unnecessary?                                    11   downstream of my analysis there's a damage
    12       A. No, that does not equate to              12   number that plaintiffs I believe will try to
    13   that.                                           13   recover.
    14       Q. So in your model, you could              14            So as an economist, to me, the
    15   have unlawful promotion that leads to           15   theory is that any gains, whether or not they
    16   medically necessary scripts still?              16   resulted in medically necessary
    17       A. I was asked to quantify the              17   prescriptions, are subject to recovery. As
    18   impact of the alleged unlawful promotion, not   18   an economist, that seems like a reasonable
    19   to examine that question about whether that     19   theory if we wanted to deter fraudulent and
    20   prescription itself was medically               20   misleading information. This is the same
    21   unnecessary, so -- so it's something I          21   analysis that I did in the Neurontin case.
    22   haven't looked at and I don't believe it's      22   BY MR. ROTH:
    23   related to my charge.                           23       Q. Stated differently, your model
    24            The fact that the promotion was        24   will calculate causation by defendants'
    25   unlawful to me does not equate to the fact      25   marketing even for medically necessary
                                              Page 151                                             Page 153
     1   that a prescription was medically                1   prescriptions?
     2   unnecessary.                                     2        A. It does not distinguish. And
     3       Q. So if promotion, whether lawful           3   to be clear, whether or not there were
     4   or unlawful, results in a medically necessary    4   medically necessary prescriptions caused by
     5   prescription, how does that prescription         5   the misconduct, I can't say for sure.
     6   cause damage?                                    6        Q. And as an economist, is that
     7            MR. SOBOL: Objection, scope.            7   not something you think you should take into
     8       A. I'm not a lawyer, as you know.            8   account in your but-for world where you're
     9   And sort of what the theory of liability is      9   opining that but for the defendants' conduct,
    10   and what -- what plaintiffs can recover for     10   fewer of these MMEs would be out in the
    11   and what they can't is -- I do not know.        11   world?
    12            I have only been asked to              12        A. Absolutely not. Again, as an
    13   examine the extent to which this unlawful       13   economist, to me, if the allegations are
    14   conduct caused sales.                           14   true, I can see a strong economic rationale
    15   BY MR. ROTH:                                    15   for ensuring that liability is attached to
    16       Q. Okay. You're not a lawyer, but           16   all these ill-gotten gains from the alleged
    17   you're a good economist. You've testified a     17   misconduct.
    18   lot about causation and damages, okay, and      18        Q. But there is a parallel world
    19   you're familiar with what a but-for world is,   19   where a manufacturer may promote lawfully and
    20   right?                                          20   that lawful promotion would result in
    21       A. Yes.                                     21   medically necessary prescriptions, correct?
    22       Q. You have one here?                       22            MR. SOBOL: Objection.
    23       A. I do.                                    23        A. I -- you have a lot of parallel
    24       Q. So how does your but-for world           24   worlds I've noticed, but yes, I think we
    25   treat medically necessary prescriptions?        25   agreed at the beginning of the day that there

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     1   is such a thing as lawful marketing, and it      1   account for just the unlawful off-label
     2   does generate sales.                             2   detailing?
     3             Some of those sales may be             3        A. I assume that you're talking
     4   medically necessary, some may be medically       4   about specific off-label messages. Again, I
     5   unnecessary, even if there's no unlawful         5   haven't -- I haven't thought about how the
     6   conduct.                                         6   detailing itself could be parsed in that way.
     7   BY MR. ROTH:                                     7   There would need to be another source of
     8        Q. I asked some of these                    8   information for that to be possible.
     9   questions, but I did promise I'd come back.      9        Q. You need a different dataset
    10             How would your model work if          10   basically?
    11   the court finds that only detailing visits      11        A. Yes. The thing with detailing
    12   where the representative spoke about            12   is that it's a face-to-face visit, so we can
    13   addiction risk were unlawful?                   13   see what messages the detailer brought on
    14        A. I don't know the answer to that         14   paper with them but not what came out of
    15   question. I have not thought about how one      15   their mouths.
    16   could parse that out, so I don't know as I      16        Q. What if the court finds that
    17   sit here.                                       17   only journal advertising were unlawful? How
    18        Q. You did mention time could be           18   would your model account for that?
    19   quantified, so I guess to clarify, would you    19        A. Well, as I believe I say in my
    20   be able to calculate causation if the court     20   report, the journal advertising data is very
    21   found, for example, that only detailing that    21   spotty for these drugs, so I've not included
    22   happened between 1996 and 2000 were unlawful?   22   that as a separate factor. It's already out
    23        A. Yes, my model is capable of             23   of my model. I would have to give that some
    24   doing any combination of manufacturer and       24   consideration.
    25   time.                                           25        Q. Okay. If we look at
                                              Page 155                                            Page 157
     1       Q. What about drug?                          1   Attachment D, which is towards the back, I
     2       A. And drug.                                 2   want to go to page D6. And there's a section
     3       Q. Okay. So you could do -- you              3   at the bottom --
     4   could take out manufacturers, right?             4              MR. SOBOL: I'm sorry. Wait.
     5       A. Yes.                                      5              MR. ROTH: D6 of Attachment D.
     6       Q. You could take out drugs?                 6              MR. SOBOL: Is it the table?
     7       A. Yes.                                      7              MR. ROTH: No, it's the text.
     8       Q. And you could take out years?             8        It's the technical write-up of the
     9       A. Yes.                                      9        regression.
    10       Q. Okay. Beyond that, is there              10              THE WITNESS: Yeah.
    11   anything you can take out of your model?        11              MR. ROTH: I feel like it's
    12           MR. SOBOL: Objection.                   12        always Attachment D in every case, by
    13       A. Well, as I said earlier, I               13        the way.
    14   believe that it's possible to take out          14              THE WITNESS: Is it?
    15   physician specialties.                          15        Interesting.
    16   BY MR. ROTH:                                    16   BY MR. ROTH:
    17       Q. Right. And we talked about               17        Q. Are you in Attachment D, D6?
    18   that. But you're not certain it can be done,    18              MR. SOBOL: It's just the same
    19   and you haven't tested it yet?                  19        attachment.
    20           MR. SOBOL: Objection.                   20        A. I am.
    21       A. I haven't tested that.                   21   BY MR. ROTH:
    22   BY MR. ROTH:                                    22        Q. It's all in the same report,
    23       Q. What if the court finds that             23   right?
    24   only off-label marketing was unlawful? Is       24        A. You didn't notice? Yeah.
    25   there any way your model can be adjusted to     25        Q. Well, Tom is involved for sure.
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     1   All right.                                       1            Could you have modeled an
     2            So looking at Attachment D,             2   individual manufacturer separately?
     3   page D6. This may be from one of the same        3            MR. SOBOL: Objection, asked
     4   attachments. I don't know. Do you see            4       and answered.
     5   there's a section that says Comcast              5       A. It was not something I
     6   Considerations?                                  6   attempted to do. I think mechanically it is
     7       A. Yes, I do.                                7   possible. But as I noted, one of the reasons
     8       Q. What is the reference to                  8   for using an aggregate time series is that we
     9   Comcast there?                                   9   smooth over a lot of noise in the data, so I
    10       A. Well, again, I'm not lawyer,             10   don't know whether an individual
    11   but I understand that there was a case          11   manufacturer-level model would be feasible.
    12   involving Comcast, and that the -- what it      12   BY MR. ROTH:
    13   concerns, again, from a layperson's             13       Q. Okay. In a but-for world,
    14   understanding, is about the ability of the      14   where all of the unlawful detailing, which is
    15   damages as presented to the court to conform    15   your assumed all defendants' detailing, were
    16   to different conclusions about the but-for      16   replaced with lawful detailing, would there
    17   scenario.                                       17   be any change in overall prescribing?
    18       Q. Essentially the issue we've              18       A. Sorry. I just -- so the model
    19   been talking about for the last --              19   doesn't itself have a presumption about
    20       A. The issue we've been talking             20   lawful and unlawful. The but-for scenario is
    21   about.                                          21   where that presumption is incorporated, so
    22       Q. And why were you concerned               22   the model is the model.
    23   about the application of Comcast to this        23       Q. I asked a bad question and you
    24   case?                                           24   properly called me on it. Let me ask a
    25            MR. SOBOL: Objection, assumes          25   better question.
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     1       a fact not in evidence.                      1            If we assume that all unlawful
     2   BY MR. ROTH:                                     2   detailing is lawful, then the actual
     3       Q. Assuming you were.                        3   prescribing and the but-for prescribing in
     4       A. As you recall, the last part of           4   your models would be equal to each other?
     5   my assignment was to report on how my            5        A. Yes, that's correct. Those two
     6   conclusion would be different if there were      6   predicted values would be identical.
     7   different considerations with regard to who's    7        Q. So the percent of MMEs
     8   in, who's out by defendant, for example. So      8   attributed to unlawful detailing in that
     9   yes.                                             9   scenario would be zero percent.
    10       Q. Okay. I'm trying to streamline           10        A. Yes. If marketing were the
    11   here because we've covered more ground --       11   same in both scenarios, then there would be
    12       A. We're going to cover 14 hours            12   no difference.
    13   no matter what --                               13        Q. Assume for a minute that a
    14       Q. That's true.                             14   manufacturer's detailing is found to be
    15       A. -- so streamlining may be good           15   unlawful but it did not engage in any of the
    16   for you, but it's not good for me.              16   other marketing misconduct alleged by
    17            MR. ROTH: I'm having fun. I            17   plaintiffs with respect to the key opinion
    18       think you are too.                          18   leaders, journal advertising and the other
    19            THE WITNESS: Of course.                19   factors.
    20            MR. LONERGAN: What about us?           20            How would your model account
    21   BY MR. ROTH:                                    21   for harm for that specific manufacturer?
    22       Q. Do you agree that your model             22            MR. SOBOL: Objection.
    23   does not measure the impact -- we went over     23        A. In my opinion, that would be a
    24   this. I'm not going to ask that again.          24   legal question because, again, all the
    25   Strike that.                                    25   manufacturers are operating in the same
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     1   ecosystem. According to the complaint and        1   model, that manufacturer has no liability,
     2   everything I know as a health economist, the     2   correct?
     3   effects of one manufacturer's unbranded          3            MR. SOBOL: Objection.
     4   marketing -- I use that to refer to the          4       A. Well, again, my model is
     5   guidelines and those kinds of activities --      5   looking at the aggregate causation between
     6   will spill over on to another manufacturer,      6   marketing and sales; it is not designed to
     7   and I don't know whether it would be             7   assign liability to individual manufacturers
     8   appropriate to pull that out or not.             8   nor, again, am I certain how counsel or the
     9   BY MR. ROTH:                                     9   courts would do so.
    10        Q. That's a long answer. I want            10            The purpose of Table 3 is to
    11   to -- I think I asked a more specific           11   show that I can back out individual levels of
    12   question.                                       12   detailing, not to assign liability. So I --
    13        A. Sure.                                   13   I don't know exactly how that would proceed,
    14        Q. So if detailing is unlawful --          14   even -- even without having these variable
    15        A. Yes.                                    15   assumptions across defendants. I have not
    16        Q. -- and let's say also the other         16   looked defendant by defendant at something
    17   stuff, okay, key opinion leaders influencing    17   like liability.
    18   standards of care is also unlawful, and a       18   BY MR. ROTH:
    19   manufacturer just detailed, they're going to    19       Q. Okay. So let's look aggregate.
    20   have the same percentage of liability in your   20            If for all the manufacturers
    21   direct model whether or not they engaged in     21   the conclusion is that the detailing is
    22   the other unlawful conduct, correct?            22   entirely lawful, but the manufacturers
    23             MR. SOBOL: Objection.                 23   engaged in other conduct that the court finds
    24        A. Yes, that's true. Although              24   is unlawful, what would the result of your
    25   it's true in terms of what I calculate in       25   model be in that world?
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     1   Table 3. Just to be clear, I don't have an       1            MR. SOBOL: Objection.
     2   opinion on liability. That's a legal matter.     2       A. I would have to give it some
     3   But what I do in Table 3 is I say, okay,         3   thought, but again, my preferred model
     4   well, what would happen if we said the           4   ultimately captures the effect of all that
     5   detailing by Purdue were lawful, what would      5   other stuff that we're calling as really is
     6   happen there?                                    6   the what happens -- in part, a chunk of it is
     7            So whether or not that quantum          7   what happens to the promotional effectiveness
     8   is exactly what liability is, I don't -- I       8   after the first turning point and before the
     9   don't really know how the court is going to      9   second turning point. And so in theory, one
    10   see that, and so that's why I don't really      10   could look at that, but it would really
    11   know if you would need to say, well, some of    11   depend on the specific set of facts.
    12   why your detailing was so productive was        12   BY MR. ROTH:
    13   caused by somebody else's activity. I don't     13       Q. It would require a new model
    14   know whether it would make sense to back that   14   probably?
    15   out.                                            15            MR. SOBOL: Objection.
    16   BY MR. ROTH:                                    16       A. I don't know that it would
    17       Q. So let's take the opposite.              17   require a new model. It would require a new
    18       A. Yeah.                                    18   but-for analysis.
    19       Q. Someone's detailing is entirely          19   BY MR. ROTH:
    20   lawful. There's no issue there. But they've     20       Q. Back to your body of your
    21   influenced the standards of care through key    21   report, paragraph 64. You say: The
    22   opinion leaders, they've paid off doctors,      22   econometric analyses serve two purposes.
    23   they've done all of the parade of horribles     23   First, they indicate that in economic terms
    24   that the plaintiffs allege, and the court       24   there is a causal relationship between the
    25   finds that that in fact is unlawful. In your    25   defendants' promotion and prescriptions of

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     1   opioids so that if the allegations of           1        A. I would disagree. That is
     2   misconduct are proven true, impact can be       2   exactly what my model does. Again, we can
     3   found.                                          3   agree that I have not separately proven that
     4             Do you see that?                      4   that detailing was unlawful, but I understand
     5        A. Yes.                                    5   that counsel for plaintiffs intend to prove
     6        Q. But you actually didn't assess          6   that, and so I have undertaken to examine the
     7   specifically a causal relationship between      7   causal effect of that allegedly unlawful
     8   promotion and prescriptions, right? Those       8   conduct.
     9   are not the two variables on your X and Y       9   BY MR. ROTH:
    10   axis?                                          10        Q. Which is all promotion by
    11             MR. SOBOL: Objection.                11   defendants?
    12        A. Well, I look at the stock of           12        A. Which is all promotion by
    13   detailing, which I argue and believe is a      13   defendants from 1995 to the end of my data.
    14   reasonable proxy for promotion. It is not,     14        Q. And when does your data end?
    15   strictly speaking, all promotion. To the       15        A. Mid 2018.
    16   extent that it is measured with error, it      16        Q. Okay. Do you plan on updating
    17   understates the effect of promotion.           17   it if we go to trial in 2019 to take us
    18   BY MR. ROTH:                                   18   through today?
    19        Q. If we wanted to be precise,            19            MR. SOBOL: Objection.
    20   though, what your model actually shows is a    20        A. I haven't been asked to do
    21   correlation between detailing and MMEs?        21   that. I don't know if I would be asked to do
    22             MR. SOBOL: Objection.                22   that.
    23        A. Well, as we talked about               23            MR. ROTH: Why don't we take a
    24   earlier and will no doubt talk about again,    24        break, because I realize we've
    25   any regression analysis can have a causal      25        probably covered some of these next
                                             Page 167                                            Page 169
     1   interpretation or not, depending on a number    1       questions and I can streamline.
     2   of factors.                                     2            THE WITNESS: Okay.
     3            I interpret this regression            3            THE VIDEOGRAPHER: The time is
     4   analysis as showing causation between           4       10:58 a.m. We're now off the record.
     5   marketing and sales, and it does, in fact,      5            (Recess taken, 10:58 a.m. to
     6   use detailing contacts as the measure of        6       11:13 a.m.)
     7   marketing.                                      7            THE VIDEOGRAPHER: The time is
     8   BY MR. ROTH:                                    8       11:13 a.m. We're back on the record.
     9       Q. And if we want to be even more           9   BY MR. ROTH:
    10   precise, when we're talking about defendants   10       Q. Professor Rosenthal, if you
    11   detailing, we're talking about all detailing   11   would please turn to paragraph 59, which is
    12   without distinguishing between lawful and      12   on page 42. All right. So we're going to go
    13   unlawful as we've talked about?                13   step by step here.
    14            MR. SOBOL: Objection, asked           14       A. Okay.
    15       and answered.                              15       Q. You say: My primary dependent
    16       A. For the purposes of my                  16   variable, the outcome to be explained, is the
    17   analysis, I've been asked to assume that all   17   number of MMEs for all drugs at issue in this
    18   detailing in this period was unlawful, so      18   matter.
    19   that distinction is not relevant.              19            Do you see that?
    20   BY MR. ROTH:                                   20       A. Yes.
    21       Q. So your model does not analyze          21       Q. Okay. Why did you look at MMEs
    22   causation between the false promotion as       22   as opposed to prescriptions or some other
    23   alleged in the complaint and the number of     23   measure?
    24   MMEs prescribed?                               24       A. Sure. Because, as I note in
    25            MR. SOBOL: Objection.                 25   this paragraph, the intensity of the medicine
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     1   that the patient is getting is a function not    1   show up as more MMEs?
     2   just of the number of prescriptions, but the     2        A. That is correct.
     3   number of pills and the strength of those        3        Q. So you could have one patient
     4   pills, and specifically the milligrams of        4   taking 100 MMEs over the course of ten days
     5   morphine equivalence is a way of being able      5   and ten patients taking ten MMEs over the
     6   to cross-walk across drugs that have             6   course of the same period of time, and your
     7   different -- I'm going to use the term           7   model makes no distinction between those two
     8   "strength." I'm not sure that would strictly     8   circumstances?
     9   be correct, but different strength in terms      9        A. Yes, that's correct. Again,
    10   of how much morphine they deliver.              10   because I am -- I am responsible for looking
    11       Q. You agree that doctors                   11   at the effect of marketing on sort of the
    12   prescribe drugs, they don't prescribe MMEs to   12   quantity of morphine equivalence that were
    13   patients?                                       13   out in the world. Whereas Professor Cutler
    14       A. They prescribe drugs, dosages,           14   is then going to look at the effect of those
    15   durations, all of which translate into MMEs.    15   MMEs on harms, and his model will establish
    16       Q. And if you're looking at things          16   the relationship between MMEs and harms.
    17   in terms of MMEs, you're not breaking it down   17        Q. So if the court, for example,
    18   by drug molecule; is that correct?              18   found that certain dosages were more prone to
    19       A. Well, again, in my analysis as           19   abuse, okay, or dosages given over a certain
    20   we've talked about, I -- even if I were         20   period of time are more prone to abuse, would
    21   looking at -- I do a version of the model as    21   you have any way in your model to drill down
    22   you know, that's in Attachment D somewhere,     22   on that distinction and segregate out the,
    23   where I look at pills. And I don't              23   quote, lawful MMEs that don't fit whatever
    24   distinguish across drugs there either, again,   24   definition the court crafts on that?
    25   because my goal is to look at the market as a   25        A. It seems to me that you've put
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     1   whole.                                           1   two things into your question, so maybe it's
     2             Distinguishing by drugs is             2   just I don't understand the way you used the
     3   not -- it's not unique to the fact that I'm      3   terms "if the court determines."
     4   looking at MMEs.                                 4            So if the court determines that
     5       Q. I know you're not a medical               5   certain packaging is subject to abuse, but
     6   doctor, but you do understand that these         6   are you saying that the court determines that
     7   drugs have different chemical compounds and      7   any --
     8   might have differences in their labeling and     8       Q. Let me try it again.
     9   indications?                                     9       A. Yeah.
    10       A. Yes, I do understand that there          10       Q. Suppose the court or jury finds
    11   may be some differences, and again, I use       11   that messaging related to higher-dosage drugs
    12   MMEs as a common unit of impact, as it were,    12   was false but messaging for lower-dosage
    13   that is more nuanced than prescriptions or      13   drugs was not, how would your model that
    14   pills but does not distinguish beyond the       14   looks at total MMEs account for that?
    15   morphine equivalence.                           15       A. Well, if I understand you
    16       Q. But because you're looking at            16   correctly, you're asking again about whether
    17   MMEs, you're losing data with respect to the    17   I could narrow down my analysis by drug,
    18   length or course of treatment, correct?         18   which I can do.
    19       A. Well, no. Actually, I'm not              19       Q. Not by drug, but by MMEs, if it
    20   specifically looking at the length, but if,     20   were by drug and strength?
    21   for example, patients are getting longer        21       A. Yes. So the observations
    22   courses of treatment, that will show up as      22   ultimately -- I can see you haven't played
    23   more MMEs.                                      23   around with the enormous dataset, but they
    24       Q. And similarly, if patients are           24   ultimately go to the NDC level, and an NDC
    25   getting stronger molecules, that will also      25   code is a drug, manufacturer, strength,
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     1   formulation, I think those four dimensions.      1   BY MR. ROTH:
     2        Q. Okay. But what if it's                   2       Q. So -- but if I understand,
     3   strength over a certain period of time in the    3   though, the drugs contained in Attachment C
     4   prescription? What if it's, you know,            4   are just drugs that someone has associated
     5   400 milligrams for a week or more is a           5   with one of the manufacturer defendants in
     6   problem, but less than 400 for a shorter         6   this case, correct?
     7   period of time is not?                           7       A. I actually need to look at
     8        A. I think you're confusing again           8   Attachment C to see that it doesn't have an
     9   inputs and outputs here, so -- of course, I      9   "all other" category.
    10   can't -- I don't presume to know what the       10       Q. It may. Take a minute to look
    11   court would think. But as we talked about       11   for it, if you want.
    12   before, what I'm really looking at is the       12       A. Yeah. Yeah, I will.
    13   effect of some set of marketing efforts on      13              (Document review.)
    14   all the prescriptions that flowed from it.      14       A. I think Table C.1 is all of the
    15             So it's hard for me to imagine        15   drugs. It's not listed by manufacturer, but
    16   that the court would say, yes, the conduct      16   it has all the drug names.
    17   was unlawful but some prescriptions that        17   BY MR. ROTH:
    18   flowed from it we won't count against damages   18       Q. So these are all of the --
    19   and some we will. And so --                     19       A. Yes, I believe --
    20        Q. You can't conceive of that              20       Q. -- chemical compounds?
    21   happening?                                      21       A. -- these are all the drug
    22        A. It's just not clear to me. It           22   names.
    23   just seems, again, as we talked about before,   23       Q. Okay. So when you say drugs at
    24   I'm not a lawyer, so I don't know exactly how   24   issue in this matter, you're referring to the
    25   liability would work that way.                  25   drugs listed in Table C.1?
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     1            My analysis is really intended          1        A. That's correct.
     2   to look at all MMEs. To the extent that only     2        Q. Now, you say in Attachment D
     3   MMEs that were packaged a certain way, if        3   that your intent was to include all drugs
     4   that's my shorthand for, you know, dose and      4   that have been scheduled as Schedule II at
     5   duration, for a given patient at a given         5   any point in time; is that correct?
     6   point in time, if -- if those are the only       6        A. That's correct.
     7   things that create harms, then Professor         7        Q. Does your model differentiate
     8   Cutler will find a very weak relationship        8   between detailing visits for drugs that were
     9   between the MMEs and the harms that he's         9   Schedule III at the time they were detailed
    10   looking at. I don't believe that's what he      10   but later became Schedule II?
    11   finds, but that question could have a           11        A. It does not.
    12   downstream effect, but I know of no theory      12        Q. And did you have any discussion
    13   like that.                                      13   about doing that?
    14       Q. Okay. When you mentioned the             14        A. I don't recall specifically,
    15   drugs at issue in this matter, what are the     15   but again, I make clear the assumption that
    16   drugs at issue in this matter?                  16   because those drugs were rescheduled that
    17       A. Well, it's a very long list.             17   they're considered to be Schedule II for my
    18   They're in Attachment C, if you'd like to go    18   analysis in every way.
    19   through them with me.                           19             If that assumption were proven
    20       Q. We don't have to go one by one,          20   wrong, it could easily be adapted, as we
    21   but the drugs contained in Attachment C is      21   talked about before. Changing what's in the
    22   what you mean?                                  22   but-for scenario by drug by year by defendant
    23       A. Yes.                                     23   is relatively straightforward.
    24            MR. SOBOL: We could spend an           24        Q. So you could take a drug that
    25       hour or so doing that.                      25   you've included detailing for prior to 2014,
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     1   for example, when oxycodone -- hydrocodone       1   taking one MME versus one patient taking a
     2   got reformulated --                              2   hundred MMEs?
     3        A. I could.                                 3       A. For the purposes of my
     4        Q. -- and take out everything               4   analysis, that is irrelevant. I'm trying to
     5   before 2014?                                     5   understand the total sales, yes.
     6        A. That's correct.                          6       Q. And you don't differentiate
     7        Q. And that would change the                7   between product differences like, for
     8   numbers in Table 3 of your report?               8   example, a fentanyl patch versus a Vicodin
     9        A. Presumably, yes.                         9   pill?
    10        Q. So you understand obviously             10       A. I am not distinguishing.
    11   that some opioids have higher potency than      11   Again, I do not include injectables, but
    12   others, and that's why you used MMEs it         12   otherwise, I include these other
    13   sounds like?                                    13   formulations.
    14        A. Yes, that's correct.                    14       Q. Otherwise, all MMEs are created
    15        Q. And the conversion factors in           15   equal in your world?
    16   your data appendix, which we can look at in a   16       A. Yes. For the purposes of my
    17   little bit, do you know where you got those     17   analysis, I'm counting all MMEs.
    18   numbers from? Was it the DEA website?           18           MR. SOBOL: In your world.
    19        A. They mostly come from the CDC           19           THE WITNESS: Again.
    20   actually, but they didn't have all of them,     20   BY MR. ROTH:
    21   so assuming some of them come from that         21       Q. In your analysis, all MMEs are
    22   Excellus document, I'd have to just look at     22   created equal.
    23   what I cite, but I know we had to go to a       23       A. That's correct.
    24   second document.                                24       Q. It's nice that we all get our
    25        Q. Okay. By definition, a                  25   own worlds.
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     1   prescription of a drug with a higher MME         1            MR. SOBOL: "Your analysis," is
     2   conversion would have a greater impact on        2       that one or two words?
     3   overall MMEs?                                    3            MR. ROTH: It's not starting
     4       A. Yes, I think that that is a               4       with a U.
     5   statement on its face that must be true.         5   BY MR. ROTH:
     6       Q. Does your model differentiate             6       Q. And you don't differentiate
     7   between immediate and extended release           7   between the indications for which the MMEs
     8   opioids?                                         8   are prescribed in your analysis, correct?
     9       A. My model does not differentiate           9       A. That's correct. I'm looking at
    10   between immediate and extended release.         10   total sales.
    11       Q. And your model does not                  11       Q. Right. So whether an MME is
    12   differentiate between opioids prescribed for    12   prescribed for surgery or chronic pain
    13   short-term use versus long-term use?            13   doesn't matter for your direct model?
    14       A. As we talked about before, I am          14       A. As we talked about earlier, I'm
    15   counting all MMEs, whether they were in a       15   really focusing on the unlawful nature of the
    16   3-day prescription or a 30-day prescription.    16   conduct and looking at all the prescriptions
    17       Q. And your model does not                  17   or all the MMEs that resulted from that.
    18   differentiate between abuse-deterrent           18       Q. Okay. So now let's look at
    19   formulations and nonabuse-deterrent             19   paragraph 60 of your report.
    20   formulations?                                   20       A. Okay.
    21       A. Again, of course, that would be          21       Q. Which is the same page we were
    22   a product-level characteristic. One could do    22   on, I think. It's on page 42.
    23   so, but I have not, no.                         23       A. Okay.
    24       Q. Your model does not                      24       Q. Are you there?
    25   differentiate between a hundred patients each   25       A. Yep.
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     1       Q. It says: The key explanatory              1   effectiveness to be either increased or
     2   variable in the model is the number of           2   decreased by those factors.
     3   detailing contacts for opioids.                  3             And two, in Model C, I
     4            Do you see that?                        4   incorporate several of the events to see
     5       A. I do.                                     5   whether any of that changes my results, and
     6       Q. And we've been talking about              6   find that they do not.
     7   that, that that's sort of what you use for       7        Q. Did you consider using other
     8   your stock of promotion are the detailing        8   measures of promotion beyond detailing as
     9   contacts at a given point in time, multiplied    9   your explanatory variable?
    10   by the depreciation factor?                     10        A. I did. I believe there's a
    11       A. That's correct.                          11   footnote somewhere. I just need to find the
    12       Q. And you -- we agree that                 12   right paragraph. I know this paragraph moved
    13   detailing is just one of a variety of methods   13   at one point, so now I can't remember whether
    14   a drug company may use to promote its           14   it's early or late. Oh, here, paragraph 56.
    15   products to physicians?                         15        Q. Yep, I was going to take you
    16       A. Yes. And again, the data                 16   there.
    17   suggest that it's a dominant one here.          17        A. Okay. Perfect. Well, you just
    18       Q. If you look at paragraph 66,             18   let me struggle instead. Yeah.
    19   you say: While the defendants actively          19             So as I note there, IQVIA,
    20   sought to manipulate the scientific and         20   where we get the data on promotion, has no
    21   popular understanding of the risks of opioids   21   spending on professional journal
    22   prior to 1999, according to plaintiffs'         22   advertisements or direct-to-consumer
    23   marketing expert Perri, the release of the      23   advertising, and the free sample data seemed
    24   American Pain Society and American              24   very spotty, and from what I could
    25   Association of Pain Medicine consensus          25   understand, free samples were used
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     1   statement on pain, followed by the Federation    1   infrequently, perhaps for obvious reasons in
     2   of State Medical Board Model Guidelines and      2   this particular class.
     3   the Joint Commission on Accreditation of         3        Q. On the journal advertisements
     4   Healthcare Organizations, pain management        4   or the direct-to-consumer advertising, you
     5   standards were also important marketing          5   did look at marketing budgets for the
     6   tools.                                           6   manufacturers, correct?
     7            Do you see that?                        7        A. Yes.
     8       A. Yes.                                      8        Q. They're cited in your report I
     9       Q. And then you say: Through such            9   think in an earlier section.
    10   advocacy, as well as traditional marketing      10        A. Yes.
    11   vehicles, Dr. Perri finds that defendants       11        Q. Did you consider using those to
    12   sought to change the narrative about opioid     12   try to measure journal advertisements or some
    13   therapy, opening the floodgates to              13   of these other categories?
    14   prescribing.                                    14        A. I think those data would
    15            Do you see that?                       15   just -- A, they're not monthly, and B,
    16       A. Yes.                                     16   they're -- they're very incomplete with
    17       Q. But, again, your model does not          17   regard to the drugs, right? If we were
    18   look at non-detailing promotion as part of      18   trying to get this for every drug, we do have
    19   the stock?                                      19   product profit and loss statements for
    20       A. Non-detailing promotion is not           20   specific drugs, and then aggregate marketing
    21   included in the stock; it's incorporated in     21   budgets for the companies as a whole, but
    22   my model in two ways.                           22   it's simply not precise enough to use here.
    23            One, in Model B, I used the            23        Q. Okay. So I want to go through
    24   different eras during which these activities    24   this paragraph carefully.
    25   were going on to allow promotional              25        A. Sure.
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     1      Q.      I suspect you knew I would.           1   IQVIA data. It could be multiple drugs.
     2            So you mentioned that you               2        Q. So when you're looking at the
     3   thought that detailing was the most dominant     3   IQVIA data for your detailing data, you don't
     4   form of promotion in a prior answer, and, in     4   know whether opioids were the focus of the
     5   fact, you write that as your first reason in     5   conversation or not, if more than one drug
     6   paragraph 56.                                    6   was reported for that contact?
     7            Do you see that?                        7        A. If more than one drug was
     8       A. Yes.                                      8   reported, I don't know the specific time
     9       Q. And your citation for that is             9   allocation.
    10   just to Dr. Perri's report.                     10        Q. And you didn't do any analysis
    11            Do you see that?                       11   to try to dissect that issue?
    12       A. Yes, and then I go on to                 12        A. Well, there's no analysis that
    13   describe what the data show.                    13   I could imagine that you could
    14       Q. Right. So that's a good                  14   retrospectively go back and figure out what
    15   clarification.                                  15   was talked at for how long, and it's not
    16            So when you're saying it's the         16   totally clear that time would be the best
    17   most dominant form of promotion, what you       17   measure.
    18   really mean is in the data you reviewed, it     18            So maybe you came and talked
    19   was the most dominant form of promotion that    19   about three drugs to me and I was convinced
    20   was tracked?                                    20   to prescribe on all three of them, so is the
    21       A. That's correct.                          21   detail only one-third as value than the
    22       Q. Okay. Do you have any basis to           22   detail dedicated to one of those drugs? It
    23   think beyond the data you reviewed that         23   doesn't seem to me that it would be.
    24   detailing is the most dominant form of          24        Q. Then sticking with
    25   promotion in the opioid market by, for          25   paragraph 56, your second reason you focused
                                              Page 187                                             Page 189
     1   example, dollars spent?                          1   on detailing is pharmaceutical marketing
     2        A. Well, I guess in the product             2   programs typically combine various forms of
     3   profit and loss statements that I looked at,     3   marketing such that were there to be an
     4   detailing was clearly in the majority.           4   increase or decrease in promotional
     5   Obviously -- so the detailing expenditures       5   detailing, it is reasonable to expect that
     6   that you can get in profit and loss              6   some other forms followed that course. And
     7   statements, they look a little different than    7   then you go on to say it's a good proxy for
     8   what you can get from IMS Health because the     8   that reason.
     9   sales force is -- is an expense that itself      9            Do you see that?
    10   isn't typically dedicated to one product, so    10       A. Yes.
    11   there's some allocation, versus the IQVIA       11       Q. And what is your basis for that
    12   data are aggregating up from reported visits.   12   expectation, that other forms of marketing
    13            So they're a little bit apples         13   follow detailing?
    14   and oranges, but in the product and loss        14       A. Sure. My experience doing
    15   statements that I looked at, yes, that          15   research in this area, and particularly using
    16   confirmed my understanding that detailing was   16   the IQVIA data, the two that are most heavily
    17   certainly the largest marketing tool.           17   correlated tend to be detailing and sampling,
    18        Q. Pausing on the IQVIA data, you          18   but there's correlation across all mechanisms
    19   don't know that those are limited to one        19   where there are data reported for all of
    20   product either, right? There could be a         20   them.
    21   detail where the physician was detailed on      21       Q. Okay. Did you perform any
    22   five drugs and it gets reported to all five     22   study or analysis on the IQVIA data or any
    23   in the IQVIA data?                              23   other data in this case to confirm that in
    24        A. That's correct. So whatever             24   the opioid market your experience holds true
    25   was discussed is what gets flagged for the      25   with regard to how detailing and other forms
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     1   of promotion are correlated?                     1        A. Yes.
     2       A. Well, as I mentioned, when I              2        Q. Are you certain that every
     3   looked at the IQVIA data for journal             3   manufacturer in this case has made payments
     4   advertisements, direct-to-consumer               4   to pain advocacy groups for opioids?
     5   advertising, sampling, there was very little     5        A. Well, given -- that's -- it's
     6   data there. I have no reason to believe that     6   hard to be certain about something for which
     7   they're just not measuring it. It may be         7   I have incomplete data, so I -- there are a
     8   that there are some kinds of advertising that    8   number of documents that I cite to that show
     9   we see in the marketing budgets that IQVIA       9   these kinds of payments, and I believe other
    10   doesn't capture. But to the extent that the     10   experts have tracked these payments as well.
    11   IQVIA data are complete, it was not really      11            But am I certain that every
    12   possible to do a correlation analysis because   12   defendant has evidence of that type? No, I'm
    13   there was so little data for these other        13   not certain.
    14   tools.                                          14        Q. And then you wrap up this
    15       Q. So when you say it's a                   15   paragraph saying: Note that in this case
    16   reasonable expectation that other forms of      16   there appears to be substantial evidence that
    17   marketing follow detailing, that's really       17   through means other than promotional
    18   just an assumption based on your experience     18   spending, the defendant manufacturers
    19   with other drugs in other cases?                19   fundamentally changed opioid prescribing
    20       A. It's based on my experience              20   standards. The direct approach does not
    21   with very similar kinds of analyses with        21   calculate the efforts -- the effects,
    22   other drugs. And again, I cite to               22   sorry -- of the nonpromotional marketing and
    23   Dr. Perri's report at the beginning of this     23   is thus conservative.
    24   where he talks about the coordination of        24            Do you see that?
    25   marketing mechanisms, so it's very consistent   25        A. Yes.
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     1   with his opinions as well.                       1       Q. But that's not universally true
     2       Q. Yeah. But to be clear, that's             2   for all manufacturers, is it?
     3   an assumption you're making that's not           3             MR. SOBOL: Objection.
     4   supported by any specific work you've done to    4       A. Again, my opinions here really
     5   confirm it's true that detailing and other       5   are to look at the market as a whole, and
     6   forms of promotion are correlated for            6   even if there were a defendant that did not
     7   opioids?                                         7   incur this kind of spending, the effects of
     8            MR. SOBOL: Objection, asked             8   changing things like guidelines would --
     9       and answered.                                9   would flow through to everyone's drugs,
    10       A. Again, the analysis -- the               10   right.
    11   correlation analysis was not possible here,     11             So these are sort of broad
    12   so I'm relying on my past experience and        12   changes in the environment of prescribing,
    13   Dr. Perri's expertise.                          13   and so again, I don't have an opinion on the
    14   BY MR. ROTH:                                    14   liability question of whether there's a
    15       Q. Okay. Then you say: Third,               15   defendant who has not undertaken the
    16   alternative measures of promotion that I        16   unbranded advertising, whether they therefore
    17   could obtain from available sources have        17   should not be liable for its effects. I
    18   substantial missing data, e.g., estimates of    18   don't know the answer to that.
    19   payments to pain advocacy groups can only be    19   BY MR. ROTH:
    20   obtained from the records of some, but not      20       Q. What if a manufacturer engages
    21   all manufacturers.                              21   only in limited detailing and not other types
    22            Do you see that?                       22   of promotional activities? It would not be
    23       A. Yes.                                     23   conservative for that manufacturer to only
    24       Q. And that's what we've been               24   look at detailing, correct?
    25   talking about.                                  25       A. The purpose of my analysis is
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     1   not to assign liability to individual            1   that there's variation in the way
     2   defendants. It's to look at the aggregate        2   manufacturers detail, the specific details
     3   effect. So I don't know what would be            3   may generate more prescriptions or fewer, and
     4   appropriate. That to me seems like a legal       4   my model captures the average effect. That's
     5   question.                                        5   what the coefficients basically tell us is
     6       Q. Would it be conservative from             6   the average effects.
     7   an economic perspective if a manufacturer        7            So there may be variation in
     8   purchases an opioid product in, say, 2008 and    8   there, but for the purposes of calculating
     9   engages in detailing but no other marketing?     9   aggregate impact, the average is appropriate.
    10       A. I do not calculate any                   10       Q. So for manufacturers who have
    11   estimates at the individual defendant level,    11   detailing that's below average, they're being
    12   so I cannot characterize them as conservative   12   brought up to the average by the way you've
    13   or otherwise. I'm only looking at aggregate     13   aggregated the model in terms of causation?
    14   effects.                                        14       A. Well, by definition, an average
    15       Q. Okay. I'm just trying to get             15   will be not the same as all the individual
    16   at what you mean when you say the direct        16   components unless there's no variation, and
    17   approach is conservative. It strikes me that    17   so there will be some who are brought up and
    18   for a defendant who didn't participate in the   18   some who are brought down.
    19   market ecosystem until late in the game and     19            It's my belief, as we talked
    20   only detailed, it's actually the opposite of    20   about before, that this aggregate model is
    21   conservative the way your model calculates      21   the most reliable model; because there's
    22   damages.                                        22   substantial spillover effects, because there
    23            MR. SOBOL: Objection.                  23   can be noise in the data when we try to
    24       A. I believe that is inaccurate.            24   disaggregate it too much. I think for that
    25   My model does not calculate damages for any     25   reason, the aggregate model is preferable.
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     1   individual defendant, period.                    1        Q. You know, though, that not
     2   BY MR. ROTH:                                     2   every manufacturer markets products the same
     3        Q. Causation, sorry, I should have          3   way?
     4   said.                                            4        A. I guess -- I'm not exactly sure
     5        A. So again, because I am not               5   how to answer that question. As we've talked
     6   looking at impact for an individual              6   about before, I am not a pharmaceutical
     7   defendant, we cannot characterize my analysis    7   marketing expert. I leave that to Dr. Perri.
     8   as conservative or otherwise for an              8   I think it's reasonable to assume that there
     9   individual defendant. It is for the market       9   is some variation in tactics and the like
    10   as a whole.                                     10   across manufacturers and perhaps across
    11        Q. Okay. So when you say in                11   products.
    12   paragraph 56 that the approach is               12        Q. Well, let's look at one thing
    13   conservative, you mean on an aggregate basis    13   you do talk about. So there's a difference
    14   it is conservative because it looks at          14   in the way promotion is engaged in by brand
    15   detailing and not other things?                 15   companies and marketing may be engaged in by
    16        A. That's correct.                         16   generic companies, correct?
    17        Q. Okay. Sort of implicit in that          17        A. Yes, brand companies are
    18   statement and other things you've said today    18   primarily the ones that engage in marketing.
    19   is an assumption that all manufacturers         19        Q. A generic company might still
    20   market opioids the same way.                    20   detail but may just talk about price and
    21            MR. SOBOL: Objection.                  21   formulary status?
    22   BY MR. ROTH:                                    22            MR. SOBOL: Objection.
    23        Q. Do you agree with that?                 23        A. Generally, manufacturers will
    24        A. I don't believe so. Again, I            24   not detail physicians for generics. They may
    25   include in my model detailing. To the extent    25   have other sales force activities that they

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     1   do that relate to price, but individual          1   there's not an attribution underneath that.
     2   physicians are not generally making a            2             And furthermore, as we know,
     3   decision about one generic versus the other.     3   that detailing for the brand drug will spill
     4   That decision happens at the pharmacy.           4   over to the generic drugs too, and so it's
     5   BY MR. ROTH:                                     5   entirely appropriate that the model allows
     6        Q. But Attachment C contains a              6   that to happen.
     7   slew of generics on that list?                   7        Q. So maybe we're talking past
     8        A. That's correct. Some of them             8   each other.
     9   have contacts related to them. Some of them      9             I understand the model works
    10   don't. Some of those contacts relate to         10   that way.
    11   marketing agreements that are really for        11        A. Yeah.
    12   brand drugs.                                    12        Q. What I'm talking about, which
    13        Q. So how do you square your               13   we'll get to later, is your Table 3 allocates
    14   testimony a minute ago that generics            14   drugs to specific manufacturers, including
    15   generally don't detail with the fact that you   15   generic manufacturers, and I'm just trying to
    16   have a lot of promotional contacts in your      16   understand how that works in a world where we
    17   model for generic drugs?                        17   agree that generic drugs generally aren't
    18            MR. SOBOL: Objection.                  18   detailed.
    19        A. I believe I just squared it. I          19        A. So Table 3, it sits on top of a
    20   think a lot of those contacts relate to         20   somewhat more complicated analysis, but what
    21   marketing agreements.                           21   it in effect does is it takes the detailing
    22   BY MR. ROTH:                                    22   associated with each of those defendants and
    23        Q. And so if there's marketing             23   treats it separately, depending on where we
    24   under a marketing agreement, that gets          24   are in the table.
    25   attributed to the generic drug, even though     25             So, you know, at the top for
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     1   it may be different in kind than a branded       1   Actavis, to the extent that Actavis has
     2   drug promotional visit?                          2   detailing in my data, the row that says,
     3            MR. SOBOL: Objection.                   3   well, what would the damages look like or
     4       A. No. The marketing of a                    4   what would impact look like if Actavis'
     5   particular drug is identified, and if the        5   detailing was deemed to be lawful? Basically
     6   drug is sold by a defendant manufacturer,        6   we've taken out their detailing, out of --
     7   even if it's detailed by a different             7   we've left it in basically in a but-for
     8   manufacturer, that gets counted in my model.     8   world. It happens because it's lawful.
     9   And then in Table 3, I take out those            9             So that's how -- that's how the
    10   marketing agreement related drugs.              10   allocation works, is in Table 3, it's by
    11            So -- so it's -- the marketing         11   manufacturer.
    12   is associated with -- I mean, I look at         12        Q. Okay. We'll get there.
    13   aggregate marketing, so it's all in the         13        A. Okay.
    14   aggregate marketing. But I do have a            14        Q. But that's helpful.
    15   mechanism for pulling out marketing that's      15             If you look back at
    16   for someone else's drug.                        16   paragraph 55, I mean, you acknowledge that
    17   BY MR. ROTH:                                    17   detailing is undertaken by the brand name
    18       Q. So if that's the mechanism               18   drugs in the class, typically peaks during
    19   you're using, how are any of these detailing    19   initial launch, and ceases shortly before or
    20   contacts being attributed to generic drugs in   20   after the AB-rated bioequivalent generic
    21   your model?                                     21   drugs enter.
    22            MR. SOBOL: Objection.                  22        A. That's correct.
    23       A. I think you misunderstand the            23        Q. And how does your model account
    24   nature of the model. The model uses             24   for detailing at different points of a
    25   aggregate MMEs and aggregate detailing, so      25   product's life cycle, close-to-launch
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     1   detailing versus the period right before         1   of does the detail generate more MMEs.
     2   generic entry?                                   2             So for my purposes, I really
     3        A. My model is an aggregate model,          3   only want to understand does the detail
     4   so I'm looking across drugs in the entire        4   generate more MMEs. And again, because I'm
     5   market, and those drugs are at different         5   looking at the aggregate, the fact that some
     6   stages in their life cycle. And so the           6   drugs are ending and others are beginning,
     7   important input to my model is the level of      7   that -- that sort of -- that mix, it may
     8   detailing, not where it is in the course of a    8   change a little bit over time, but I'll be
     9   product's life cycle.                            9   looking across a set of drugs at different
    10            But we know that the bolus of          10   stages.
    11   detailing happens for these new products, and   11       Q. Okay. But what I described
    12   so that is incorporated into the data.          12   might be relevant to the question of whether
    13        Q. So it's incorporated in the             13   the detailing was lawful, correct?
    14   sense that you'll see more contact at the       14       A. I don't know what you mean by
    15   beginning of the life cycle than at the end     15   that.
    16   of the life cycle?                              16       Q. Right. So we've established
    17        A. That's correct.                         17   this, I think, but just to try it one more
    18        Q. But the detailing that happens          18   time: Because your model is just focusing on
    19   at the beginning of the life cycle could be     19   whether detailing impacts the aggregate
    20   qualitatively different than the detailing      20   number of MMEs, you don't evaluate any
    21   that happens at the end of the branded life     21   qualitative difference in the kind of
    22   cycle.                                          22   detailing that is occurring?
    23            Would you agree with that?             23             MR. SOBOL: Objection, asked
    24            MR. SOBOL: Objection.                  24       and answered.
    25        A. I don't know that to be true.           25             ///
                                              Page 203                                           Page 205
     1   BY MR. ROTH:                                     1   BY MR. ROTH:
     2       Q. As an economist, I mean, when a           2       Q. Is that a fair statement?
     3   product is launched, you would expect more       3            MR. SOBOL: Asked and answered.
     4   detailing about clinical studies and things      4       A. I -- you had a "because" at the
     5   designed to promote a new product that           5   beginning of that sentence, which doesn't
     6   physicians might be unaware of, right?           6   make sense to me. I am not looking at the
     7       A. It may be that there is more of           7   content of the detailing as we talked about
     8   that sort of baseline information at the         8   this morning. I am assuming the plaintiffs
     9   beginning.                                       9   will prove their case.
    10       Q. Right. And at the end of a               10            I understand that you think
    11   product's life cycle, when the generics are     11   differently and you're trying to probe
    12   about to come on the market, you might expect   12   whether I've tried to disaggregate the
    13   the detailing to focus more on things like      13   detailing.
    14   price and availability and formulary status     14            I have not tried to
    15   and things of that nature, right?               15   disaggregate the detailing by drug or over
    16       A. I have seen no detailing                 16   time. It is possible to do that, but I have
    17   information that pertains to price. I can't     17   not done that.
    18   say that it never happens, but I've certainly   18   BY MR. ROTH:
    19   never seen that.                                19       Q. So in your direct model, just
    20            What that sort of -- what              20   like all MMEs are created equal, all
    21   you've just described here is on the one hand   21   detailing contacts are created equal?
    22   saying, hey, there's this new drug early on,    22            MR. SOBOL: Objection.
    23   and don't forgot your old friend at the end,    23       A. Again, I would acknowledge that
    24   something to that effect. Those -- those        24   there's variation in detailing and that my
    25   differences are not relevant to the question    25   model captures the average effect.
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     1   BY MR. ROTH:                                     1             When you say that rivalrous
     2        Q. And it captures the average              2   marketing is a noneffect, what you mean is
     3   effect by treating each contact the same?        3   you don't assess whether the marketing was
     4             MR. SOBOL: Objection.                  4   rivalrous or not, because in either case,
     5        A. Well, I guess sort of an                 5   your view is it will potentially lead to
     6   average effect means that sort of                6   increased MMEs, so it gets counted?
     7   tautologically, I'm summing up all of the        7             MR. SOBOL: Objection, form,
     8   effects.                                         8        asked and answered.
     9   BY MR. ROTH:                                     9        A. I am interested only in a
    10        Q. Does your model account for             10   particular kind of impact, and that impact is
    11   rivalrous marketing?                            11   an increase in the number of MMEs. If there
    12        A. I'm so happy that we've gotten          12   is marketing that changes the drug people
    13   back to this.                                   13   take without affecting their MMEs, then I
    14             MR. SOBOL: That makes one of          14   ignore that.
    15        us.                                        15             Let's just say there's unlawful
    16        A. The aggregate model that I put          16   conduct and you earn money off of it, but
    17   forth is intended to essentially obscure the    17   it's really only because you've switched
    18   rivalrous marketing, so to the extent that      18   brands. That, I'm not counting, so that's a
    19   marketing only moves people from hydrocodone    19   kind of rivalrous marketing effect that's not
    20   to oxycodone or the other direction, whatever   20   being counted in my impact assessment.
    21   it is, that will show up as a noneffect in my   21             I'm only concerned about market
    22   model.                                          22   expansion by definition. Economists can be
    23             So I'm only looking at market         23   interested in both of those things, but for
    24   expansion because the question I care about     24   my purpose, I'm only interested in market
    25   is market expansion.                            25   expansion.
                                              Page 207                                            Page 209
     1   BY MR. ROTH:                                     1   BY MR. ROTH:
     2        Q. I'm not sure I followed your             2       Q. I'm just trying to understand
     3   answer. So how does it show up as a              3   functionally how that happens.
     4   noneffect if you're including that contact in    4            So the reason you're saying
     5   your regression analysis, whether it was new     5   that is because you're only looking at the
     6   drug promotion or rivalrous marketing?           6   delta, the change in MMEs, and so if there's
     7        A. I think the way you're looking           7   no change, then the rivalrous marketing
     8   at rivalrous marketing is a bit different        8   doesn't get counted? I'm just struggling
     9   than the way I would look at it. And this        9   with the mechanics.
    10   goes back to a conversation we had before       10       A. Sure. Let me try to explain.
    11   where I think there was a little bit of a       11            If we had two drugs in the
    12   disconnect.                                     12   market and we looked at their marketing
    13            So it may well be that you go          13   separately, we could ascertain whether your
    14   to the detail and what you want to talk about   14   marketing increases your sales, right, and --
    15   is why you're better than the other guy. But    15   and then what we wouldn't know is, is that
    16   still, what happens is you actually increase    16   increase coming from new patients, or is it
    17   the use of any product in this class.           17   coming from the decrease in someone else's
    18            So what I'm concerned about is         18   sales. So we could use a system kind of
    19   not the intent of the marketing but the         19   analysis to show what's happening.
    20   effect of the marketing. You seem focused on    20            So people have done this in
    21   the intent.                                     21   prescription drugs. I know you've spent some
    22        Q. I do. But now I think you've            22   time with the literature, and they're curious
    23   helped me, and your answer is actually the      23   about when you increase your sales, does it
    24   opposite of what I understood it to be          24   come at someone else's expense or are you
    25   before.                                         25   just growing the market. And in different
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     1   drug classes, those two things seem to           1   turning points is that they -- that is
     2   operate differently.                             2   incorporating these many different events and
     3             But if you were to add those           3   tactics.
     4   two drugs together and say, okay, for any        4       Q. So the unbranded marketing is
     5   herpes treatment, what's the total effect of     5   captured by the way you do the breaks and the
     6   marketing? Then what you would get is only       6   way you test for these five events in
     7   the market expansion effect. You would wash      7   Model C, correct?
     8   out any of the market stealing because your      8       A. That's correct.
     9   gain is my loss. And so those two things         9       Q. But the unbranded marketing is
    10   would net out and you'd only get the net        10   not captured in the detailing contacts you
    11   result. So that's what I'm doing here.          11   use for your stock of promotion?
    12        Q. So the mechanics are because            12       A. That's correct.
    13   it's an aggregate model that's aggregating      13       Q. How does your model account for
    14   all contacts and aggregating all scripts, it    14   the peer-to-peer marketing that I think you
    15   comes out in the wash if it's rivalrous?        15   or Dr. Perri describes as a contagion
    16        A. Exactly. Rivalrous, again, my           16   phenomenon in paragraph 25?
    17   definition of rivalrous is my sales come from   17       A. Yeah. So that phenomenon will
    18   you and that those two things fully offset.     18   get picked up in marketing effectiveness,
    19        Q. Okay. But the detail itself is          19   because again, we're looking at aggregate
    20   still counted in the model, because you're      20   prescribing and not just the prescribing of
    21   not actually looking substantively at the       21   the targeted physicians.
    22   detail to determine what happened?              22            So, you know, as -- we can go
    23             MR. SOBOL: Objection.                 23   back to our favorite paper by Datta and Dave,
    24        A. That is correct. The detail is          24   they're looking at individual physicians.
    25   still in the model, and where the rivalrous     25            It could well be, of course,
                                              Page 211                                             Page 213
     1   piece shows up is that it dampens the            1   detailing physician A causes physician B's
     2   effectiveness of marketing that we measure.      2   prescribing to increase; they're not really
     3   BY MR. ROTH:                                     3   looking at that because they're only looking
     4       Q. Okay. We're finally on the                4   within physician. But we, for the same
     5   same page then.                                  5   reasons that I can capture market expansion
     6            How does your model account for         6   appropriately, aggregating up across doctors
     7   unbranded marketing?                             7   here allows me to capture that contagion
     8       A. Well, in two ways. In Model C,            8   effect.
     9   I explicitly put in some of those events. We     9       Q. We do agree, though, that at an
    10   can look at exactly which ones they are.        10   individual prescriber, individual detail
    11       Q. I was saving this for later,             11   visit level, there could be variation in the
    12   but we can --                                   12   impact that visit has?
    13       A. I know, it sounds like an                13       A. There may be variation in the
    14   after-lunch conversation, but the consensus     14   impact of detailing on an individual
    15   statement from the American Academy of Pain     15   prescriber and her network and my model will
    16   Management and the American Pain Society, the   16   average that, will generate a result that
    17   Federation of State Medical Boards              17   captures the average.
    18   Guidelines, the JCAHO pain standards            18       Q. And we talked a little bit
    19   released.                                       19   earlier about some of the variability in the
    20            So these, I understand that            20   way detailing occurs. I think I used the
    21   plaintiffs intend to prove they were            21   pizza example.
    22   manipulated by the defendants. So I put         22            Do you remember that?
    23   those explicitly in Model C.                    23       A. I remember pizza.
    24            And then as I describe Model B         24       Q. Okay. I want to come back to
    25   and my rationale and the way I interpret the    25   that for a minute maybe because it's

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     1   lunchtime.                                       1   mean by simply. I think we're getting into a
     2            Not every detail visit occurs           2   question about what and how will be proven to
     3   the same way in terms of time spent and what     3   be unlawful. And if the question is was
     4   is disseminated from the pharmaceutical sales    4   certain information omitted, then the fact
     5   representative to the doctor, correct?           5   that the information that was provided was in
     6            MR. SOBOL: Objection, asked             6   some way not challenged, to me, seems like it
     7       and answered.                                7   could still be a problem.
     8       A. I would not disagree that                 8             But the larger issue is that I
     9   details can be different day of the week,        9   think it's not appropriate to try to pull
    10   whether there's food involved, how much time.   10   these detail visits off one at a time. If
    11   BY MR. ROTH:                                    11   there was some messaging around the utility
    12       Q. And frankly, who is detailed,            12   of treating patients with opioids at an
    13   because it could be a prescribing doctor or     13   earlier visit and these later visits are just
    14   it could be a nurse practitioner, it could be   14   reminder visits, again, I'm not -- I'm not
    15   some other healthcare professional in the       15   trying to prove liability here, but to me as
    16   doctor's office, right?                         16   an economist, it seems like they could well
    17       A. Yes, that's correct.                     17   be connected.
    18       Q. And does the IQVIA data you've           18   BY MR. ROTH:
    19   looked at distinguish between the target of     19       Q. And they all count the same way
    20   the detail?                                     20   as the average?
    21       A. It distinguishes between                 21       A. All -- all details in my data
    22   office-based and hospital-based physicians,     22   are included in the right-hand side, and they
    23   but it does not distinguish by licensure as     23   produce an average effect, and then I back
    24   you've just described.                          24   out those particular ones deemed unlawful.
    25            And again, what I'm interested         25       Q. And similarly, if the detail is
                                              Page 215                                            Page 217
     1   in is the aggregate impact, and therefore,       1   corrective messaging designed to dampen the
     2   the average across that variation is             2   effects of some prior materials that FDA has
     3   appropriately subsumed in my analysis.           3   issued a warning letter on, those detail
     4        Q. Right. And because you used              4   visits get picked up by your data as well?
     5   the average, whether the sales rep makes         5            MR. SOBOL: Objection.
     6   contact with the prescribing doctor and          6       A. I think you need to understand
     7   spends 15 minutes discussing the virtues of      7   what the regression is doing. It is not just
     8   opioids or whether the sales rep quickly         8   saying sales are strictly promotional to
     9   speaks to a nurse practitioner to leave the      9   detailing. It's trying to look at that
    10   coffee mug will get treated the same as an      10   effect, and, in fact, in the last period of
    11   average in your model?                          11   my three-period model, the effective
    12        A. Yes. And that is appropriate            12   promotion is declining.
    13   if you're interested in the aggregate effect.   13            To the extent that there's
    14   If I were interested in comparing the           14   corrective messaging, that may be one of the
    15   difference between a detail with pizza versus   15   factors that is decreasing the effectiveness
    16   a detail without pizza, then I would want to    16   of promotion, and so there are not MMEs
    17   look at them. But I'm only interested in the    17   assigned to have been produced by that
    18   aggregate effect.                               18   detail.
    19        Q. Are you aware that detailing            19   BY MR. ROTH:
    20   could be limited to simply providing            20       Q. Let me just ask a simpler
    21   literature that contains information            21   question: Yes or no, are details that are
    22   contained in the package insert or approved     22   simply designed to provide corrective
    23   by the FDA in promotional materials?            23   messaging included in your stock of
    24            MR. SOBOL: Objection.                  24   promotion?
    25        A. I'm not exactly sure what you           25            MR. SOBOL: Objection, asked
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     1       and answered.                                1       A. I am, as we've noted earlier,
     2       A. I really have no idea about               2   operating on the assumption that the
     3   whether such details exist. My model             3   defendants' conduct during the relevant
     4   includes all detailing over the period from      4   period was unlawful, and my model uses a
     5   1995 to 2018 based on the instruction that I     5   single measure of detailing and therefore
     6   was given to consider that unlawful.             6   averages across allegedly lawful and unlawful
     7   BY MR. ROTH:                                     7   details.
     8       Q. Okay. Without distinguishing              8   BY MR. ROTH:
     9   between the quality or extent of those           9       Q. Let's look back at Datta and
    10   detailing visits?                               10   Dave because you asked to.
    11            MR. SOBOL: Objection, asked            11       A. Okay.
    12       and answered.                               12       Q. It's Exhibit 5, for the record,
    13       A. I do not distinguish among               13   and I -- can you turn with me to page 454.
    14   those details, no.                              14       A. Okay.
    15   BY MR. ROTH:                                    15       Q. So at the top of the page it
    16       Q. And I think we talked about              16   says: Thus, detailing plays a role in
    17   this, but I'm not sure.                         17   educating providers about newer drugs and
    18            You don't differentiate between        18   their attributes and may have information
    19   which physician practice groups were targeted   19   value early in a product's life cycle,
    20   by the details in your model?                   20   whereas later in the life cycle, its role can
    21            MR. SOBOL: Objection, asked            21   be predominantly persuasive and chiefly
    22       and answered.                               22   relegated to delivering samples and
    23       A. As I noted, my detailing                 23   reminders.
    24   measure is national. It's aggregate. It         24             Do you see that?
    25   does not distinguish at a level below that.     25       A. I do.
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     1   BY MR. ROTH:                                     1       Q. And then at the end of the
     2       Q. Do you have any view as to                2   paragraph, they say: Because detailing can
     3   whether allegedly deceptive marketing is more    3   affect both selective (brand centric) and
     4   impactful than truthful marketing?               4   primary (market) demand under these views --
     5       A. I think I do discuss this in my           5   citation to Dave and Kelly, 2014 -- the
     6   report, and there's an economic theory           6   question cannot be resolved based on theory
     7   related to the profitability of fraud and        7   alone, and empirical evidence needs to bear
     8   some evidence from other sectors that suggest    8   upon the question.
     9   that for something unlawful to be undertaken     9            Do you see that?
    10   when lawful activities are possible, that it    10       A. Yes. Just to be clear, what
    11   must be more profitable because there's some    11   they're talking about there is the welfare
    12   cost associated with matters such as this       12   effects of marketing, and that is a separate
    13   one. And so that would suggest that that        13   question than the one that we're discussing
    14   kind of marketing must be more profitable       14   here.
    15   than marketing to other physicians.             15       Q. It's the same issue that we've
    16            I think this is -- it depends          16   been going around on, right? You're not
    17   on what assumptions we're making about the      17   looking at the welfare, you're not looking at
    18   intention and knowledge of the various          18   the quality; you're just looking to see if
    19   actors. So I think it could go either way.      19   there's a correlation between detailing
    20       Q. But within your model, within            20   visits as a stock of promotion against
    21   the time periods of your model, you treat       21   MMEs --
    22   each of the details equally because in your     22            MR. SOBOL: Objection, asked
    23   view, you assume them all to be equally         23       and answered.
    24   unlawful at this point in time?                 24   BY MR. ROTH:
    25            MR. SOBOL: Objection.                  25       Q. -- on an aggregate basis.

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     1            MR. SOBOL: And there's a lot            1   about whether that generates more sales at
     2       in there, so be careful.                     2   the beginning or more sales at the end.
     3       A. I just want to say that the               3            There again, they're really
     4   sentence that you just said had a number of      4   focused on this are you getting a new unit
     5   pieces that I think are entirely unrelated to    5   from a patient who hasn't been treated versus
     6   one another.                                     6   a new unit from a rival.
     7            So a welfare analysis is -- is          7        Q. Got it.
     8   an economic analysis that is based on the        8            MR. ROTH: I think now is a
     9   theory of demand and is -- is specific to        9        decent time to take lunch.
    10   this idea that consumers make rational          10            THE WITNESS: Okay.
    11   decisions, so what he's talking about in this   11            THE VIDEOGRAPHER: The time is
    12   sentence really has nothing to do with this     12        12:09 p.m. We're now off the record.
    13   question about the quality of detailing or      13            (Recess taken, 12:09 p.m. to
    14   not.                                            14        12:51 p.m.)
    15            That sentence is not connected         15            THE VIDEOGRAPHER: The time is
    16   to the "thus detailing plays a role in          16        12:51 p.m. We're back on the record.
    17   educating providers." They have a marketing     17   BY MR. ROTH:
    18   theory that you related before about what       18        Q. Professor Rosenthal, before
    19   happens early versus late in the life cycle,    19   lunch we were talking about how your stock of
    20   but this last sentence is really just about     20   promotion just includes detailing visits
    21   are consumers better off because of             21   multiplied by a coefficient as a single
    22   promotion, or not.                              22   variable; is that correct?
    23            And the way economists do a            23        A. Just to be perfectly clear,
    24   welfare analysis like this one is to assume     24   it's a cumulative sum of detailing in one
    25   that consumers are perfectly informed and       25   period -- all the preceding periods with the
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     1   perfectly rational and that if marketing is      1   depreciation rate applied.
     2   only about stealing market share and it          2        Q. Are you aware that there are
     3   doesn't increase the size of the market, that    3   other economic studies of the effect of
     4   consumers are worse off. But if it does          4   marketing that model detailing using multiple
     5   increase the size of the market, that            5   variables?
     6   consumers are better off.                        6        A. I know that detailing has been
     7            As a health economist and a             7   modeled as both a stock and a flow, and both
     8   person who sits in the School of Public          8   at the same time. I don't know if that's to
     9   Health, I would like to say that if this         9   what you're referring.
    10   marketing was only about market expansion, as   10        Q. It may be.
    11   it seems to have been quite a bit about         11            (Whereupon, Deposition Exhibit
    12   market expansion, I don't think consumers are   12        Rosenthal-7, 2002 Azoulay Publication,
    13   better off as a result. They're just            13        was marked for identification.)
    14   operating from a totally different framework.   14   BY MR. ROTH:
    15   BY MR. ROTH:                                    15        Q. So let me mark as Exhibit 7 the
    16        Q. Okay. Let's go back to the              16   Azoulay study, Do Pharmaceutical Sales
    17   first sentence, which I think was more          17   Respond to Scientific Evidence.
    18   relevant.                                       18            Do you have that in front of
    19            They theorized that based on           19   you?
    20   their results, there is a difference between    20        A. I do.
    21   marketing early in the life cycle and           21        Q. And the Azoulay study is a
    22   marketing later in the life cycle?              22   document that I think you quote from and --
    23        A. They are positing a theory              23   in your report and rely on in your
    24   about the intent of marketing and the focus     24   attachment.
    25   of marketing, but they do not say anything      25        A. That's correct.
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     1        Q. So if you'd turn with me to               1   scientific evidence at the same time in this
     2   page 558, and if you have to look before or       2   model.
     3   after to answer this question, feel free, but     3       Q. And he's trying to see how
     4   did Azoulay run a time series regression in       4   doctors respond to both sources, detailing as
     5   this study similar to yours in this case?         5   well as clinical studies and scientific
     6            MR. SOBOL: Objection to the              6   articles?
     7        form.                                        7       A. Yes. I'm just saying that
     8        A. Yes. I should look just to be             8   because he's using a product-level model and
     9   sure. He's effectively doing a panel model,       9   he's interested in how drugs are competing
    10   so he has multiple antacid drugs, and looking    10   with one another, he naturally includes
    11   at them over time, so I would call it a panel    11   different variables.
    12   model as we discussed this morning.              12       Q. And that's not something you've
    13   BY MR. ROTH:                                     13   done in this case?
    14        Q. Okay. And if you look at                 14            MR. SOBOL: Objection.
    15   page 558, there's a description of his           15       A. That was not my question of
    16   variables. And it looks like in his              16   interest, and therefore, I've selected a
    17   description he has three variables related to    17   model that is appropriate to the question
    18   the flow of detailing and then also a stock      18   that I was assigned, which is what is the
    19   of detailing variable.                           19   aggregate impact of marketing of opioids.
    20            Do you see that?                        20   BY MR. ROTH:
    21        A. Yes, I do.                               21       Q. Okay. And then I'm going to
    22        Q. And then he actually also                22   mark as Exhibit 8 a study by Dr. Ernst Berndt
    23   models the flow of journal advertising and a     23   and others, Information, Marketing and
    24   stock of journal advertising.                    24   Pricing in the U.S. Antiulcer Drug Market.
    25        A. Yes, that's correct.                     25            (Whereupon, Deposition Exhibit
                                               Page 227                                             Page 229
     1        Q. And in the flow of detailing              1       Rosenthal-8, 2001 Berndt et al
     2   variables, he has variables both for the flow     2       Publication, was marked for
     3   of monthly detailing minutes for a drug and       3       identification.)
     4   the flow of monthly detailing minutes for         4   BY MR. ROTH:
     5   competitors of the drug, and then a third         5       Q. Do you have the Berndt study?
     6   variable for the flow of monthly detailing        6       A. I do.
     7   minutes for the firm selecting the drug.          7       Q. And if you look at page 102 --
     8            Do you see that?                         8       A. Sorry. Oh, there it is. I
     9        A. Yes.                                      9   couldn't find the page numbers for a moment.
    10        Q. So he's, it looks like,                  10            Yes, go ahead.
    11   measuring the time and length of details in      11       Q. It looks like Professor Berndt
    12   his model?                                       12   and his colleagues are also doing an
    13        A. Yes, that -- excuse me. That             13   econometric regression to look at the impact
    14   is what it appears he's doing, and I would       14   of marketing for drugs in this study; is that
    15   note, of course, the purpose of his model is     15   correct?
    16   different. We talked about the fact that         16       A. Yes. Again, they have a panel
    17   he's doing a panel data model, so of course      17   model for the same drugs. I believe,
    18   he has own and other detailing. That's --        18   actually, they're the same data. Ultimately,
    19   the second detailing is for competitors.         19   I know that Dr. Berndt worked with
    20        Q. Well, the purpose of his model           20   Dr. Azoulay.
    21   is to determine whether doctors respond to       21       Q. On page 102, in the first
    22   scientific evidence; is that right?              22   column towards the bottom, it says: In terms
    23        A. That's one of his purposes.              23   of marketing efforts, we distinguish three
    24   That's the title of his -- of his paper, but     24   channels: the minutes of detailing to
    25   he's -- he's looking at detailing and            25   physicians, the number of pages of medical
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     1   journal advertising, and the target rating       1   don't have another promotional product. I'm
     2   points of direct-to-consumer advertising.        2   not aware of one.
     3            Do you see that?                        3   BY MR. ROTH:
     4       A. Yes, I do.                                4       Q. And as I think we talked about
     5       Q. So in this study as well, they            5   earlier, the IPS data is survey based?
     6   were looking at variables to measure the         6       A. That's correct.
     7   magnitude of marketing, whether by minutes or    7       Q. And I think you said you didn't
     8   by pages or by rating points.                    8   run models with samples or journal spend data
     9       A. Yes, they used a different                9   given gaps in the data?
    10   measurement.                                    10       A. Because there were big gaps in
    11       Q. Okay. If you turn to page 51             11   the data, yes, I did not.
    12   of your report -- I'm sorry, paragraph 51 of    12       Q. Have you used those data
    13   your report. It's the section Data Source       13   sources in other cases where you had more
    14   and Trends, if that helps, on page 34.          14   robust data?
    15       A. Yeah, got it. Sorry, I just              15       A. Yes, I have.
    16   need to move the clip. Okay.                    16       Q. Including in the Neurontin
    17       Q. So you're describing the data            17   case, I think?
    18   you used, and you say: The primary data I       18       A. We included professional
    19   used for the direct analysis come from the      19   journal articles because there were -- there
    20   data tracking and consulting firm IQVIA.        20   were monthly data available in those.
    21            Do you see that?                       21       Q. Are you aware of any other
    22       A. I do.                                    22   sources of data regarding prescriber-specific
    23       Q. And then you describe the data:          23   promotion?
    24   IQVIA maintains a number of data streams that   24       A. I am not specifically, but it
    25   capture information on sales, promotion and     25   depends a little bit on what you mean. As
                                             Page 231                                              Page 233
     1   other statistics by individual drug over         1   you perhaps know, the federal government has
     2   time.                                            2   required that pharmaceutical manufacturers
     3            And then you say that                   3   report certain transfers of value at the
     4   specifically, the specific products you          4   physician level, and those are publicly
     5   incorporate are the National Prescription        5   available, I think, starting 2014. I may
     6   Audit and the Integrated Promotional             6   have the year wrong.
     7   Service's data.                                  7            So for some years, for some
     8            Do you see that?                        8   types of activities that are clearly
     9       A. Yes.                                      9   marketing, there are some physician-level
    10       Q. So the NPA and IPS.                      10   data, and I describe some of the papers that
    11            Does IQVIA have other marketing        11   use those.
    12   or sales data than the NPA or IPS that you      12       Q. And that's not a dataset you
    13   could have used in your models?                 13   considered using in this case because it
    14            MR. SOBOL: Objection.                  14   started late or --
    15       A. Well, the National Prescription          15       A. It starts very late, yes.
    16   Audit data, those are sales data. Those are     16       Q. Okay. Have you heard of
    17   retail sales, so I just wanted to be clear      17   something called the Scott-Levin Personal
    18   those are not the promotional data.             18   Selling Audit?
    19            The promotional data are the           19       A. Yes, Scott-Levin doesn't exist
    20   IPS data. And I believe the IPS data, which     20   anymore. It's part of IQVIA.
    21   as we discussed earlier today, do               21       Q. And what years does that audit
    22   traditionally include samples, journal          22   data cover?
    23   advertising and direct-to-consumer              23       A. I don't believe it's possible
    24   advertising. I believe that that is their       24   to obtain those data anymore since IQVIA
    25   main product. I can't be sure that they         25   purchased Scott-Levin, which must be at least

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     1   five years ago.                                  1        A. That's correct.
     2       Q. So you can't even get old data            2        Q. Do you know whether your teams
     3   from Scott-Levin? IQVIA won't allow              3   interacted with each other?
     4   purchase?                                        4        A. Yes, they did.
     5       A. I don't recall all the details,           5        Q. Do you know how frequently?
     6   but I do recall -- IMS and Scott-Levin had       6        A. I do not.
     7   these competing products, and at different       7        Q. And I think we talked about
     8   times I've used Scott-Levin data and there       8   this earlier, but let me just ask you an
     9   were some differences. And at one time I         9   open-ended question.
    10   tried to get the Scott-Levin data because I     10            What data did you review that
    11   preferred it for whatever the project was. I    11   was -- sorry, strike that.
    12   don't recall what the difference was, but I     12            Did you review any data
    13   know that I did actually try to get the         13   produced by the manufacturers that was
    14   Scott-Levin data and was unable to.             14   prescriber-specific promotion data?
    15       Q. Did you consider any other               15        A. I can't recall whether I
    16   sources of prescriber-specific promotion data   16   actually reviewed prescriber-specific data.
    17   beyond IQVIA or maybe Scott-Levin for this      17   I requested it, and what I requested was
    18   case?                                           18   determined not to be available. I'm not sure
    19       A. Well, in general, as I noted             19   if I saw any pieces of data.
    20   earlier, I and my staff asked counsel to        20            I did see marketing documents
    21   identify any materials in discovery that        21   and product P&Ls that referred to marketing
    22   would help us with physician-level detailing,   22   expenditures specifically, but that's not
    23   and we did not find anything that was           23   really what you're asking about.
    24   comprehensive that we could use.                24        Q. And when you say the data was
    25       Q. And when you asked counsel to            25   determined not to be available, was that a
                                              Page 235                                            Page 237
     1   help you identify that data, did you receive     1   determination you made or that someone at
     2   like the full suite of data produced in the      2   Greylock made?
     3   case? Like what specifically did you get         3       A. Well, again, I made a very
     4   that you looked through to find data that was    4   specific request for detailing data,
     5   usable?                                          5   promotional data over time and across
     6       A. My staff had access to                    6   physicians, and I was told that it didn't
     7   everything that was produced in the case, and    7   exist.
     8   as you know, it's a rather large, complex        8       Q. But you did have access to some
     9   case, so we made those requests through          9   of the marketing budgets which are cited in
    10   counsel for help navigating. And I believe      10   your report I think in footnote 70?
    11   that everyone looked to their best ability to   11       A. I could check that, but, yes, I
    12   find the data that I had asked for.             12   did. As I mentioned, I did review marketing
    13       Q. And when you say your staff,             13   reports and product and loss -- profit and
    14   you're referring to Greylock McKinnon?          14   loss statements by product.
    15       A. Excuse me. Yes. Greylock                 15       Q. And did you ask for a
    16   McKinnon.                                       16   comprehensive set of all of the marketing
    17       Q. Did you work with Compass                17   budgets produced in the case?
    18   Lexecon at all on your report or your models?   18       A. I did, and I don't believe I
    19       A. I attended meetings with them            19   used them systematically like that, but I did
    20   and conversations. I wouldn't say I worked      20   ask for marketing budgets for all of the
    21   with them directly.                             21   defendants.
    22       Q. So you had the Greylock                  22       Q. Did you consider using the
    23   McKinnon team working under you, and that was   23   marketing budgets to measure marketing by
    24   separate from Professor Cutler and Gruber and   24   dollars spent as opposed to through the IQVIA
    25   McGuire's Compass Lexecon team?                 25   data?

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     1        A. Yes. And as you know, because            1   payments to pain advocacy organizations, it
     2   there's some missing data for OxyContin, I do    2   sounds like?
     3   actually use the marketing budgets to help me    3        A. Yes. And again, I think I cite
     4   interpolate. But it's not a -- I can't --        4   a few examples of those. But if you can't
     5   it's not monthly data, and -- and I don't        5   track something systematically over time, you
     6   have complete marketing budgets for every        6   can't include it in a statistical model like
     7   product for every time period, so it's simply    7   this one.
     8   impractical to use that as an alternative.       8        Q. So if I understand your
     9        Q. Did you review prescriber-level          9   testimony, you did not have access to
    10   prescription data?                              10   promotion data that was disaggregated by drug
    11        A. No, I did not have any                  11   manufacturer and geography?
    12   prescriber-level prescription data.             12            MR. SOBOL: Objection.
    13        Q. Did you ask for that?                   13        A. I don't think that's -- well,
    14        A. Because the rate-limiting step          14   it's not wrong, but it's not right either.
    15   is the promotional data, I'm not sure I asked   15   BY MR. ROTH:
    16   for it. I asked for the promotional side.       16        Q. It's too broad.
    17        Q. But for the other side of your          17            You did not have, on a global
    18   model, the MMEs, you could have ostensibly      18   basis for all manufacturers, disaggregated
    19   used prescription data for that, right?         19   promotion data by drug and geography?
    20             MR. SOBOL: Objection.                 20            MR. SOBOL: Objection.
    21        A. That would not make sense to            21        A. My data allow me to
    22   have an aggregate independent variable and a    22   disaggregate by drug, by defendant. And as
    23   disaggregated dependent variable. It would      23   we talked about earlier, the IQVIA data make
    24   have -- it would have given nonsensical         24   it possible to disaggregate by specialty.
    25   results.                                        25            I cannot disaggregate by
                                             Page 239                                             Page 241
     1   BY MR. ROTH:                                     1   geography or by physician.
     2       Q. Got it.                                   2   BY MR. ROTH:
     3            So when you say the                     3       Q. Why did you believe it was
     4   rate-limiting side --                            4   appropriate to use a national model?
     5       A. Yes.                                      5       A. Again, the question at hand is
     6       Q. -- you only had aggregate data            6   an aggregate question. The question is to
     7   on the promotion side, so you wanted to use      7   what extent did the conduct of these
     8   aggregate data for everything?                   8   defendants affect the expansion of the use of
     9       A. Yes. As I mentioned earlier, I            9   opioids in the United States and in the
    10   considered whether it was possible to take      10   specific bellwether counties.
    11   this approach, and I knew that the problem      11            And ultimately, marketing is a
    12   was in quantifying promotion at the             12   national phenomenon. I believe the most
    13   individual physician level.                     13   reliable way to estimate the effect of
    14       Q. Did you have access to data              14   marketing on sales is to do so at the
    15   about payments to key opinion leaders?          15   national level. It smooths out variability
    16       A. Again, I believe that some of            16   in the data in ways that make the analysis
    17   those payments are tracked in the marketing     17   more likely to show a true effect.
    18   documents that I looked at. Right now I can     18            It also overcomes certain data
    19   mostly think of the ones that go to             19   challenges that we've been talking about
    20   organizations rather than individual key        20   where if we only focused on those physicians
    21   opinion leaders. I believe some of the other    21   who were detailed versus those who were not,
    22   experts examined some of those payments, but    22   we might get the wrong results.
    23   I did not directly.                             23            So in sum, the aggregate
    24       Q. And you anticipated my next              24   analysis in my mind is the most reliable way
    25   question. So you've also seen data about        25   to estimate the impact of the alleged
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     1   misconduct.                                      1        Q. That's not an issue that you've
     2        Q. If you did not use aggregated            2   studied or have an opinion on?
     3   national data, would there be more               3        A. That's correct.
     4   variability in the data that make it more        4        Q. If you look at paragraph 61,
     5   likely there would not be a true effect shown    5   we've finally gotten to your equation. And
     6   from promotion?                                  6   can you just confirm, I don't believe this
     7            MR. SOBOL: Objection.                   7   was changed by your errata, although I saw
     8        A. Anytime we disaggregate data,            8   some equations did change so --
     9   we will increase the amount of variability,      9             MR. SOBOL: That's my copy.
    10   and that creates statistical noise which can    10        I'm kidding. Actually, I think it is.
    11   essentially overwhelm the effects.              11        A. Just checking, myself. I think
    12   BY MR. ROTH:                                    12   it's in the appendix that the equations were
    13        Q. Did you test your hypothesis            13   changed, yeah. They're all in Attachment D,
    14   that marketing is national in scope by          14   yeah.
    15   comparing the impact of detailing stock         15   BY MR. ROTH:
    16   across geographies?                             16        Q. So this equation on page 43, Qt
    17            MR. SOBOL: Objection.                  17   equals --
    18        A. It's -- I began the analysis on         18        A. Checking your Greek.
    19   the premise that this was a national campaign   19        Q. -- alpha -- no epsilon?
    20   of misinformation, allegedly, and so an         20        A. That's alpha.
    21   aggregate model is the right place to begin.    21        Q. Alpha. I thought it was. Qt
    22            To the extent that there's             22   equals alpha plus -- why don't you just say
    23   geographic variation, it would nonetheless be   23   it in words, because if I try, I'm going to
    24   true that the aggregate effect would capture    24   massively fumble it.
    25   all of that variation.                          25        A. We could say it in actual
                                              Page 243                                            Page 245
     1            In all of the instances where           1   words. So Q is the quantity of opioid MMEs
     2   we have talked about variation today, that       2   for a particular month. Alpha is just the
     3   variation is appropriately subsumed in my        3   constant term. That's just the intercept. S
     4   model. I do show an average effect, but that     4   prime of t is -- this is the -- in this case,
     5   is what is meaningful for constructing           5   it is the stock of detailing. Beta is the
     6   aggregate impact.                                6   coefficient on that, just using the standard
     7   BY MR. ROTH:                                     7   for doing matrix algebra in reverse.
     8       Q. Do you have any opinion as to             8             So -- and then X is the vector
     9   what is causing the geographic disparity in      9   of other factors. So in Model C, right, it
    10   the number of opioid shipments, given your      10   includes those dummy variables in addition to
    11   view that the marketing campaign was national   11   price. And then e is the error term. And
    12   in scope?                                       12   gamma, sorry, is the coefficient on those X
    13            MR. SOBOL: Objection, scope.           13   variables.
    14       A. The geographic variation in              14        Q. And in terms of the other
    15   opiate prescribing and deaths is really the     15   factors variable, the only things being
    16   subject of Professor Cutler's report. I do      16   picked up there are price and then the
    17   not have an independent opinion on that         17   Model C events?
    18   question.                                       18        A. That's correct.
    19   BY MR. ROTH:                                    19        Q. And essentially what this
    20       Q. But you are aware from studies           20   equation allows you to do is plot total
    21   and data that the opioid issues affect          21   opioid MMEs over time against your stock of
    22   certain geographies of this county more than    22   detailing over time?
    23   others?                                         23        A. I guess I don't know what you
    24       A. Yes, and I believe Professor             24   mean by "plot." This equation is intended to
    25   Cutler addresses that directly in his report.   25   represent the regression line that is being
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     1   determined by the statistics, which              1   were entered into the model as a stock,
     2   essentially looks at the variance and            2   including the number of current contacts and
     3   covariance of the underlying valuable --         3   the depreciated value of past contacts.
     4   variables to ascertain what that relationship    4             Do you see that?
     5   would be to calculate the alpha, beta, gamma.    5        A. Yes.
     6            So I guess plot is one way of           6        Q. And what does the word
     7   thinking about it, but it's in                   7   "depreciated" mean to you?
     8   multidimensional space, so...                    8        A. Depreciated in this context is
     9       Q. My mathematical mind is more              9   multiplied by one minus the depreciation
    10   limited than yours --                           10   rate, which I know we're getting to this. In
    11       A. Okay.                                    11   some cases it inflates the stock, and in some
    12       Q. -- so I used the term "plot."            12   cases -- well, it doesn't inflate the stock
    13   I apologize if that's too narrow.               13   per se, but it inflates past promotion versus
    14       A. That's okay.                             14   deflates it, yes.
    15       Q. What is a stock of detailing?            15        Q. In general, though,
    16       A. Well, stock of detailing is              16   depreciation means reduce or diminish the
    17   like a stock of anything else, that it's        17   effect, right?
    18   cumulative and it has a depreciation rate so    18             MR. SOBOL: Objection.
    19   that we can ascertain how the cumulative        19        A. I think if you look it up in
    20   effects relate to things that happened in the   20   the dictionary, it would do that, but we
    21   distant past versus the near past.              21   think about negative interest rates even
    22       Q. And why did you decide to use a          22   though we think about interest rate just
    23   stock instead of just the number of contacts?   23   literally being something that increases the
    24       A. The stock of detailing -- I              24   value of your asset, we can have negative and
    25   know you've gone over a couple of papers, but   25   positive interest rates by the same token.
                                              Page 247                                             Page 249
     1   if you look across the literature, probably      1   BY MR. ROTH:
     2   about half of them use the stock of              2       Q. Your coefficient on the stock
     3   promotion.                                       3   of detailing actually assumes the effect of
     4             It's conceptually appealing            4   detailing increases over time?
     5   because the idea that you don't just forgot      5             MR. SOBOL: Objection.
     6   something because you were detailed two          6       A. I don't know what you mean
     7   months ago, that makes sense, that detailing     7   by -- when you say assumes, because it's
     8   in one period would have effects in a later      8   empirically estimated, but, yes, it is
     9   period. So that's the main reason for doing      9   consistent with the idea that past promotion
    10   it.                                             10   increases in effect over time.
    11        Q. It's true, then, that your              11   BY MR. ROTH:
    12   stock of promotion is a calculated value in     12       Q. So as time goes on from that
    13   your model; it's not some observable number     13   detail visit, the impact just gets stronger
    14   out there in the world?                         14   and stronger in your model?
    15        A. I'm not 100% sure what you mean         15             MR. SOBOL: Objection.
    16   by that, but -- so the stock is -- it's         16       A. As you know, my model is
    17   observable by adding up things that are         17   estimating the relationship between promotion
    18   observable.                                     18   and sales for an addictive good, and so what
    19             The depreciation rate is              19   we're saying is let's say promotion caused
    20   estimated in the context of the model using a   20   them -- the physician to write a hundred MMEs
    21   specification test, so that part, you know,     21   in a prescription today, as the patient gets
    22   again, it comes from the underlying data, but   22   more tolerant, not only do they continue
    23   it is estimated.                                23   writing that prescription because the patient
    24        Q. Okay. And then in                       24   comes back, but also the dose goes up. So
    25   paragraph 62, you say: Detailing contacts       25   that is really what the negative depreciation

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     1   rate is about here.                              1   literature do you have to opine that the
     2   BY MR. ROTH:                                     2   addictiveness of opioids means that doctors
     3       Q. So is your suggestion that the            3   are prescribing higher and higher dosages to
     4   doctors are addicted to writing                  4   their patients?
     5   prescriptions?                                   5            MR. SOBOL: Objection, asked
     6            MR. SOBOL: Objection.                   6        and answered.
     7       A. I didn't say that.                        7        A. If you look at Figure 3, this
     8   BY MR. ROTH:                                     8   is where I empirically demonstrate what's
     9       Q. So when you say it's the                  9   happening with the strength --
    10   addictiveness, your suggestion is because the   10            MR. SOBOL: Page?
    11   patient may become addicted, the doctor is      11            THE WITNESS: Oh, sorry.
    12   going to continually ratchet up the dosage      12        Page 37.
    13   for that patient?                               13   BY MR. ROTH:
    14            MR. SOBOL: Objection.                  14        Q. Right. That's on an aggregate
    15       A. You make it sound like the               15   basis. I asked you a different question.
    16   opioid epidemic is speculative. It is           16   With --
    17   clearly true that patients who started on a     17        A. No, no, no. I'm sorry, but the
    18   particular dose of opioids get higher and       18   aggregate basis means that the average MMEs
    19   higher doses. That has -- that is just          19   per prescription is escalating at this very
    20   common knowledge, and other experts have        20   high rate. That means that some large number
    21   opined on that.                                 21   of patients under it -- for it to increase at
    22            And so it is a fact of the             22   this rate, it cannot be that just a handful
    23   matter that some patients will require          23   of patients are getting more.
    24   escalating values in terms of the number of     24        Q. It could just be, though, that
    25   MMEs, whether they're addicted or not, and      25   stronger drugs are prescribed. It doesn't
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     1   then also it is true that some of those          1   mean that a specific patient is getting
     2   patients will become addicted. I think           2   higher and higher doses because of the
     3   there's no question in the literature about      3   addictiveness of opioids.
     4   whether prescribed opioids cause addiction.      4            MR. SOBOL: Objection.
     5   So that is true.                                 5        A. I do not derive that -- these
     6            And the fact of the matter is           6   data really show that higher and higher doses
     7   that I'm not describing physician behavior as    7   of MM- -- of opioids are being prescribed. I
     8   addictive; but if those patients come back to    8   mean, that's just literally what they show.
     9   their physician and say, "My pain is getting     9   The MMEs per prescription is increasing.
    10   worse, I need another prescription," then in    10            So that is showing that --
    11   some instances it will be filled.               11   whether it's addiction or not, that patients
    12   BY MR. ROTH:                                    12   are getting higher and higher doses. That
    13       Q. What percentage of patients              13   mechanically will have the effect of making
    14   need escalating doses of opioids?               14   it look like past promotion is suddenly more
    15            MR. SOBOL: Objection, scope.           15   effective today than it was yesterday.
    16       A. I'm not a clinical expert. My            16   BY MR. ROTH:
    17   analysis is entirely empirical. If this were    17        Q. And so, in effect, your
    18   not happening, my analysis would not find       18   depreciation rate is an appreciation rate in
    19   that these MMEs are inflating over time in      19   your model.
    20   the way they are.                               20            MR. SOBOL: Objection.
    21   BY MR. ROTH:                                    21        A. You may use that term. I think
    22       Q. I know you're not a doctor, so           22   it's more standard to call it a depreciation
    23   I'm just trying to understand, like what --     23   rate. Also, as you know, I estimate multiple
    24   you say it's common knowledge.                  24   models, and they don't all have a negative
    25            What basis in science or               25   depreciation rate.
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     1   BY MR. ROTH:                                     1   we're actually seeing reductions in sales.
     2        Q. What do your models say about a          2        Q. You agree that an appreciating
     3   single detailing visit in January 1995 with      3   depreciation rate is at odds with the usual
     4   regard to its impact today?                      4   marketing literature in economics?
     5            MR. SOBOL: Objection.                   5             MR. SOBOL: Objection.
     6        A. Can you explain what you mean            6        A. I don't know that it's at odds
     7   by that?                                         7   with the underlying theory of marketing.
     8   BY MR. ROTH:                                     8   Because this is an addictive good, I think
     9        Q. Yeah.                                    9   it's a very different set of circumstances.
    10            So the way your stock of               10             Usually we do see depreciation
    11   promotion is calculated, it keeps               11   falling, but I would note also that this is a
    12   aggregating. So would a visit in                12   special case, as we've talked about many
    13   January 1995 still be growing in impact in      13   times today. I'm interested in this entire
    14   your model?                                     14   market and not one drug.
    15        A. In the fact -- in the models            15             And so usually when the
    16   with the negative depreciation rates, the       16   marketing literature is looking at this,
    17   past promotion continues to grow, yes.          17   they're looking at an individual drug, maybe
    18        Q. And at what point does it reach         18   even an individual physician. And here we're
    19   its maximum impact?                             19   really talking about the growth of an entire
    20        A. Well, I think you should not            20   set of practices around the use of opioids.
    21   try to extend the analysis out of sample.       21   BY MR. ROTH:
    22   Again, what I show in my model is while on      22        Q. You say in your report: A
    23   average, because I estimate a single negative   23   negative depreciation rate indicates that the
    24   depreciation rate, we see this negative         24   stock of promotion grows over time.
    25   depreciation rate, but we also find that the    25             Correct?
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     1   effectiveness of promotion is falling.           1        A. Yes.
     2            And so while the stock may be           2        Q. And then you say: This
     3   increasing, its effectiveness is decreasing.     3   prediction may be at odds with the usual
     4       Q. Yeah, and we'll get to the                4   marketing literature.
     5   other adjustments. I just want to talk about     5        A. Yes. But I want it to be
     6   the depreciation rate first.                     6   clear, however, that it's not a theoretical,
     7            So under your model, the                7   the theory that I've just described, whereby
     8   detailing that happens today is 8.3% more        8   the role of addiction is entirely consistent
     9   impactful next year than it is today?            9   with a negative depreciation rate.
    10            MR. SOBOL: Objection.                  10        Q. And in your report, where you
    11       Objection.                                  11   say that, you've got a footnote and you cite
    12       A. For a given quarter, after a             12   to Perri's report?
    13   year, the appreciation is 8.3%, yes.            13        A. Yes.
    14   BY MR. ROTH:                                    14        Q. And you quote him in saying:
    15       Q. And after ten years, detailing           15   Additionally, because prescription opioids
    16   that happens today would be 223% more           16   may result in tolerance, dependence, and/or
    17   impactful than it was today?                    17   addiction, the overall demand for opioids is
    18       A. I think you'd have to give me a          18   distorted by pharmaceutical marketing aimed
    19   calculator, but I'm willing to trust your       19   at increasing the use of these drugs. I
    20   math.                                           20   refer to this as a distortion because,
    21            And just to be clear, it's not         21   whether due to tolerance, dependence, or
    22   exactly impactful because, again, you have to   22   addiction, some patients who use opioids
    23   recognize that the coefficient on promotion     23   require and/or seek more opioids over time.
    24   is changing over this same period, and          24            Did I read that correctly?
    25   because that -- that coefficient is dropping,   25        A. You know, I thought I saw that
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     1   correct footnote, and then I was looking at      1   now, do you know of any literature, whether
     2   the wrong one.                                   2   related to nonaddictive or addictive
     3       Q. Sorry. It's page 49, 103.                 3   products, that has a negative depreciation
     4       A. 49.                                       4   rate?
     5             Yes.                                   5       A. I cannot point to any other
     6       Q. And based on that statement,              6   study, no.
     7   you believe that a negative depreciation         7       Q. Let's look at the Datta and
     8   rate, although at odds with the usual            8   Dave study again. So if you look at page --
     9   marketing literature, is perfectly consistent    9       A. Sorry, I lost Datta and Dave.
    10   in this case?                                   10       Q. Sorry, it's okay.
    11       A. Just to be clear, I'm not                11       A. Yeah. Okay. I got it.
    12   relying on Dr. Perri for my understanding       12       Q. Page 457, footnote 23.
    13   that opioids are addictive. I'm relying on      13            Do you see that?
    14   the broad facts of this case, my knowledge in   14       A. Yes.
    15   public health, and that is the reason why I     15       Q. So in this study, it says: We
    16   think, while marketing studies that have        16   chose to rely on the literature for fixed
    17   looked at other goods have not found this, it   17   estimates of the depreciation rate rather
    18   is entirely theoretically consistent that we    18   than estimate it as an unknown parameter.
    19   would find a negative depreciation rate here.   19       A. Yes.
    20       Q. Have you looked at marketing             20       Q. And they say: An unbiased
    21   studies relating to other addictive goods?      21   estimate of the depreciation rate would
    22       A. I don't know of any other                22   require a detailed structural modeling of
    23   marketing studies related to addictive goods.   23   promotion and prescription behaviors, without
    24       Q. Tobacco?                                 24   which it would be difficult to disentangle
    25       A. Yes, I have -- I'm certainly             25   the coefficient of the detailing stock from
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     1   familiar with the tobacco literature. That       1   the depreciation rate.
     2   literature, as you may know, focuses largely     2             And there's then a cite to
     3   on taxes and the effect of a marketing ban in    3   Iizuka and Jin.
     4   terms of broadcast advertising.                  4             Do you see that?
     5             I don't know that the                  5        A. I do.
     6   literature has looked at the stock of            6        Q. And in what way did you
     7   promotion at all.                                7   structurally model prescription behaviors in
     8        Q. What about marketing literature          8   your model?
     9   related to alcohol?                              9        A. Well, I followed the same
    10        A. I have not seen any of that             10   practice that Professor Berndt and others
    11   literature, no.                                 11   have used, which in effect simultaneously
    12        Q. What about marketing literature         12   estimates the two parameters. It's not,
    13   related to marijuana?                           13   strictly speaking, a structural model. It
    14        A. I --                                    14   really requires that we reestimate the model
    15             MR. SOBOL: Wait. Is that              15   with a whole range of estimates and then see
    16        addictive?                                 16   which one has the best fit. It's an
    17             THE WITNESS: Wait, is there           17   alternative approach to the structural
    18        marketing? But now, you're right,          18   modeling approach.
    19        there may be a market.                     19        Q. Datta and Dave go on to say:
    20             I would be interested to know         20   Prior research on consumer behavior suggests
    21        if such literature exists. I'm not         21   that advertising effects fully depreciate
    22        familiar with any literature like          22   within six months to a year, consistent with
    23        that.                                      23   decay rates of 0.1 to 0.2, which have also
    24   BY MR. ROTH:                                    24   been found to apply to pharmaceutical
    25        Q. Okay. As you sit here right             25   advertising.
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     1            Do you see that?                        1       A. Oh, yes. In the text.
     2        A. I do.                                    2       Q. In the text.
     3        Q. Okay. And then --                        3       A. I'm sorry, I was looking in the
     4        A. I would note that Professor              4   table for a column heading. Yes. Yes. I'm
     5   Berndt's article that you shared with me         5   sorry.
     6   earlier finds a depreciation rate of zero,       6       Q. Okay. So in the column heading
     7   and he concludes there and elsewhere that        7   in the text, it says Detailing, and then it
     8   it's consistent with our understanding that      8   says: For each of the three drugs in the
     9   pharmaceutical marketing is long-lived           9   study, we observed statistically significant
    10   because of the habit formation, so there's      10   positive albeit modest effects of detailing
    11   clearly some disagreement in the literature     11   on prescriptions.
    12   about what's the right answer.                  12            Do you see that?
    13        Q. Right. But he has no                    13       A. Yes.
    14   depreciation rate. He doesn't have an           14       Q. And then it says: Both current
    15   appreciation rate in his study.                 15   term and carryover effects exist. For
    16        A. The difference between zero and         16   drug A, statistically significant positive
    17   a small negative is -- they're both kind of     17   effects are present contemporaneously and for
    18   getting at the same notion, which is that       18   the subsequent four months.
    19   marketing from many periods ago is still        19            Do you see that?
    20   persistent today.                               20       A. Yes.
    21        Q. And the Berndt study you're             21       Q. And then if you jump to the
    22   citing predated this Datta and Dave study; is   22   next column, the bottom paragraph says: The
    23   that right?                                     23   estimated response to a change in PSR visits
    24        A. I believe it did, yes. It's an          24   for drug B is similar to drug A in that we
    25   earlier study.                                  25   observe a statistically significant response
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     1           (Whereupon, Deposition Exhibit           1   the month of the visit that diminishes over
     2       Rosenthal-9, 2004 Mizik and Jacobson         2   the subsequent six months.
     3       Publication, was marked for                  3            Do you see that?
     4       identification.)                             4        A. Yes.
     5   BY MR. ROTH:                                     5        Q. And then you referred already
     6       Q. Okay. And now I'm going to                6   to the Berndt study, which I believe you have
     7   show you Exhibit 9, which is the Mizik and       7   there.
     8   Jacobson study, Are Physicians "Easy Marks"?     8        A. Yes.
     9   Quantifying the Effects of Detailing and         9        Q. If we look at that at
    10   Sampling on New Prescriptions.                  10   page 104 -- it's Exhibit 8 -- I thought you
    11           Do you have Exhibit 9 in front          11   said the depreciation rate was zero, but
    12   of you?                                         12   looking at page 104 on the second column, it
    13       A. I do.                                    13   actually looks like it's 0.03.
    14       Q. And this is another document             14        A. It may be there's another
    15   you relied on and quoted in your report.        15   Berndt paper that I believe that I cite. I
    16       A. Yes.                                     16   know there's a zero depreciation rate in one
    17       Q. And if you look at page 1710,            17   of them. That may be -- if we look at my
    18   under the chart, do you see there's a heading   18   literature summary, it may be clearer.
    19   Detailing?                                      19        Q. Okay. We can do that on the
    20       A. Under -- in Table 2?                     20   next break, but for now let me just mark
    21       Q. Yes. There's a Detailing                 21   Exhibit 10.
    22   heading on the column underneath Table 2.       22        A. Okay.
    23       A. I'm sorry.                               23            (Whereupon, Deposition Exhibit
    24       Q. Sorry, I'm below Table 2. Left           24        Rosenthal-10, 2001 G?n?l et al
    25   side.                                           25        Publication, was marked for
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     1       identification.)                             1        Q. Got it.
     2   BY MR. ROTH:                                     2        A. I think it must be in the
     3       Q. Which is the G?n?l study,                 3   footnote. Yes.
     4   Promotion of Prescription Drugs and Its          4        Q. Yeah. I don't see the exact
     5   Impact on Physicians' Choice and Behavior.       5   number. But in any event, they depreciated
     6       A. I'm sorry, were you going to              6   their stock somehow, and if we took the time
     7   ask me a question about this study?              7   to review this, we could probably find the
     8            MR. SOBOL: Which one?                   8   exact number.
     9   BY MR. ROTH:                                     9            So switching gears for a
    10       Q. I think I did. I was just                10   second. So you said you're not aware of any
    11   asking what the depreciation rate was and you   11   article. Have you ever done any work in your
    12   said --                                         12   litigation consulting or expert practice
    13       A. I'd just like to remind you,             13   where you've modeled a negative depreciation
    14   when we talk about these marketing studies,     14   rate before this case?
    15   and Mizik and Jacobson is similar to the        15            MR. SOBOL: Objection, asked
    16   Datta and Dave one, it's a short period of      16        and answered.
    17   time for a few select drugs. It doesn't have    17        A. I would return to the fact that
    18   the ability to look over the long term the      18   this matter concerns a class of drugs that is
    19   way we do.                                      19   different from any other class of drugs for
    20       Q. No, I understand.                        20   which I have looked at marketing, and I
    21            And for those drugs, the               21   believe that the negative depreciation rate
    22   depreciation happened within months. In your    22   is entirely consistent with that underlying
    23   model, the appreciation happens forever.        23   phenomenon.
    24       A. Yes.                                     24            I have not worked on opiate
    25       Q. So if we look at Exhibit 10,             25   addiction in the past. I have not worked on
                                              Page 267                                              Page 269
     1   the G?n?l study, if you look at page 85,         1   a marketing study for an addictive product.
     2   there's a paragraph, Cumulative Discounted       2   BY MR. ROTH:
     3   Sums of Detailing and Samples.                   3        Q. Okay. And as you sit here now,
     4            Do you see that?                        4   you're not aware of any peer-reviewed
     5       A. You're on 85?                             5   publication or study that suggests that a
     6       Q. 85.                                       6   negative depreciation rate is ever
     7       A. Yes.                                      7   appropriate?
     8       Q. And in that paragraph it says:            8             MR. SOBOL: Objection, asked
     9   For each prescription physicians write, they     9        and answered.
    10   are likely to be influenced by past personal    10        A. It's my belief that a negative
    11   selling efforts. We discount the cumulative     11   depreciation rate is entirely theoretically
    12   personal selling effort consistently with the   12   consistent with this product. I cannot cite
    13   methods used in the advertising literature.     13   a paper that has estimated one, but I do not
    14   The major premise of these methods is that      14   find it surprising.
    15   physicians are influenced by the recent         15   BY MR. ROTH:
    16   visits of sales representatives more than by    16        Q. Okay. Let's look at
    17   the distant ones.                               17   paragraph 55 of your report and Figure 4
    18            Do you see that?                       18   below that. Are you there?
    19       A. I do.                                    19        A. I'm sorry, you're at
    20       Q. And it looks like in this                20   paragraph 55 -- I'm sorry, I went to the next
    21   study -- well, maybe you can help me find it.   21   page.
    22   I don't know if it's on this page.              22        Q. Yeah, and it spills -- sorry,
    23       A. They don't -- they don't                 23   it spills to the next page, which is
    24   estimate a depreciation rate. It says they      24   Figure 4.
    25   set one.                                        25        A. Yes.
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     1       Q. Are you there?                            1   levels of contacts.
     2       A. Uh-huh.                                   2       Q. So with no adjustment for a
     3       Q. And in this chart it looks like           3   stock, this is just the ebb and flow of where
     4   you actually model your depreciation rate in     4   the IQVIA data shows promotion is?
     5   red against what your model would look like      5       A. Yes, it's the unadjusted IQVIA
     6   with no depreciation rate or even a small        6   total detailing contacts.
     7   positive depreciation rate.                      7       Q. So it spikes up and down over
     8       A. I show you what that would look           8   the course of the entire period?
     9   like, yes.                                       9       A. It does have the pattern that
    10       Q. So with even a very slight               10   you see there.
    11   positive depreciation rate, the line looks      11       Q. Okay. Have you run your models
    12   almost flat.                                    12   with positive depreciation rates other than
    13       A. You mean the .01?                        13   the 0.01 you depict on Figure 4?
    14       Q. Correct.                                 14            MR. SOBOL: Objection.
    15       A. Yes.                                     15       A. That's not running the model.
    16       Q. And if you hold the                      16   That's just showing you what the stock would
    17   depreciation rate at zero, it's got a small     17   look like.
    18   increase, but not anywhere close to what you    18   BY MR. ROTH:
    19   show with your negative depreciation rate?      19       Q. Okay. So have you even run the
    20            MR. SOBOL: Objection.                  20   model with the stock at 0.01?
    21       A. But as you've described the              21       A. I have not.
    22   lines, the line that represents the             22       Q. Okay. So you don't know what
    23   depreciation rate I estimated grows more        23   that would look like, and you don't know what
    24   rapidly, as would be expected because of        24   it would look like if we used a higher
    25   compounding.                                    25   depreciation rate?
                                             Page 271                                              Page 273
     1             Just to be clear, the fact that        1             MR. SOBOL: Objection.
     2   the stock of promotion grows in this pattern,    2        A. I don't.
     3   that is a question of fitting the model          3   BY MR. ROTH:
     4   appropriately. It's not driving my results       4        Q. And I think you said this, but
     5   in that same relationship.                       5   your model selects the depreciation rate that
     6   BY MR. ROTH:                                     6   produces the best fit?
     7       Q. I'm not sure I understood your            7        A. Yes, that's correct. It uses a
     8   last answer. What do you mean it's not           8   Wald test.
     9   driving your results?                            9        Q. Okay. We'll come back to the
    10       A. Well, the results aren't                 10   Wald test. But let's look at Figure 2,
    11   inflated in the same way that the stock of      11   which, I believe, is a few pages earlier.
    12   promotion is inflated. The estimate in my       12        A. Page 36?
    13   model, again, where I have promotional          13        Q. You got it. So Figure 2 is a
    14   effectiveness coefficients, they're now         14   line graph of the MMEs over time.
    15   responding -- they'll be lower than otherwise   15        A. That's correct, and it also
    16   because the average level of promotion is       16   includes extended units in blue.
    17   higher, and so it effectively makes promotion   17        Q. And what does that mean,
    18   look less effective on an incremental basis.    18   "extended units"?
    19             And this is really a question         19        A. Extended units are pills.
    20   of just getting the best fit in terms of the    20        Q. Okay. So you've got both the
    21   timing.                                         21   pills and the MMEs on this graph?
    22       Q. Okay. The blue line on this              22        A. Yes, and you can see they track
    23   line graph you describe as the flow of the      23   almost perfectly.
    24   data. Can you explain what that means?          24        Q. And you can tell, I think, the
    25       A. Sure. Those are the monthly              25   first thing I see when I look at this graph
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     1   is a pretty stark decline that starts in         1        Q. And when you refer to
     2   2010.                                            2   regulation in that paragraph, what
     3            Do you see that?                        3   specifically are you talking about?
     4        A. It does have a clear peak, both          4        A. Well, so, for example, certain
     5   of those trends.                                 5   states required that physicians use a
     6        Q. And do you have any                      6   database to look at prescribing for the
     7   understanding as to why MMEs began to drop       7   patient before they could write a
     8   off starting in 2010?                            8   prescription, so prescription drug monitoring
     9        A. Well, I think I write about              9   programs and educational requirements around
    10   that pretty extensively in my report.           10   those prescription drug monitoring programs.
    11        Q. In paragraph 46 -- yeah, let's          11             In some places there are --
    12   look at paragraph 46.                           12   like Massachusetts, for example, there have
    13        A. Maybe not 46. Maybe 56?                 13   also been prescribing limits that were
    14        Q. Oh, you know what, that's               14   passed. So those kinds of things.
    15   Gruber 46. We'll get to him next.               15        Q. And then did you review
    16        A. I'm sorry. Okay.                        16   Professor Gruber's report?
    17        Q. Sorry, which paragraph were you         17        A. I did.
    18   taking me to?                                   18        Q. Before yours was finalized or
    19        A. I am looking for where I                19   at some point after?
    20   discuss the peak.                               20        A. Perhaps before.
    21        Q. All of your reports magically           21        Q. Okay. So I'll -- I could mark
    22   have the same font and type space, so it's      22   it, but I'm just going to read to you from
    23   hard to differentiate.                          23   it. And if you want me to mark it, I will.
    24        A. I think it's later when I talk          24             But he says in paragraph 46:
    25   about --                                        25   Beginning around 2010, increased enforcement
                                              Page 275                                             Page 277
     1       Q. 67 --                                     1   actions by DEA and DOJ, criminal actions and
     2       A. -- estimating the breaks.                 2   litigation, the growth of state PDMP laws and
     3       Q. 67.                                       3   increased awareness of addiction risks
     4       A. Yeah?                                     4   associated with prescription opioids
     5       Q. Yeah. I think I found it.                 5   contributed to a reduction in aggregate
     6       A. Yes.                                      6   shipments of prescription opioids after more
     7       Q. Okay.                                     7   than 20 years of rapid growth.
     8       A. So that's sort of the -- that's           8            Are you aware of that passage
     9   where I talk about the first break.              9   in his report?
    10       Q. Yeah. So you say: The                    10        A. Yes, and I think that there's
    11   accelerated growth in opioid prescribing that   11   absolutely nothing inconsistent with what he
    12   followed the guideline and messaging changes    12   says. He uses a couple of different
    13   continued for approximately a decade before     13   examples, but we're in agreement that it's
    14   it was finally arrested and ultimately          14   multifactorial and gradual.
    15   reversed by the cumulative effects of           15        Q. Agree. And you both mention
    16   physician leadership, media attention, public   16   PDMP laws, and I think he's got a couple of
    17   health surveillance and regulation.             17   other examples about the DEA and DOJ.
    18            Do you see that?                       18            But that was what I was going
    19       A. I do.                                    19   to ask you is, are you in agreement with him
    20       Q. And you agree that all of those          20   that these multifactorial events contributed
    21   efforts, doctors, media and public health,      21   to the decline in 2010?
    22   did not just simultaneously happen in           22        A. That is the environment that I
    23   August 2010?                                    23   capture using that third era in which these
    24       A. They did not, which is why I             24   events are essentially reducing the
    25   don't assume that.                              25   effectiveness of promotion.

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     1       Q. Okay. So let's talk about your            1   don't know, 1600 models, something like that.
     2   eras. So if you go to paragraph 71, you're       2       Q. You get how this goes. I get
     3   talking about Model B, and I think you called    3   your memory first, and then we can look at
     4   this in your report your preferred model.        4   the report.
     5       A. I do.                                     5       A. Yes. I know I should just tell
     6       Q. Okay. And just so we                      6   you that I don't remember.
     7   differentiate, we'll get to Model C.             7       Q. That's okay. All right. D5,
     8            Model A, as you describe it in          8   Determining Turning Points in Effectiveness
     9   paragraph 70, is assuming the effectiveness      9   of Promotion.
    10   of detailing is constant, so meaning, if I      10       A. Okay.
    11   look at Table 1, you just used the stock of     11       Q. Tell me when you're there.
    12   promotion and the depreciation rate without     12       A. D5. Okay. Yes.
    13   adjusting for different eras in Model A.        13       Q. So it says: In Model B, the
    14       A. Yes, that's correct. I mean,             14   two dates that would delineate the early and
    15   they both have a single depreciation rate,      15   late change in the effectiveness of
    16   but there's a single stock of promotion in      16   promotional stock were determined through a
    17   Model A, and the price index, of course.        17   two-dimension search. The first turning
    18       Q. And then in Model B, it's those          18   point was chosen between January 1999 and
    19   two things plus you've added these two eras     19   January 2003, and the second turning point
    20   in?                                             20   was chosen with the date between January 2010
    21       A. That's correct.                          21   to December 2011.
    22       Q. And in Model C, it's Model B             22           Do you see that?
    23   with the five events mapped onto it?            23       A. Yes.
    24       A. That's correct.                          24       Q. So let me stop there.
    25       Q. Okay. So let's start with                25           So when you say "it was
                                              Page 279                                             Page 281
     1   Model B. 71 says: Model B allows the             1   determined between," were you just conducting
     2   effectiveness of promotion to change at two      2   the searches within those date ranges?
     3   points in time, determined using                 3       A. Yes, that's right.
     4   specification tests. Thus, this model            4       Q. So you didn't just search the
     5   captures three different periods or eras of      5   whole model for the breaks; you limited the
     6   the opioid market: the initial era, an           6   dimensions you were looking for?
     7   increase in MME sales during the second era,     7       A. Well, as you can see, there
     8   and a third era marking the gradual decline      8   were 1,176 combinations already, so there's a
     9   of MME sales.                                    9   bit of a scale issue in looking at every
    10            Do you see that?                       10   combination.
    11       A. Yes.                                     11             And also, the way the tests
    12       Q. What do you mean, "determined            12   work out, it seemed fairly clear that we
    13   using specification tests"?                     13   weren't getting better and better fit by
    14       A. Well, we essentially -- we do            14   going out further, that the solutions were
    15   much the same as what Professor Cutler does     15   closer to the middle, and so that's why we
    16   in his report, which is basically conduct an    16   didn't feel like we needed to go outside of
    17   F-test, which is looking at the fit of          17   those ranges.
    18   alternative models, and we have these -- we     18       Q. How long did it take the
    19   have two time points, so we're looking at a     19   computer to run 1,176 combinations?
    20   two-dimensional space and looking to see        20       A. Fortunately, I did not have to
    21   which model fits the data best by, again,       21   run those myself. Probably not that long.
    22   iterating over -- I think it says in --         22       Q. I feel bad for Greylock.
    23       Q. Yeah, let's look at Attachment           23             And so you ultimately chose
    24   D5. I'll help you out.                          24   these two breaks based on the maximum Wald
    25       A. That's right, iterating over, I          25   statistic produced from running the model

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     1   almost 11 -- 1,176 times?                        1   key events identified by plaintiffs that
     2       A. That's correct.                           2   helped promote expanded prescribing are in
     3       Q. And what is a Wald statistic?             3   green and the subsequent public health and
     4       A. It's -- like I said, it's like            4   regulatory events that signaled the growing
     5   an F-test that's looking at the joint            5   realization about the dangers are in red.
     6   significance. We talk about an F-test            6        A. Yes.
     7   elsewhere in this model, looking at the joint    7        Q. All right. So let's look at
     8   significance -- actually, in my errata you       8   Figure 5 on page 41, and we're going to do
     9   see I talk about the F-test, doing               9   our best job to articulate on the deposition
    10   significance of a set of variables and seeing   10   transcript the picture that we're looking at.
    11   the formulation in which those variables        11              So it looks to me like Figure 5
    12   explain -- effectively explain the model        12   is --
    13   best.                                           13              MR. SOBOL: Why don't you show
    14       Q. And is it a common practice in           14        it to the camera for a second.
    15   econometrics to choose a model based on         15        Seriously. Just get a shot of that.
    16   maximum fit?                                    16              MR. ROTH: It's a work of art.
    17       A. It's one of the considerations           17              THE WITNESS: It is a work of
    18   that one does in a model. And here we're        18        art.
    19   talking about a set of parameters that we're    19              MR. SOBOL: Christmas.
    20   trying to optimize with regard to               20   BY MR. ROTH:
    21   depreciation. It's not the only thing that      21        Q. So if you look at Figure 5,
    22   we use to select the model.                     22   you've got the MME trend graph that we looked
    23            As you know, I also report the         23   at in Figure 4 with a timeline and the events
    24   adjusted R-squared, and that was part of my     24   described in the paragraph above it, right?
    25   decision-making across models. And there are    25        A. That's correct.
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     1   other factors.                                   1       Q. And so we'll talk about the
     2       Q. Okay. If we turn back to the              2   five you picked to test in Model C, but did
     3   body of the report, paragraph 57 introduces      3   you think about using any of the events on
     4   Figure 5.                                        4   this timeline to choose where you do your
     5            Do you see that?                        5   testing for the breaks?
     6       A. Uh-huh.                                   6       A. I considered and rejected that
     7       Q. So you say: Figure 5 -- which             7   idea for reasons I think I do describe in my
     8   is on the next page -- is a timeline of key      8   report. And I'm happy to explain further.
     9   events. According to plaintiffs' experts and     9       Q. Yeah, if you don't mind.
    10   the published literature, the perceptions of    10       A. So as you can see from the
    11   physicians and the public evolved as a direct   11   timeline, there are a number of discrete
    12   result of the alleged misconduct.               12   events. They're marked on the timeline at
    13            Do you see that?                       13   the time they were either announced or passed
    14       A. Yes.                                     14   or in some way published, and still, they are
    15       Q. You cite Dr. Perri.                      15   clearly events that could have had both
    16       A. Yes.                                     16   anticipation effects and sort of long
    17       Q. And then you say: These                  17   adoption curves.
    18   changes, which were the result of the           18            And so just the notion that
    19   defendants' actions, would have affected the    19   these -- any one of these points would have
    20   receptiveness of prescribers and patients to    20   determined a break in the promotional
    21   promotional messages about the safety and       21   effectiveness, it seems like it was not quite
    22   effectiveness of opioids.                       22   the right model. Although, again, I included
    23            Do you see that?                       23   them in Model C to explore this further.
    24       A. Yes.                                     24            It's my opinion that these
    25       Q. And then you describe how the            25   should be treated more cumulatively and that

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     1   is why I used the multi-era model, and I         1   with these events; they're the function of
     2   think that's entirely consistent with the way    2   searching using the Wald statistic for where
     3   Dr. Perri describes the events, particularly     3   the curve breaks?
     4   the green ones, the ones that were               4        A. Yes. And again, to be clear,
     5   influencing the adoption of opioids.             5   they're telling us where the relationship
     6        Q. Just so I understand it, your            6   between the stock of detailing and sales
     7   break based on the Wald statistic is sometime    7   seems to change in a statistically
     8   in early 2002; is that right?                    8   significant way. And they're entirely
     9        A. It's probably not a good idea            9   consistent with some kind of S-curve at the
    10   ever for me to trust my memory, so I'm going    10   beginning, when we think about a standard
    11   to go and look at that.                         11   diffusion curve, that there -- there is sort
    12        Q. Yeah. It's in the report.               12   of a point at which diffusion accelerates,
    13        A. Yes, it is, it's absolutely in          13   and that is what we're estimating on the
    14   the report.                                     14   first one.
    15        Q. And it may be in the errata,            15            And the second turning point I
    16   because I saw some of the dates changed a       16   guess would be a reverse diffusion curve. I
    17   little bit last night.                          17   think de-innovation is a word, and not one
    18        A. Paragraph 71.                           18   that I use a lot, but that seems to be what's
    19        Q. Paragraph 71, yeah.                     19   happening. And again, it's not like you've
    20        A. Right. So March 2002 is the             20   turned on a light switch and everyone
    21   first break.                                    21   changes, but cumulatively over time, that's
    22        Q. In the report it says                   22   putting the brakes on.
    23   April 2002. That was one of the errata?         23        Q. Okay. But your model, the way
    24        A. Yes. I think someone was                24   you account for that is you do actually turn
    25   reading the first month versus the last         25   on the light switch and change the stock of
                                              Page 287                                             Page 289
     1   month, the first of the old era versus the       1   promotion as of those dates?
     2   last of the -- first of the new era.             2       A. I -- no. That's not -- that's
     3        Q. So it changes as of April 1st?           3   not true. So what I do is I allow for the
     4        A. It changes as of March 1st. I            4   promotional effectiveness to change in the --
     5   mean, the data are monthly, so -- not daily,     5   in the first instance as a level shift and in
     6   so it changes as of March.                       6   the second instance as a trend shift.
     7        Q. Okay.                                    7       Q. And so we'll talk about each of
     8        A. And then the second turning              8   those, but in paragraph 68 you talk about how
     9   point changes as of August.                      9   this led you to adopt a piecewise model.
    10        Q. So if we were to plot                   10   What is a piecewise model?
    11   March 2002 on Figure 5, it would be after the   11       A. Well, it's essentially where I
    12   first five events in green but before the       12   assume there's a linear relationship between
    13   last two events in green?                       13   the stock of promotion and sales that differs
    14        A. That -- I can affirm that.              14   over these different eras.
    15        Q. And then if we were to plot the         15       Q. And when is it appropriate to
    16   August 2010 break on the curve in Figure 5,     16   use a piecewise model in econometrics?
    17   it would be -- it looks like after maybe        17       A. Well, in this case, this is an
    18   three or four of the red events but before      18   aggregate time series model, and we believe
    19   the other six or seven.                         19   that the fundamentals of that relationship
    20        A. I -- that may be true. I think          20   are changed by something in the environment.
    21   it's a lot harder to say. That's just a         21       Q. So in addition to your
    22   dense part of the chart, and I wouldn't trust   22   appreciating depreciation rate, we now have
    23   my eyeballs on it.                              23   adjustments in these two eras to fit the MME
    24        Q. Okay. But again, as we                  24   curve.
    25   discussed, those breaks are not correlated      25            MR. SOBOL: Objection to form.

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     1        A. Just to be clear, it's about             1            And then I also -- I interact
     2   fitting -- the R-squared is about fitting the    2   that separately with the variable from
     3   MME curve, but really, the test that we're       3   March 2002. So those two are essentially
     4   doing is about understanding the relationship    4   separate estimates over those two time
     5   between detailing and sales and fitting that.    5   periods, but in -- in the third period,
     6   BY MR. ROTH:                                     6   because we're looking at an erosion curve,
     7        Q. I understand that, but you're            7   that's just literally what's happening here
     8   making modifications to the detailing stock      8   is opioid prescribing is eroding. I enter
     9   that is allowing it to fit better with the       9   the interaction with that era as a trend, so
    10   MME curve?                                      10   then that's the sum of the stock of promotion
    11        A. Well, the detailing stock               11   from 2002 and the dummy trend.
    12   and -- you're talking about the depreciation    12   BY MR. ROTH:
    13   rate. That is being determined, again, based    13       Q. All right. So you're jumping
    14   on the fit of the overall statistical model.    14   ahead of me. I'm going to ask you about the
    15   It's not just trying to make it fit the shape   15   dummy trend.
    16   of the MMEs, which I think is what you said.    16       A. Okay.
    17        Q. Right. But when you make the            17       Q. But the stock in period 3 is
    18   depreciation rate change to the stock of        18   actually overlapping with the stock in period
    19   promotion and then you allow the model to       19   2; is that right?
    20   tell you where the effectiveness of promotion   20       A. Yes, the stock of promotion --
    21   also changes, are you not then essentially      21   again, because the third period basically is
    22   fitting the detailing curve to the MME curve?   22   adding on to the second period, they're being
    23        A. I do not believe so, no.                23   estimated -- I mean, the model of course is
    24   That's not what I'm doing. What I'm trying      24   estimating over the entire period, but the
    25   to do is establish a relationship that best     25   variables are separated such that we have one
                                             Page 291                                              Page 293
     1   fits the data. Over time, that relationship      1   variable that's the stock of promotion times
     2   could be that promotion has very little          2   a dummy variable, so it becomes zero at March
     3   effect on sales. And so the quantum of the       3   of 2002. That's beta-1.
     4   impact here is not what I'm fitting the data     4            And then beta-2 goes a variable
     5   to.                                              5   that's zero before 2000- -- that break
     6        Q. Okay. As you describe it in              6   date -- now I can't remember if March is
     7   your report, the coefficients on the stock of    7   the -- oh, yeah, it is March of 2002, so
     8   detailing are estimated separately during        8   Table 1 was always right -- up to 2002, and
     9   each of the three eras; is that correct?         9   then it becomes whatever the stock of
    10        A. Well, in effect, we can look at         10   promotion is, right?
    11   the results, so maybe it will be a little       11            And so beta-3 has that same
    12   clearer than my hand-waving without having it   12   stock of promotion and it has this multiplier
    13   in front of me.                                 13   effect for the trend.
    14        Q. Table 1, is that what you               14       Q. So what I'm trying to
    15   wanted or do you want --                        15   understand is before you put in your trend
    16        A. Yes, Table 1, that's right. So          16   into period 3, if we recognize that there's a
    17   we have the stock of promotion through --       17   period, according to you, of rapid growth
    18             MR. SOBOL: I'm sorry, page?           18   after efforts to market --
    19             THE WITNESS: Oh, sorry.               19       A. Yes.
    20        Page 47. Sorry.                            20       Q. -- followed by a period of
    21        A. We have the stock of promotion          21   decline after growing realization about the
    22   that is the continuous series that we saw       22   dangers, why are those starting from the same
    23   plotted in that other figure, and then in       23   baseline and adding a trend as opposed to
    24   Model C, I interact that with the dummy         24   having some other variable applied to the
    25   variable for the first era.                     25   stock in Era 3?

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     1        A. Yeah, let me try to explain              1            A linear shift is the simplest
     2   that. And just to be clear, I know you know      2   way of capturing that, and essentially, what
     3   this, but let me just remind you that the        3   will happen is then in that case, by using a
     4   turning point in the MME trend is not the        4   shift rather than a trend, what we'll get is
     5   turning point that marks off Era 3, right?       5   an average effect as opposed to one that --
     6        Q. Right.                                   6   where we can plot out the changes over time,
     7        A. That starts earlier.                     7   if there were changes over time, but it would
     8             One thing one could have done          8   capture that increase either way.
     9   is just say, okay, we're going to split the      9            When we're looking at the
    10   model at that turning point, and so that is     10   erosion side, however, just picking --
    11   the light switch notion, rather than looking    11   putting an additive effect in like the first
    12   to see where the relationship seems to          12   trend, would require that we fix that really
    13   change.                                         13   to the peak of the model in order to make any
    14             And we know the relationship is       14   sense of -- of the way the trend reverses,
    15   such that it's -- we know conceptually, based   15   and yet again, we don't -- we don't change
    16   on the other evidence, that -- and just from    16   the underlying stock of promotion. That is
    17   reading the news, that public health            17   what it is.
    18   authorities are trying to limit opioid          18            If, in fact, that relationship
    19   prescriptions and they're having some           19   can't be explained by the stock of promotion,
    20   success, and so that we know that we need to    20   then we would -- we would not get a
    21   put in a trend that will capture when that      21   significant coefficient on that.
    22   happens.                                        22        Q. When you implement the dummy
    23             There's no way to have                23   trend incremented by month in the third era,
    24   something that is an increasing trend go        24   that means the effect of the third period
    25   south without giving it the opportunity to      25   stock is increasing over time still, right?
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     1   have a second coefficient. And by using a        1        A. Well, the effect of the stock
     2   trend and allowing the break to happen           2   is what it is with the negative depreciation
     3   whenever it happens, I can actually allow the    3   rate. So the effect -- the stock continues
     4   data to tell me at what pace that erosion        4   to increase, as we discussed earlier, and
     5   happened.                                        5   nonetheless, the productivity of a given unit
     6            Otherwise, I would have to sort         6   is decreasing. So relative to the previous
     7   of, again, plug it at the top and just           7   period, the average productivity of a unit of
     8   measure the relationship on that second bar.     8   the stock of promotion is lower.
     9   So this was the most flexible way to use the     9        Q. Did you try to run the model
    10   data to look at what's happening to promotion   10   using a dummy incremented by months in the
    11   over time. It's entirely flexible. If, in       11   first two eras?
    12   fact, you know, promotion kept going up and     12        A. I don't believe so. Again, the
    13   it was just not explaining that trend, then     13   simplest -- the simplest way to think about
    14   the model would have told me that.              14   that was a slope change, and that's what we
    15       Q. Okay. So now I want to get to            15   did there. It was really only when we came
    16   the dummy trend.                                16   to trying to figure out how best to let the
    17       A. Yeah.                                    17   data tell us about this turning point that a
    18       Q. So what support do you have for          18   trend seemed like the best approach.
    19   using the dummy trend only in Era 3 as          19        Q. If the effectiveness of
    20   opposed to before?                              20   promotion is changing in each of the eras,
    21       A. Yeah, for sure. So again,                21   why did you keep the depreciation rate
    22   because in Era 2 what we're looking at was a    22   constant the whole time?
    23   growing acceptance of the idea that opioids     23        A. We used a single depreciation
    24   were safe, that we could have used a trend      24   rate because we think that it is something
    25   there.                                          25   more structural. As I've talked about, the
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     1   depreciation rate in my mind reflects the        1   that it should be captured through the
     2   particular context here with an addictive        2   depreciation rate. The depreciation rate,
     3   good, so there's no reason for that to change    3   again, I estimate as a single variable over
     4   over time.                                       4   time, I think that's appropriate because it
     5             I separate the assumption I            5   captures the underlying nature of this
     6   make about the depreciation rate, which          6   marketplace.
     7   again, is empirically based, from the            7       Q. Did you run the model
     8   assumption about promotional effectiveness,      8   estimating different depreciation rates
     9   which has something to do again with these       9   during each of the three eras?
    10   environmental factors. So there are two         10       A. During -- no. During each of
    11   different things.                               11   the three eras, no, I did not.
    12        Q. I guess where I'm missing you           12       Q. Did you consider modeling more
    13   is I get that the effectiveness of promotion    13   than three periods?
    14   changes, right?                                 14       A. I did not. As we've talked
    15        A. Uh-huh.                                 15   about, while I allow the data to tell me the
    16        Q. As I understand the                     16   turning points, I have a conceptual idea
    17   depreciation rate, that's measuring how         17   about why these two general points in time
    18   lasting the promotion is into the future, and   18   are important; that one is sort of the
    19   so what I'm missing is if the effectiveness     19   acceleration of opioid prescribing, and the
    20   of promotion as a whole is changing, why        20   other is the reversal.
    21   isn't the effectiveness of a detail into the    21       Q. Did you consider modeling two
    22   future also changing at the same time?          22   or one period instead of having -- well, one
    23        A. Again, I believe that what              23   I guess we talked about. You did that.
    24   drives the negative depreciation rate over      24             So -- but did you consider
    25   the whole period is the addictive nature of     25   modeling just two periods?
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     1   the good, and so, you know, you're using         1        A. It's very clear that there is
     2   words that are very useful to describe the       2   at least this important change at the end.
     3   phenomenon, but they're not a complete           3   It's -- it is possible that -- that the
     4   explanation because of the fact that we have     4   effect of the first period to the second
     5   this addictive good.                             5   period is small enough that we could have
     6             Even as physicians may have            6   just used the one change, but nonetheless,
     7   been writing fewer new prescriptions, it is      7   it's statistically significant, that effect.
     8   still true that patients who are already on      8        Q. And then if you look back at
     9   opioids are likely to be refilling those         9   paragraph 70, you say for Model A, which is
    10   drugs with some likelihood, and so it may       10   the one that doesn't have these eras or the
    11   well be that we're capturing a lower            11   events, which we'll get to -- for Model A on
    12   incremental effectiveness, but still we have    12   page 48, it does not capture well either the
    13   the long-lasting effects of the previous        13   initial growth in opioid sales or the change
    14   patients who were on these drugs.               14   that occurred in 2011.
    15        Q. But if regulations are changing         15              In short, estimating Model A
    16   and PDMPs are coming into place and medical     16   teaches us that there's likely a changing,
    17   standards are changing, all of which are        17   not constant, relationship between detailing
    18   driving prescriptions and MMEs lower, why       18   and sales over this long 1993 to 2018 time
    19   does that not affect at all the lasting         19   period that should be explored to more
    20   effectiveness of detailing in your model?       20   accurately describe the relationship.
    21        A. It does affect sales by                 21              Do you see that?
    22   reducing the incremental effectiveness of       22        A. Yes.
    23   promotion. That is the way that it affects      23        Q. And the way you explored it
    24   it.                                             24   was, as we talked about, by running the model
    25             There's no reason particularly        25   1100-plus times and calculating the Wald

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     1   statistic?                                       1   specific opioid drugs?
     2       A. That's correct.                           2       A. No, I have not.
     3            MR. ROTH: I'm ready to move to          3       Q. Have you reviewed any study on
     4       Model C, but how are you doing? Do           4   the rate of the need to increase prescription
     5       you want a quick break?                      5   for any individual opioid drug?
     6            THE WITNESS: Maybe a quick              6       A. Can you explain a little bit
     7       one. That would be great, thanks.            7   more what you mean by that?
     8            THE VIDEOGRAPHER: The time is           8       Q. Yeah. Sorry. Sorry.
     9       2:12 p.m., we are now off the record.        9             Have you reviewed any study on
    10            (Recess taken, 2:12 p.m. to            10   increasing the dosage for a patient on opioid
    11       2:27 p.m.)                                  11   drugs specific to any opioid drugs?
    12            THE VIDEOGRAPHER: The time is          12       A. Like I can't recall any
    13       2:27 p.m. We're back on the record.         13   specifically right now. I -- there's a paper
    14   BY MR. ROTH:                                    14   that I cite in Section X that pertains to the
    15       Q. Professor Rosenthal, have you            15   treatment of cancer patients, for example,
    16   studied the addictiveness of opioids?           16   and it talks about dosing. It may talk about
    17       A. Personally, no. Again, I have            17   specific drugs, but I can't say for sure.
    18   reviewed various articles and reports on        18       Q. Are you aware of the phenomenon
    19   this, but I'm not a clinical expert.            19   that certain patients may have their dosage
    20       Q. What articles and reports are            20   of opioids increased because they become
    21   you thinking of?                                21   tolerant at the lower dose?
    22            THE WITNESS: I'm getting sound         22       A. Yes, I believe I described that
    23       from the phone.                             23   phenomenon as well, and the allegations that
    24       A. Well, there are some articles            24   the conversation around increasing dosages
    25   that I believe I cite in my report, but a       25   was some of what was manipulated by the
                                             Page 303                                              Page 305
     1   number of articles, particularly in the          1   defendants.
     2   economics literature, that talk about            2        Q. Do you know what the rate of
     3   addiction and death and its connection to        3   opioid addiction is in either Summit or
     4   other economic phenomena, and they, of           4   Cuyahoga County?
     5   course, cite a fair amount of public health      5        A. As I sit here, no.
     6   information.                                     6        Q. Okay. I'd like to look at
     7             I have read information from           7   Appendix D, page D5. So we talked about the
     8   the CDC website about the opioid epidemic and    8   first paragraph on the Wald statistic. In
     9   the addictive nature of these products in the    9   the second paragraph, you say: Separate from
    10   CDC guidelines.                                 10   marketing efforts, there are other factors
    11   BY MR. ROTH:                                    11   that could potentially influence the sales of
    12       Q. Beyond the CDC information and           12   opioids.
    13   the economic literature cited in your report,   13             Do you see that?
    14   are there any other sources you've reviewed     14        A. Yes.
    15   for information about the addictiveness of      15        Q. And I think we talked about
    16   opioids?                                        16   some of those factors this morning.
    17       A. There are a number of other              17        A. We did.
    18   guidelines that I cite, one from the American   18        Q. And you say: While marketing
    19   Academy of Emergency Medicine. I'm happy to     19   to physicians is one important explanation
    20   look in my report, but there are a number       20   for changes in sales, and the use of dummy
    21   that I cite in the introduction, but more so    21   variables captures broad factors that
    22   in Section X.                                   22   influence the market for opioids, there could
    23       Q. We'll get there.                         23   still be factors that influence physicians to
    24             Before we do, have you reviewed       24   write prescriptions and consumers in their
    25   any study of the rate of addiction for          25   willingness to fill prescriptions for

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     1   opioids.                                         1       A. I included in Figure 5 the
     2           Do you see that?                         2   major milestones that I was aware of, so I
     3       A. Yes.                                      3   don't know that there are others that are not
     4       Q. And so you list five events               4   there.
     5   that you included in Model C to test as          5       Q. Did you try to model the five
     6   turning points.                                  6   events you used in Model C against the
     7       A. Yes.                                      7   Model A curve to see what that would look
     8       Q. And you say --                            8   like?
     9       A. Oh, sorry. Just to be clear.              9       A. No, I did not. The decision to
    10   You said turning points and I agreed, but       10   do the turning points really relates to the
    11   these are not exactly turning points. They      11   estimated relationship between promotion and
    12   would be shifts.                                12   sales, and so that was the foundational
    13       Q. Events.                                  13   model.
    14       A. Yes.                                     14       Q. Okay. So let's turn to
    15       Q. That's a good clarification.             15   Table 1, which is on page 47.
    16   You've got two turning points and five          16       A. 47, you said?
    17   events.                                         17       Q. Yeah, page 47.
    18       A. Right.                                   18       A. Okay. All right.
    19       Q. Okay. And I want to look back            19       Q. And Table 1 is the output of
    20   at Table 1 in a minute, but before we do        20   your model, the three different models that
    21   that, you say underneath this: My a priori      21   you ran, correct?
    22   expectation is that the first three events --   22       A. That's correct.
    23   meaning the consensus statement, the            23       Q. Okay. So -- and actually, you
    24   Federation of State Medical Board Guidelines    24   also can see in Table 1 some of the input
    25   and the JCAHO pain standards -- would have a    25   variables at the top?
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     1   positive impact on the quantity of MMEs          1        A. I'm sorry. What do you mean by
     2   prescribed per month.                            2   that?
     3            Do you see that?                        3        Q. Sorry. The output -- well, I
     4       A. Yes.                                      4   guess, describe what the constant and stock
     5       Q. And then you say: The                     5   of promotion, those are the explanatory --
     6   reformulation of OxyContin could have an         6   the constant is a constant, but the stock of
     7   ambiguous impact on MME sales.                   7   promotion, those are the explanatory
     8            Do you see that?                        8   variables in your model, correct?
     9       A. I do.                                     9        A. That's correct. Everything on
    10       Q. Okay. So why did you select              10   the left-hand side is effectively an
    11   just these five events as opposed to others     11   explanatory variable.
    12   we saw depicted on Figure 5 in your report?     12        Q. Okay. I guess first, why is
    13       A. I selected events. I was                 13   the constant for Model A basically twice as
    14   looking to pick some from the early period      14   high as Model B or Model C?
    15   and some from the later period, and             15        A. Well, it's capturing sort of
    16   particularly from -- well, in both periods,     16   the unexplained average in effect, the
    17   around the time that we see acceleration or     17   intercept, and there's more in Model B and
    18   deceleration in MMEs. So they were selected     18   Model C to explain the underlying data.
    19   really based on timing.                         19        Q. Okay. And then Model A
    20       Q. Did you model any of the other           20   actually is the one model where you have a
    21   events listed in Figure 5?                      21   depreciation rate that's essentially zero.
    22       A. I did not.                               22   It's a small positive depreciation rate.
    23       Q. Are there other milestones not           23        A. They're all small, so -- but
    24   depicted in Figure 5 you could test as events   24   yes, it's a small positive.
    25   in your model?                                  25        Q. And then B and C both have the
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     1   negative depreciation rate that we discussed     1   published in the Journal of Pain in 1997; is
     2   earlier?                                         2   that right?
     3       A. That's correct.                           3       A. Yes. Yes.
     4       Q. So looking at the results from            4       Q. And you can see from the
     5   Model C, the consensus statement from AAPM       5   document I just handed you that this was
     6   and APS, what do you understand that             6   actually approved sometime in 1996; is that
     7   statement was?                                   7   right?
     8       A. It's discussed at greater                 8       A. That's right.
     9   length in Dr. Perri's report, but the            9       Q. So do you know why this was
    10   American Academy of Pain Management and the     10   used or estimated in the model in
    11   American Pain Society had a consensus           11   January '98, if that's the case?
    12   statement related to the undertreatment of      12       A. I'm not sure as I sit here
    13   pain and the need for more attention to the     13   whether there was another -- as when I was
    14   treatment of pain and the effective use of      14   describing these events in the first
    15   opioids for such treatment.                     15   instance, I was saying that there are
    16            (Whereupon, Deposition Exhibit         16   different dates that pertain to, for example,
    17       Rosenthal-11, The Use of Opioids for        17   when they're published in the Journal of
    18       the Treatment of Chronic Pain               18   Pain, in this case, versus disseminated, so
    19       Consensus Statement, was marked for         19   I'm not sure what the 1998 date is as I sit
    20       identification.)                            20   here. I'd have to check.
    21   BY MR. ROTH:                                    21       Q. And if we flip back to
    22       Q. I'm going to mark as Exhibit 11          22   Figure 5 --
    23   the consensus statement from the American       23       A. Because it appears that way in
    24   Academy of Pain Medicine and the American       24   Figure 5, doesn't it?
    25   Pain Society.                                   25       Q. That's what I was just going to
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     1            Do you have that document?              1   ask you.
     2       A. I do.                                     2        A. Let's have a look. It does.
     3       Q. And is this the consensus                 3   It appears -- oh, no.
     4   statement you're referring to?                   4        Q. Well, there's two. It looks
     5       A. I believe so. I'm just looking            5   like it's actually in '97.
     6   for a date on it. Oh, of '96. So the --          6        A. That does look like it's '97,
     7   what I have is dated 1998 in my model, so I'm    7   which would be the date of the -- of the
     8   not sure this is exactly the same one.           8   article that I cite.
     9       Q. Yeah, I was going to ask you              9        Q. Yeah. So is this something
    10   about that. I mean, is there another            10   that just didn't get picked up by the errata
    11   statement from 1998 you recall looking at?      11   or was the data actually run in '98 or
    12       A. We should look at my documents           12   sitting here, you just don't know?
    13   relied on.                                      13        A. Sitting here, I don't know.
    14       Q. All right. So let's look at              14        Q. Okay. Regardless, whenever you
    15   Attachment B. And as I see this, under Other    15   ran the model to account for this statement,
    16   Documents, four down on page B3?                16   it estimated negative 208 million MMEs; I
    17       A. Okay.                                    17   assume that's the unit for that, right?
    18       Q. You list the American Academy            18        A. Yes, that's correct.
    19   of Pain Medicine and the American Pain          19        Q. And we can both agree that that
    20   Society, "The use of opiates for the            20   is directionally not what you would have
    21   treatment of chronic pain," and it has got      21   expected based on the theory that this would
    22   the same title as this document; is that        22   have inspired more doctors to write
    23   right?                                          23   prescriptions for opioids?
    24       A. Yes, it does.                            24        A. Yes, I think I say exactly that
    25       Q. And it looks like it was                 25   in my text, do I not?
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     1       Q. You do. You say it did not                1   confused you. To be clear, you say in
     2   conform to your expectations, I think.           2   Attachment D that the consensus statement
     3       A. Yes.                                      3   would have a positive effect. You said
     4       Q. Let me find exactly what you              4   actually nothing about what the hydrocodone
     5   say.                                             5   rescheduling would do -- oh, no, you do. You
     6       A. Actually, I need to -- now I              6   do. You say: The impact of rescheduling
     7   need to go back and remind myself.               7   hydrocodone from Class III to Class II could
     8            So it's -- that one was not             8   result in a reduction of MME sales.
     9   statistically significant, so I don't say        9       A. Did I -- I'm sorry, I should
    10   anything about it because it's effectively      10   just catch up and read it.
    11   zero. I mean, as, by the way, the positive      11       Q. Yeah. Let's go to D5 so we're
    12   depreciation rate in Model A is effectively     12   all on the same page.
    13   zero. So anything that doesn't have             13       A. I think I say that some of them
    14   asterisks next to it should be treated as       14   are more ambiguous than others.
    15   zero.                                           15       Q. You do say that about
    16       Q. Got it, yeah. So I'm                     16   OxyContin.
    17   looking --                                      17       A. Uh-huh.
    18       A. I don't interpret it. It's               18       Q. And then at the bottom of the
    19   standard practice to not interpret              19   penultimate paragraph, you say: The impact
    20   insignificant coefficients.                     20   of rescheduling hydrocodone from Class III to
    21       Q. Yeah. So I'm looking at                  21   Class II could result in a reduction of MME
    22   paragraph 73. So you discuss only --            22   sales.
    23       A. Yeah.                                    23       A. Right.
    24       Q. -- the '99 federal, state                24       Q. And then if you go back to
    25   medical board guidelines and then the           25   Table 1, in fact, it actually increases MME
                                              Page 315                                             Page 317
     1   hydrocodone rescheduling. You don't discuss      1   sales.
     2   the consensus statement form.                    2       A. Increases them, yes.
     3       A. That's right, because it wasn't           3       Q. And it looks like it does so in
     4   significant. So what I was recalling is it's     4   a statistically significant way because
     5   the hydrocodone rescheduling that is             5   you've got asterisks there.
     6   counterintuitive and significant, yeah.          6       A. That's correct. So that is the
     7       Q. Yeah. Although you did say in             7   one where we can now see what I said about
     8   Attachment D at D5 that your a priori            8   that one.
     9   expectation was that this event would have a     9       Q. So you said about that one --
    10   positive impact on the quantity of MMEs.        10       A. Yes, counterintuitively
    11       A. Did I?                                   11   suggests an increase, yes.
    12       Q. You did.                                 12       Q. And you expected it to have the
    13       A. The two reformulation, then I            13   impact of decreasing MMEs?
    14   have an errata to my errata. The two            14       A. I did.
    15   reformulation variables, as you can see in      15       Q. And what does the fact that
    16   the figure, they come at a time -- regardless   16   your model showed it was a statistically
    17   of whether the rescheduling itself caused a     17   significant impact mean for the validity of
    18   reduction in MMEs, they come at a time where    18   Model C?
    19   the steps taken to reschedule hydrocodone are   19       A. Well, as you know, I preferred
    20   consistent with DEA and others putting the      20   Model B in part because this suggests that
    21   brakes on opioids.                              21   there's some problem, at least with
    22            So it should have said -- my           22   interpreting that coefficient, and it's my
    23   priors -- because my priors are captured more   23   broader belief that, you know, we can think
    24   or less in the color of Figure 5.               24   about the list of events that are in my
    25       Q. Okay. I think I inadvertently            25   Figure 5, and others, and there are many
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     1   discrete events, all of which are picking up     1   the environment I've generally been thinking
     2   on broader phenomena, either a loosening of      2   about in the third era is one in which public
     3   restrictions around opioids or a tightening      3   health restrictions are tamping down on
     4   of restrictions, and just conceptually,          4   opioid use.
     5   trying to pin any one of them to have begun      5             That's already being captured
     6   at a discrete point in time seems                6   in that dummy trend that we talked about
     7   problematic; and likely, the reason that I       7   earlier, so some of that is getting picked
     8   get a counterintuitive result is that there      8   up, as opposed to being able to pull it out
     9   are other correlated -- for example, putting     9   separately just at that moment in time when
    10   both the OxyContin reformulation and the        10   the OxyContin reformulation occurred. So my
    11   hydrocodone rescheduling may have caused some   11   model is already picking that up.
    12   interaction between the two.                    12             You know, I think the other
    13            And so that's also why I didn't        13   thing is, of course, I'm looking at the
    14   then just try to keep adding events with the    14   opioid market as a whole, not just OxyContin
    15   notion that this was not the right modeling     15   on its own, and so there are -- there are
    16   approach for what was going on in this          16   other factors happening for other opioids.
    17   market.                                         17   BY MR. ROTH:
    18       Q. Okay. And then if you look               18       Q. But your model suggests that
    19   back at Table 1, you mention the OxyContin      19   there was still a supply of opioids and
    20   reformulation, which does not look like it      20   prescribing driven by promotion whereas
    21   was statistically significant, but also         21   they're suggesting that the supply was drying
    22   resulted in estimating 107 million additional   22   up to the extent that users evaded the legal
    23   MMEs?                                           23   prescription market and turned to illegal
    24       A. That's correct. It's zero, but           24   drugs.
    25   positive.                                       25       A. I don't believe you're correct
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     1        Q. Are you aware that Professors            1   in that statement. These models are looking
     2   Cutler and Gruber opined that the 2010           2   at two very different things. I'm not
     3   OxyContin reformulation led to an abrupt         3   looking at the use of illicit opioids. The
     4   market shift that thickened the market for       4   data show decreasing use of legal opioids.
     5   illicit heroin?                                  5   That's -- that's just the underlying MMEs, so
     6             MR. SOBOL: Objection to the            6   that is happening.
     7        form.                                       7            My model is looking at the
     8        A. I am aware of their general              8   portion of that that's explained by
     9   opinions. I could not have quoted them. But      9   promotion, so there's no way that this is
    10   I'm aware that it's more broadly understood     10   disproving people had left OxyContin.
    11   that the reformulation of OxyContin caused a    11       Q. But it is showing that
    12   number of opioid users to switch to illicit     12   according to your model, the OxyContin
    13   opioids. I believe that's been shown in         13   reformulation did not have a statistically
    14   other literature.                               14   significant impact on the MMEs prescribed?
    15   BY MR. ROTH:                                    15       A. Once you control for the
    16        Q. So how do you reconcile your            16   variables that I've controlled for, including
    17   model showing that there's actually no effect   17   price, including promotion, and accounting
    18   on MMEs from the reformulation of OxyContin     18   for the change in promotional effectiveness,
    19   with their opinion that it led to some          19   I don't separately find an effect here. That
    20   massive shift of opioid users to illegal        20   is not the same as saying that OxyContin
    21   drugs like heroin?                              21   reformulation had no effect.
    22             MR. SOBOL: Objection.                 22       Q. Okay. So now I want to go back
    23        A. Well, a couple of things.               23   to Appendix D, and I want to start with
    24   First, I believe the model that I put forward   24   Table D.1.
    25   in Model B, which captures the environment,     25       A. Okay.
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     1       Q.    All right. So Table D.1 --                1   this because the green line is predicted
     2       A.    Oh. I'm on page D1.                       2   but-for; is that right?
     3       Q.    Yeah, you've got to go past               3        A. That's correct.
     4   that.                                               4        Q. So you're showing negative
     5       A.    Keep going.                               5   but-for in the early '90s and again starting
     6       Q.    Talk about your charts and                6   around 2012.
     7   graphs.                                             7            Do you see that?
     8       A.    It's okay. Excellent.                     8        A. Yes, that's correct.
     9            MR. SOBOL: This one?                       9        Q. So what does that mean, that,
    10            THE WITNESS: All right.                   10   you know, people were returning opioids? I
    11            MR. ROTH: Yeah, the table.                11   don't even understand how that conceptually
    12   BY MR. ROTH:                                       12   works.
    13       Q. So first the chart, okay. So                13        A. Yes. Well, remember how I said
    14   Table D.1 is a chart that I think explains         14   that Model A uses a single promotional
    15   Model A; is that right?                            15   effectiveness and it doesn't fit the data
    16       A. That's correct.                             16   very well? So it's an average that's
    17       Q. And maybe just explain to me                17   smoothing over this long period and doesn't
    18   what is on here, because if I try to ask you       18   fit the data well, so that's what these
    19   a question, I'm not going do as good of a job      19   predictions tell you. It's the same thing,
    20   as if you just tell me what this is showing.       20   in effect, as looking at the adjusted
    21            MR. SOBOL: If you just ask a              21   R-squared. This is just what it looks like
    22       direct question.                               22   in predicted values.
    23       A. Sure. These are SAS output                  23        Q. So for this reason, Model A is
    24   made slightly prettier, and so at the top --       24   not your preferred approach?
    25   the top box there is describing the model          25        A. This is not my preferred model,
                                                 Page 323                                              Page 325
     1   overall, degrees of freedom, the total error,       1   that's correct.
     2   the sum of squared errors you see there, the        2       Q. Yeah. I mean, conceptually,
     3   mean squared error. After that, the square          3   having a negative but-for doesn't actually
     4   root of the mean squared error. These are           4   make sense, right?
     5   all sort of talking about the variability in        5       A. Conceptually, it's unappealing.
     6   the data and the explanatory power of what's        6       Q. How would you even calculate
     7   included. The R-squared and the adjusted            7   the difference with a negative but-for?
     8   R-squared are -- the adjusted R-squared             8       A. The same way. It's -- the
     9   accounts for the degrees of freedom, the            9   difference would be just the space between
    10   number of covariants.                              10   the two lines. I have not done that here.
    11   BY MR. ROTH:                                       11       Q. Okay. So now if you flip the
    12        Q. And what is in the bottom chart            12   page to Table D.2, you'll see another set of
    13   titled Nonlinear OLS Parameter Estimates?          13   charts.
    14        A. Yes, so those the coefficient              14            And I think this correlates to
    15   standard error, t statistic, p values. Those       15   your Model B; is that right?
    16   are reported way back in Table 1. They've          16       A. That's correct.
    17   just cleaned up a little bit.                      17       Q. And I assume your description
    18            So the coefficient estimate is            18   of what Table D.1 is would describe D.2,
    19   the one that we're interested in, and then         19   although this second chart has additional
    20   we'll mostly just focus on the p value.            20   labels for the stock of promotion trends that
    21        Q. Okay. So if we flip to Figure              21   we talked about earlier?
    22   D.1 --                                             22       A. That's correct.
    23        A. Yeah.                                      23       Q. Why is the stock of promotion
    24        Q. -- which is the line graph                 24   dummy trend from August 2010 a negative
    25   that's an output, I was perplexed when I saw       25   number?
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     1       A. Again, it's an erosion rate               1       A. Yes.
     2   over the promotional effectiveness in b2, and    2       Q. And then if you look at the
     3   so the promotional effectiveness is b2 plus      3   second page, it looks like this one has
     4   the number of months from -- from that time      4   something that says Type, Wald Test -- Test
     5   break, August 2010, times b3. So it              5   and Test0. What is that?
     6   increments. You see what I'm saying?             6       A. That's the joint test of
     7       Q. Yeah.                                     7   significance of those events.
     8       A. So every month, it's like b2 is           8       Q. Got it. Okay.
     9   reduced by 8.                                    9            So when you say in your report
    10       Q. Right. And this is your time             10   jointly they're not statistically
    11   trend essentially that we talked about          11   significant, it's based on this output?
    12   before?                                         12       A. Yes, except that that was in
    13       A. It's sort of an erosion trend,           13   the errata, that that should have said they
    14   yes.                                            14   were significant.
    15       Q. Okay. And why is it -- how did           15       Q. I saw that. That was the one
    16   you come up with that number, like how do we    16   errata where it changed like a no to a yes
    17   get negative 7.97362?                           17   and there was --
    18       A. It comes out of the regression           18       A. Yes. It does not change my
    19   model. It's estimated like all the other        19   conclusions, but yes, you can see here the p
    20   coefficients using OLS.                         20   value is .0176.
    21       Q. And what is it doing? It's not           21       Q. Okay. So just to be clear,
    22   like a Wald statistic? Or is it -- how does     22   your opinion is that jointly the five events
    23   it mechanically estimate that coefficient?      23   are actually statistically significant?
    24       A. Well, technically through                24       A. That's correct.
    25   matrix algebra. I mean, it's essentially        25       Q. Okay. And then if we look at
                                              Page 327                                            Page 329
     1   picking up the association between, in this      1   D.3, Figure D.3, this is what your curve
     2   case, the stock of promotion times the dummy     2   looks like in Model C?
     3   trend and sales. Like all the other              3       A. Yes.
     4   coefficient estimates, the tests relate to       4       Q. Okay.
     5   the statistical properties of those              5       A. Not very different from
     6   estimates, but the coefficients really come      6   Model B.
     7   from the correlations.                           7       Q. Which makes sense because the
     8        Q. All right. And then if we turn           8   baseline is Model B; you're just inserting
     9   the page to D.2, this is the line graph from     9   five events and measuring those?
    10   your Model B, which maps almost perfectly       10       A. Yes. If they had had some
    11   onto the blue flow of the data.                 11   effect, it might have looked different.
    12        A. Yes.                                    12       Q. Okay. You can -- looking at
    13             MR. SOBOL: A thing of beauty.         13   your report again, so we talked about this
    14             MR. ROTH: Almost as if it             14   earlier, but you cited Datta and Dave, and we
    15        fitted like a glove. All right.            15   talked about that article this morning.
    16   BY MR. ROTH:                                    16             Do you remember that?
    17        Q. Let's look at Table D.3.                17       A. I do.
    18        A. Uh-huh.                                 18       Q. So let's pull it out one more
    19        Q. The last one of these. So this          19   time. Probably the last one.
    20   is -- well, it's not the last one of these,     20       A. Let me make sure that I get the
    21   we'll ask about that in a second, but this      21   right...
    22   is, I think, Model C.                           22       Q. It's Exhibit...
    23        A. That's right.                           23       A. 5. Got it.
    24        Q. Okay. So the same concept as            24       Q. 5.
    25   D.1 and D.2 we just walked through?             25             So if you look with me at
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     1   page 452 again, we're now going to get to        1      Q.     Which you didn't look at?
     2   talk about endogeneity.                          2            MR. SOBOL: Objection, asked
     3        A. Excellent.                               3       and answered.
     4        Q. You knew it was coming.                  4       A. It was not relevant to my
     5        A. I did.                                   5   report because I have been asked to conduct
     6        Q. So at the top of the page, they          6   an aggregate analysis.
     7   say: A key empirical concern in this             7   BY MR. ROTH:
     8   literature relates to potential targeting        8       Q. And then they say: Studies
     9   bias, which physicians who already have a        9   that address this endogeneity in most cases
    10   history of prescribing a particular drug or     10   have done so through an instrumental
    11   who have a higher unobserved likelihood of      11   variables-based methodology, although as
    12   prescribing the drug (for instance, due to      12   Bronnenberg caution, many of the instruments
    13   their patient population or practice type)      13   employed have limited variation and may not
    14   more likely to be targeted by detailers.        14   fully satisfy the validity requirements.
    15            Do you see that?                       15   This caveat notwithstanding, these studies
    16        A. I do.                                   16   generally find a smaller marginal effect of
    17        Q. And is that an empirical                17   detailing relative to those that do not
    18   concern that you as an econometrician or        18   account for endogeneity.
    19   economist would have?                           19            Do you see that?
    20        A. If I were doing a                       20       A. I do.
    21   physician-level study, yes.                     21       Q. Now, what about having an
    22        Q. And one could describe this             22   aggregate macro analysis means that
    23   issue as something called endogeneity?          23   endogeneity is no issue for you?
    24        A. Yes.                                    24            MR. SOBOL: Objection.
    25        Q. And can you define endogeneity          25       A. Well, endogeneity is something
                                              Page 331                                            Page 333
     1   for us?                                          1   different in every context, so what they're
     2       A. Well, in effect, what they're             2   describing specifically here, I mean, I think
     3   talking about here, I described earlier this     3   they say that they're talking about targeting
     4   morning the endogeneity they're concerned        4   bias, so that's the physician-level concern.
     5   about is of the type that physicians who are     5            It simply doesn't exist in my
     6   more likely to be detailed are already more      6   data because I'm not looking at
     7   likely to be open to prescribing or are, in      7   physician-level data. I cannot mistake the
     8   fact, high prescribers already.                  8   fact that Doctor A has high prescriptions
     9       Q. And it's called endogeneity               9   compared to Doctor B, not because she's been
    10   because that's an endogenous problem?           10   detailed before, but she's been detailed
    11       A. Yes. The level of detailing is           11   before because she has high prescriptions.
    12   endogenously determined with the level of       12   Because I'm only looking at the aggregate.
    13   prescribing.                                    13   So the only kind of endogeneity there, it
    14       Q. So continuing on their paper,            14   can't be related to targeting. It has to be
    15   they say "Addressing such endogeneity is a      15   related to something else.
    16   vital issue in identifying plausibly causal     16            In other instances people have
    17   effects of advertising, which would otherwise   17   looked at endogeneity when it comes to a
    18   lead to overestimates of the advertising        18   specific product. They said, well, you know,
    19   response.                                       19   we knew that this product was going to be a
    20            Do you see that?                       20   blockbuster so we put our detailing on
    21       A. I do see that.                           21   product A versus product B, and so that's the
    22       Q. And --                                   22   nature of the endogeneity. But again, I
    23       A. And as I said before, it's               23   don't have that here because I'm aggregating
    24   because they're talking about physician-level   24   across products.
    25   data.                                           25            ///
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     1   BY MR. ROTH:                                     1             That's basically what I'm doing
     2        Q. It's a convenient answer to              2   is it may well be that targeting is happening
     3   everything, but I want to dissect that.          3   here. If that is true, then the aggregate
     4             The data you're looking at --          4   effect will be small. In the extreme, where
     5             MR. SOBOL: Well, objection to          5   promotion doesn't work at all, it just --
     6        that.                                       6   detailing -- we just, you know, detail the
     7   BY MR. ROTH:                                     7   doctors we know are going to prescribe, then
     8        Q. The data you're looking at from          8   I would find no effect in the aggregate.
     9   IQVIA is an aggregation of detailing contacts    9   Even though you would find an effect in the
    10   to doctors, correct?                            10   cross-section, you won't find it in the
    11        A. The details were made to                11   aggregate.
    12   doctors, yes.                                   12   BY MR. ROTH:
    13        Q. Or healthcare providers.                13        Q. We may have to agree to
    14   Actually, could have been nurse                 14   disagree on this one for now. I can't
    15   practitioners, as we talked about earlier?      15   promise we won't come back.
    16        A. Yes.                                    16             Do you agree that when
    17        Q. Why is it that adding up a              17   endogeneity is an issue, it's typically
    18   whole suite of contacts to doctors is any       18   handled through instrumental variables?
    19   less susceptible to the fact that certain       19        A. Yes, that is a classic
    20   doctors are more likely to be detailed in the   20   approach. In effect, the instrumental
    21   first place than looking at it on a             21   variables are trying to step back from --
    22   disaggregated individualized basis?             22   from that targeting to get to something that
    23        A. You're making me feel like I'm          23   is, in fact, exogenous.
    24   failing as a teacher. Let me try again.         24        Q. Are there other options for
    25             MR. SOBOL: Yeah.                      25   addressing endogeneity?
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     1        A. It's the fact of measuring,              1       A. Well, generally, there's sort
     2   detailing and prescribing at the doctor level    2   of broader research design, so ultimately,
     3   and trying to examine that specific              3   endogeneity concerns some kind of unmeasured
     4   relationship that's causing the endogeneity      4   third variable. I mean, there's simultaneity
     5   problem.                                         5   that has to do with sort of a different
     6            So imagine that -- I'm trying           6   interpretation of endogeneity, but what we're
     7   to give a work example for you, but I mean,      7   talking about here is something else that
     8   the concern again is that the patterns of        8   we're not measuring. So endogeneity can be
     9   high prescribing that we're observing between    9   addressed by measuring whatever that thing
    10   doctors are really causing detailing and not    10   is. So in the case of Datta and Dave, it
    11   the other way around.                           11   could be historic prescribing.
    12            But if I am ignoring those             12       Q. Did you take any effort to test
    13   patterns, the only thing that I'm looking at    13   for endogeneity issues or address endogeneity
    14   is increases over time. Those -- the forces     14   issues in your regression analyses?
    15   that say which doctors get detailed are just    15       A. Again, conceptually, I don't
    16   not -- they're not in my data.                  16   believe this is an issue looking at the
    17            So it's like doing an                  17   overall opioid market over time, so I did not
    18   intent-to-treat analysis, if that means         18   address endogeneity in my model.
    19   anything to you. We have clinical studies       19       Q. Do you know if anyone on your
    20   where we know that some patients will be        20   team did?
    21   compliant and some won't, and if we only look   21       A. I do not.
    22   at the effect of the drug on the compliant      22       Q. You've used the instrumental
    23   patients, we're going to misstate its           23   variables methodology to correct for
    24   population effect, so we look at all            24   endogeneity in other models you've developed
    25   patients.                                       25   for litigation, correct?

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     1        A. In looking at a single drug,             1   the one you used in Zyprexa to do that?
     2   yes. As I mentioned, there's another version     2        A. I have not thought about doing
     3   of the endogeneity story that makes sense for    3   defendant-by-defendant analysis in this case.
     4   a single drug.                                   4   It was not part of my assignment. I'm not
     5        Q. So in Zyprexa, I think, for              5   sure if that would be appropriate, again,
     6   example, you used instrumental variables?        6   because the interest here, even if we're
     7        A. I'm afraid that was a long time          7   looking at individual defendants, is on the
     8   ago. I didn't review that report for that.       8   overall -- on the market expansion aspect of
     9        Q. I can mark it just so we have            9   their marketing.
    10   it in the record.                               10             Whereas in Zyprexa, we were
    11             (Whereupon, Deposition Exhibit        11   very interested in the -- I'm trying to
    12        Rosenthal-12, Rosenthal Declaration        12   remember what words we used this morning --
    13        re: Zyprexa, was marked for                13   business dealing is the way economists
    14        identification.)                           14   usually describe it. Marketers describe it
    15   BY MR. ROTH:                                    15   something differently, but the market share
    16        Q. Exhibit 12 is your --                   16   shifts, those were relevant in Zyprexa
    17        A. Wow.                                    17   because the question was not so much that
    18        Q. -- declaration from Zyprexa,            18   Zyprexa was trying to grow the market,
    19   Analysis of Class-Wide Impact and Estimation    19   although there was some of that. It was
    20   of Damages.                                     20   about trying to encourage doctors to
    21             MR. SOBOL: Oh, wow. Memories.         21   substitute Zyprexa in place of
    22        A. I'm trying to -- do you know            22   first-generation antipsychotics.
    23   what the date on this is?                       23        Q. For a manufacturer that was not
    24   BY MR. ROTH:                                    24   part of the market before it grew and came
    25        Q. It is February 2007.                    25   into the market after it had been expanded,
                                             Page 339                                             Page 341
     1       A. Wow.                                      1   why is it the case in your model that that
     2       Q. 12 years ago.                             2   manufacturer is part of the aggregate
     3       A. That is a really long time ago.           3   analysis and not subject to some other type
     4   Yes.                                             4   of causation allocation?
     5       Q. Okay. And if you look at your             5            MR. SOBOL: Objection, asked
     6   Zyprexa declaration -- and I will stipulate      6       and answered.
     7   this is an excerpt, we didn't print the whole    7       A. Nowhere in my assignment was I
     8   thing, but at paragraph 35 you talk about the    8   asked to look at liability for individual
     9   fact that you developed a regression model,      9   manufacturers. I'm only trying to quantify
    10   and then the equations in paragraph 37.         10   aggregate impact. To the extent that I
    11            Do you see that?                       11   subtract individual defendants, it's really
    12       A. Yeah, I was just looking at --           12   only to get to a different whole, it's not to
    13   I was trying to remember whether this is a      13   assign liability to an individual defendant.
    14   panel data model or not, but --                 14   BY MR. ROTH:
    15            MR. SOBOL: Well, take your             15       Q. So looking at the Zyprexa
    16       time then to refresh your recollection      16   declaration, paragraph 42, you say: For
    17       of your model from 12 years ago.            17   purposes of the regression, the promotional
    18            THE WITNESS: I will. Yes.              18   variables for Zyprexa and its competitors
    19       A. Yes, this is a panel data model          19   were entered as discounted stocks following
    20   for the atypical antipsychotic class.           20   the tendency of the published literature and
    21   BY MR. ROTH:                                    21   in accordance with the theory that promotions
    22       Q. And if you were to try to                22   to physicians is habit building.
    23   assess the effect of any individual             23            Do you see that?
    24   defendants' promotion in this case, would you   24       A. I do.
    25   put together a panel data model similar to      25       Q. So you used a stock of
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     1   promotion with a depreciation rate similar to    1   BY MR. ROTH:
     2   here?                                            2       Q. And why is that again?
     3        A. At least I'm consistent, yes.            3       A. Because we're looking at the
     4        Q. No doubt.                                4   market as a whole, and not individual
     5             And then you also used a Fisher        5   manufacturers or individual drugs, where
     6   Ideal Price Index in that case too?              6   those decisions are made.
     7        A. I did.                                   7       Q. I guess I'm confused, because
     8        Q. But you weren't consistent               8   earlier you talked about us as this
     9   next, because then you say: In addition, the     9   manufacturing ecosystem that all kind of acts
    10   estimation deals with two important issues,     10   together, but now for purposes of
    11   serial correlation in the error terms and the   11   endogeneity, you're saying there are no
    12   endogeneity of price and promotion. Serial      12   issues because we're not looking at it on an
    13   correlation in the error terms require the      13   individualized basis, and I can't square
    14   use of time series methods to produce           14   those two things. Maybe you can help.
    15   reliable estimates. The endogeneity of price    15       A. Sure.
    16   and promotion was handled using the standard    16             MR. SOBOL: I'll object to the
    17   instrumental variables approach.                17       form, but go for it.
    18             Did I read that correctly?            18       A. Sure. I think where you're
    19        A. Yes, you did.                           19   confused is the ecosystem is causing
    20        Q. And if endogeneity is an issue          20   prescribing in a way that may be concerted,
    21   for you -- I understand you don't think it      21   but I -- I don't believe anywhere I have said
    22   is -- but if it is an issue for you, your       22   that the defendants are aligning, explicitly,
    23   regression may lead to overestimating the       23   their marketing efforts.
    24   response to promotion?                          24   BY MR. ROTH:
    25             MR. SOBOL: Well, then,                25       Q. Okay. Do you remember if you
                                              Page 343                                            Page 345
     1       objection.                                   1   used an instrumental variables approach to
     2       A. I do not believe endogeneity is           2   address endogeneity in Neurontin?
     3   an issue in my model for the reasons that        3       A. All not quite 12 years ago, 17,
     4   I've described. But in particular, what          4   however many, but I believe the answer is
     5   we're looking at is an aggregate phenomenon,     5   yes, in the circumstance of -- thank you, can
     6   and so the theory of endogeneity that we         6   you remind me -- the circumstance is very
     7   would have to have requires this reverse         7   similar to the Zyprexa matter.
     8   causation on a month-by-month basis for the      8       Q. Yes, so we can do this one
     9   market as a whole, and I do not believe          9   quickly.
    10   that's a plausible notion.                      10       A. Yes.
    11   BY MR. ROTH:                                    11       Q. But Exhibit 13 is your
    12       Q. Okay. Don't fight the                    12   Neurontin declaration, excerpted.
    13   hypothetical, though.                           13            (Whereupon, Deposition Exhibit
    14            Assume endogeneity is an issue         14       Rosenthal-13, Rosenthal Declaration
    15   with your model. What impact would it have?     15       re: Neurontin, was marked for
    16            MR. SOBOL: Objection, asked            16       identification.)
    17       and answered.                               17       A. It's in Calibri too.
    18       A. I cannot imagine a form of               18   BY MR. ROTH:
    19   endogeneity that would make sense in this       19       Q. It must be the Greylock
    20   case. I cannot understand how it could be       20   computers. Did Greylock McKinnon assist you
    21   that one month's sales could have caused the    21   there?
    22   next month's detailing to change in the way     22       A. Yes.
    23   that endogeneity requires. It's simply not a    23       Q. August 2008.
    24   plausible set of ideas in this context.         24            So looking at your Neurontin
    25            ///                                    25   declaration, you were addressing alleged

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     1   fraudulent promotion on behalf of the class       1   back? Yes.
     2   plaintiffs; is that right?                        2            (Whereupon, Deposition Exhibit
     3            MR. SOBOL: Actually, may I               3       Rosenthal-14, 2003 Kaiser Family
     4       just interrupt one second? Sorry.             4       Foundation Report, was marked for
     5            So is this pulled online or --           5       identification.)
     6       it indicates confidential in the              6   BY MR. ROTH:
     7       bottom left-hand corner.                      7       Q. Exhibit 14, Demand Effects of
     8            MS. VENTURA: It's available              8   Recent Changes in Prescription Drug
     9       online.                                       9   Promotion, the Kaiser Family Foundation, and
    10            MR. ROTH: Yeah, we got it               10   you are one of the authors.
    11       online.                                      11            Do you see that?
    12            MR. SOBOL: Okay, go ahead.              12       A. I do.
    13            THE WITNESS: Zyprexa too?               13       Q. And Professor Berndt is a
    14            MR. ROTH: I think so. I did             14   co-author of yours.
    15       ask that question.                           15       A. That is correct.
    16            MR. SOBOL: Zyprexa had at the           16       Q. And in this article, it looks
    17       top an ECF thing. This one didn't.           17   like you're analyzing whether increases in
    18       That's why I asked. I'm sorry. Go            18   direct-to-consumer advertising increased the
    19       ahead.                                       19   market share of an entire therapeutic class,
    20   BY MR. ROTH:                                     20   right?
    21       Q. So in Neurontin, you offered              21       A. Yes. So maybe just briefly,
    22   opinions on behalf of the class plaintiffs       22   this analysis is a panel data study. We have
    23   related to the defendants' promotion; is that    23   a couple of years of data, I think three
    24   right?                                           24   years of data, for five different classes of
    25       A. And coordinated plaintiffs -- I           25   drugs. And we do the analysis both at the
                                               Page 347                                            Page 349
     1   was just trying to see -- yes, that's right.      1   class level and then at the individual
     2       Q. And then your regression is in             2   product level.
     3   paragraph 34.                                     3       Q. But at least a part of this was
     4       A. Yes.                                       4   aggregated, correct?
     5       Q. And then in paragraph 40, under            5       A. At the class level, yes.
     6   Prices, there's a sentence toward the end         6       Q. Okay. Let's look at page 14.
     7   that says: The endogeneity of price and           7             MR. SOBOL: What about page 1?
     8   promotion was handled using the standard          8       It's got a quote from Kessler on it.
     9   instrumental variables approach.                  9             MR. ROTH: Look at that,
    10       A. Yes, that's correct.                      10       David A. Kessler, along with laureates
    11       Q. And that's actually a different           11       Thomas Jefferson and F. Scott
    12   endogeneity than what Datta and Dave were        12       Fitzgerald.
    13   describing.                                      13             THE WITNESS: It would not be
    14       A. That's correct.                           14       appropriate to comment on the
    15       Q. And is that endogeneity an                15       quotations in this paper.
    16   issue for you here?                              16   BY MR. ROTH:
    17       A. I think again, because we're              17       Q. So page 14 --
    18   looking at a market average set of prices,       18             MR. ROTH: Hold on.
    19   that that is not the same as thinking about      19             (Comments off the stenographic
    20   the simultaneity of price and quantities for     20       record.)
    21   an individual manufacturer.                      21   BY MR. ROTH:
    22       Q. Okay. I've got one more source            22       Q. Hold on, Professor. I am on
    23   for you. We're just taking the time machine      23   the wrong page, I think.
    24   into the farther back.                           24       A. Okay.
    25       A. Oh my gosh, is there farther              25       Q. Or hopefully not on the wrong
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     1   article, but it could be.                        1       Q. And there's a difference
     2             (Document review.)                     2   between using logarithmics or some
     3   BY MR. ROTH:                                     3   non-logarithmic variable in a regression
     4       Q. Okay. It's actually page 12.              4   model?
     5       A. Okay.                                     5       A. Yes. You make logarithmic
     6       Q. I was looking for a sigma,                6   sound so poetic, but yes, it is -- generally
     7   which was a dead giveaway that I was on the      7   when we use logs, we're trying to collapse
     8   wrong page.                                      8   across the orders of magnitude, and it
     9       A. Okay. Excellent.                          9   frequently permits interpretation of results
    10       Q. Okay. And I think it's because           10   in terms of proportions.
    11   this is probably a reprint from the journal,    11            These log-log models have this
    12   so I'm looking at a snapshot of the journal     12   specific Cobb-Douglas production function
    13   in my outline.                                  13   under them, which is just something that is
    14       A. I see.                                   14   frequently used in economics.
    15       Q. Okay. But now we're on the               15       Q. Got it.
    16   same page, the section that says Basic          16            So it says -- and then you have
    17   Models.                                         17   this general specification of a modified AIDS
    18       A. Okay.                                    18   model.
    19       Q. Do you see that?                         19       A. That's correct.
    20       A. I do.                                    20       Q. And below that, it says after
    21       Q. It says: We now set out the              21   explaining that model: Finally, we use the
    22   basic estimation models used in the analysis.   22   same right hand side variable in estimating
    23   As noted above, the Cobb-Douglas formulation    23   model specifications where the dependent
    24   is used for both the class level demand model   24   variable is specified as the logit of
    25   as well as the individual product demand        25   quantity squares for the individual drug
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     1   model.                                           1   products.
     2            Do you see that?                        2             Do you see that?
     3       A. I do.                                     3        A. Yeah. That's the logit.
     4       Q. So it's both class and                    4        Q. Legit, sorry.
     5   individual, and then you've got your equation    5        A. It's all right. Logit.
     6   below it.                                        6        Q. With an O, not an E.
     7            Do you see that?                        7        A. It's a transformation.
     8       A. I do.                                     8        Q. All right. So now if you look
     9       Q. And can you say it in words?              9   at page 14, it says: We take account of the
    10   Because you did such a nice job earlier and I   10   possibility that spending on DTCA and
    11   don't read algebraic.                           11   physician promotion and product sales are
    12       A. Sure. Well, that Cobb-Douglas            12   jointly determined by estimating
    13   specification has natural logs on both sides,   13   instrumentable -- instrumental variables, IV,
    14   and so it has the log of quantity sales is a    14   models where all three variables are assumed
    15   function of alpha, beta-1 times the log of      15   to be endogenous.
    16   direct-to-consumer advertising plus beta-2      16             Do you see that?
    17   times the log of detailing plus the other       17        A. Yes.
    18   coefficients at times their values.             18        Q. And that's solving for an
    19       Q. So I'll take a detour because I          19   endogeneity issue?
    20   had another question about this for you         20        A. That's correct. This, again,
    21   later.                                          21   is at the product level.
    22       A. Okay.                                    22        Q. And if you had done an analysis
    23       Q. So by "log," you mean                    23   at the drug- or geography-specific level,
    24   logarithmics, right?                            24   this is an approach you might have had to
    25       A. That's correct.                          25   take?
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     1        A. I did not do such an analysis            1   removed from the timing of those decisions
     2   for -- based on my assignment, and so I          2   and so the concern that the factors that
     3   really haven't sat and thought about it.         3   determined the level of detailing for the --
     4             But this model I believe is            4   for the market as a whole in that month are
     5   appropriate for a product-level model, again     5   the same as determined as sales, to me that
     6   notwithstanding the challenges in estimating     6   makes no sense.
     7   instrumental variables in general.               7       Q. Okay. If you were to use an
     8        Q. So even if you're right, that            8   instrumental variables approach, instruments
     9   selection isn't an issue because it's an         9   for promotion would need to be correlated to
    10   aggregate model at the prescriber level,        10   promotion; is that right?
    11   aggregate promotion across all manufacturers    11       A. In general, in an instrumental
    12   could still be determined at least in part by   12   variable approach, you need instruments that
    13   sales in the aggregate, right?                  13   predict the endogenous variable and only
    14             MR. SOBOL: Objection.                 14   affect the variable of interest through the
    15        A. Well, again, conceptually, and          15   endogenous variable and not on their own.
    16   ultimately endogeneity is a conceptual issue    16       Q. Okay.
    17   about how we understand the market to be        17            (Whereupon, Deposition Exhibit
    18   working.                                        18       Rosenthal-15, Regression Instruments
    19             Conceptually, it makes no sense       19       Spreadsheet, was marked for
    20   to me to think about an aggregate price being   20       identification.)
    21   set by anyone because it is looking across a    21   BY MR. ROTH:
    22   wide range of companies and products, and so    22       Q. I'm going to mark as Exhibit 15
    23   in terms of the price endogeneity, that is      23   a document that was produced along with your
    24   literally about strategic decisions of          24   backup materials, and it says Regression
    25   individual firms and I don't think it           25   Instruments, Checked on July 24th, 2018.
                                              Page 355                                            Page 357
     1   translates into the aggregate level.             1       A. Yes.
     2            Likewise, when it comes to              2       Q. Do you see this?
     3   detailing, we're assigning the detailing to      3       A. I do.
     4   the class as a whole and it's not the class      4       Q. So that's in part why I asked
     5   as a whole that's deciding a detailing           5   you before if you knew about this.
     6   budget. That's for an individual                 6       A. This is not part of my
     7   manufacturer at the product level.               7   analysis. So as you may know, I was retained
     8            So conceptually, I think                8   in the middle of the summer, so this was not
     9   they're disconnected.                            9   part of the analysis that you see in my
    10   BY MR. ROTH:                                    10   report.
    11       Q. Okay. But if we assume that              11       Q. So who would have performed
    12   pharmaceutical companies are economically       12   this regression instruments analysis on your
    13   rational actors, it would make sense for them   13   models, if not you?
    14   to consider recent sales performance when       14       A. Presumably the staff began
    15   setting promotional budgets?                    15   gathering these data.
    16       A. I again -- I guess I can just            16       Q. So at least someone on the
    17   say it again, that pharmaceutical               17   staff thought that endogeneity might be an
    18   manufacturers, the concern is that they're      18   issue if they determined to run this analysis
    19   looking -- they're anticipating their own       19   in July 2018?
    20   sales growth and setting detailing based on     20             MR. SOBOL: Objection.
    21   that.                                           21       A. Like you, they may have been
    22            While that may make sense for          22   operating on my past analyses and started to
    23   an individual manufacturer, I -- even though    23   collect the data on that basis.
    24   those decisions are rolled up in my             24   BY MR. ROTH:
    25   aggregate, the aggregate then is one step       25       Q. And I know your position is
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     1   that this didn't need to be done, but if you     1   I have been aware that manufacturers do, in
     2   look at the nine variables on Exhibit 15,        2   fact, target high prescribers.
     3   some of these look familiar from your            3       Q. And I think we've seen
     4   Neurontin report, but others are not ones I      4   throughout today you've relied on Dr. Perri.
     5   recognize.                                       5       A. Dr. Perri, of course, is a
     6            Can you comment on that?                6   pharmaceutical marketing expert, and I
     7            MR. SOBOL: Objection.                   7   certainly cite him on those matters.
     8       A. Well, I haven't seen this.                8            I have my own general working
     9   Again, like you, I can imagine my staff would    9   knowledge, having seen many documents in the
    10   have gone back to my last report, maybe not     10   course of discovery about targeting efforts.
    11   quite as old as these, and looked at the        11            (Whereupon, Deposition Exhibit
    12   instruments that were gathered for those        12       Rosenthal-16, 3/25/19 Perri Expert
    13   reports.                                        13       Report, was marked for
    14            Generally speaking, these look         14       identification.)
    15   similar in that they are consumer price and     15   BY MR. ROTH:
    16   producer price indexes, indices, and wage       16       Q. I'm going to hand you
    17   index. They look familiar to the ones that      17   Exhibit 16, which is an excerpt of
    18   we've used in the drug-level studies.           18   Dr. Perri's report. And if you look at page
    19   BY MR. ROTH:                                    19   42 -- sorry, paragraph 42, which is at
    20       Q. So you didn't do this or see             20   page 23. Do you see that?
    21   this before just now?                           21       A. Yes.
    22       A. I -- I did not see this, no.             22       Q. He says: Marketers frequently
    23       Q. Okay. And your view is you               23   target prescribers who are most likely to
    24   have no endogeneity issues because you've       24   prescribe their drug. Marketers identify
    25   done an aggregate model, and pricing is not     25   prescribers using commercially available
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     1   an issue either, so we don't need to use         1   data, which groups prescribers, for example,
     2   instrumental variables on your model.            2   into deciles reflecting lower versus higher
     3            MR. SOBOL: Objection, asked             3   levels of prescribing.
     4       and answered.                                4             Do you see that?
     5       A. As I sought to address my                 5        A. I do.
     6   assignment, it was my belief that we should      6        Q. And then it says: Marketers
     7   use an aggregate model and that in doing so,     7   use this information to select prescribers,
     8   the endogeneity issues around the timing of      8   or groups of prescribers, as target
     9   and extent of detailing for specific drugs       9   customers. Targeting high-decile (more
    10   would not be pertinent.                         10   frequent prescribing) prescribers is
    11   BY MR. ROTH:                                    11   consistent with marketing principles because
    12       Q. Did you conduct any study or             12   it effectively targets customers with
    13   analysis to evaluate whether the                13   potential to generate sales. Defendants used
    14   manufacturers' detailing targeted physicians    14   deciles to identify the best physicians for
    15   with a history of prescribing their drugs?      15   their PSRs to use in sales plan -- sales call
    16       A. I'm sorry, could you repeat              16   planning.
    17   that? That was a long sentence.                 17             Do you see that?
    18       Q. Did you conduct any study or             18        A. I do. I think that's exactly
    19   analysis to evaluate whether the                19   what I have said.
    20   manufacturers' detailing targeted physicians    20        Q. And you agree with that. Your
    21   with a history of prescribing their drugs?      21   point is just when you aggregate everything,
    22       A. Not specific analysis. I would           22   you don't need to account for the targeting
    23   have to review my report carefully to see if    23   issue?
    24   I don't cite documents. It is -- in the         24             MR. SOBOL: Objection.
    25   course of my work on pharmaceutical matters,    25        A. If I -- if I were looking at
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     1   individual physician data, it would be           1   I don't think I considered it.
     2   important to account for this. I am not, and     2   BY MR. ROTH:
     3   therefore this concern does not pertain to my    3       Q. Did you consider a
     4   analysis.                                        4   difference-in-differences approach?
     5   BY MR. ROTH:                                     5       A. Again, because the alleged
     6       Q. Okay. Did you consider any                6   misconduct in this matter pertains to all
     7   methods to test causation that are not           7   marketing from 1995 to 2018, there wasn't an
     8   included in your report?                         8   obvious difference-in-difference approach
     9             MR. SOBOL: Well, other than            9   that I thought would make sense here.
    10       drafts, right? How do we even               10       Q. Did you run your model
    11       navigate that?                              11   switching the dependent and independent
    12   BY MR. ROTH:                                    12   variables to see if MMEs predict detailing?
    13       Q. I mean, I guess what -- the              13       A. No, I did not.
    14   only -- I'll ask it this way.                   14       Q. And that would be a test for
    15             The only tests for causation of       15   reverse causation; is that right?
    16   your model are contained in your report? Let    16       A. I'm not sure that would be the
    17   me strike that. That's a bad question. I'll     17   best test for a reverse causation, but it
    18   just -- I don't need to get drafts. I'm not     18   certainly is literally a reverse model.
    19   trying to get at that.                          19       Q. Did you run a model including a
    20             Did you consider whether you          20   lead of detailing contacts from the next
    21   could leverage any natural experiments to       21   month as an independent variable to see if
    22   determine whether MMEs were impacted by         22   future detailing predicted current MMEs?
    23   promotion?                                      23       A. I did not, no.
    24       A. Because my assignment related            24       Q. Did you do any test of reverse
    25   to the whole of this period of interest --      25   causation?
                                              Page 363                                             Page 365
     1   well, the logical research design to examine     1        A. I did not.
     2   the effect of 20-some-odd years of promotion     2        Q. And what would it mean if there
     3   is the one I have done.                          3   was a significant positive relationship
     4             I was going to say in some             4   between future detailing and current MMEs?
     5   sense the indirect analysis and my Section X,    5            MR. SOBOL: Objection.
     6   which I assume will be a Sunday afternoon        6        A. Well, again, I proceed on this
     7   activity, is like a natural experiment,          7   question of endogeneity from a conceptual
     8   right? It's saying what would have happened      8   basis. I struggle a bit with thinking about
     9   absent promotion.                                9   exactly what it would mean. On the -- at the
    10             Now, how would all other              10   individual drug level, I think there's a
    11   factors have driven this forward? Those are,    11   clear story. At the aggregate level, it's a
    12   in effect, event studies.                       12   lot less clear to me.
    13        Q. It's a thought experiment, but          13   BY MR. ROTH:
    14   it's not like a regression analysis or event    14        Q. Okay. If there comes a point
    15   study.                                          15   in time when, for whatever reason, certain
    16             MR. SOBOL: Objection.                 16   defendants are not part of the trial, is it
    17        A. Well, the -- of course the              17   your intention to use your aggregate model
    18   indirect model uses a regression to establish   18   along with Table 3 to identify causation
    19   which factors seem cross-sectionally            19   percentages for the remaining defendants, or
    20   associated and then trends that forward, so     20   do you have some other approach in mind?
    21   the causal part is in the cross-section.        21            MR. SOBOL: Objection.
    22             It's hard to imagine an event         22        A. Well, the reason that I
    23   study of another kind that would be             23   undertook the analysis for Table 3 was that I
    24   appropriate to capture the effect of the        24   was asked by counsel if it was possible to
    25   alleged misconduct from 1995 through 2018, so   25   remove one of the defendants or any group of
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     1   the defendants from the measure of impact        1   here.
     2   that I use, and so I did that by removing        2       A. Yes, right. Exactly.
     3   their marketing from the calculation, which      3       Q. Let me ask a clean question.
     4   is, in effect, leaving it in the but-for         4       A. Okay.
     5   scenario.                                        5       Q. Did the Fishiarial [phonetic]
     6             And so do I know for sure that         6   Pricing -- Ideal Price Index used in your
     7   that's the way the court will ultimately want    7   model look at actual opioid prices, or was it
     8   to remove a defendant? I don't know for          8   derived through some equation?
     9   sure, but that was what -- I was asked if I      9       A. It looks at actual transaction
    10   could do that by counsel in order to            10   prices for opioids.
    11   demonstrate one way that the model could be     11       Q. Okay. What is the unit of
    12   adapted for fewer defendants.                   12   measure you used in calculating the price
    13   BY MR. ROTH:                                    13   index?
    14        Q. I'm going to switch gears and           14       A. The price index is weighted on
    15   talk about your price index for just a few      15   MMEs.
    16   minutes.                                        16       Q. It's not weighted on extended
    17        A. Okay. Sure.                             17   units?
    18        Q. Do you know whether the price           18       A. Well, I should check, but -- I
    19   index you calculated is increasing or           19   should not do anything by memory. Let me
    20   decreasing over time? And feel free to refer    20   look in my report. I apologize.
    21   to the --                                       21       Q. It would be logical if it were
    22        A. Yes, it doesn't change much.            22   weighted by MMEs, but I think it might be
    23   It does increase slightly over time.            23   weighted by extended units, so you should
    24        Q. How does that square with the           24   check.
    25   fact that the share of generics relative to     25       A. Let me check.
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     1   branded drugs was also increasing over the       1            (Document review.)
     2   same period of time?                             2       A. It's weighted by extended
     3        A. Oh, sure. Well, you're asking            3   units. Yes.
     4   me about my favorite subject, which is drug      4   BY MR. ROTH:
     5   pricing. So even though the share of             5       Q. Would it not be more logical to
     6   generics may be increasing, the price of         6   weight it by MMEs, given that that's your
     7   those generics is also increasing; and           7   dependent variable?
     8   there's a bolus of people who are already on     8       A. Well, given that MMEs and
     9   generics, so as the price of generics            9   extended units track almost perfectly, I
    10   increases, the price index increases. And       10   think it would make no difference. And I of
    11   then, of course, there are new drugs and line   11   course run the model both with MMEs and with
    12   extensions, and those are priced higher and     12   extended units, so it happens to be using
    13   higher.                                         13   extended units.
    14             So all of those forces together       14       Q. But you haven't run your price
    15   are getting us to -- it's a very low rate of    15   index with MMEs to see what that would look
    16   increase, but it is slightly positive.          16   like?
    17        Q. And did that index measure the          17       A. I haven't seen that, no.
    18   actual prices, or was that derived through      18       Q. And we talked about the
    19   some equation, the Fisher Ideal Price Index     19   potential endogeneity issues with pricing. I
    20   you use in your model?                          20   take it you have not run instruments on your
    21        A. The Fisher Price -- Fisher              21   pricing index?
    22   Ideal Price Index, sorry, not Fisher Price.     22       A. Again, because I'm using an
    23   It's late --                                    23   aggregate model and, in fact, the total
    24        Q. That's where our heads should           24   quantity and total prices are not
    25   be on Saturday, but we're all hanging out       25   simultaneously determined in the market as a

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     1   whole, I do not believe it is necessary.         1   analysis earlier so the stock of promotion
     2            MR. ROTH: I think we should             2   has a chance to build up somewhat.
     3       take another five-minute break.              3            So yes, I don't -- I clearly
     4            THE WITNESS: Okay.                      4   don't drive sales to zero with that
     5            THE VIDEOGRAPHER: The time is           5   reduction.
     6       3:35 p.m. We're now off the record.          6       Q. And you said, I think, your
     7            (Recess taken, 3:35 p.m. to             7   direct model includes only promotion and
     8       3:50 p.m.)                                   8   prices as the two variables.
     9            THE VIDEOGRAPHER: The time is           9       A. As the two explicitly covered
    10       3:50 p.m. We're back on the record.         10   variables, yes.
    11   BY MR. ROTH:                                    11       Q. Do socioeconomic factors
    12       Q. So we started the day with a             12   influence sales of opioids?
    13   long discussion of factors that influenced      13       A. When it comes to the trends, if
    14   doctors' prescribing decisions. Do you          14   they have any effect, it's very small. And
    15   remember that?                                  15   that's really captured in the indirect model
    16       A. I do.                                    16   when we look at that. It's a little easier
    17       Q. All right. I want to take it a           17   to have that conversation when we have those
    18   step broader.                                   18   data in front of us.
    19            What are the factors that drive        19            But I think they do very little
    20   sales of prescription opioids?                  20   to explain the expansion of the market over
    21       A. Well, the factors that I                 21   time, as opposed to they do explain some of
    22   account for in my direct model are price and    22   the cross-sectional variation in opioid use.
    23   promotion; and promotion, of course, is the     23       Q. Do demographic factors impact
    24   most important driver of overall sales.         24   the sale of opioids?
    25       Q. But there are other drivers              25       A. Demographic factors, like
                                             Page 371                                             Page 373
     1   apart from price and promotion for opioid        1   socioeconomic factors, may well explain some
     2   sales; is that right?                            2   cross-sectional variation. Older populations
     3        A. I think when we talk about               3   maybe have a higher incidence of cancer and
     4   drivers, I think it's important to be careful    4   therefore more opioids.
     5   to distinguish between things that may           5            But over time, even though
     6   determine whether a particular patient or        6   people do worry about the aging of the
     7   doctor receives or prescribes an opioid          7   population, it's an extremely slow
     8   versus what increases the size of the market     8   phenomenon; and again, in the indirect model,
     9   over time. And when it comes to the latter,      9   those age variables do very little to
    10   I think promotion is really the dominant        10   increase the sales of opioids.
    11   factor.                                         11       Q. Do healthcare factors impact
    12        Q. Would opioid sales still occur          12   the sale of opioids?
    13   if they were never promoted?                    13            MR. SOBOL: Objection to form.
    14        A. Do you mean never from the              14       A. Health -- healthcare factors
    15   beginning of time? Perhaps at some level.       15   such as -- perhaps do you mean insurance,
    16   But when we are talking about this class that   16   health insurance? We talked a little bit
    17   has been promoted for many years, I think       17   about that this morning.
    18   just stopping it at a point in time wouldn't    18            Again, there will be
    19   result in those sales being eliminated.         19   cross-sectional differences between people's
    20        Q. You have a but-for world that           20   coverage, and that will surely determine
    21   eliminates promotion from the world, then you   21   whether some patients ever go to the
    22   still find there are opioid sales, right?       22   physician and therefore get a prescription.
    23        A. I have a but-for world that             23   So as a cross-sectional matter, those may
    24   eliminates promotion for the defendants, for    24   have some explanatory variable.
    25   that period of time, although I start my        25            In the indirect analysis, we

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     1   see that driving very little of the change.      1       you.
     2   BY MR. ROTH:                                     2   BY MR. ROTH:
     3       Q. And as you pointed out, you               3       Q. Page 80.
     4   modeled socioeconomic, demographic and           4       A. Yes.
     5   healthcare factors in your indirect model.       5       Q. So bear with me. You know
     6       A. Yes, because I'm able to use              6   what, let's do this. Let's first go to the
     7   that approach to exploit the cross-sectional     7   Mizik and Jacobson study.
     8   variation to capture those effects reliably,     8       A. Okay.
     9   whereas because they change so little on the     9       Q. Which is Exhibit 9.
    10   aggregate year over year, it would be very      10       A. And what page would you like me
    11   hard if not impossible to do that in the time   11   to look at?
    12   series.                                         12       Q. 1707.
    13            Nonetheless, using trends in           13       A. Okay.
    14   those underlying demographic, socioeconomic     14       Q. And actually it starts on 1706,
    15   and healthcare variables, I find that there's   15   so I'm sorry about that.
    16   very little of the growth in opioids that's     16       A. Okay. That's fine.
    17   associated with those factors.                  17       Q. So they're talking about the
    18       Q. Did you attempt to run your              18   G?n?l study. Do you see that at the bottom
    19   direct regression with demographic,             19   of the right column?
    20   socioeconomic, and healthcare factors as        20       A. Yes, I see that -- sort of
    21   variables?                                      21   right midway down the page, they start
    22            MR. SOBOL: Objection.                  22   talking about it.
    23       A. I did not, no.                           23       Q. Yeah. And they say at the
    24   BY MR. ROTH:                                    24   bottom of the page -- well, yeah. So midway
    25       Q. And why not?                             25   down the page they say they use data
                                              Page 375                                             Page 377
     1             THE WITNESS: Bless you.                1   involving 1,785 patient visits to estimate a
     2             MR. SOBOL: For the sneeze, not         2   multinomial logit model assessing factors
     3        the question.                               3   influencing physician prescribing behavior.
     4             THE WITNESS: Yes.                      4            Do you see that?
     5        A. For the question, those -- at            5       A. I do.
     6   the national level, as you know in my model,     6       Q. And then the next paragraph
     7   those variables show very little variation       7   says: A concern, which G?n?l et al
     8   over time. If one were to try to put them in     8   explicitly acknowledge, is over the role of
     9   a model, they would predict very little of       9   physician-specific effects that can induce a
    10   the sales. And you can see from the             10   bias in the estimated coefficients. They
    11   literature that we've reviewed today, none of   11   state "prescription behavior patterns might
    12   these studies enter variables such as these.    12   be strongly influenced by factors other than
    13   BY MR. ROTH:                                    13   the explanatory variables we include in our
    14        Q. All right. If we can go back            14   model. Examples are physicians' unobservable
    15   to the G?n?l study, Exhibit 10. Did we not      15   personal characteristics. Ignoring these
    16   use that one yet? We did, I think, yeah.        16   factors might bias the coefficients of the
    17        A. No, I don't remember looking at         17   included explanatory variables."
    18   it.                                             18            Do you see that?
    19        Q. Yeah, it's Exhibit 10. We               19       A. Yes. This is the subject that
    20   looked at it quickly.                           20   we've been discussing a great deal this
    21        A. I'm afraid mine are out of              21   afternoon about these -- it's the same as the
    22   order.                                          22   endogeneity concern, which is fundamentally
    23             MR. SOBOL: This one here.             23   about an omitted variable at the physician
    24             THE WITNESS: Thank you. It's          24   level. So the concern is about
    25        just probably at the bottom. Thank         25   cross-sectional variation, not about time

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     1   series variation.                                1   Even though the Kaiser Family Foundation
     2       Q. Okay.                                     2   report we looked at does some class-level
     3            (Whereupon, Deposition Exhibit          3   analysis, all the instrumental variables are
     4       Rosenthal-17, 2007 Steinman et al            4   at the product level.
     5       Publication, was marked for                  5        Q. Got it.
     6       identification.)                             6        A. I can't say for sure that
     7   BY MR. ROTH:                                     7   there's no model that aggregates above that
     8       Q. And then let me mark as                   8   level that uses instrumental variables. I
     9   Exhibit 17 the Steinman study,                   9   haven't seen one, but...
    10   Characteristics and Impact of Drug Detailing    10        Q. So you raise a good point. I
    11   for Gabapentin.                                 11   mean, all of the peer-reviewed published
    12            Do you have that document in           12   studies we've looked at today have related to
    13   front of you?                                   13   cross-sectional drug-specific models of
    14       A. I do.                                    14   marketing.
    15       Q. And is this a document you               15        A. The panel, so some of them have
    16   reviewed and quoted and relied upon in your     16   time series. This one doesn't have any time
    17   report?                                         17   series variation, but some of them have both
    18       A. It is.                                   18   cross-sectional and time series variation,
    19       Q. So it looks like from the cover          19   but they all at least have some product level
    20   page, for this study this evaluated off-label   20   variation in them.
    21   promotions for gabapentin by analyzing forms    21        Q. And as we talked about, your
    22   on specific detail visits to specific doctors   22   model does not do that?
    23   between 1995 and 1999.                          23        A. My assignment --
    24            Do you see that?                       24            MR. SOBOL: Objection, asked
    25       A. Yes, I do.                               25        and answered.
                                              Page 379                                             Page 381
     1       Q. And at page 748, in the right             1       A. -- is about an aggregate
     2   paragraph -- I'll wait until you get there.      2   phenomenon, which I appropriately
     3       A. 748, right paragraph.                     3   characterize with an aggregate model.
     4       Q. Do you see "Our study has                 4   BY MR. ROTH:
     5   several limitations"?                            5       Q. Okay. In your direct model,
     6       A. Yes.                                      6   did you consider adding a variable for lagged
     7       Q. And in that paragraph, they               7   sales?
     8   say: Third, the self-reported intention to       8       A. I did not.
     9   increase future prescribing or recommending      9       Q. Did you consider adding a
    10   of gabapentin might have been affected by       10   variable in your aggregate model for
    11   factors other than the detail. Thus, we         11   nonmarketing misconduct?
    12   cannot prove a causal relationship between      12       A. Well, I did add those event
    13   the detail and self-reported behavior change.   13   variables that I considered to be associated
    14            Do you see that?                       14   with nonmarketing misconduct.
    15       A. Yes. Again, this is a                    15       Q. That's a good clarification.
    16   cross-sectional analysis.                       16   Beyond the five events in Model C, there's no
    17       Q. And is it your testimony that            17   variable for nonmarketing misconduct in your
    18   no aggregate time series regressions ever run   18   direct model?
    19   instrumental variable tests to account for      19       A. There is not, no.
    20   endogeneity?                                    20       Q. And just to confirm, Model C is
    21       A. No, that was not my testimony.           21   the same as Model B with the addition of the
    22   It depends a little bit on what you mean by     22   five events?
    23   aggregate. The analyses that I know of,         23       A. That's correct.
    24   including my own, that have used instrumental   24       Q. Did you consider adding a
    25   variables have been product-level analyses.     25   variable to your direct model for illegal
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     1   prescribing?                                      1        A. Well, my model is currently
     2       A. I'm sorry, can you explain                 2   agnostic as to whether the prescriptions
     3   what -- what that would look like?                3   caused by the unlawful conduct were diverted
     4       Q. You're the economist. You                  4   or not. It seems to me that it's a legal
     5   probably have a better idea of how to put         5   question about, you know, whether it would be
     6   that into a study. But is that something you      6   appropriate to separately identify those.
     7   considered doing?                                 7            As we started out our
     8       A. What is --                                 8   conversation today, it makes sense to me as
     9             MR. SOBOL: Objection to the             9   an economist that what -- whatever happened
    10       form.                                        10   with those prescriptions after they left the
    11             You're the lawyer. What's              11   pharmacy, the fact that they generated
    12       illegal?                                     12   profits for the defendants is a reasonable
    13             THE WITNESS: Yes, sorry,               13   basis for recovery, again, on the notion that
    14       that's my question.                          14   recovery is intended to deter this kind of
    15             MR. ROTH: I asked both of you.         15   conduct in the future.
    16       A. Well, as I understand this                16        Q. Does your direct model have any
    17   case, it is not about illegal prescribing but    17   variable for formulary placement status?
    18   illegal promotion, and those are two             18        A. It does not.
    19   different things.                                19        Q. Your direct model does not have
    20   BY MR. ROTH:                                     20   any variable for prescription drug coverage?
    21       Q. Right. But you understand that            21        A. As we discussed earlier, these
    22   there are doctors who have been criminally       22   are not factors that I would expect to be
    23   convicted for illegally prescribing opioid       23   changing over time in a way that would
    24   products?                                        24   predict the sales of opiates as a class, so
    25       A. I -- yes, I do know there have            25   if there are formulary changes, that may
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     1   been some prosecutions.                           1   result in more generics, more of the
     2       Q. And you don't have any variable            2   preferred brand versus the nonpreferred
     3   in your model to account for that?                3   brand. I don't believe that those are
     4       A. I do not account for that in my            4   appropriately captured in a model like this.
     5   model, no.                                        5       Q. Okay. Why do you prefer
     6       Q. You don't have any variable in             6   Model B to Model C?
     7   your model to account for diversion of            7       A. In part, because of that
     8   lawfully prescribed drugs to someone other        8   counterintuitive effect that we talked about
     9   than the intended user?                           9   before, with -- now I can't remember if it
    10             MR. SOBOL: Objection to the            10   was oxycodone or hydrocodone.
    11       form.                                        11       Q. I think it was the hydrocodone
    12       A. Just to be clear, when -- when            12   rescheduling.
    13   thinking about what to put in a model, one       13       A. I think it was hydrocodone,
    14   reason we might do it is we want to say this     14   yes.
    15   is something separate from the variable of       15             So that suggests to me that
    16   interest.                                        16   that's -- whatever it's doing, it's not
    17             But if, in fact, the allegedly         17   picking up what I think it's supposed to be
    18   unlawful marketing caused diversion, then it     18   doing.
    19   would not be appropriate to pull it out from     19             It makes almost no difference
    20   the model.                                       20       in the predictions, we looked at those
    21   BY MR. ROTH:                                     21       charts before, and you can see in the
    22       Q. Right. But you could conceive             22       adjusted R-squared there's almost no
    23   of a set of facts where diversion occurs in      23       difference, but it's -- to me it looks
    24   the setting of perfectly lawful marketing and    24       like it's not the right way to capture
    25   prescribing?                                     25       the effect of these events.
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     1   BY MR. ROTH:                                     1   see that they give almost the same
     2       Q. And, actually, I think Model C            2   predictions, the same actual predicted and
     3   has a slightly higher adjusted R-squared than    3   but-for predicted, and it seems to me that
     4   Model B.                                         4   Model C is not well specified in those five
     5       A. Yeah, just to be clear, it's              5   events, that they don't seem to work in the
     6   one ten-thousandth of a point.                   6   way that they're specified there, which is
     7       Q. But it is higher.                         7   that they start happening at a point in time.
     8       A. It is technically higher.                 8   BY MR. ROTH:
     9       Q. If you were to put more of the            9       Q. And yet, your breaks also occur
    10   events from Figure 5 into what is Model C,      10   at a point in time?
    11   would that not be a fairly robust test of the   11            MR. SOBOL: Objection.
    12   predictiveness of Model B since Model C is      12       A. The breaks are doing something
    13   really just Model B with the events added?      13   entirely different because they're
    14       A. I guess I don't understand your          14   interacting with promotion. They're saying,
    15   question. If I were to put more events in       15   you know, we've estimated this underlying
    16   Model C, would that be another test of          16   effectiveness of promotion and does that
    17   Model B?                                        17   relationship shift at a point in time.
    18       Q. Right.                                   18   BY MR. ROTH:
    19       A. I think the fact that -- that            19       Q. Okay. Model B suggests an
    20   adding a subset of events that were, you        20   R-squared of 99.36%.
    21   know, displaced over time doesn't change        21       A. Yes.
    22   ultimately the predictions in Model B,          22       Q. So your model explains more
    23   suggests to me that it's not going to be        23   than 99% of the variation in MMEs with
    24   worthwhile.                                     24   promotion?
    25            And again, the counterintuitive        25       A. That's correct, and price.
                                              Page 387                                             Page 389
     1   coefficient on the hydrocodone rescheduling      1       Q. So less than 1% of opioid MMEs
     2   suggest to me also, as we continue to add        2   are explained by anything but price and
     3   more events, we'll get a certain amount of       3   promotion?
     4   gobbledygook. I mean, that's just going to       4       A. That's correct.
     5   be true in a time series model.                  5       Q. And you conclude that the
     6            In any econometric model, the           6   predictive power of Model B is shown to be
     7   goal is to include the important factors but     7   quite good?
     8   be as parsimonious as possible. Adding all       8       A. Yes.
     9   these events would not be parsimonious.          9       Q. Have you tried running your
    10       Q. I think I heard you a minute             10   model removing promotion and just having
    11   ago say that you rejected Model C in favor of   11   price in the model?
    12   Model B in part because of the hydrocodone      12       A. I have not.
    13   rescheduling. Is there anything else that       13       Q. If it showed negative MMEs,
    14   led you to make the decision that Model B was   14   what would that mean for your model?
    15   preferred?                                      15       A. If we're removing promotion
    16       A. It adds almost nothing.                  16   and -- I mean, I guess as we talked about in
    17       Q. So it's really a function of             17   looking at Model A, it would suggest that
    18   almost essentially the same R-squared and you   18   there was something that's missing from the
    19   get this wonky result with hydrocodone's        19   model. When we looked at the but-for MMEs as
    20   rescheduling that leads you to prefer           20   negative, that clearly it is not doing a good
    21   Model B?                                        21   job of predicting the real world in which
    22            MR. SOBOL: Objection, asked            22   there were positive MMEs.
    23       and answered.                               23       Q. What is overfitting?
    24       A. That's -- yes, that is in                24       A. Overfitting is when you include
    25   effect correct. I look at the two models, I     25   factors in the model such that you perfectly

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     1   predict the dependent variable, that you've      1       A. Well, as we were talking
     2   saturated the model, which is why I don't add    2   before, he was looking at the correlation
     3   more events to this model, where it's already    3   over time of the errors in the model.
     4   high. Having an adjusted R-squared as high       4       Q. And did you see the results of
     5   as we do in this case in a time series model     5   his work?
     6   is quite common.                                 6       A. I did not see the results
     7       Q. How do you tell to see if a               7   specifically, no.
     8   model is overfit?                                8       Q. Is your direct model a linear
     9       A. I don't actually, as I sit                9   model or a nonlinear model?
    10   here, recall the specific test for              10       A. Well, it's nonlinear because of
    11   overfitting, but usually it's about             11   the depreciation rate. It is effectively run
    12   predicting out of sample and looking at how     12   using ordinary linear -- ordinary least
    13   well the model forecasts.                       13   squares, but it's nonlinear because of the
    14       Q. How does the R-squared of your           14   interaction of the depreciation rate.
    15   model in this case compare to R-squareds you    15       Q. Is R-squared an appropriate
    16   have from other models you've done of           16   measure for nonlinear models in econometrics?
    17   promotion against sales?                        17       A. The adjusted R-squared that we
    18       A. I don't recall specifically,             18   report here is appropriate for this model.
    19   but I think we probably have a few in front     19       Q. Okay. Let me mark as
    20   of us that we could look at.                    20   Exhibit 18 an article from Spiess and
    21       Q. Yeah. I mean, does 99.36                 21   Neumeyer, An evaluation of R-squared as an
    22   strike you as one of the higher R-squareds      22   inadequate measure for nonlinear models in
    23   you've had or are all of your models perfect    23   pharmacological and biochemical research.
    24   in their predictions --                         24            (Whereupon, Deposition Exhibit
    25       A. Model A has an R-squared of              25       Rosenthal-18, 2010 Spiess and Neumeyer
                                              Page 391                                             Page 393
     1   88 -- well, 87.99, the adjusted R-squared.       1       Publication, was marked for
     2   So we have a range here. Again, time series      2       identification.)
     3   models do typically have very high               3   BY MR. ROTH:
     4   R-squareds. I don't know what they've been       4       Q. Do you see that?
     5   in other models.                                 5       A. I do.
     6            As we talked about before, this         6       Q. The title sounds pretty
     7   is unlike the model, for example, that we did    7   relevant.
     8   in the Kaiser Family Foundation report where     8            Were you aware of this paper?
     9   we're looking at a couple of years for about     9       A. Not specifically.
    10   25 drugs and exploiting both time series and    10       Q. Okay. So this is a 2010 paper
    11   cross-sectional variation.                      11   in BMC Pharmacology. It looks like Spiess
    12        Q. You understand from the                 12   and -- is from the Department of Andrology at
    13   literature that a very high R-squared in the    13   the University Hospital Hamburg-Eppendorf in
    14   presence of substantial unmodeled               14   Germany.
    15   autocorrelation can be an issue?                15            Do you see that?
    16        A. I think we've already talked            16       A. I don't actually see where the
    17   about the error structure here, and my          17   authors --
    18   understanding is that my team looked at that    18       Q. I'm looking at the footnote.
    19   early on and concluded that it was not a        19       A. Uh-huh, yeah.
    20   problem here.                                   20       Q. Okay. So at page 1, at the
    21        Q. Who from your team did that             21   very bottom of the first column under
    22   work?                                           22   Background, it says: Although it is known
    23        A. That would be Forrest McCluer.          23   now for some time that R-squared is an
    24        Q. And what specifically did               24   inadequate measure for nonlinear regression,
    25   Mr. McCluer do to test for autocorrelation?     25   many scientifics and also reviewers insist on

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      1   it being supplied in papers dealing with          1   about using other criterion, the AIC and
      2   nonlinear data analysis.                          2   other criteria, that those model criteria,
      3            Do you see that?                         3   AIC and BIC, which are other model criteria
      4       A. Yes.                                       4   that are frequently output by these kinds of
      5       Q. And then if you flip to page 8,            5   programs. I imagine that they would likely
      6   under their plotted diagrams in Figure 3, I'm     6   agree.
      7   in the left column.                               7             I can't say for sure. I
      8       A. Left column, and the notes                 8   haven't calculated them or looked at them
      9   under --                                          9   myself, but I think the fact that they
     10       Q. Under the chart.                          10   believe the R-squared statistic itself is not
     11       A. Yep.                                      11   meaningful does not suggest that there's no
     12       Q. The end of the first paragraph            12   information from the model fit data that I've
     13   says: Consequently, and based on the             13   looked at.
     14   analysis of a sigmoidal nonlinear setup as       14       Q. And there's no AIC or BIC
     15   described here, we feel compelled to give the    15   statistic in your report.
     16   following summary: 1, The use of highly          16       A. I don't think it's in the
     17   inferior nonlinear models is reflected only      17   output, no. It wasn't in what we looked at,
     18   in the third or fourth decimal place of          18   was it?
     19   R-squared, and thus the description of single    19       Q. No. I just looked at the
     20   models when using R-squared is not               20   tables and didn't see it.
     21   meaningful, as this measure tends to be          21       A. Yeah.
     22   uniformly high when a set of models is           22       Q. Okay. Turning to Table 2 of
     23   inspected.                                       23   your report, which is on page 51.
     24            Do you see that?                        24       A. Yes.
     25       A. I do.                                     25       Q. So this table is your
                                                Page 395                                             Page 397
      1       Q. And the authors say: This has              1   calculation of MMEs attributable to
      2   also been noted by others, and they have a        2   defendants' promotion from Model B; is that
      3   note 20.                                          3   right?
      4            Do you see that? And there's a           4        A. That's correct.
      5   Zeng study from 2008 that they cite?              5        Q. And so between 1995 and 2018,
      6       A. Yes.                                       6   you calculate a percentage of MMEs that were
      7       Q. And are you familiar with that             7   attributed to defendants' promotion in each
      8   study?                                            8   year, right?
      9       A. No, I'm not familiar with that             9        A. I do.
     10   study. Ultimately, the -- whether you rely       10        Q. And it starts with only 5.5% in
     11   on the R-squared statistic or not, and I -- I    11   1995.
     12   don't know honestly if this applies to the       12            Do you see that?
     13   particular nonlinear model that I'm using.       13        A. Yes.
     14   These are obviously full-time statisticians.     14            MR. SOBOL: Objection to form.
     15            But in my experience, the               15        A. Yes, the number is 5.5% in
     16   adjusted R-squared is very frequently used       16   1995.
     17   for these kinds of models, but ultimately,       17   BY MR. ROTH:
     18   you looked at the data; you can see the          18        Q. And then it increases
     19   predictions versus the underlying data, and      19   consistently, with the exception, I think, of
     20   we have a very good sense of how well the        20   2005 and 2006 in every year after that.
     21   model actually fits the data.                    21        A. That is correct.
     22       Q. And what measure do you have of           22        Q. And in 2005-2006, for the
     23   how well the model fits the data other than      23   record, it's 50.8 and 50.7%, so it stays
     24   the R-squared statistic?                         24   relatively flat in those years.
     25       A. I imagine, so they are talking            25        A. Yes, that's correct.

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      1        Q. So despite the volume of MMEs            1   sensitivity with respect to specific
      2   going down, your model reflects that the MMEs    2   defendants.
      3   attributable to defendants' promotion            3       A. Okay.
      4   increases over time?                             4       Q. You started talking about this
      5        A. Just to be clear, what this is           5   this morning, this is Attachment C.
      6   saying is the share of MMEs, and so that         6       A. That's right.
      7   makes perfect sense, that as the volume is       7       Q. And eventually it outputs into
      8   going down over time, that the share could       8   Table 3, which is on the page.
      9   well be increasing.                              9       A. Yes.
     10        Q. To what do you attribute the            10       Q. So in paragraph 76, you say:
     11   increasing percentage attributable to           11   As noted in my assignment, I have examined
     12   defendants' promotion over time?                12   the sensitivity of my calculations of impact
     13            MR. SOBOL: Objection.                  13   to the inclusion or exclusion of
     14        A. I think it would make sense to          14   particularly -- start over. Strike that.
     15   interpret that. Of course, it is the result     15            As noted in my assignment, I
     16   of the analysis, but if we think about the      16   have examined the sensitivity of my
     17   notion that defendants' detailing and other     17   calculations of impact to the inclusion or
     18   conduct cumulatively affected prescribing       18   exclusion of particular defendants'
     19   patterns, that would suggest that it would be   19   promotional efforts in the construction of my
     20   increasing.                                     20   but-for scenario.
     21   BY MR. ROTH:                                    21            Do you say that in
     22        Q. It's the depreciation rate              22   paragraph 76?
     23   that's driving it up, in part?                  23       A. I do.
     24            MR. SOBOL: Objection, form.            24       Q. And then you say: In the first
     25        A. No, it's the model results that         25   row of Table 3, I show that impact of
                                               Page 399                                             Page 401
      1   are driving it up. Again, the fact that the      1   manufacturer misconduct on MMEs from 1995 to
      2   stock of promotion is increasing because of      2   2018 with a but-for scenario that assumes
      3   the negative depreciation rate in Model B        3   none of the defendants' marketing was lawful.
      4   doesn't mean necessarily that the effect has     4            Do you see that?
      5   to be increasing in that first part of -- of     5       A. I do. I was just thinking,
      6   before we allow the promotional effectiveness    6   because this is in the errata, if we talk
      7   to deteriorate. That would be true because       7   about specific numbers, can we remember to
      8   there's a positive coefficient on promotion,     8   bring that up?
      9   and so it's simply true over time that that      9       Q. I was going to go there next.
     10   promotion is having a larger and larger         10   So you actually --
     11   effect.                                         11       A. Okay. I was trying to find it.
     12   BY MR. ROTH:                                    12       Q. You gave us the errata on
     13       Q. Have you run Model B with the            13   Thursday.
     14   same period interval breaks with a positive     14       A. Yes.
     15   depreciation rate to see how that would         15       Q. One of your errata was actually
     16   affect things?                                  16   saying that something you previously said was
     17            MR. SOBOL: Objection, asked            17   not statistically significant is
     18       and answered.                               18   statistically significant.
     19       A. I believe you asked me that              19       A. That's right.
     20   earlier, and I said no.                         20       Q. And another errata is changing
     21   BY MR. ROTH:                                    21   the percentages in Table 3.
     22       Q. I asked a lot of questions. I            22       A. Yes.
     23   can't remember all of them. I'm sorry.          23       Q. Those are fairly immaterial
     24            Let's turn to paragraph 76 of          24   errata.
     25   your report, and I want to talk about your      25            MR. SOBOL: Objection.

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      1       A. I would disagree, although I              1   Table 3 and the baseline is the percent of
      2   don't want to use the word "material" because    2   MMEs you attribute to that manufacturer; is
      3   that may mean something different to you and     3   that right?
      4   to me, but the first one relates to the joint    4        A. To their promotion.
      5   significance of those five events.               5        Q. And let's just take a step
      6            It doesn't change my opinion            6   back.
      7   about the counterintuitive effect of that        7            How was that done? How did you
      8   hydrocodone event and my general sense that      8   attribute promotion to a particular
      9   they're not picking up something in the data     9   manufacturer defendant?
     10   that's important because they don't really      10        A. So in the IMS data, we can see
     11   change the results.                             11   who's promoting for what product, so that's
     12            So that doesn't change my              12   the sort of complex nature of the tables in
     13   opinion, so that doesn't change my              13   the back. So we can see when, for example,
     14   conclusions.                                    14   there were other manufacturers promoting for
     15            This was a miscalculation.             15   one of the defendants, and we can make those
     16   Table 3 was inadvertently calculated            16   cross-walks.
     17   including 1993 and 1994 in which the actual     17        Q. And the IMS data doesn't always
     18   and but-for worlds are exactly the same, and    18   consistently put drugs in the same
     19   so those zeros basically were averaged in       19   manufacturer's bucket; is that right?
     20   there.                                          20            MR. SOBOL: Objection.
     21            So the underlying data, they're        21        A. I'm not sure what you mean by
     22   exactly the same as they were originally        22   that. Would you explain?
     23   submitted, it's just the Table 3 summary is     23   BY MR. ROTH:
     24   updated.                                        24        Q. We can look at something that
     25            ///                                    25   explains it.
                                              Page 403                                             Page 405
      1   BY MR. ROTH:                                     1        A. Sure.
      2        Q. And when you updated the                 2        Q. But so I understand
      3   Table 3 summary, the defendants' share in        3   mechanically how Table 3 works, the baseline
      4   your model actually increased?                   4   is when you take all MMEs that you claim are
      5        A. Yes, again, because it takes             5   attributable to defendants collectively.
      6   those two years that are not in question out     6   That's the baseline?
      7   of the analysis.                                 7        A. Yes. So that was where I
      8        Q. Why were those two years in              8   realized that there was a mistake in the
      9   there to begin with? Had you modeled it          9   table is that that baseline number is the
     10   going back to '93 instead of '95?               10   same as the summary number in Table 2.
     11        A. In all of our models we go back         11        Q. So it's 44.9%?
     12   to '93. As I mentioned earlier, to estimate     12        A. That's correct.
     13   the model as accurately as possible, we used    13        Q. Okay. And then each line item
     14   all the data that we could, and so again, we    14   is essentially calculating the baseline
     15   allow for -- we look at the promotion that      15   percentage against the percent that you
     16   was happening before the alleged misconduct.    16   attribute to that specific manufacturer?
     17        Q. And you decided to estimate the         17            MR. SOBOL: Objection.
     18   harms from '95 forward at the instruction of    18        A. I'm not sure, but you may be
     19   counsel, correct?                               19   right, but I wouldn't have said it that way.
     20        A. That's because I understand, as         20   BY MR. ROTH:
     21   we talked about, again, earlier this morning,   21        Q. How would you say it? Just
     22   that counsel intend to prove that the           22   explain what each line is.
     23   misconduct began in 1995.                       23        A. Each line item has a particular
     24        Q. Okay. So the difference                 24   defendant named in it, and in the number
     25   between each manufacturer's percentage in       25   calculated to the right of that, I rerun the

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      1   but-for scenario, but I allow that defendant     1   doesn't make a lot of sense. There are drugs
      2   their promotion to stay in the but-for world,    2   that are sold and not promoted. So
      3   so that's by way of saying, no, that things      3   there's -- there's not a one-to-one
      4   would not have been different for this           4   relationship.
      5   defendant. That is exactly -- it was             5   BY MR. ROTH:
      6   appropriate. It was not -- not shown to be       6       Q. Even though 99.6% of the world
      7   unlawful, whatever.                              7   is explained by promotion and price, drugs
      8       Q. Right. So you assumed that a              8   get sold without being promoted?
      9   particular defendant's promotion is lawful,      9            MR. SOBOL: Objection.
     10   and then rerun your but-for world?              10       A. Those two things are not at all
     11            MR. SOBOL: Objection.                  11   in contradiction. Again, remember, we're
     12       A. That is certainly the way I              12   looking at an aggregate market here and we're
     13   framed it, but presumed that for whatever       13   talking about the aggregate market growth.
     14   reason, we are not going to recover related     14   And so there are explicitly spillover effects
     15   to that promotion, and so it stays in the       15   anticipated here.
     16   but-for world instead of being backed out       16   BY MR. ROTH:
     17   like the others.                                17       Q. Are you aware of for which
     18   BY MR. ROTH:                                    18   drugs specifically plaintiffs have alleged
     19       Q. So in order to allocate MMEs             19   unlawful marketing?
     20   among the individual defendants and             20       A. Yes. I mean, could I sit here
     21   non-defendants, you said you looked at IMS      21   and rattle them off? No. They're -- but I'm
     22   data. Can you be more specific about which      22   happy to go through Table C with you.
     23   specific IMS data? Was it the NPA data or       23       Q. Well, let me ask you that.
     24   the IPS data or both?                           24            Did you go through every drug
     25       A. I -- I don't think I said what           25   on Table C to make sure that there was an
                                               Page 407                                             Page 409
      1   you said I said. But just to be clear, for       1   allegation that with respect to that drug,
      2   this analysis, what we're backing out is         2   something unlawful occurred?
      3   promotion, detailing, not MMEs. We're            3            MR. SOBOL: Objection.
      4   backing out the detailing, and then whatever     4       A. I received my instructions from
      5   MMEs flow from that, that comes out in the       5   counsel about what promotion to consider
      6   analysis.                                        6   unlawful, and that was designated by
      7       Q. Okay. So what is the data                 7   defendant rather than by drug. And so I
      8   source for the detailing?                        8   confirmed with counsel all of the lists in
      9       A. The Integrated Promotional                9   Table C. So that's my understanding, that
     10   Services.                                       10   these are the correct -- the correct drugs
     11       Q. So the IPS?                              11   and defendants to be including in my
     12       A. The IPS.                                 12   analysis.
     13       Q. So you did not consider the NPA          13   BY MR. ROTH:
     14   for that allocation?                            14       Q. So there could be drugs on
     15       A. No, because that was not the             15   Table C for which counsel will present no
     16   purpose of the analysis. The purpose of the     16   evidence of unlawful marketing?
     17   analysis was to change what we're considering   17            MR. SOBOL: Objection.
     18   to be the challenged conduct, and then the      18       A. I guess I don't know one way or
     19   model tells us how many MMEs flowed from        19   the other.
     20   that.                                           20   BY MR. ROTH:
     21       Q. Did anyone check whether the             21       Q. If it were the case that there
     22   IPS data was corroborated by the NPA data       22   are drugs on Table C for which no evidence of
     23   with respect to how it allocated drugs?         23   unlawful marketing is presented, you would
     24            MR. SOBOL: Objection.                  24   agree that you should then shift that drug to
     25       A. Well, I think that notion                25   the but-for side of the equation?

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      1             MR. SOBOL: Objection.                  1   to particular defendants?
      2        A. Well, I'm not a lawyer, so I             2       A. Forrest McCluer.
      3   really don't -- I don't know how that            3       Q. Do you know how he determined
      4   liability will work, if it's drug by drug or     4   in the first instance who was a defendant and
      5   defendant by defendant. I do not honestly        5   who was a non-defendant?
      6   know.                                            6       A. In consultation with counsel.
      7             As we talked about before and          7       Q. Based on instruction from
      8   as you can see here, I have the ability to       8   counsel?
      9   back out drugs as well as defendants, but        9       A. I guess that's right. I mean,
     10   I -- I haven't anticipated that.                10   certainly it wasn't his opinion about who was
     11   BY MR. ROTH:                                    11   a defendant. There were some questions
     12        Q. Okay. And I think we spoke              12   related to changes in ownership that required
     13   about this a little earlier, but you know       13   some digging, and Forrest may have
     14   there's a difference between Schedule II and    14   contributed to the conversation, but
     15   Schedule III drugs under the Controlled         15   ultimately, counsel determined who was a
     16   Substances Act?                                 16   defendant and a non-defendant.
     17        A. I do.                                   17       Q. Were you involved in those
     18        Q. And you are aware that the DEA          18   decisions?
     19   has changed the classification of certain       19       A. Not explicitly, no.
     20   drugs over time because we'd talked about, I    20       Q. How did Mr. McCluer conclude
     21   think, hydrocodone?                             21   whether an entity that is not a named
     22        A. Yes. Yes, I'm aware of that.            22   defendant in the lawsuit was affiliated with
     23        Q. And I think you said this, but          23   a defendant for the purposes of your report?
     24   just to confirm, you didn't consider that       24       A. In this conversation with
     25   issue in determining how to allocate            25   counsel, he asked counsel to instruct.
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      1   detailing contacts for drugs that later          1       Q. How did you allocate
      2   became Schedule II but previously were           2   prescriptions among the named defendants once
      3   Schedule III at the time of detailing?           3   those defendants were established? Was it
      4        A. Well, I would say I did                  4   based on the IPS data? We're mixing things,
      5   consider it, and in consultation with            5   so let me back up a step.
      6   counsel, I left -- I treated those drugs as      6       A. Yes.
      7   if they were Schedule II for the entire time     7            MR. SOBOL: Yeah, you are.
      8   period. That was an explicit assumption.         8   BY MR. ROTH:
      9        Q. Okay. And what was that                  9       Q. Did you allocate prescriptions
     10   assumption based on?                            10   among the named defendants, or is it your
     11        A. Instruction from counsel.               11   testimony your model only allocates the
     12        Q. Are you aware that Dr. Perri            12   detailing contacts among the named
     13   opines on specific promotional efforts          13   defendants?
     14   employed by the manufacturer defendants that    14            MR. SOBOL: Objection. You
     15   he claims were unlawful?                        15       mean promotions, I think.
     16        A. I have read Dr. Perri's report.         16            MR. ROTH: Detailing and
     17   I'm aware that he opines on some specific       17       promotion are the same thing in her
     18   kinds of activities, yes.                       18       report. But let me reask the question
     19        Q. Have you read Dr. Egilman's             19       so we have a clean record.
     20   report?                                         20            MR. SOBOL: Sorry.
     21        A. I have not.                             21   BY MR. ROTH:
     22            MR. SOBOL: Who has?                    22       Q. Did you allocate prescriptions
     23   BY MR. ROTH:                                    23   among the named defendants or does your model
     24        Q. Who prepared the tables in              24   only allocate the detailing contacts among
     25   Appendix C that assigned the particular drugs   25   the named defendants?

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      1        A. Well, if you look at Table C.2,          1   clarification.
      2   I do characterize by defendant and by drug,      2             So the NPA contains the
      3   MMEs and extended units. So I don't know         3   extended units by drug?
      4   exactly what you mean by allocate. Because       4        A. Yes. I believe it's actually
      5   my model is aggregate, I don't have to           5   by NDC, and we rolled them up to drug.
      6   allocate MMEs. I am summing up detailing for     6        Q. Okay. And you rolled them up
      7   the defendants versus non-defendants, but        7   to drug. Then in C.2 you associate the drugs
      8   these tables summarize the data from the NPA     8   with defendant or non-defendant?
      9   which give you extended units, which we then     9        A. I do.
     10   convert to MMEs.                                10        Q. So how was that determination
     11        Q. Okay. So I misunderstood you            11   made?
     12   before.                                         12        A. In consultation with counsel
     13        A. Yeah.                                   13   and in the IMS data, so the IMS data
     14        Q. You allocated the detailing             14   automatically say who the manufacturer is,
     15   contacts using the IPS data, but then you did   15   but the IMS data have no memory, so if
     16   take from the NPA data the extended units and   16   Actavis bought a company yesterday, it's
     17   the MMEs for the drugs?                         17   considered an Actavis drug going back in
     18            MR. SOBOL: Objection.                  18   time.
     19        A. Yes. I'm sorry if you were              19             And so considerable work was
     20   confused about that. The NPA is the sales       20   undertaken to examine the -- as we might call
     21   data, the left-hand side variable. The IPS      21   it, the genealogy of these drugs.
     22   is the promotional data, the right-hand side    22        Q. And who undertook the work to
     23   variable.                                       23   examine the genealogy of the drugs?
     24   BY MR. ROTH:                                    24        A. Well, Forrest provided the data
     25        Q. Okay. So for the sales data             25   that we have, as I mentioned earlier, and
                                              Page 415                                              Page 417
      1   for the MMEs, are you saying you didn't have     1   worked with counsel.
      2   to allocate because you just put the same        2       Q. And what did you do to verify
      3   MMEs for the whole class in every line, or       3   that Mr. McCluer and counsel's allocation of
      4   how -- how do the MMEs, for example, for         4   the genealogy of the drugs was construct?
      5   Abstral, the first drug on the list, compare     5       A. I understand the process they
      6   to the MMEs for other products in that class?    6   went through, for example, using public
      7        A. Well, you can see right here --          7   documents about acquisitions. I did not
      8   I've lost the first page, but to the right --    8   independently verify those allocations.
      9   if you wanted to go to the beginning, to         9       Q. Okay. We'll do a couple with
     10   Table C.1, which is a little bit easier to      10   public documents and see how you do.
     11   read.                                           11       A. Okay. Good.
     12        Q. I'm there.                              12       Q. Hopefully you had them do a
     13        A. You can see MMEs and extended           13   sample or two for you, no?
     14   units for Abstral.                              14       A. I certainly looked at what
     15        Q. So this is just taken straight          15   their process was. There are a lot of moving
     16   from the data. This is the way the NPA data     16   parts.
     17   is, it's by drug and it contains the MMEs and   17            (Whereupon, Deposition Exhibit
     18   the prescriptions?                              18       Rosenthal-19, Kadian
     19             MR. SOBOL: Objection.                 19       Defendant/Non-Defendant Spreadsheet,
     20        A. No. The NPA data contain the            20       was marked for identification.)
     21   extended units and prescriptions. The MMEs      21   BY MR. ROTH:
     22   are calculated using the multipliers we         22       Q. Okay. So I want to hand you
     23   talked about from the CDC.                      23   what I'll mark as Exhibit 19, which I will
     24   BY MR. ROTH:                                    24   represent to you is your backup data
     25        Q. Got it. That's a good                   25   distilled down for the drug Kadian.
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      1        A. Excellent.                               1   the IPS.
      2        Q. And do you recognize this data           2       Q. And what are those columns,
      3   or Excel format or did you not review these      3   def_contacts and def_cost_of_contacts
      4   sorts of documents with the team?                4   representing?
      5        A. Well, I recognize the general            5       A. The date is the month. It says
      6   structure of this file. I couldn't tell you      6   1 January, but it is the month of January.
      7   one way or another if I've seen this exact       7   Def_contacts is the number of contacts, and
      8   file.                                            8   then cost_of_contacts is a dollar value that
      9        Q. Okay. So there's a column that           9   IMS assigns to it.
     10   says def_status. Do you see that?               10   BY MR. ROTH:
     11        A. I do.                                   11       Q. So you had dollar values in the
     12        Q. And it says Non or Def.                 12   IPS data but you chose not to model that?
     13        A. Yep.                                    13       A. That's correct.
     14        Q. And we can presume what that            14       Q. So if you look at the
     15   means, but have you --                          15   def_contacts, is this just taken directly
     16        A. It means non-defendant or               16   from the IPS data without any modification by
     17   defendant.                                      17   Mr. McCluer?
     18        Q. And are you speculating as to           18       A. That's correct.
     19   that or did Forrest tell you that? I mean,      19       Q. How do you know that?
     20   how do you know that?                           20       A. Well, you put a piece of paper
     21        A. Again --                                21   in front of me, I can't a hundred percent
     22            MR. SOBOL: Objection. Just no          22   guarantee it, but it's my belief that these
     23        communications with counsel.               23   are exactly the form that the data come from
     24            But go ahead.                          24   the IPS, so I believe that they are
     25        A. Again, I've -- I know Forrest's         25   unmodified.
                                               Page 419                                             Page 421
      1   language around this.                            1       Q. Sticking with this sheet for
      2   BY MR. ROTH:                                     2   Kadian, the first couple of entries are
      3       Q. Okay. And then there's a                  3   labeled non-defendant.
      4   column for drug.                                 4            Do you see that?
      5            Do you see that?                        5       A. Yes.
      6       A. Yes.                                      6       Q. And Alpharma and Faulding are
      7       Q. And then a second column for              7   both listed as non-defendant.
      8   defendant, but this one will say either          8            Do you see that?
      9   non-defendant or it looks like a company         9       A. Yes.
     10   name.                                           10       Q. And then if you go about seven
     11            Do you see that?                       11   lines down, do you see there's a marketer
     12       A. Yes.                                     12   labeled Purepac.
     13       Q. Then there's a column for                13            Do you see that?
     14   marketer. Do you see that?                      14       A. Yes.
     15       A. Yes.                                     15       Q. And that's affiliated with
     16       Q. And do you know what that is?            16   defendant Actavis.
     17       A. Yes. As I noted earlier this             17            Do you see that?
     18   morning, I'm aware that there are marketing     18       A. I do.
     19   arrangements whereby a third party may market   19       Q. Any idea why Purepac was
     20   for a particular drug, as AbbVie did for        20   assigned to Actavis by Mr. McCluer?
     21   Purdue in the case of OxyContin.                21       A. Again, I was not involved in
     22       Q. And then the last columns say            22   the individual decisions, so I do not know.
     23   date, def_contacts and def_cost_of_contacts.    23            (Whereupon, Deposition Exhibit
     24            Do you see that?                       24       Rosenthal-20, Alpharma Form 8-K, was
     25       A. Yes. Those are directly from             25       marked for identification.)
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      1   BY MR. ROTH:                                    1   Mr. McCluer was making a determination, so
      2       Q. Okay. I'm going to hand you              2   I -- I understand that public documents were
      3   what I'll mark as Exhibit 20, which is a        3   a part of what Mr. McCluer had dug out. I
      4   Form 8-K SEC filing from December 12th, 2001    4   don't know what exactly was used to make the
      5   by Alpharma, Inc.                               5   determination.
      6            Do you have --                         6   BY MR. ROTH:
      7       A. I do. December 12th, 2001.               7        Q. You don't know whether
      8   Yes.                                            8   Mr. McCluer or counsel made the determination
      9       Q. And I assume this is the kind            9   or how it was made?
     10   of document Mr. McCluer would have been        10        A. It was made with counsel. That
     11   looking at to construct the genealogy of the   11   is what I know.
     12   drugs?                                         12        Q. Okay. So let's look at
     13            MR. SOBOL: Objection, instruct        13   Exhibit 20. So this is a 2001 8-K from
     14       her not to answer.                         14   Alpharma, Inc.
     15            MR. ROTH: On what basis?              15            Do you see that?
     16            MR. SOBOL: Because now you're         16        A. I do.
     17       asking about the communications            17        Q. And then at the bottom it says
     18       between Mr. McCluer --                     18   Item 2, Acquisition or Disposition of Assets.
     19            MR. ROTH: No, I'm asking what         19            Do you see that?
     20       Mr. McCluer looked at.                     20        A. Yes.
     21            MR. SOBOL: Let me finish. Let         21        Q. On December 12th, 2001,
     22       me finish.                                 22   Alpharma, Inc. acquired through its wholly
     23            MR. ROTH: All right.                  23   owned subsidiary, Oral Pharmaceuticals
     24            MR. SOBOL: You're asking about        24   Acquisition Corp., all of the capital stock
     25       the communications between Mr. McCluer     25   of US Oral Pharmaceuticals Pty Limited, which
                                              Page 423                                             Page 425
      1       and the lawyers.                            1   owns through subsidiaries the generic oral
      2            MR. ROTH: I'm asking if this           2   solid dose pharmaceutical businesses of
      3       is the kind of document Mr. McCluer         3   FH Faulding & Company Limited (Faulding) from
      4       looked at to make the determination as      4   Mayne Nickless Limited for $660 million.
      5       to whether Kadian should be attributed      5            Do you see that?
      6       to Actavis and to do the genealogy          6       A. Yes.
      7       work.                                       7       Q. And then in the next paragraph
      8            MR. SOBOL: Well, then I object         8   down, it says Alpharma's acquisition of the
      9       because that assumes a fact not in          9   Oral Pharmaceuticals Business includes the
     10       evidence.                                  10   operations of Purepac Pharmaceuticals and
     11            MR. ROTH: All right. Let me           11   Faulding Laboratories in the United States.
     12       reask the question so we get a clean Q     12            Do you see that?
     13       and A.                                     13       A. Yes.
     14   BY MR. ROTH:                                   14       Q. So going back to Exhibit 19,
     15       Q. Is this the kind of document            15   for some reason or another, the decision was
     16   Mr. McCluer would have looked at to            16   made that Alpharma and Faulding were
     17   reconstruct the genealogy of the drugs in      17   non-defendants, but the other acquired
     18   your Table 3?                                  18   subsidiary, Purepac, is attributed to
     19            MR. SOBOL: Objection.                 19   Actavis.
     20       A. Well, first, I just want to be          20       A. I -- this is the first that
     21   clear that I've characterized what happened.   21   I've dug into a specific issue like this, so
     22   Mr. McCluer was absolutely involved because    22   I can't say as I'm sitting here that there's
     23   he had these data and could bring them to      23   some other piece of information that's
     24   counsel.                                       24   relevant. I really don't know.
     25            So I was not suggesting that          25       Q. And you don't know whether

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      1   there are other issues like this with your        1   did Mr. McCluer do?
      2   Table 3?                                          2       A. Again, on instructions from
      3            MR. SOBOL: Objection.                    3   counsel, as when a company acquires -- when a
      4        A. Again, I rely on counsel for              4   defendant acquires a drug that was marketed
      5   the identification of the appropriate             5   by another defendant earlier, those -- that
      6   entities to be included in the defendant          6   detailing carries forward to the acquiring --
      7   group.                                            7   the assumption there is that the acquiring
      8   BY MR. ROTH:                                      8   entity acquires liability for those effects.
      9        Q. And if counsel was wrong in               9            Again, that's something that's
     10   allocating entities to defendant groups, then    10   been explicit and so those kinds of changes
     11   your Table 3 would reflect that wrong input      11   work that way.
     12   from counsel in allocating causation to the      12       Q. And that was an instruction
     13   manufacturer defendants?                         13   from counsel as opposed to an analysis of the
     14            MR. SOBOL: Objection.                   14   asset purchase agreement or some other
     15        A. If there were a misallocation,           15   mechanism?
     16   it could certainly be corrected and Table 3      16       A. This was all on instruction
     17   rerun. Table 3 is just a product. It's a         17   from counsel.
     18   simulation to show the capabilities. If          18       Q. Back to your tables for a
     19   there's an underlying issue -- and again, I      19   minute. If you look at Table C.6 -- I guess
     20   don't know that there is one -- it could be      20   one question: Do you know why C.5 and C.6
     21   altered and changed.                             21   have privileged and confidential stamps at
     22            (Whereupon, Deposition Exhibit          22   the bottom?
     23        Rosenthal-21, Bloomberg Company             23       A. I don't know. Not being a
     24        Overview of Purepac Pharmaceutical          24   lawyer, I think we might put it on
     25        Holdings Inc., was marked for               25   everything.
                                                Page 427                                            Page 429
      1       identification.)                              1        Q. Well, did counsel draft this on
      2   BY MR. ROTH:                                      2   their computer or was this something that
      3       Q. Okay. Let me mark as                       3   McCluer did?
      4   Exhibit 21 information from Bloomberg on          4        A. This is something that we did.
      5   Purepac. Do you have that?                        5        Q. Okay.
      6       A. Yes, let's see.                            6             MR. SOBOL: It might be because
      7       Q. It says: Purepac                           7        of ARCOS.
      8   Pharmaceutical Holdings operates as a             8   BY MR. ROTH:
      9   subsidiary of Pfizer Inc.                         9        Q. So if you look at --
     10       A. Yes, I'm trying to figure out             10        A. I love that you think counsel
     11   what date. I see the date on -- this just        11   know how to use a spreadsheet.
     12   might be when it was printed, though, so         12        Q. I do actually. We'll have fun
     13   what's the date of this fact?                    13   if we get to trial.
     14       Q. This was printed off on                   14        A. Okay. Good.
     15   April 14th, 2019 from Bloomberg, so two weeks    15        Q. So if you look at Table C.6,
     16   old.                                             16   the first page starts with Actavis, and tell
     17       A. Right, right, I understand. I             17   me when you're there.
     18   just wasn't sure what time period you were       18        A. Yes.
     19   going to ask me be about since -- this may be    19        Q. They're not numbered so it's a
     20   current, but I don't -- again, because things    20   little hard.
     21   change, I don't know.                            21        A. I know. Yes, I see Actavis.
     22       Q. Well, that's a great point. So            22        Q. Just pivoting back to a
     23   what matters for Table 3? Are you looking at     23   conversation we were having earlier. So, for
     24   current affiliation or past affiliation or       24   example, oxycodone, it looks like there's 14
     25   affiliation at the time of detailing? What       25   contacts that are attributed to Actavis.
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      1             Do you see that?                       1       Objection.
      2        A. Yes.                                     2       A. Well, you can see it rounded
      3        Q. Which is zero percent of the             3   here to two decimal places. The share of
      4   contacts because it's obviously lower than       4   contacts is obviously de minimis.
      5   one-hundredth of a decimal place of the          5   BY MR. ROTH:
      6   contacts?                                        6       Q. But in terms of the way the
      7        A. Yes.                                     7   shares work in your Table 3, are you looking
      8        Q. And still there's 50 trillion            8   at percent contacts to come up with that
      9   MMEs that are associated with oxycodone.         9   number? You're not; you're doing a revised
     10             Do you see that?                      10   but-for analysis.
     11        A. Yes. It's --                            11            MR. SOBOL: Objection.
     12        Q. Go ahead.                               12       A. Yes, but the two things are not
     13             MR. SOBOL: There's no question        13   disconnected. So the way I construct
     14        before you.                                14   Table 3, as I mentioned before, is not
     15        A. Yes.                                    15   allocating on the basis of MMEs. It's about
     16   BY MR. ROTH:                                    16   rerunning the but-for model and altering the
     17        Q. Well, and then we can see like          17   inputs in terms of detailing.
     18   in Kadian, you've got 28,274 contacts which     18            So the 14 contacts for Actavis
     19   is .27%, and that's associated with             19   are backed out when I back Actavis out of the
     20   13 trillion MMEs, right?                        20   model in Table 3, so that all of the contacts
     21        A. Yes.                                    21   that you see here associated with Actavis,
     22        Q. And you're not drawing any              22   that is what gets backed out of the model.
     23   conclusion about the effect of this extremely   23   BY MR. ROTH:
     24   small percentage of promotion and the number    24       Q. So the 8.47% of promotional
     25   of MMEs prescribed for those drugs, are you?    25   contacts?
                                               Page 431                                             Page 433
      1       A. I think I've been extremely               1        A. 8.47%, yes.
      2   clear that my analysis is an aggregate           2        Q. So how is that resulting in an
      3   analysis of the entire opioid class.             3   overall allocation in Table 3 of 37%?
      4       Q. So where it says 50 trillion              4             MR. SOBOL: Objection.
      5   MMEs for oxycodone, what is that number? Is      5        A. 37% -- well, I'm sorry. I'm
      6   that all generic oxycodone from 1993 to 2018?    6   afraid you misunderstand Table 3. So let me
      7       A. Sold by Actavis.                          7   go back and explain Table 3 again.
      8       Q. Okay. So all oxycodone sold by            8             So Table 3 starts out with the
      9   Actavis based on counsel and Mr. McCluer's       9   same aggregate impact measure that I
     10   assignment of drugs is in the MME column, and   10   calculate in Table 2, right, so that's the --
     11   there's 14 promotional contacts in the data?    11   if all defendant promotion did not occur,
     12             MR. SOBOL: Objection.                 12   here's what percent of units would not have
     13       A. Well, again, instruction from            13   been sold.
     14   counsel identified the defendants. You can      14             And then in Table 3, then I
     15   see here that oxycodone is -- the               15   say, okay, well, what if, in fact, the 8.47%
     16   manufacturer is just Actavis. It seems          16   of detailing that Actavis was responsible for
     17   uncontroversial to me. But yes, there are       17   according to my analysis -- what if that's
     18   50 million MMEs of oxycodone that Actavis       18   actually -- that doesn't get affected. That
     19   sold between 1993 and 2018.                     19   stays in the model. Then I run another
     20   BY MR. ROTH:                                    20   prediction. These are econometric
     21       Q. So can you tell without digging          21   predictions based on Model B, and so the 30
     22   into the guts of the model what share Actavis   22   whatever percent, 37.0%, now that's the
     23   is being allocated for its 14 oxycodone         23   aggregate percent of all MMEs if Actavis'
     24   contacts in your model?                         24   conduct is no longer subject to recovery.
     25             MR. SOBOL: Objection.                 25             ///
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      1   BY MR. ROTH:                                     1   between defendants or non-defendants, it was
      2        Q. So to figure out what                    2   Mr. McCluer with instruction from counsel
      3   percentage of causation each manufacturer's      3   reviewing the sort of documents we just
      4   having, you actually have to subtract the        4   reviewed here today?
      5   percentage that you come up with from that       5            MR. SOBOL: Objection. What's
      6   analysis from the baseline?                      6       the question?
      7            MR. SOBOL: Objection,                   7       A. The --
      8        mischaracterizes the testimony.             8            MR. SOBOL: No, I don't know
      9        A. If you wanted to know how                9       what the question is. Is there a
     10   much -- how many MMEs Actavis' conduct          10       question? Or you want to just say
     11   specifically caused in the market overall,      11       "correct" at the end?
     12   you would subtract those two numbers.           12            MR. ROTH: I mean, come on.
     13   BY MR. ROTH:                                    13       All right.
     14        Q. So you would get 7.9%, which is         14   BY MR. ROTH:
     15   close to the 8.4% of promotional contacts?      15       Q. I asked you questions about how
     16            MR. SOBOL: Objection.                  16   detailing contacts were allocated. Is the
     17        A. That's correct.                         17   process you described the same whether we're
     18   BY MR. ROTH:                                    18   talking about allocating among the defendants
     19        Q. So essentially -- and we can do         19   or between the defendants and non-defendants?
     20   this defendant by defendant, but it looks       20       A. The process of identifying
     21   like your allocations are just mirroring how    21   what -- in effect, what contacts should be
     22   much each of these defendants promoted?         22   assigned to defendants was with counsel, and
     23            MR. SOBOL: Objection.                  23   it was ultimately counsel's advice.
     24        A. Well, they are not, but -- but          24   Mr. McCluer assisted because he had the
     25   it should be obvious that because the           25   granular data, but ultimately, the
                                               Page 435                                            Page 437
      1   challenged conduct is promotion, that if we      1   identification -- I mean, I'm not sure why
      2   look at taking defendants out of the impact      2   it's different to say the identification of
      3   analysis, that the results would be              3   what pieces of -- what products belong with
      4   proportional to promotion, because that's the    4   what defendants and what products belong to
      5   thing that's being challenged.                   5   non-defendants. That's all one process.
      6   BY MR. ROTH:                                     6        Q. Okay. How does your model
      7       Q. So whoever has the most                   7   allocate generic drugs?
      8   detailing contacts in the IPS data is going      8             MR. SOBOL: Objection.
      9   to get the highest share under your Table 3?     9   BY MR. ROTH:
     10            MR. SOBOL: Objection.                  10        Q. The same way as we just
     11       A. Well, again, Table 3 is not              11   discussed?
     12   framed or interpreted as telling you how to     12             MR. SOBOL: Objection.
     13   allocate damages. It is intended for the        13        A. I don't know what you mean by
     14   court to see, A, that it's possible to move     14   allocate. My model measures the aggregate
     15   defendants in and out of the analysis, and,     15   impact of the challenged --
     16   B, what those effects would be.                 16   BY MR. ROTH:
     17            Whether or not damages are             17        Q. I should say it differently.
     18   allocated on the same basis, that is            18   How does Table C identify and associate
     19   something about which I know nothing.           19   generic drugs with manufacturers?
     20   BY MR. ROTH:                                    20             MR. SOBOL: Objection.
     21       Q. Okay. So we talked about                 21        A. Table C, I mean, the process
     22   allocating the detailing contacts, and I        22   for identifying the manufacturers and the
     23   assume the questions I asked you about the      23   drugs is the same for generics as it is for
     24   process for doing that would be true whether    24   brand name drugs. Those generic
     25   we're talking about between defendants or       25   manufacturers are identified in the IPS --
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      1   sorry, in both the IPS and the NPA data.         1   promotion; it does not disaggregate that
      2   BY MR. ROTH:                                     2   across sales.
      3       Q. And then looking back on                  3   BY MR. ROTH:
      4   Exhibit 19, you reference that the marketers     4       Q. And I think you said earlier,
      5   were associated with entities pursuant to        5   for that you would have to do a disaggregated
      6   marketing arrangements. What did you review      6   model, and that's not something you were
      7   on that score?                                   7   asked to do, nor something you did?
      8       A. I relied on counsel for that              8            MR. SOBOL: Objection, form,
      9   information.                                     9       mischaracterizes the prior testimony.
     10            MR. ROTH: I tell you what, why         10            MR. ROTH: Okay. Let me try it
     11       don't we take five more minutes,            11       again.
     12       because I think it would benefit for        12   BY MR. ROTH:
     13       streamlining.                               13       Q. In order to analyze the effect
     14            THE WITNESS: Okay.                     14   of a specific defendant's promotion, you
     15            THE VIDEOGRAPHER: The time is          15   would need to look at a defendant-specific
     16       4:57 p.m. We're now off the record.         16   model to correlate its promotion to MMEs?
     17            (Recess taken, 4:57 p.m. to            17            MR. SOBOL: Objection,
     18       5:15 p.m.)                                  18       mischaracterizes prior testimony.
     19            THE VIDEOGRAPHER: The time is          19       A. Well, I don't think so. What I
     20       5:15 p.m. We're back on the record.         20   have done, as you know, in the aggregate is
     21   BY MR. ROTH:                                    21   to look at all promotion and the extent to
     22       Q. To close the loop on this,               22   which it impacted all sales.
     23   Professor Rosenthal, Table 3 is the output of   23            And then in Table 3, the only
     24   Appendix C and the way that promotional         24   thing I'm trying to do is to identify if we
     25   visits and MMEs are affiliated with the         25   moved some set of promotion from the okay
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      1   defendants or non-defendants; is that right?     1   column -- from the not okay column back into
      2            MR. SOBOL: Objection.                   2   the okay column, how that would affect my
      3       A. I guess I wouldn't say that               3   aggregate impact.
      4   exactly. Table C reflects the underlying         4            So I am looking discretely at
      5   data structure that allows us to parse           5   defendants' promotion. But because I'm
      6   defendants individually and collectively from    6   interested in impact, whether or not it was
      7   non-defendants in the promotional data.          7   increasing my sales or increasing your sales,
      8            Table 3 then relies on that             8   I have, appropriate to my assignment,
      9   structure to produce alternative but-for         9   included both of those things in that impact
     10   percentages.                                    10   analysis. I have not been asked anywhere to
     11   BY MR. ROTH:                                    11   calculate the effect only on own sales.
     12       Q. The purpose of putting Table C           12   BY MR. ROTH:
     13   together was to create Table 3?                 13       Q. Table 3 allows you to assess
     14            MR. SOBOL: Objection.                  14   the impact of an individual defendant's
     15       A. I'm not sure that was its sole           15   promotional contacts on the aggregate
     16   purpose. It was to be transparent about how     16   promotion and aggregate MMEs?
     17   we are allocating drugs and their associated    17            MR. SOBOL: Objection, asked
     18   promotion to defendants.                        18       and answered.
     19   BY MR. ROTH:                                    19       A. Yes, that's correct. And just
     20       Q. Table 3 does not allow for a             20   to be clear, as we talked about before, the
     21   defendant-specific breakdown of the effect of   21   purpose of Table 3 is not to allocate to
     22   that defendant's promotion, correct?            22   defendants. I don't know how damages
     23            MR. SOBOL: Objection.                  23   ultimately will be allocated, but to
     24       A. Table 3 provides an aggregate            24   demonstrate that I could remove the conduct
     25   measure of impact associated with defendants'   25   of one of the defendants and still calculate
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      1   aggregate impact.                                1   and -- and then I alter a set of underlying
      2   BY MR. ROTH:                                     2   assumptions about what is in and what is out.
      3       Q. And, in fact, Table 3 does not            3            But it comes out of -- out of
      4   even allow you to isolate the impact of an       4   this econometric model. It doesn't -- it's
      5   individual defendant's promotion alone on the    5   not simply a market share analysis.
      6   aggregate; it simply shows you the proportion    6   BY MR. ROTH:
      7   of that individual defendant's promotion to      7       Q. If you took all of the
      8   the aggregate?                                   8   defendants out of the model except for one,
      9            MR. SOBOL: Objection, form,             9   what would the result of your table be?
     10       asked and answered.                         10            MR. SOBOL: Objection.
     11       A. I don't think that's correct.            11       A. Another number. I haven't done
     12   As we talked about before, this is not the      12   that.
     13   purpose of the table. But if you were to        13   BY MR. ROTH:
     14   look at the but-for percentage including        14       Q. I mean, would that defendant
     15   Purdue versus the but-for percentage            15   not just get the entire 43%, or would there
     16   excluding Purdue, you would see the increment   16   be some other...
     17   that is due to Purdue's conduct.                17       A. No, that's not the way the
     18   BY MR. ROTH:                                    18   model works.
     19       Q. And that's essentially based on          19            MR. SOBOL: Objection.
     20   Purdue's share of the promotional contacts in   20   BY MR. ROTH:
     21   the data?                                       21       Q. Okay. But it wouldn't be --
     22            MR. SOBOL: Objection, asked            22   that would not be a defendant-specific model;
     23       and answered.                               23   that would just be isolating how your
     24       A. That is the way the aggregate            24   aggregate model works when you just consider
     25   model works, yes. It looks at all detailing     25   one defendant's promotion?
                                               Page 443                                             Page 445
      1   and their effect on all sales.                   1        A. Well, again, the aggregate
      2   BY MR. ROTH:                                     2   model would be the same, and if we said that
      3        Q. It's akin to a market share              3   all the defendants were no longer going to be
      4   analysis on the promotional data and the         4   subject to recovery except one, then we would
      5   number of contacts a given defendant has?        5   be left with the -- whatever the effect of
      6             MR. SOBOL: Objection, form,            6   that defendant's promotion on sales was.
      7        asked and answered.                         7        Q. Have you compared the results
      8        A. Well, it's not strictly                  8   of altering your aggregate model using
      9   speaking because the model has this time         9   Table 3 on a defendant-by-defendant basis
     10   series structure that marketing that occurs     10   with each defendant's share of promotional
     11   at one point in time is not the same as         11   contacts in the data?
     12   marketing that occurs at a different point in   12            MR. SOBOL: Objection, asked
     13   time. So it's not, strictly speaking,           13        and answered.
     14   proportional.                                   14        A. Well, I think when you and I
     15   BY MR. ROTH:                                    15   were talking before the break, you made some
     16        Q. But it is essentially a market          16   observation, but I have not, no.
     17   share analysis of each defendant's share of     17   BY MR. ROTH:
     18   contacts as modified by the time series         18        Q. Okay. When were you retained
     19   structure that you've imposed that we talked    19   by the plaintiffs in this case?
     20   about earlier today?                            20        A. In the summer. I'm not sure
     21             MR. SOBOL: Objection.                 21   the date on the letter, but in the summer of
     22        A. I just can't agree with that            22   2018, sorry, to be clear.
     23   statement. It's not a market share analysis.    23        Q. Who was it that retained you?
     24   It is the result, the output of a time series   24        A. I was retained by co-counsel.
     25   analysis of the effect of marketing on sales,   25   There are two Pauls and Joe Rice, and one of

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      1   them is a Hanly, but I can't remember all        1   may have been five.
      2   their names.                                     2       Q. And in addition to the four to
      3       Q. Okay. Did you personally draft            3   five face-to-face meetings, did you speak
      4   your expert report?                              4   with Professors Cutler, Gruber or McGuire
      5       A. I did.                                    5   about either your work or their work on this
      6       Q. And did anyone else assist you            6   case?
      7   in the drafting of the report?                   7       A. We had conference calls with
      8       A. I had some assistance from my             8   that group and with counsel for a period that
      9   staff, yes.                                      9   were weekly.
     10       Q. And you've mentioned your                10       Q. And do you recall how long the
     11   staff. We said that was Greylock. Can you       11   in-person meetings were?
     12   just give us the names of all the people who    12       A. Those in-person meetings I
     13   were on your staff?                             13   think were -- they were largely half day
     14       A. Sure. Yes, of course. Forrest            14   meetings.
     15   McCluer, who is the senior economist they       15       Q. And during those meetings, did
     16   mentioned earlier, particularly around the      16   you present your analyses to each other on
     17   technical aspects of the report. I believe I    17   slides or were they just conversations? How
     18   would have had some assistance, for example,    18   did those meetings work?
     19   in summarizing the complaint from Renee         19            MR. SOBOL: Just generally,
     20   Rushnawitz.                                     20       without the content.
     21       Q. Can you spell that?                      21       A. Generally there were high-level
     22       A. Yes, R -- well, Renee, is                22   presentations and discussions.
     23   R-E-N-E-E, and then Rushnawitz,                 23   BY MR. ROTH:
     24   R-U-S-H-N-A-W-I-T-Z.                            24       Q. And did you discuss with them
     25       Q. Okay. Anyone else?                       25   in general terms the analyses that ultimately
                                              Page 447                                               Page 449
      1        A. Not that I know of, but there            1   became the output of your expert report?
      2   are -- there are junior staff, for example,      2       A. Yes.
      3   who work with Forrest and Renee, so I think      3       Q. And the models you would run
      4   if you looked, you might see that there were     4   and the approaches you would take?
      5   junior staff pulling articles, doing that        5       A. Yes.
      6   kind of thing, but not involved in drafting.     6       Q. And I assume they shared their
      7        Q. So I understand from earlier             7   approaches and models and general report
      8   today and attending their depositions that       8   structures with you too?
      9   there was some amount of coordination you did    9       A. Yes.
     10   with Professors Cutler, Gruber and McGuire      10       Q. Did you review drafts of any of
     11   filing these reports; is that right?            11   their reports and did they review drafts of
     12        A. Yes.                                    12   your reports?
     13        Q. Did you meet with each of the           13       A. I -- what was the question.
     14   three other professors about your reports in    14            MR. SOBOL: With or without
     15   person before March 25th?                       15       counsel?
     16        A. Yes, we had meetings with               16       A. Review drafts with or without
     17   counsel.                                        17   counsel?
     18        Q. Do you recall how many meetings         18            MR. SOBOL: Well --
     19   you had with one or more of the Professor       19   BY MR. ROTH:
     20   Cutler group or McGuire try up frustrate        20       Q. Were there drafts reviewed? I
     21   prior to March 25th with or without counsel     21   know I'm not going to get the drafts. I just
     22   present?                                        22   want to know if you reviewed each other's
     23        A. I believe there were perhaps            23   drafts?
     24   four face-to-face meetings from the time I      24            MR. SOBOL: Sure.
     25   was retained to the filing of the report. It    25            MR. ROTH: And did the realtime
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      1       drop off?                                   1   invoices. I don't know for sure. I assume
      2            DEFENSE COUNSEL: Ours is               2   that they have submitted invoices.
      3       working.                                    3       Q. Do you have any sense as to the
      4            MR. ROTH: Never mind. Go               4   overall quantum of how much you have Greylock
      5       ahead.                                      5   have charged in fees?
      6       A. So I did see drafts of at least          6       A. No, I do not.
      7   Cutler and part of McGuire.                     7       Q. And I assume your work is not
      8   BY MR. ROTH:                                    8   contingency fee based in any way?
      9       Q. And did you discuss the                  9       A. It is not in any way.
     10   regression model approaches that you would     10       Q. Did the plaintiffs replace any
     11   each take with each other?                     11   reconstructions on cost or the scope of work
     12       A. We discussed it, our analysis           12   that you or Greylock was allowed to do?
     13   in general, yes.                               13       A. Not to my knowledge, nothing --
     14       Q. Do you believe the regression           14   nothing in my retention that suggested that,
     15   models you used in this case would be          15   no.
     16   publishable?                                   16       Q. Okay. So we spoke earlier
     17       A. Yes, I do.                              17   today about a couple of things you're relying
     18       Q. What about Professor Cutler's           18   on counsel for. One was the assumption that
     19   methodology? Do you believe that would be      19   they'll prove all marketing since 1995 is
     20   publishable?                                   20   unlawful, correct?
     21       A. Yes, I do. It's very similar            21       A. Yes.
     22   to other work he has published.                22       Q. Another one the construction of
     23       Q. Do you believe that professor           23   table C that allocated promotional contacts
     24   Gruber's methodologies would be publishable?   24   from the IPS data to defendants, right?
     25       A. Yes, obviously professor                25            MR. SOBOL: Objection.
                                             Page 451                                              Page 453
      1   Gruber's methodology -- it's multiple           1        A. Right, to the extent there's
      2   methodologies it's not one thing, but yes, I    2   uncertain city there, it's not just the way
      3   believe it would be.                            3   the data arrive, so yes, that genealogy.
      4       Q. And same question for professor          4   BY MR. ROTH:
      5   McGuire?                                        5        Q. Right. So we've got those two
      6       A. Yes, I believe it would be.              6   things. As sit here right now, is there any
      7       Q. I noticed you're charging $825           7   other assumption that was given to you by
      8   an hour for your time?                          8   counsel that we haven't talked about yet?
      9       A. Yes, that's correct.                     9        A. Hmm.
     10       Q. How many hours have you spent           10             MR. SOBOL: On the direct or --
     11   to data personally working on this matter?     11        I can't think of anything, but you
     12       A. I believe the number is about           12        haven't really --
     13   300.                                           13             MR. ROTH: We haven't gone past
     14       Q. And what about your team at             14        the direct model yet, that's true.
     15   Greylock McKinnon? Do you have any sense to    15        A. Yeah, it's helpful for me to
     16   as how many hours they've spent?               16   see my summary.
     17       A. I have not looked at their              17   BY MR. ROTH:
     18   hours.                                         18        Q. Okay.
     19       Q. I imagine it's been more or             19             MR. SOBOL: She was given the
     20   less a full-time job for them since July?      20        assignment. I'm not trying to coach
     21       A. I think that that is pretty             21        her.
     22   close to true.                                 22        A. Not that I can think of, as I
     23       Q. And have you or Greylock issued         23   sit here.
     24   any invoices?                                  24   BY MR. ROTH:
     25       A. Greylock submits those                  25        Q. Okay. Look at Attachment A
     Golkow Litigation Services                                            Page 114 (450 - 453)
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      1   with me, please, for a minute. And that's         1   court limited or excluded your opinions?
      2   the CV that you filed with your report in         2       A. Yes.
      3   this case?                                        3       Q. You're not aware of any others
      4       A. Yes.                                       4   as you sit here right now?
      5       Q. And I assume that is still                 5       A. I'm not aware of any others.
      6   accurate as of today?                             6       Q. What happened in Celexa and
      7       A. It's the most updated one I                7   Lexapro?
      8   have. It may -- what is it May there may          8            MR. SOBOL: Objection to form.
      9   have been a paper or two that's been              9       A. Again I'm not a lawyer, but I
     10   published since the CV was finalized.            10   don't think my opinion was excluded.
     11       Q. Okay. Have you published any              11   BY MR. ROTH:
     12   economic papers related to opioids?              12       Q. Okay. Is Attachment B to your
     13       A. I have not.                               13   report a complete list of all of the
     14       Q. Have you published any academic           14   materials on which you relies to form your
     15   papers related to addiction?                     15   opinions in this case?
     16       A. I have not.                               16       A. It is.
     17       Q. And you've never testified                17       Q. Did you review any materials
     18   previously on either opioids or addiction,       18   that you didn't rely on that aren't included
     19   true?                                            19   in Attachment B?
     20       A. I believe that that is true.              20       A. I may have. It would be hard
     21   I'm just trying to think of cases that           21   for me to cross-walk to see things that I
     22   involved multiple drugs, but I --                22   reviewed and didn't rely on. My staff
     23            Oh, yes, although actually I            23   certainly reviewed other documents.
     24   have to check to see if it's -- if I actually    24       Q. How were the depositions that
     25   testified in this case. I just want to look      25   you reviewed -- I think there are seven in
                                                Page 455                                              Page 457
      1   at that part of my CV. Let's see. Or I            1   total -- selected?
      2   could look at the report --                       2        A. Yes. I specifically asked
      3        Q. Yeah. Take your time.                     3   counsel -- because as you know in my
      4        A. -- testimony. Yeah, one sec.              4   assignment I was asked to undertake this
      5            (Document review.)                       5   analysis nationally, I specifically asked
      6        A. This case was a number of years           6   counsel to find in their record any testimony
      7   ago, and I just honestly cannot remember if I     7   relative to the national nature of marketing.
      8   was ever deposed in it, so I can confirm that     8   It's not something that's easy to find in
      9   offline, but there was another ways that I        9   documents, otherwise.
     10   was retained in that related to an opioid.       10        Q. Got it.
     11   BY MR. ROTH:                                     11             So you received those seven
     12        Q. I tell you what, we can start            12   with -- in response to your very specific
     13   there tomorrow.                                  13   requests?
     14        A. Okay.                                    14        A. Yes.
     15        Q. Have you ever had your opinions          15        Q. And beyond that, you didn't
     16   excluded or limited by a court?                  16   review any depositions in this case?
     17        A. In one case an opinion I                 17        A. I don't believe I cite
     18   offered on ascertainability in a case            18   depositions for any other purpose in this
     19   involving a drug called Wellbutrin XL, my        19   case, no.
     20   opinion on -- on damages was accepted, by my     20        Q. You list three other expert
     21   opinion as it related to ascertainability was    21   reports, Schumacher, Perri and Parran.
     22   deemed to have included some inappropriate       22             Do you see that?
     23   legal assumptions, as I understand the           23        A. I do.
     24   judge's opinion in that matter. So yes.          24        Q. Are those the only expert
     25        Q. And is that the only one were a          25   reports that you reviewed before issuing
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      1   yourself. I think you mentioned you might        1       A. I'm trying to think if we
      2   have seen drafts of Cutler, McGuire and          2   actually use the NSP. I know we cite it in
      3   Gruber?                                          3   our tables. We show it in Table C in order
      4       A. Yes, but I don't cite to them             4   to be able to show wholesale quantities as
      5   my report or use them.                           5   well. But we actually use the NPA data
      6       Q. Yeah, count rely on them?                 6   themselves, you know, essentially they track
      7       A. No.                                       7   the same -- the same products at different
      8       Q. How did you select the Bates              8   stages of the supply chain and so I can't
      9   numbered documents that are listed in            9   recall.
     10   Attachment B?                                   10            I'd have to actual look
     11       A. The Bates number documents were          11   carefully through the tables to see if
     12   the product of searches that I asked my staff   12   there's any reason that we used the wholesale
     13   to undertake specifically looking for           13   data. Those are wholesale data.
     14   information on marketing tactics.               14       Q. So the NPA data is the retail
     15            One big set of documents that I        15   data.
     16   asked them to find was related to promotional   16       A. That's correct.
     17   effectiveness, and those documents that talk    17       Q. And the NSP data is the
     18   about the return on investment for marketing    18   wholesale data?
     19   expenditures.                                   19       A. Correct.
     20            So these were basically the            20       Q. Do you know if you did any data
     21   result of specific requests I made to my        21   cross-walking or review of the two data
     22   staff and they searched the database            22   sources to see how they related to each
     23   themselves.                                     23   other?
     24       Q. And did you review all of the            24       A. I believe we may have. I don't
     25   documents related on in your Attachment B, or   25   know -- I don't know if there's -- that's
                                              Page 459                                             Page 461
      1   did you rely on your staff to do some of that    1   what I was trying to remember, if there's
      2   review for you?                                  2   anything in my report to that effect. We
      3        A. I reviewed the key segments of           3   have used those two datasets very frequently,
      4   all of these documents. Some of the              4   and they typically are extremely highly
      5   documents are quite long, and I relied on my     5   correlated. One lags the other, obviously.
      6   staff to review the whole documents.             6             MR. SOBOL: Do you mind if I
      7        Q. I'd be shocked if you read               7        coach him on an irrelevancy right now?
      8   every one of these in 300 hours?                 8        No seriously, this might just help you
      9        A. Yes, as I said, some of these            9        to clean something up.
     10   documents are very long, and you see that I     10             Do you use NSP for prices?
     11   cite to specific parts of them.                 11             THE WITNESS: No, I use the NPA
     12        Q. Okay. Look at B8 please which           12        for prices.
     13   lists the electronic data you relied on.        13             MR. SOBOL: Okay.
     14        A. Okay.                                   14             MR. ROTH: Okay.
     15        Q. So we've talked a lot today             15   BY MR. ROTH:
     16   about the NPA and the NSP data from IQVIA?      16        Q. So on the electronic data
     17        A. Yes.                                    17   section, what is this agency for healthcare
     18        Q. Sorry.                                  18   research quality healthcare cost and
     19        A. The IPS --                              19   utilization project and how do you use that?
     20        Q. And the NPA and the IPS data.           20        A. Sure. That's part of our
     21        A. Yes.                                    21   conversation for tomorrow, I hope. Those
     22        Q. But have we not talked about            22   data are discharge data that we use to look
     23   the NSP data. So what is the National Sales     23   at the surgical admissions.
     24   Perspective data and how you are relying on     24        Q. In the indirect model?
     25   that?                                           25        A. Yeah, in Section X.
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      1       Q. And then the bureau of labor              1       of the conversation.
      2   statistics that's also used in the indirect      2   BY MR. ROTH:
      3   model?                                           3       Q. Are you aware that you've sells
      4       A. Yes.                                      4   data beyond those three datasets that were
      5       Q. The ARCOS data is in the                  5   purchased?
      6   indirect model. What is this health              6       A. Yes. I am aware they sell
      7   resources services administration Area Health    7   other datasets.
      8   Resource File?                                   8       Q. Okay. Did you sign any
      9       A. The Area Health Resource File             9   protective orders to get access to the ARCOS
     10   is sort of a metadata file. It includes data    10   data?
     11   from other sources to describe various          11       A. I did not, no.
     12   dimensions of county-level health systems,      12       Q. And have you signed any data
     13   health measures. So we also used that in the    13   use agreements related to any of the data you
     14   indirect model, and I actually have to look     14   looked at?
     15   to see if we used in the Section X.             15       A. No, but I don't know to what
     16       Q. And then what about the CDC              16   extent, for example, the people who actually
     17   surveillance epidemiology and end result        17   have the data have signed those data use
     18   dataset?                                        18   agreements so I don't touch the data.
     19       A. Those data track cancer, cancer          19       Q. I didn't see any depositions
     20   epidemiology.                                   20   from any of the Cuyahoga or Summit County
     21       Q. How did you get access to the            21   witnesses on Attachment B, so I assume you
     22   electronic data that you list in                22   didn't review those?
     23   Attachment B?                                   23       A. I did not.
     24       A. Attachment B includes some               24       Q. Did you interview any of the
     25   publicly available data that anyone can         25   employees with other Summit or Cuyahoga
                                              Page 463                                              Page 465
      1   obtain through the Internet, so that would       1   County?
      2   cover the ARC data, the ASEC data, the SEER      2       A. My analysis is a national
      3   results, because we're not getting the SEER      3   analysis of the effect of detailing on sales,
      4   microdata; they're aggregated. And certainly     4   so interviewing people in the bellwether
      5   the morphine milligram equivalence from the      5   counties would if the really not make sense
      6   CDC is publicly available data, the Area         6   as part of what I'm trying to do.
      7   Health Resource File is publicly available       7       Q. And you didn't rely beyond the
      8   data.                                            8   seven depositions you list any other
      9             The ARCOS data we obtained             9   depositions in this case related to
     10   through compass lexicon, the IQVIA data         10   defendants' marketing efforts?
     11   counsel purchased on our behalf. They won't     11       A. Again, I -- I don't find those
     12   sell it to us directly for litigation           12   to be relevant to the main affect the here,
     13   purposes. They will sell to counsel.            13   which is a quantitative analysis, and as I
     14       Q. And the --                               14   noted in my report, economists generally
     15       A. And the INCB are public.                 15   proceed using data to tell what people have
     16       Q. And did you discuss with                 16   done in response to a stimulus rather than by
     17   counsel purchasing any additional IQVIA data    17   asking them to talk about it.
     18   than the three set that you analyzed, IPS,      18       Q. What did you do to prepare for
     19   NPA or NSP?                                     19   your deposition today?
     20             MR. SOBOL: I instruct her not         20       A. I reviewed my report, the
     21       to answer.                                  21   documents I rely on, including the articles,
     22             MR. ROTH: I asked her if she          22   basically everything in this Attachment B,
     23       talked about it.                            23   and I had conversations with counsel.
     24             MR. SOBOL: Well, it would             24       Q. Okay. Turning back to page 10
     25       carry the implication of the content        25   of your report, which is the handy summary
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      1   chart?                                           1   this analysis, but this serves to give some
      2       A. Yes.                                      2   justification for the theory that I'm
      3       Q. Do you do this for every                  3   pursuing that promotion affects sales and
      4   report?                                          4   that there are multiple mechanisms involved.
      5       A. I -- it's -- I like a handy               5            So I review them, I would say
      6   summary table. It's something that is --         6   in Section VII with that purpose in mind, not
      7   that we do often in writing federal grants.      7   with the purpose of being exhaustive.
      8       Q. I will tell you this is                   8       Q. Yeah. And I think you said
      9   excellent and I'm going to start forcing some    9   earlier you're not marketing expert, right?
     10   of the experts that we have to start doing      10            MR. SOBOL: Objection.
     11   this?                                           11       A. I am not here to offer an
     12            MR. SOBOL: It's the only thing         12   expert opinion on marketing. I think
     13       I understand in the whole report.           13   Dr. Perri does that.
     14            MR. ROTH: It's nice, it's a            14   BY MR. ROTH:
     15       one-pager.                                  15       Q. Okay. And to the extent that
     16   BY MR. ROTH:                                    16   you're offering comments in Section VII.B of
     17       Q. So recognizing there's a lot of          17   your report from paragraphs 43 to 48 related
     18   nuance here, and we've already been through     18   to defendants' marketing documents, that's
     19   your direct model fairly exhaustively and       19   really did you know with an eye toward
     20   we'll do the same for the indirect and the      20   corroborating what the economic literature
     21   Section X analysis tomorrow?                    21   shows in -- as you analyze in Section VI
     22       A. Yes.                                     22   about the relationship between promotion and
     23       Q. I want to touch briefly on               23   sales?
     24   Section VII for a minute?                       24       A. Again, this was not intended to
     25       A. Okay.                                    25   be an exhaustive analysis, but to show that
                                               Page 467                                            Page 469
      1       Q. Okay. So Section VII, you                 1   the documents provide examples both of the
      2   reviewed literature on the marketing of          2   economic idea that promotion is intended to
      3   opioids and shared examples from discovery       3   grow sales and of the multiple marketing
      4   that corroborate the economic theory and         4   mechanisms that defendants use, so it
      5   evidence on pharmaceutical marketing. That's     5   corroborates other -- other ways that I have
      6   what you said, right?                            6   described the mechanism of interest here.
      7       A. Yes.                                      7        Q. Beyond reading the documents
      8       Q. And we've talked about some of            8   themselves, what other analytical approach
      9   that literature here today?                      9   did you take to assessing defendants'
     10       A. We have. We haven't gone into            10   materials regarding the effects of promotion?
     11   detail on the transfers of value literature     11        A. Well, as I just said, I don't
     12   related to opioids, but we can.                 12   use this analysis as an input in a
     13       Q. It's a tomorrow topic, unless            13   quantitative way to my subsequent analysis.
     14   you want to stay late?                          14   It is relate intended as you would see in any
     15       A. No, that's fine.                         15   economic paper as a review of the
     16       Q. But then on the discovery                16   institutional landscape that justifies the
     17   materials, you know, you said you had very      17   particular model and sets up the empirical
     18   specific requests for what you looked at.       18   analysis in a more qualitative way.
     19             Are those the documents you           19        Q. It's not really a separate
     20   looked at to come to the conclusions you do     20   opinion as you bulleted it out. It's more
     21   in Section VII of your report?                  21   context for the opinions that follow; is that
     22       A. Yes. The documents that I cite           22   fair?
     23   in Section VII -- and again can you tell that   23             MR. SOBOL: Objection.
     24   my quantification of the effect of promotion    24        A. Again, I think an institutional
     25   on sales doesn't rely on some measure from      25   analysis is a part of most -- most reports
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      1   that I have done looking at impact is            1               CERTIFICATE
      2
                                                           2           I, MICHAEL E. MILLER, Fellow of
          describing the environment in the way they           the Academy of Professional Reporters,
      3   describe the broader environment for             3   Registered Diplomate Reporter, Certified
                                                               Realtime Reporter, Certified Court Reporter
      4   prescription drugs in the U.S., I think it's     4   and Notary Public, do hereby certify that
      5                                                        prior to the commencement of the examination,
          important to set that context.                   5   MEREDITH B. ROSENTHAL, Ph.D. was duly sworn
      6   BY MR. ROTH:                                         by me to testify to the truth, the whole
                                                           6   truth and nothing but the truth.
      7       Q. But when you're talking about             7           I DO FURTHER CERTIFY that the
      8                                                        foregoing is a verbatim transcript of the
          describing the environment, you're limiting      8   testimony as taken stenographically by and
      9   yourself to, you know, a subset of documents         before me at the time, place and on the date
     10
                                                           9   hereinbefore set forth, to the best of my
          that you received from discovery. You're not         ability.
     11                                                   10
          doing any exhaustive review of each defendant                I DO FURTHER CERTIFY that pursuant
     12   east marketing budgets; is that correct?        11   to FRCP Rule 30, signature of the witness was
     13
                                                               not requested by the witness or other party
              A. That is correct. That is not             12   before the conclusion of the deposition.
     14   any assignment. It's not -- my goal here was    13           I DO FURTHER CERTIFY that I am
                                                               neither a relative nor employee nor attorney
     15   not to do an exhaustive analysis of what each   14   nor counsel of any of the parties to this
     16                                                        action, and that I am neither a relative nor
          defendant was ding. Doing.                      15   employee of such attorney or counsel, and
     17       Q. In fact, there may be some                    that I am not financially interested in the
                                                          16   action.
     18   defendants you don't look at any documents      17
                                                          18
     19   for in Section VII.B?                           19 __________________________________
     20            MR. SOBOL: Objection.                     MICHAEL E. MILLER, FAPR, RDR, CRR
                                                          20 Fellow of the Academy of Professional Reporters
     21       A. Again, I'm hot sure, it was not             NCRA Registered Diplomate Reporter
     22                                                   21 NCRA Certified Realtime Reporter
          intended to be exhaustive.                         Certified Court Reporter
     23   BY MR. ROTH:                                    22
     24
                                                               Notary Public
              Q. Okay. What is confirmation               23   My Commission Expires: 7/9/2020
     25   bias?                                           24   Dated: May 6, 2019
                                                          25

                                              Page 471                                                    Page 473
      1       A. Confirmation bias is a                    1          INSTRUCTIONS TO WITNESS
      2   psychological phenomenon, in essence that you    2
      3   find what you expect to find.                    3           Please read your deposition over
      4       Q. And does that exist in                    4   carefully and make any necessary corrections.
      5   economics?                                       5   You should state the reason in the
      6       A. It's a known psychological                6   appropriate space on the errata sheet for any
      7   bias. I imagine that economists are humans       7   corrections that are made.
      8   too.                                             8           After doing so, please sign the
      9            MR. ROTH: Okay. Why don't we            9   errata sheet and date it.
     10       pause on that, take --                      10           You are signing same subject to
     11            THE WITNESS: You're going to           11   the changes you have noted on the errata
     12       end the day there?                          12   sheet, which will be attached to your
     13            MR. ROTH: I might. So let's            13   deposition.
     14       stop. Give us five to caucus, and           14           It is imperative that you return
     15       that might be a really nice place to        15   the original errata sheet to the deposing
     16       end the day.                                16   attorney within thirty (30) days of receipt
     17            THE VIDEOGRAPHER: The time is          17   of the deposition transcript by you. If you
     18       5:48 p.m. We're off the record.             18   fail to do so, the deposition transcript may
     19            (Proceedings recessed at               19   be deemed to be accurate and may be used in
     20       5:48 p.m.)                                  20   court.
     21                --o0o--                            21
     22                                                   22
     23                                                   23
     24                                                   24
     25                                                   25


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Case: 1:17-md-02804-DAP Doc #: -3027-16
      Highly Confidential               Filed:
                                  Subject   to12/19/19
                                               Further 120Confidentiality
                                                           of 120. PageID #: 471222
                                                                               Review
                                              Page 474                                         Page 476
      1             ERRATA                                1           LAWYER'S NOTES
      2   PAGE LINE CHANGE                                2
      3   ____ ____ _________________________________     3   PAGE    LINE
      4      REASON: _______________________________      4   ____   ____ _____________________________
      5   ____ ____ _________________________________     5   ____   ____ _____________________________
      6      REASON: _______________________________      6   ____   ____ _____________________________
      7   ____ ____ _________________________________     7   ____   ____ _____________________________
      8      REASON: _______________________________      8   ____   ____ _____________________________
      9   ____ ____ _________________________________     9   ____   ____ _____________________________
     10      REASON: _______________________________     10   ____   ____ _____________________________
     11   ____ ____ _________________________________    11   ____   ____ _____________________________
     12      REASON: _______________________________     12   ____   ____ _____________________________
     13   ____ ____ _________________________________    13   ____   ____ _____________________________
     14      REASON: _______________________________     14   ____   ____ _____________________________
     15   ____ ____ _________________________________    15   ____   ____ _____________________________
     16      REASON: _______________________________     16   ____   ____ _____________________________
     17   ____ ____ _________________________________    17   ____   ____ _____________________________
     18      REASON: _______________________________     18   ____   ____ _____________________________
     19   ____ ____ _________________________________    19   ____   ____ _____________________________
     20      REASON: _______________________________     20   ____   ____ _____________________________
     21   ____ ____ _________________________________    21   ____   ____ _____________________________
     22      REASON: _______________________________     22   ____   ____ _____________________________
     23   ____ ____ _________________________________    23   ____   ____ _____________________________
     24      REASON: _______________________________     24   ____   ____ _____________________________
     25                                                  25

                                      Page 475
      1       ACKNOWLEDGMENT OF DEPONENT
      2
      3
      4        I, MEREDITH B. ROSENTHAL, Ph.D.,
        do hereby certify that I have read the
      5 foregoing pages and that the same is a
        correct transcription of the answers given by
      6 me to the questions therein propounded,
        except for the corrections or changes in form
      7 or substance, if any, noted in the attached
        Errata Sheet.
      8
      9
     10
     11
     12   ___________________________________________
           MEREDITH B. ROSENTHAL, Ph.D.       DATE
     13
     14
     15   Subscribed and sworn to before me this
     16   _______ day of _______________, 20 _____.
     17   My commission expires: _______________
     18
     19   _______________________________
     20   Notary Public
     21
     22
     23
     24
     25

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